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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:
    CENTER CITY HEALTHCARE, LLC D/B/A                              Chapter 11
    HAHNEMANN UNIVERSITY HOSPITAL, et
    al.,1                                                          Case No. 19-11466 (MFW)

                              Debtors.                             (Jointly Administered)


    Broad Street Healthcare Properties, LLC, Broad
    Street Healthcare Properties II, LLC, Broad Street
                                                       U.S. District Court
    Healthcare Properties III, LLC, and Philadelphia
    Academic Health Holdings, LLC,                     Case No. 21-cv-01779-RGA
                                        Appellants,                Bankruptcy BAP No. 21-87
                              v.

    Center City Healthcare, LLC d/b/a Hahnemann                    Re: D.I. 25, 26, 28, 29, 30, 31, 32, 33, 34,
    University Hospital,                                           35, 36 & 37

                                        Appellee.

                              SEVENTH STIPULATION REGARDING
                              EXTENSION OF BRIEFING DEADLINES

          Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties II, LLC,

Broad Street Healthcare Properties III, LLC (collectively, the “Broad Street Entities”), and

Philadelphia Academic Health Holdings, LLC (“PAHH” and, together with the Broad Street

Entities, the “Appellants”), the above-referenced debtors and debtors-in-possession (collectively,




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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
      Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
      SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
      Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
      L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS
      V of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania
      19102.


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the “Debtors”), the Official Committee of Unsecured Creditors (the “Committee”), HSRE,2 the

MBNF Non-Debtor Entities,3 and Tenet4 (collectively, the “Parties”), enter into this stipulation

(the “Stipulation”) and hereby agree as follows:

                                                    RECITALS

         WHEREAS, the recitals and agreement set forth in the Stipulation Regarding the Extension

of Briefing Deadlines and Withdrawal of Certain Sealed Documents [D.I. 25] (the “First

Stipulation”), the Stipulation Regarding Further Extension of Briefing Deadlines [D.I. 28] (the

“Second Stipulation”), the Third Stipulation Regarding Extension of Briefing Deadlines [D.I. 30]

(the “Third Stipulation”), the Fourth Stipulation Regarding Extension of Briefing Deadlines [D.I.

32] (the “Fourth Stipulation”), the Fifth Stipulation Regarding Extension of Briefing Deadlines

[D.I. 34] (the “Fifth Stipulation”), and the Sixth Stipulation Regarding Extension of Briefing

Deadlines [D.I. 36] (the “Sixth Stipulation” and together with the First Stipulation, the Second

Stipulation, the Third Stipulation, the Fourth Stipulation, and the Fifth Stipulation, the

“Stipulations”) are incorporated herein by reference;

         WHEREAS, on February 14, 2022, this Court approved the First Stipulation [D.I. 26] (the

“First Approval Order”);

         WHEREAS, on March 31, 2022, this Court approved the Second Stipulation [D.I. 29] (the

“Second Approval Order”);



2
    “HSRE” means, collectively, PAHH Bellet MOB, LLC; PAHH Broad Street MOB, LLC; PAHH Erie Street
    Garage, LLC; PAHH Feinstein MOB, LLC; PAHH New College MOB, LLC; PAHH Wood Street Garage, LLC;
    HSREP VI Holding, LLC; HSRE-PAHH IA, LLC; and HSRE-PAHH I, LLC.
3
    “MBNF Non-Debtor Entities” means, collectively, Appellants, Joel Freedman, Stella Freedman, Svetlana
    Attestatova, Kyle Schmidt, MBNF Investments, LLC, American Academic Health System, LLC, Front Street
    Healthcare Properties, LLC, Front Street Healthcare Properties II, LLC, Philadelphia Academic Risk Retention
    Group, LLC, Paladin Healthcare Capital, LLC, Paladin Healthcare Management, LLC, and Globe Health
    Foundation, Inc.
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    “Tenet” means, collectively, Tenet Business Services Corporation and Conifer Revenue Cycle Solutions, LLC.
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         WHEREAS, on April 29, 2022, this Court approved the Third Stipulation [D.I. 31] (the

“Third Approval Order”);

         WHEREAS, on June 1, 2022, this Court approved the Fourth Stipulation [D.I. 33] (the

“Forth Approval Order”);

         WHEREAS, on June 30, 2022, this Court approved the Fifth Stipulation [D.I. 35] (the

“Fifth Approval Order”)

         WHEREAS, on July 28, 2022, this Court approved the Sixth Stipulation [D.I. 37] (the

“Sixth Approval Order” and together with the First Approval Order, the Second Approval Order,

the Third Approval Order, the Fourth Approval Order, and the Fifth Approval Order, the

“Approval Orders”);

         WHEREAS, pursuant to paragraph 1 of the First Stipulation (as amended by the Second

Stipulation, the Third Stipulation, the Fourth Stipulation, the Fifth Stipulation, and the Sixth

Stipulation), any briefing or filing obligation of any party in the above-captioned appeal (the

“Appeal”) is stayed through August 31, 2022;

         WHEREAS, since approval of the Sixth Stipulation, the Debtors, the Committee, HSRE,

and the MBNF Non-Debtor Entities have continued to engage in mediation before the Honorable

Kevin J. Carey (ret.), as mediator, with respect to certain disputes among such parties, including

disputes related to this Appeal (the “Chapter 11 Mediation”);

         WHEREAS, since approval of the Sixth Stipulation, the Appellants, the MBNF Non-

Debtor Entities and Tenet have continued to engage in mediation before the Honorable Joseph J.

Farnan (ret.), as mediator, with respect to certain disputes among such parties, including disputes

related to this Appeal (the “Tenet Mediation” and, together with the Chapter 11 Mediation, the

“Mediations”);


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         WHEREAS, as a result of the Mediations, on August 7, 2022, the Parties entered into a

global settlement agreement of the disputes among them, including resolution and settlement of

this Appeal, as reflected in that certain Memorandum of Understanding RE Global Settlement

Among, Inter Alia, Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties,

HSRE Entities and CONA Parties (the “MOU”);

         WHEREAS, on August 8, 2022, the Debtors filed a motion seeking approval of the MOU

by the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”);

         WHEREAS, on August 29, 2022, the Bankruptcy Court entered an order approving the

MOU. See Case No. 19-11466 (MFW) at Docket No. 4216 (the “MOU Order”). A copy of the

MOU Order is attached hereto as Exhibit A;

         WHEREAS, pursuant to the terms of the MOU, upon the satisfaction or waiver of the

conditions to the effectiveness of the MOU (the “MOU Implementation Date”) and the filing of

the MOU Release Notice (as defined in the MOU), the matters at issue in this Appeal will be

resolved and the Parties intend to submit a stipulation of dismissal consistent with the terms of the

MOU (the “Stipulation of Dismissal”);

         WHEREAS, the Parties are working cooperatively to implement the MOU as soon as

practicable and anticipate that the MOU Implementation Date and the filing of the MOU Release

Notice will occur in the near future and that the Stipulation of Dismissal will be filed with this

Court shortly thereafter; and

         WHEREAS, to maximize judicial efficiency and conserve resources of the Court and the

Parties, the Parties jointly propose to stay the above-captioned Appeal, including briefing on the

merits of the Appeal and all other filings in the Appeal, through and including September 30, 2022.




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                                            AGREEMENT

         NOW, THEREFORE, in consideration of the foregoing, the Parties hereby agree and

stipulate as follows:

         1.        Paragraph 1 of the First Stipulation (as amended by the Second Stipulation, the

Third Stipulation, the Fourth Stipulation, and the Fifth Stipulation) is hereby further amended as

follows: “Until termination of the Mediation, any briefing or filing obligations of any party in this

Appeal stemming from the filing of the Notice of Appeal shall be stayed through and including

September 30, 2022.”

         2.        Except as expressly modified herein, the terms and conditions of the Stipulations

and the Approval Orders shall otherwise remain in full force and effect.



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Dated: August 31, 2022
       Wilmington, DE

 /s/ Brendan J. Schlauch                  /s/ Mark Minuti
 Mark D. Collins (No. 2981)               Mark Minuti (No. 2659)
 Michael J. Merchant (No. 3854)           Monique B. DiSabatino (No. 6027)
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         alexandra.zablocki@lw.com        Possession

 Counsel for Appellants




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 /s/ Seth A. Niederman                       /s/ Stuart M. Brown
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 -and-
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 Andrew H. Sherman                           One Liberty Place
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 SILLS CUMMIS & GROSS P.C.                   Suite 5000
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 Email: asherman@sillscummis.com             -and-
         bmankovetskiy@sillscummis.com
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                                             Telephone: (312) 368-4000
                                             Facsimile: (312) 236-7516
                                             richard.chesley@us.dlapiper.com

                                             Counsel for HSRE Entities




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 /s/ Timothy P. Cairns
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 -and-

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 Counsel for Tenet Business Services
 Corporation and Conifer Revenue Cycle
 Solutions, LLC



 SO ORDERED 31st day of August, 2022.



                                             /s/ Richard G. Andrews
                                            The Honorable Richard G. Andrews
                                            United States District Court Judge




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                                  Exhibit A

                                  MOU Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                        )
In re:                                  )                           Chapter 11
                                        )
CENTER CITY HEALTHCARE, LLC d/b/a       )                           Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et al., )
                                      1

                                        )
                    Debtors.            )                           Jointly Administered
                                        )
                                        )                           Related to Docket Nos. 4128, 4129, 4130 and 4214


      ORDER APPROVING MEMORANDUM OF UNDERSTANDING RE GLOBAL
     SETTLEMENT AMONG, INTER ALIA, DEBTORS, DEBTORS’ SUBSIDIARIES,
   COMMITTEE, TENET, CONIFER, MBNF PARTIES, HSRE ENTITIES AND CONA
   PARTIES, WHICH PROVIDES FOR, INTER ALIA, RESOLUTION OF ADVERSARY
  PROCEEDINGS, WITHDRAWAL OF CLAIMS, ALLOCATION AND DISTRIBUTION
    OF ASSETS FROM RRG AND CONSENSUAL SUBSTANTIVE CONSOLIDATION
            OF CERTAIN ASSETS, CONTRACTS AND LIABILITIES OF
      NON-DEBTOR BROAD STREET PROPCOS WITH DEBTOR CENTER CITY
            HEALTHCARE, LLC, AND GRANTING RELATED RELIEF

           Upon consideration of the Debtors’ Motion For Orders: (I) Approving Memorandum of

  Understanding Re Global Settlement Among, Inter Alia, Debtors, Debtors’ Subsidiaries,

  Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and CONA Parties, Which Provides

  For, Inter Alia, Resolution of Adversary Proceedings, Withdrawal Of Claims, Allocation and

  Distribution of Assets From RRG and Consensual Substantive Consolidation of Certain Assets,

  Contracts and Liabilities of Non-Debtor Broad Street PropCos With Debtor Center City

  Healthcare, LLC, and Granting Related Relief; and (II) Approving Related Settlement Agreement




  1        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
           are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
           Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
           L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
           L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
           L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
           IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540).



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 and Release With Travelers Casualty and Surety Company of America (the “Motion”)2 by which

 the Debtors request, among other things3, the entry of an order, pursuant to sections 105(a) and

 363 of Title 11 of the United States Code (the “Bankruptcy Code”) and Bankruptcy Rule 9019,

 (a) approving the Memorandum of Understanding Re Global Settlement Among, Inter Alia,

 Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and

 CONA Parties attached hereto as Exhibit 1 (collectively with the schedules and exhibits attached

 thereto, the “MOU”), including (i) resolving certain adversary proceedings and certain other

 contested matters, (ii) withdrawing certain claims and allowing certain other unsecured claims,

 (iii) approving the allocation and distribution of assets from Philadelphia Academic Risk Retention

 Group, LLC, and (iv) approving the substantive consolidation of the Broad Street PropCos’ Assets

 and certain liabilities with Debtor Center City Healthcare, LLC and (b) granting such other and

 further relief as the Court deems just and proper, all as more fully set forth in the Motion; and this

 Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

 Standing Order of Reference from the United States District Court for the District of Delaware,

 dated February 29, 2019; and this Court having determined that it may enter a final order consistent

 with Article III of the United States Constitution; and this Court having found that the Debtors’

 notice of the Motion and opportunity for a hearing on the Motion were appropriate and no other

 notice need be provided; and this Court having found that this is a core proceeding pursuant to 28

 U.S.C. §§ 1408 and 1409; and the Court having reviewed and considered the Motion, any

 responses thereto; and the Court having held a hearing on the Motion on August 29, 2022 at 10:30




 2        Unless the context indicates otherwise, capitalized terms used but not defined herein shall have the meanings
          ascribed to them in the MOU.

 3        The Debtors’ request for approval of the Travelers Settlement will be addressed in separate order of the Court.


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 a.m. ET (the “Hearing”); and the Court having considered the evidence and arguments of counsel

 presented at the Hearing and the Declaration of Allen Wilen in Support of Debtors’ Motion for

 Approval of (I) Memorandum of Understanding Re Global Settlement Among, Inter Alia, Debtors,

 Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and CONA

 Parties, Which Provides For, Inter Alia, Resolution of Adversary Proceedings, Withdrawal of

 Claims, Allocation and Distribution of Assets From RRG and the Substantive Consolidation of

 Certain Assets, Contracts and Liabilities of Non-Debtor Broad Street PropCos with Debtor Center

 City Healthcare, LLC; and (II) Related Settlement Agreement and Release with Travelers Casualty

 and Surety Company of America [Docket No. 4200]; and this Court finding that the decision to

 enter into the MOU is within the sound business judgment of the Debtors and that approval of the

 MOU is in the best interest of the Debtors’ estates, their creditors, and other parties in interest; and

 this Court having determined that the legal and factual bases set forth in the Motion and at the

 Hearing establish just cause for the relief granted herein; and after due deliberation and sufficient

 cause appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.        The Motion is GRANTED as set forth herein.

          2.        Pursuant to Bankruptcy Rule 9019, the MOU is hereby APPROVED in all respects.

          3.        The Parties to the MOU are authorized to take all appropriate actions required to

 effectuate the terms of the MOU and perform their respective obligations thereunder.

          4.        The actions necessary for the RRG Dissolution and the distribution of RRG

 Proceeds provided for in Section 2 of the MOU are authorized and approved, and no further

 authorization or approval from the Court is required therefor, including pursuant to the Order




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 (I) Authorizing Debtors to Enter into Assignment, Assumption and Novation Agreement Pursuant

 to 11 U.S.C. § 363 and (II) Granting Related Relief [Docket No. 3710].

          5.        On and after the MOU Implementation Date, the applicable Parties to the MOU

 shall implement, and fully comply with, the transactions, actions, and steps set forth in

 Sections 3(a)(i) – 3(a)(xx) of the MOU in the sequence set forth therein; provided, that, if any step

 is delayed in implementation or effect but has occurred, it shall nevertheless be deemed to have

 occurred in the indicated sequence.

          6.        On the MOU Implementation Date, the Assets of Broad Street Healthcare

 Properties, LLC, Broad Street Healthcare Properties II, LLC and Broad Street Healthcare

 Properties III, LLC (collectively, the “Broad Street PropCos”) set forth on Schedule 3(a)(vi) to

 the MOU, including, without limitation, the Real Estate (as defined below and in the MOU), shall

 be substantively consolidated with the assets of Debtor CCH, subject to all liens (other than the

 liens to be satisfied and/or released pursuant to the MOU), agreements/encumbrances running with

 the land (including, for the avoidance of doubt, the REAs and Unity of Use Agreements). For the

 avoidance of doubt, (a) the Assets to be substantively consolidated with CCH shall not include,

 and shall not be deemed to include: (i) any claim held by any of the Broad Street PropCos against

 any of the other MBNF Parties, the MBNF Affiliates, any of their respective Representatives, or

 any of the Broad Street Lenders, or (ii) with respect to any professional or advisor of any of the

 Broad Street PropCos, including those listed in item 36(a) of Schedule 3(a)(vii) to the MOU, any

 engagement or services agreement, deliverable or rights thereunder, including any retainer or

 privileged communication, in which any Broad Street PropCo may have any interest, rights or

 entitlement, and (b) no power, right or privilege granted by any Broad Street PropCo to CCH




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 pursuant to any Power of Attorney shall be exercised by CCH in a manner inconsistent with the

 MOU.

          7.        Pursuant to Section 3(a)(vi) of the MOU, CCH shall have the sole and exclusive

 authority to use, possess, lease, encumber, sell, transfer, assign, convey, or otherwise dispose of

 the Real Estate and/or such other Assets, and to execute any and all necessary and/or desirable

 bills of sale, deeds and other documents and agreements effectuating any such use, possession,

 lease, encumbrance, sale, transfer, assignment, conveyance and/or other disposition, in the name,

 and on behalf, of the Broad Street PropCos and/or CCH, subject to the terms of the MOU and

 further order of the Bankruptcy Court or the Plan, as applicable. Further, as set forth in Schedule

 3(b) of the MOU, the Real Estate shall be managed, marketed and sold by CCH, together with the

 Committee, Tenet and the HSRE Entities (with CONA having observation rights). Any Financial

 Liability resulting from CCH’s exercise of its powers, rights, and/or privileges in respect of the

 Assets shall be the Financial Liability solely of CCH, and no Financial Liability shall be incurred

 by any Broad Street PropCo to any third party or otherwise as a result of CCH’s exercise of such

 powers, rights, and/or privileges. For the avoidance of doubt, CCH shall not (i) be liable for any

 obligation of any of the Broad Street PropCos to any of the other MBNF Parties or to any of their

 Representatives and (ii) acquire any claim held by any of the Broad Street PropCos against any of

 the other MBNF Parties, the MBNF Affiliates, any of their respective Representatives, or any of

 the Broad Street Lenders.

          8.        As set forth in the MOU, the term “Real Estate” means the following properties,

 as more particularly described by the legal descriptions attached to the MOU as Schedule D,

 together with all of right, title and interest in and to all improvements and fixtures located thereon,

 and all rights, privileges and recorded easements appurtenant to any of the foregoing:



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                          Property Name                     Philadelphia, PA Address       OPA

     North Tower, South Tower                              222-248 N. Broad Street         772025002

     (Land next to SHSH Building)                          221-223 N. 15th Street          772028498

     Stiles Alumni Hall Underground                        325 N. 15th Street              881038202

     Martinelli Park                                       300-304 N. Broad Street         885620242

     (redevelopment land/surface parking) (city block) 200-214 N. Broad Street             885467862

     SHSH Building (city block)                            201-219 N. 15th Street          772028496


          9.        On the MOU Implementation Date, the liabilities relating to the preservation and

 maintenance of the Real Estate and such other liabilities, solely as described on Schedule 3(a)(vii)

 to the MOU shall be substantively consolidated with the postpetition liabilities of CCH such that

 the liabilities set forth on Schedule 3(a)(vii) to the MOU shall become payable by CCH if past

 due, due or otherwise payable as incurred in the ordinary course.

          10.       Notwithstanding the implementation of the step described in Section 3(a)(xiv) of

 the MOU, the HSRE Entities, on account of the HSRE-PAHH Note, shall have recourse only to

 the HSRE Entities’ share of the proceeds of a Sale of the Real Estate as set forth on Schedule 3(b)

 of the MOU, without regard to which of the Debtors become obligated (on a non-recourse basis

 except to the Real Estate and the proceeds of a Sale thereof) under the HSRE-PAHH Note.

          11.       For the avoidance of doubt, as a result of entering into the MOU, none of the Broad

 Street PropCos nor the RRG shall be: (a) considered debtors or debtors in possession in the Chapter

 11 Cases or any other case; (b) deemed to have filed voluntary petitions for relief under Chapter

 11 of the Bankruptcy Code; or (c) responsible for any reporting obligations under the Bankruptcy

 Code, including, without limitation, schedules of assets and liabilities, schedules of current income




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 and expenditures, schedules of executory contracts and unexpired leases, statement of financial

 affairs, and monthly operating reports.

          12.       The Debtors are authorized to incur all obligations and make all payments pursuant

 to the MOU on and after the MOU Implementation Date without further order of the Court.

          13.       Upon the MOU Implementation Date, but subject to the completion of the actions

 set forth in Sections 3(a)(i) through 3(a)(vi) of the MOU, Tenet shall have a single allowed

 general unsecured non-priority claim against the Debtors in the amount of $30,000,000.

          14.       Upon the filing of the MOU Release Notice, but subject to the Debtors’ receipt of

 the payment set forth in Sections 4(d) and 4(e) of the MOU, the HSRE Entities shall have a single

 allowed general unsecured non-priority claim against the Debtors in the amount of $30,000,000

 subject to Capital One, N.A.’s first-priority security interest in the HSRE Claims.

          15.       On the MOU Implementation Date, but prior to the implementation step set forth

 in Section 3(a)(xiii) of the MOU, the Third Party Escrow Agent shall release to Land Services

 USA, Inc. the signed joint authorization of PAHH and HSRE JV, consented to by Capital One,

 N.A., attached to the MOU as Exhibit 9, directing the release of the Escrowed Funds to an account

 at Capital One, N.A., in its capacity as administrative agent, on behalf of HSRE JV, designated by

 Capital One, N.A. and the HSRE Entities.

          16.       The Debtors are hereby authorized to engage Omni Agent Solutions to serve as

 Third Party Escrow Agent to perform the services set forth in the MOU and to pay the Third Party

 Escrow Agent all reasonable fees and costs necessary to effectuate the terms and conditions of the

 MOU, without further application to or order of the Court. The Debtors are also hereby authorized,

 without further application to or order of the Court (i) to engage and compensate (subject to

 reimbursement from the proceeds of the Sale as set forth in the MOU) Albert A. Mezzaroba as



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 “sale process manager” to perform the services set forth in Schedule 3(b) to the MOU, (ii) to

 employ and compensate NKF to manage the Real Estate in accordance with the MOU, and

 (iii) capitalize PAHS Equity Buyer in such amount as may be agreed by the Debtors and the

 Committee.         The engagement of a broker to market the Real Estate, and such broker’s

 compensation, shall require separate application to, and order of, the Court. For the avoidance of

 doubt, and notwithstanding paragraph 30 of the MOU, this Order shall also be deemed to approve

 the agreement among the members of the Oversight Committee with respect to sections 1(b)(iv)

 and 7 of Schedule 3(b) of the MOU as was agreed by the members of the Oversight Committee by

 emails among counsel on August 7, 2022.

          17.       For the avoidance of doubt, the Order Denying the Motion of the Broad Street

 Entities and PAHH for Entry of an Order (I) Determining That the Automatic Stay Does Not Apply

 to Their Assets or (II) in the Alternative, Granting Limited Relief from the Automatic Stay for Them

 to Sell, Transfer, or Otherwise Encumber Such Assets [Docket No. 3261] (the “Stay Order”), to

 the extent applicable, shall not prevent the implementation, effectuation, or the consummation of

 the terms of the MOU. To the extent of any conflicts between this Order and the Stay Order, this

 Order shall control.

          18.       In fulfilling its obligations in connection with the MOU, the Third Party Escrow

 Agent may, without liability to any Party, rely upon: (i) the filing of the MOU Implementation

 Date Certification; (ii) the MBNF Direction Letter delivered to the Third Party Escrow Agent in

 accordance with Section 51 of the MOU; and (iii) the filing of the MOU Release Notice. Any

 liability of the Third Party Escrow Agent to any of the Parties to the MOU shall be limited to the

 total amount paid for the Third Party Escrow Agent’s escrow agent services, except to the extent

 such liability arises from the Third Party Escrow Agent’s gross negligence or willful misconduct.



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          19.       Promptly after the filing of the MOU Release Notice, the official claims registers

 in the Debtors’ Chapter 11 Cases shall be deemed updated and modified consistent with the terms

 of the MOU. Omni Agent Solutions, the Debtors’ claims and noticing agent, shall adjust the

 official claims register to withdraw or modify any filed or scheduled claims consistent with the

 MOU and Schedule 46 attached thereto.

          20.       The terms and provisions of this Order and the MOU shall be binding upon any

 chapter 7 or chapter 11 trustees, successor and/or assignee of the Debtors and the respective

 successors and assigns of the Parties.

          21.       For purposes of clarity, nothing in the MOU, and nothing in this Order, shall (a)

 have the effect of approving or confirming any aspect of a chapter 11 plan in the Chapter 11 Cases;

 or (b) prejudice the Office of the United States Trustee’s right to object to confirmation of a chapter

 11 plan in the Chapter 11 Cases on any and all grounds, with all such plan objections being fully

 preserved.

          22.       For further purposes of clarity, the MOU does not include releases (a) from the

 Debtors in favor of (i) the Debtors’ professionals and the Debtors’ Representatives or (ii) the

 Committee and its professionals and Representatives; nor (b) from the Committee in favor of (i)

 the Committees’ professionals and its Representatives or (ii) the Debtors and their professionals

 and the Debtors’ Representatives.

          23.       The rights and interests, if any, of IS BBFB LLC and IS 245 North 15th LLC in the

 Real Estate shall not be impaired by any prior order of the Court, this Order, the MOU or the

 substantive consolidation of the Real Estate with CCH, provided, however, that any such rights or

 interests are subject to all claims, defenses, affirmative defenses, counterclaims, rights, setoffs and

 recoupments, all of which shall be substantively consolidated with, and may be asserted by, CCH.



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          24.       The allocation among the Debtors’ estates of the Debtors’ portion of the Net Sale

 Proceeds of the Sale of the Real Estate shall be subject to further order of the Court after notice

 and a hearing.

          25.       Notwithstanding anything to the contrary contained in the MOU, (a) Section 47 of

 the MOU does not apply to any written notices, written correspondence and electronically

 transcribed voicemail messages that are (i) subject to attorney-client privilege, and/or attorney

 work product protection of any MBNF Party associated with such information; or (ii) internal

 communications (i.e. generated solely among any of the MBNF Parties, Sonsara Management

 Services, LLC, Jigsaw Advisors, LLC, MBNF Equity Buyer LLC, MBNF Liquidator LLC, MBNF

 Parent 1 Corporation and/or MBNF Parent 2 Corporation); (b) all obligations under Section 47 of

 the MOU shall cease and terminate, without any further action by any Party, upon the closing of

 the Sale or other disposition of all of the Real Estate by the Debtors; and (c) Schedule 3(a)(vii) to

 the MOU shall be deemed to include the Broad Street PropCos REAs and the Broad Street PropCos

 Unity of Use Agreements.

          26.       Notwithstanding anything to the contrary contained in the MOU, Section 39 of the

 MOU (“Mutual Non-Disparagement”) shall have no force or effect from and after five (5) years

 after the entry of an order closing of the last of the Chapter 11 Cases.

          27.       Notwithstanding the applicability of any Bankruptcy Rule to the contrary, this

 Order shall be effective immediately upon entry.

          28.       The automatic stay under section 362(a) of the Bankruptcy Code is lifted to the

 extent necessary to implement the MOU, including as may be applicable to the filing of any

 dismissals or withdrawals as provided in Section 15 of the MOU.




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          29.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion, and the requirements of the Bankruptcy Rules and the Bankruptcy Local Rules

 are satisfied by such notice.

          30.       The Court shall retain jurisdiction with respect to all matters arising from or related

 to the interpretation, implementation, and enforcement of this Order and/or the MOU.




Dated: August 29th, 2022                                   MARY F. WALRATH
Wilmington, Delaware                                       UNITED STATES BANKRUPTCY JUDGE
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                                  EXHIBIT 


                            Redacted Version of MOU




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                                                                                 Execution Version

        MEMORANDUM OF UNDERSTANDING RE GLOBAL SETTLEMENT
      AMONG, INTER ALIA, DEBTORS, DEBTORS’ SUBSIDIARIES, COMMITTEE,
      TENET, CONIFER, MBNF PARTIES, HSRE ENTITIES AND CONA PARTIES

 This memorandum of understanding (together with all exhibits and schedules hereto, this “MOU”)
 is dated as of August 7, 2022 (the “Execution Date”) and sets forth the definitive terms of a global
 settlement by and among the Debtors, the Debtors’ Subsidiaries, the Committee, Tenet, Conifer,
 the MBNF Parties, the HSRE Entities, and the CONA Parties (each as defined below), subject to,
 among other things, the entry of the Approval Order (as defined below) pursuant to section 363 of
 title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9019 of the Federal Rules of
 Bankruptcy Procedure (the “Bankruptcy Rules”). This MOU and all exhibits and schedules
 hereto constitute the full and complete agreement regarding the matters hereunder. Subject to the
 occurrence of the MOU Implementation Date (as defined below), this MOU and the Approval
 Order shall be binding upon any successor or assignee of any Party (including any trustee or
 examiner appointed in the Chapter 11 Cases (as defined below)). The “Parties” shall mean,
 collectively, the Debtors, the Debtors’ Subsidiaries, PAHS Equity Buyer, PAHS Holdco LLC, the
 Committee, Tenet, Conifer, the MBNF Parties, MBNF Equity Buyer LLC, MBNF Parent 1
 Corporation, MBNF Parent 2 Corporation, MBNF Liquidator LLC, the HSRE Entities, the CONA
 Parties and, solely for the purposes of Sections 14(b), 14(c), 14(j), 14(m), 14(p), 16, 25, 28, 29 –
 45 and 47, the Broad Street Lenders (and as to Section 47, only with respect to the Broad Street
 Lenders described in such Section 47). This MOU is executed pursuant to a compromise and
 settlement entered into by each Party without any admission of liability to any other Party, and
 solely for the purpose of avoiding further uncertainty, controversy, litigation, and related legal
 and other expenses. Without limiting the foregoing, nothing contained herein shall be taken as or
 construed to be an implication or admission by any Party or any of its Representatives regarding,
 or as evidencing or indicating in any degree the truth or correctness of any claim or defense
 asserted by any Party or any of its Representatives.

                                              Definitions

 “AAHS” means American Academic Health System, LLC.

 “Actual Fraud” means, with respect to a Party, actual and intentional fraud by such Party;
 provided that such actual and intentional fraud of a Party shall only be deemed to exist if any such
 Party has actual knowledge (as opposed to imputed or constructive knowledge) of a material
 misrepresentation or omission and such misrepresentation or omission was made with the intent of
 deceiving another Party (and does not include any fraud claim based on constructive knowledge,
 negligent misrepresentation, recklessness or any similar theory).

 “Additional Preserved Action Covered Parties” means each of the MBNF Individuals, PAHH,
 Broad Street PropCos, Paladin, Sonsara Management Services, LLC, Jigsaw Advisors, LLC and
 William Brinkman.

 “Affiliate” means with respect to a subject Person, (a) any direct and indirect subsidiaries of such
 subject Person, (b) any direct and indirect parent entities of such subject Person, and (c) any Person

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 that directly, or indirectly through one or more intermediaries, controls or is controlled by or is
 under common control with such subject Person. As used in this definition, the term “control” of
 a Person means the possession, directly or indirectly, of the power to vote ten percent (10%) or
 more of any class of voting securities of such Person or to direct or cause the direction of the
 management or policies of a Person, whether through the ownership of voting securities, by
 contract or otherwise; provided, that (i) none of the Debtors or the Debtors’ Subsidiaries is or shall
 be deemed to be an Affiliate of any of the MBNF Parties, the MBNF Affiliates, the Broad Street
 Lenders, the HSRE Entities, the CONA Parties, Tenet, Conifer or the Committee; (ii) none of the
 MBNF Parties is or shall be deemed to be an Affiliate of any of the Debtors, the Debtors’
 Subsidiaries, the HSRE Entities, the CONA Parties, Tenet, Conifer or the Committee; (iii) none
 of the Broad Street Lenders is or shall be deemed to be an Affiliate of any of the Debtors, the
 Debtors’ Subsidiaries, the HSRE Entities, the CONA Parties, Tenet, Conifer or the Committee;
 (iv) none of the HSRE Entities is or shall be deemed to be an Affiliate of any of the Debtors, the
 Debtors’ Subsidiaries, the MBNF Parties, the MBNF Affiliates, the Broad Street Lenders, the
 CONA Parties, Tenet, Conifer or the Committee; (v) none of the CONA Parties is or shall be
 deemed to be an Affiliate of any of the Debtors, the Debtors’ Subsidiaries, the MBNF Parties, the
 MBNF Affiliates, the Broad Street Lenders, the HSRE Entities, Tenet, Conifer or the Committee;
 (vi) Tenet is not and shall not be deemed to be an Affiliate of any of the Debtors, the Debtors’
 Subsidiaries, the MBNF Parties, the MBNF Affiliates, the Broad Street Lenders, the HSRE
 Entities, the CONA Parties, or the Committee; (vii) Conifer is not and shall not be deemed to be
 an Affiliate of any of the Debtors, the Debtors’ Subsidiaries, the MBNF Parties, the MBNF
 Affiliates, the Broad Street Lenders, the HSRE Entities, the CONA Parties, or the Committee; and
 (viii) the Committee is not and shall not be deemed to be an Affiliate of any of the Debtors, the
 Debtors’ Subsidiaries, the MBNF Parties, the MBNF Affiliates, the Broad Street Lenders, the
 HSRE Entities, the CONA Parties, Tenet or Conifer.

 “Amended PAHS Loan Documents” shall have the meaning ascribed to it in Section 3(a)(viii).

 “Ancillary Documents” has the meaning set forth in the ASA, and includes, without limitation,
 the Closing Ancillary Documents; Bill of Sale and Assignment and Assumption Agreement; Real
 Estate Assignment Agreements; Funds Flow Memorandum; Powers of Attorney; Custodial
 Agreement; IP Assignment Agreements; Sellers’ Guaranty; the Purchasers Promissory Note (each
 such term as defined in the ASA); the guaranties issued by any of the MBNF Parties in favor of
 Tenet; any mortgages granted by any of the MBNF Parties in favor of Tenet; the letter agreement
 dated January 11, 2018 between certain HSRE Entities and Tenet regarding note cure right and
 purchase option, acknowledged and agreed to by certain MBNF Parties; the Payment Agreement
 dated January 11, 2018 among certain Debtors, Debtors’ Subsidiaries, Midcap Financial Trust, and
 Tenet; the Lease Payment Agreement dated January 11, 2018 among certain MBNF Parties, certain
 Debtor, Midcap Financial Trust, and Tenet; the letter agreement dated January 11, 2018 regarding
 the Timeshare Matter, as therein defined, among certain Debtors, Debtors’ Subsidiaries, certain
 MBNF Parties, certain HSRE Entities and Tenet; the Assignment and Assumption Agreement
 effective as of January 11, 2018 among certain Debtors and Tenet regarding the HPP Notes; the
 letter agreement dated February 14, 2018 regarding the DLL Lease, as therein defined, among
 Tenet, certain Debtor and De Lage Landen Financial Services, Inc.; Indemnity and Hold Harmless
 Agreement dated January 11, 2018 between PAHH and Chicago Title Insurance Company with
 respect to certain 2018 real estate taxes; title closing settlement statements with respect to the
 January 2018 Transactions; Put Agreement (as defined in the ASA); Guaranty of Performance (Put
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 Option Agreement) dated January 11, 2018 by PAHH with respect to the Put Agreement; Right of
 First Opportunity to Purchase Agreement dated January 11, 2018 among Tenet, Center for the
 Urban Child, Inc., and Front Street Healthcare Properties II, LLC related to the Put Agreement’s
 subject property (the “Tenet ROFO Agreement”); Guaranty of Performance (Right of First
 Opportunity to Purchase Agreement) dated January 11, 2018 by PAHH with respect to the Tenet
 ROFO Agreement; Tax Credit Reduction Event Indemnity Agreement dated January 11, 2018
 among Tenet, Center for the Urban Child, Inc. and certain Debtor and related to the Put
 Agreement’s subject property (the “Tax Indemnity Agreement”); Guaranty of Performance (Tax
 Credit Reduction Event Indemnity Agreement) dated January 11, 2018 by PAHH with respect to
 the Tax Indemnity Agreement; and Access License and Shared Services Agreement and
 Agreement Regarding Sublease dated January 11, 2018 among Tenet, Center for the Urban Child,
 Inc. and certain MBNF Parties and Debtor.

 “Approval Order” means an order of the Bankruptcy Court, or another court of competent
 jurisdiction, as entered on the docket in the Chapter 11 Cases, approving this MOU, the form of
 which order shall be in form and substance reasonably satisfactory to the Debtors, the MBNF
 Parties, the HSRE Entities, the CONA Parties, Tenet, and the Committee.

 “ASA” means the Asset Sale Agreement by and among, among other parties, Tenet Business
 Services Corporation, the Debtors, certain of the HSRE Entities, certain of the MBNF Parties, and
 PAHH, as purchasers’ representative, dated as of August 31, 2017, as amended and/or modified.

 “ASIC Bond” means that certain Bond No. 800014386, issued by Atlantic Specialty Insurance
 Company, as surety (“ASIC”), on January 11, 2018, on behalf of CCH, as principal, for the benefit
 of the Pension Fund, in the penal sum of $5,000,000.

 “Assets” shall have the meaning ascribed to it in Section 3(a)(vi).

 “BAA” means the Sub-Business Associate Agreement, effective as of January 11, 2018, between
 RRG and PAHS.

 “Bankruptcy Court” means the United States Bankruptcy Court for the District of Delaware.

 “Broad Street Lenders” means the lenders under the Broad Street Notes.

 “Broad Street Mortgages” means the mortgages and/or amended mortgages on the Real Estate
 securing the Broad Street Notes.

 “Broad Street Notes” means (i) the Amended and Restated Demand and Secured Promissory
 Note, dated October 28, 2021, among the Broad Street PropCos, as maker, certain professionals
 and other advisors described therein as lenders, and Paladin, as administrative agent for the lenders,
 in the original principal amount of $2,500,000, and (ii) the Demand and Secured Promissory Note,
 dated October 28, 2021, among the Broad Street PropCos, as maker, certain professionals and other
 advisors described therein as lenders, and Paladin, as administrative agent for the lenders, in the
 original principal amount of $3,000,000, in each case, as amended and/or modified.

 “Broad Street PropCos” means, collectively, Broad Street Healthcare Properties, LLC, Broad
 Street Healthcare Properties II, LLC, and Broad Street Healthcare Properties III, LLC.
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 “Broad Street PropCos REAs” means, collectively, (i) the Reciprocal Easement and Operating
 Agreement (Hahnemann Block), effective as of January 11, 2018, among PAHH New College
 MOB, LLC, PAHH Feinstein MOB, LLC, Broad Street Healthcare Properties, LLC, and Broad
 Street Healthcare Properties III, LLC; and (ii) the Parking, Access and Utilities Easement
 Agreement (Wood Street Garage/Stiles), effective as of January 11, 2018, among Broad Street
 Healthcare Properties II, LLC, PAHH Wood Street Garage, LLC, and Broad Street Healthcare
 Properties, LLC.

 “Broad Street PropCos Unity of Use Agreements” means, collectively, (i) the Easement & Unity
 of Use Statement, effective as of January 11, 2018, among Broad Street Healthcare Properties,
 LLC, PAHH New College MOB, LLC, PAHH Feinstein MOB, LLC, and Broad Street Healthcare
 Properties III, LLC; and (ii) the Easement & Unity of Use Statement, effective as of January 11,
 2018, among Broad Street Healthcare Properties II, LLC, PAHH Wood Street Garage, LLC, and
 Broad Street Healthcare Properties, LLC.

 “Broad Street UCC Fixture Filings” means the UCC-1 financing statements set forth on
 Schedule A attached hereto.

 “CCH” means Center City Healthcare, LLC.

 “Chapter 11 Cases” means the jointly administered and procedurally consolidated chapter 11
 cases pending for the Debtors in the Bankruptcy Court.

 “Committee” means the Official Committee of Unsecured Creditors appointed by the Bankruptcy
 Court in the Chapter 11 Cases.

 “Committee Released Party” means the Committee and its Representatives.

 “Committee Releasing Party” means the Committee and its Representatives.

 “CONA Documents” means, collectively, (i) the Loan Agreement dated as of January 11, 2018,
 among Capital One, N.A., as agent, the lenders party thereto and certain HSRE Entities; (ii) the
 open-end mortgages, assignments of leases and rents, security agreements and fixture filings
 entered in connection therewith; (iii) the subordination agreements with respect to the Master
 Leases entered into in connection therewith; (iv) the Intercreditor and Subordination Agreement
 dated January 11, 2018 between Capital One, N.A., as agent, and HSREP VI Holding, LLC; (v)
 the Escrow Agreement; and (vi) all other documents, instruments and agreements related thereto
 and executed prior to, concurrently therewith or at any time thereafter, as any or all of the same
 may be amended, supplemented, restated or otherwise modified from time to time.

 “CONA MBNF Claims” means any and all claims of any of the CONA Parties against any of the
 MBNF Parties.

 “CONA Parties” means each of Capital One, N.A., Cadence Bank, Column Financial Inc., and
 Sector Financial Inc.

 “CONA Released Party” means each of the CONA Parties and each of their respective
 Representatives.
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 “CONA Releasing Party” means each of the CONA Parties and each of their respective
 Representatives.

 “Confirmation Order” means an order entered by the Bankruptcy Court confirming the Plan
 pursuant to section 1129 of the Bankruptcy Code, which Confirmation Order shall be consistent
 with/in accordance with this MOU.

 “Conifer” means, collectively, Conifer Health Solutions LLC and Conifer Revenue Cycle
 Solutions, LLC and each of their respective Affiliates.

 “Conifer Released Party” means Conifer and its Representatives.

 “Conifer Releasing Party” means Conifer and its Representatives.

 “D&O Claims” means the breach of fiduciary duty claims asserted by the Debtors against certain
 of the MBNF Parties in the MBNF Complaint.

 “D&O Insurance” means that certain policy no. 086-LB-106855631 issued by Travelers,
 including the extended reporting period applicable thereto.

 “Debtor Released Party” means each of the Debtors, each of the Debtors’ Subsidiaries, and each
 of their respective Representatives.

 “Debtor Releasing Party” means each of the Debtors, each of the Debtors’ Subsidiaries, and each
 of their respective Representatives.

 “Debtor Settlement Payment” means the payment from the Debtors to the Third Party Escrow
 Agent, in the amount of $1,450,000 for disbursement as set forth in the MBNF Direction Letter.

 “Debtors” means, collectively, Center City Healthcare, LLC, Philadelphia Academic Health
 System, LLC, St. Christopher’s Healthcare, LLC, Philadelphia Academic Medical Associates,
 LLC, HPS of PA, L.L.C., SCHC Pediatric Associates, L.L.C., St. Christopher’s Pediatric Urgent
 Care Center, L.L.C., SCHC Pediatric Anesthesia Associates, L.L.C., StChris Care at Northeast
 Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II of PA, L.L.C., TPS III of PA, L.L.C., TPS IV of PA,
 L.L.C., and TPS V of PA, L.L.C. and each of their respective estates.

 “Debtors’ Subsidiaries” means, collectively, Physicians Clinical Network, LLC, and Physician
 Performance Network of Philadelphia, L.L.C.

 “Disclosure Statement” means the disclosure statement with respect to the Plan, including any
 exhibits, appendices, supplements, related documents, ballots, and procedures related to the
 solicitation of votes to accept or reject the Plan, which disclosure statement shall be in accordance
 with this MOU.

 “Disputed Claims” means (i) any and all claims of Drexel University and its affiliates asserted
 against any of the MBNF Parties in the action captioned Drexel University v. American Academic
 Health System, LLC, et al (Case No. 190606771), pending in the Court of Common Pleas of
 Philadelphia County; and (ii) any other claims related to the foregoing action.

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 “Equity Purchase Agreements” means, collectively, the MBNF Limited Liability Company
 Interests Purchase Agreement attached hereto as Exhibit 3(a)(xiii), the PAHH Limited Liability
 Company Interests Purchase Agreement attached hereto as Exhibit 3(a)(xv) and the PAHS Limited
 Liability Company Interests Purchase Agreement attached hereto as Exhibit 3(a)(xvii).

 “Escrow Agreement” means that certain Escrow Agreement dated January 11, 2018 between and
 among HSRE JV, PAHH and Land Services USA, Inc., as amended by that certain email
 correspondence between Joel Freedman and Mark Burkemper, dated January 10, 2018 with the
 time stamp of 10:57 PM, with the subject line “Amendment”, and as may otherwise have been
 amended and/or modified.

 “Escrowed Funds” means the funds held by Land Services USA, Inc., as escrow agent, pursuant
 to the Escrow Agreement in the original principal amount of $5,625,000, plus all accrued interest
 thereon.

 “Final Order” means an order of the Bankruptcy Court, as entered on the docket in the Chapter
 11 Cases, that has not been reversed, stayed, modified or amended and as to which the time to
 appeal, petition for certiorari, or seek reconsideration, re-argument or rehearing has expired and as
 to which no appeal, re-argument, petition for certiorari, reconsideration or rehearing is pending or,
 if an appeal, re-argument, certiorari, reconsideration or rehearing thereof has been sought, such
 order has been affirmed by the highest court to which the order was appealed or from which the
 reconsideration, re-argument or rehearing was sought, or certiorari has been denied, and the time
 to take any further appeal or to seek certiorari or further reconsideration, re-argument or rehearing
 has expired; provided, however, that no order shall fail to be a Final Order solely because of the
 possibility that a motion pursuant to Rule 60 of the Federal Rules of Civil Procedure or Rule 9024
 of the Federal Rules of Bankruptcy Procedure may be filed with respect to such order, as long as
 such a motion actually has not been filed.

 “Financial Liability” means any indebtedness, financial obligation or financial liability, whether
 contingent or non-contingent.

 “Front Street Entities” means Front Street Healthcare Properties, LLC and Front Street
 Healthcare Properties II, LLC.

 “Front Street Note” that certain promissory note dated as of February 12, 2020 by which one or
 more of the Broad Street PropCos allegedly owes one or more of the Front Street Entities
 approximately $15,000,000.

 “Governmental Authority” means any nation or government, any state or other political
 subdivision thereof, and any agency, department or Person exercising executive, legislative,
 judicial, regulatory or administrative functions of or pertaining to government.

 “Governmental Tax Claim Proceeding” means any proceeding, claim objection, claim
 estimation, adversary proceeding or contested matter involving a claim asserted or scheduled,
 and/or any request for allowance of an administrative expense claim, by or on behalf of any
 Governmental Authority on account of asserted liability for any Tax.


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 “HPP Notes” means, collectively, the following notes, all of which were assigned to one or more
 of the Debtors on or about January 11, 2018: (i) that certain Surplus Note Number SCHC201502A
 issued by Health Partners Plans, Inc., to Tenet HealthSystem Saint [sic] Christopher’s Hospital for
 Children, LLC, in the principal amount of $3,799,960; (ii) that certain Surplus Note Number
 TT201501A issued by Health Partners Plans, Inc., to Tenet HealthSystem St. Christopher’s
 Hospital for Children, LLC, in the principal amount of $2,089,015; (iii) that certain Surplus Note
 Number HAHN201502A issued by Health Partners Plans, Inc., to Tenet HealthSystem
 Hahnemann, LLC, in the principal amount of $1,350,087; and (iv) that certain Surplus Note
 Number TT201501A issued by Health Partners Plans, Inc., to Tenet HealthSystem Hahnemann,
 LLC, in the principal amount of $506,257.

 “HSRE Allowed Lease Damages Claim” shall have the meaning ascribed to it in Section 8 hereof.

 “HSRE Complaint” means that certain adversary complaint (and the allegations and claims
 contained within or that could have been included within such complaint) filed in the Chapter 11
 Cases, commencing adversary proceeding no. 21-50993-MFW, as filed on June 29, 2021 by the
 Debtors against some or all of the HSRE Entities and Capital One, N.A.

 “HSRE Debtor Claims” means any and all claims held by, filed by, filed on behalf of, otherwise
 asserted by, or scheduled for, any of the HSRE Entities against any of the Debtors, including,
 without limitation, those claims listed on Schedule B hereto.

 “HSRE Documents” means, collectively, and in each case as amended and/or modified as of the
 date hereof, (i) the Commitment Letter dated August 31, 2017 among Harrison Street Real Estate,
 LLC, PAHH and Paladin; (ii) the HSRE-PAHH Note; (iii) the HSRE-PAHH Note Pledge
 Agreement; (iv) any financing statements with respect to the HSRE JV Interests; (v) the Escrow
 Agreement; (vi) the Master Lease Guaranties; (vii) the REAs; (viii) the Unity of Use Agreements;
 (ix) the HSRE ROFO Agreement; (x) the HSRE Warrant; (xi) the Limited Liability Company
 Agreement of HSRE-PAHH I, LLC, dated as of August 31, 2017, between HSRE-PAHH IA, LLC
 and PAHH; (xii) the Delegation Agreement dated August 31, 2017 among certain MBNF Parties
 and HSRE JV; (xiii) the Limited Liability Company Agreement of PAHH dated as of August 31,
 2017; and (xiv) any other documents, instruments, certificates, and agreements delivered by any
 of the MBNF Parties to, or for the benefit of, any HSRE Entity, or by any HSRE Entity to, or for
 the benefit of, any of the MBNF Parties.

 “HSRE Entities” means, collectively, Harrison Street Real Estate, LLC, HSREP VI Holding,
 LLC, HSRE JV and HSRE-PAHH IA, LLC and their respective Affiliates, including, without
 limitation, PAHH New College MOB, LLC, PAHH Bellet MOB, LLC, PAHH Broad Street MOB,
 LLC, PAHH Feinstein MOB, LLC, PAHH Wood Street Garage, LLC, and PAHH Erie Street
 Garage, LLC.

 “HSRE JV” means HSRE-PAHH I, LLC.

 “HSRE JV Interests” means, collectively, (i) those certain 100 Class A Units of HSRE JV,
 representing 10% of the outstanding equity interests of such class, and (ii) those certain 100
 Class B Units of HSRE JV, representing 100% of the outstanding equity interests in such class, in


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 each case held by PAHH and pledged by PAHH pursuant to the HSRE-PAHH Note Pledge
 Agreement.

 “HSRE JV Releasing Party” means the HSRE JV and its Representatives.

 “HSRE MBNF Claims” means any and all claims of any of the HSRE Entities against any of the
 MBNF Parties, including, without limitation, (i) claims asserted in the matter captioned HSRE-
 PAHH I, LLC et al. v. Philadelphia Academic Health Holdings, LLC et al., Case ID 200300202
 (Ct. Com. Pl. Phila. Cty. – Commerce Program); (ii) claims asserted in the matter captioned PAHH
 Broad Street MOB, LLC et al v. Philadelphia Academic Health Holdings, LLC et al., Case ID
 190804677 (Ct. Com. Pl. Phila. Cty. – Commerce Program); (iii) claims related to or arising out
 of the HSRE-PAHH Note, the HSRE-PAHH Note Pledge Agreement or the HSRE JV Interests;
 and (iv) claims arising from, in connection with, or related to any other HSRE Documents.

 “HSRE-PAHH Note” means that certain promissory note, dated January 11, 2018, issued by
 PAHH to HSREP VI Holding, LLC in the original principal amount of $51,075,000.

 “HSRE-PAHH Note Pledge Agreement” means the Pledge Agreement dated January 11, 2018
 between PAHH and HSREP VI Holding, LLC.

 “HSRE Released Party” means each of the HSRE Entities and each of their respective
 Representatives.

 “HSRE Releasing Party” means each of the HSRE Entities and each of their respective
 Representatives.

 “HSRE ROFO Agreement” means the Non-Competition and Right of First Opportunity
 Agreement, dated January 11, 2018, between PAHH and Harrison Street Real Estate, LLC.

 “HSRE Warrant” means the Class A Unit Purchase Warrant No. WCA-1, issued on January 11,
 2018, by PAHH to HSREP VI Holding, LLC.

 “January 2018 Transactions” means, collectively, those transactions entered into by some or all
 of the Parties on or about January 11, 2018 in connection with the sale and transfer by Tenet of
 Hahnemann University Hospital, St. Christopher’s Hospital for Children, and associated real estate
 and other assets to certain of the Debtors, certain of the MBNF Parties, and certain of the HSRE
 Entities, including, without limitation, those effectuated by, related to, in connection with or arising
 from the ASA, the Ancillary Documents, the MSA, the TSA, the Leases, the HSRE Documents,
 the CONA Documents, and/or the MidCap Documents, or pursuant to any documents, instruments
 or agreements that amended, supplemented or otherwise modified any of the foregoing.

 “January 2018 Transactions Professionals” has the meaning set forth in the definition of
 “Representative.”

 “Leases” means, collectively, the real estate leases, Master Leases, and real estate subleases
 executed by one or more of the Debtors, the MBNF Parties and/or the HSRE Entities, as lessor or
 sublessor, and one or more of the Debtors, the MBNF Parties and/or the HSRE Entities, as lessee
 or sublessee on or about January 11, 2018 in connection with the January 2018 Transactions.
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 “Master Leases” means, collectively, those certain six (6) master leases each dated as of January
 11, 2018 between (i) St. Christopher’s Healthcare, LLC, as tenant, and (ii) each of PAHH New
 College MOB, LLC, PAHH Bellet MOB, LLC, PAHH Broad Street MOB, LLC, PAHH Feinstein
 MOB, LLC, PAHH Wood Street Garage, LLC, and PAHH Erie Street Garage, LLC, as landlord.

 “Master Lease Guaranties” means, collectively, the guaranties of lease, each dated as of January
 11, 2018 by each of PAHH and Paladin with respect to each of the Master Leases.

 “MBNF” means MBNF Investments, LLC.

 “MBNF Affiliate” means any current or former Affiliate of any MBNF Party.

 “MBNF Complaint” means that certain adversary complaint (and the allegations and claims
 contained within or that could have been included within such complaint) filed in the Chapter 11
 Cases, commencing adversary proceeding no. 21-50991-MFW, as filed on June 29, 2021 by the
 Debtors against certain of the MBNF Parties.

 “MBNF CONA Claims” means any and all claims of any of the MBNF Parties against any of the
 CONA Parties.

 “MBNF Debtor Claims” means any and all claims held by, filed by, filed on behalf of, otherwise
 asserted by, or scheduled for, any of the MBNF Parties against any of the Debtors, including,
 without limitation, those claims listed on Schedule C hereto.

 “MBNF Direction Letter” has the meaning set forth in Section 51 of this MOU.

 “MBNF Entities” means, collectively, MBNF, AAHS, PAHH, the Front Street Entities, the Broad
 Street PropCos and the RRG.

 “MBNF Equity Buyer Agreement” has the meaning set forth in Section 30 of this MOU.

 “MBNF Equity Buyer LLC” means the purchaser of the equity interests in MBNF.

 “MBNF HSRE Claims” means any and all claims of any of the MBNF Parties against any of the
 HSRE Entities, including, without limitation, third party claims asserted in the matter captioned
 HSRE-PAHH I, LLC et al. v. Philadelphia Academic Health Holdings, LLC et al., Case ID
 200300202 (Ct. Com. Pl. Phila. Cty. – Commerce Program).

 “MBNF Individuals” means, collectively, Joel Freedman, Stella Freedman, Svetlana Attestatova,
 and Kyle Schmidt.

 “MBNF Intercompany Claims” means any and all claims among the MBNF Entities.

 “MBNF Liquidator LLC” means the limited liability company that indirectly owns one hundred
 percent (100%) of the equity interests of MBNF Equity Buyer LLC, through MBNF Parent 1
 Corporation and MBNF Parent 2 Corporation.



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 “MBNF Parent 1 Corporation” means a corporation that directly owns fifty percent (50%) of the
 equity interests of MBNF Equity Buyer LLC that is not owned by MBNF Parent 2 Corporation.

 “MBNF Parent 2 Corporation” means a corporation that directly owns fifty percent (50%) of the
 equity interests of MBNF Equity Buyer LLC that is not owned by MBNF Parent 1 Corporation.

 “MBNF Parties” means, collectively, the MBNF Entities, the MBNF Individuals, Paladin
 Healthcare Capital, LLC, Paladin Healthcare Management, LLC, and Globe Health Foundation,
 Inc.

 “MBNF Released Party” means each of the MBNF Parties, each of the Broad Street Lenders,
 each MBNF Affiliate, and each of their respective Representatives.

 “MBNF Releasing Party” means each of the MBNF Parties, each of the Broad Street Lenders,
 each MBNF Affiliate, and each of their respective Representatives.

 “MBNF Tenet/Conifer Claims” means any and all claims of any of the MBNF Parties against
 Tenet and/or Conifer, including, without limitation, (i) those claims asserted by PAHH in the Court
 of Chancery of the State of Delaware in the matter captioned Philadelphia Academic Health
 Holdings, LLC v. Tenet Business Services Corporation, case no. 2018-0684-KSJM, (ii) those
 claims asserted in the Superior Court of the State of Delaware in the matter captioned Philadelphia
 Academic Health Holdings, LLC et al. v. Tenet Business Services Corporation, case no. N19C-04-
 035EMDCCLD, and (iii) any other claims arising from, in connection with, or related to the
 January 2018 Transactions, the ASA, the Ancillary Documents, the TSA and/or MSA.

 “MidCap Documents” means, collectively, (i) the Commitment Letter dated August 31, 2017
 among MidCap Financial Trust, certain Debtors and certain MBNF Parties; (ii) the Credit and
 Security Agreement dated as of January 11, 2018, among the Debtors and MidCap Financial Trust,
 as administrative agent and lender, as amended by Amendment No. 1 to Credit and Security
 Agreement dated as of September 20, 2018 among the Debtors, Midcap Funding IV Trust, as
 administrative agent and lender, and MidCap Funding H Trust, as lender; (iii) the Payment
 Guaranty dated as of January 11, 2018, by PAHH for the benefit of MidCap Financial Trust;
 (iv) the Guaranty and Security Agreement dated as of September 20, 2018, by the Broad Street
 PropCos for the benefit of MidCap Funding IV Trust; (v) the First Priority Secured Priming Super-
 Priority Debtor in Possession Credit and Security Agreement, dated as of July 15, 2019, among the
 Debtors and MidCap Financial Trust, as agent and lender; (vi) the Guaranty and Security
 Agreement dated as of July 15, 2019, by the Broad Street PropCos for the benefit of MidCap
 Financial Trust; (vii) the Guaranty and Security Agreement dated as of July 15, 2019, by the
 Debtors’ Subsidiaries for the benefit of MidCap Financial Trust; (viii) the Payment Guaranty dated
 as of July 15, 2019, by PAHH for the benefit of MidCap Financial Trust; and (ix) all other
 documents, instruments and agreements related thereto and executed prior to, concurrently
 therewith or at any time thereafter, as any or all of the same may be amended, supplemented,
 restated or otherwise modified from time to time.

 “MOU Implementation Date” means the date on which all the conditions to the effectiveness of
 this MOU set forth in Section 23 shall have been satisfied or, if applicable, waived in writing.


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 “MOU Implementation Date Certification” shall have the meaning set forth in Section 50 of this
 MOU.

 “MOU Release Notice” shall have the meaning set forth in Section 52 of this MOU.

 “MSA” means the Master Services Agreement between Conifer Revenue Cycle Solutions, LLC
 and Philadelphia Academic Health System, LLC, dated January 11, 2018, and Statements of Work
 entered into in connection therewith, as such agreement and statements of work may have been
 amended or modified.

 “New MBNF Organizational Documents” means such certificates or articles of formation,
 charters, bylaws, operating agreements, shareholder agreements, or other applicable formation
 documents for MBNF, AAHS, PAHH, and the Broad Street PropCos, as applicable, the forms of
 which shall be consistent in all respects with this MOU and reasonably acceptable to the Debtors,
 the Committee, the HSRE Entities, Tenet and MBNF Liquidator LLC.

 “New PAHS Organizational Documents” means the amended operating agreement of PAHS,
 which shall be consistent in all respects with this MOU and reasonably acceptable to the MBNF
 Entities.

 “NKF” means G&E Real Estate Management Services, Inc. d/b/a Newmark Knight Frank in its
 capacity as counter-party under that certain property management agreement dated June 1, 2020,
 as amended.

 “NKF Broker” shall have the meaning set forth in Section 3(d)(ii) of this MOU.

 “Non-MBNF Parties” means the Parties hereto other than the MBNF Parties, MBNF Equity Buyer
 LLC, MBNF Liquidator LLC, MBNF Parent 1 Corporation, MBNF Parent 2 Corporation, PAHS
 Equity Buyer and PAHS Holdco LLC.

 “PAHH” means Philadelphia Academic Health Holdings, LLC.

 “PAHS” means Philadelphia Academic Health System, LLC.

 “PAHS Equity Buyer” means the purchaser of the equity interests in PAHS.

 “PAHS Holdco LLC” means the limited liability company that directly owns and controls one
 hundred percent (100%) of the equity interests of PAHS Equity Buyer.

 “PAHS Loan” means any and all loans and advances made by PAHS to the Broad Street PropCos
 pursuant to the PAHS Loan Documents and the interim and final orders [Docket Nos. 3811 and
 3892] approving the Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
 Philadelphia Academic Health System, LLC to Make Secured Term Loan to Broad Street Entities
 Pursuant to 11 U.S.C. § 363 and 105(a) and (II) Granting Related Relief [Docket No. 3657].

 “PAHS Loan Documents” means collectively (i) the Secured Promissory Note dated as of March
 31, 2022 in the amount of $5,600,000 from the Broad Street PropCos to PAHS; (ii) the Guaranty
 Agreement dated as of March 31, 2022 from PAHH to PAHS; (iii) the Open-End Mortgages and

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 Security Agreements dated as of March 30, 2022 and effective as of March 31, 2022 from each of
 the Broad Street PropCos to PAHS; (iv) the Second Amended and Restated Lien Subordination
 Agreement dated as of March 30, 2022 and effective as of March 31, 2022 by and among PAHS,
 Paladin, as agent under the Broad Street Notes, and Front Street Healthcare Properties, LLC; and
 (v) the UCC-1 Financing Statements and UCC fixture filings with each of the Broad Street
 PropCos, as a debtor, and PAHS, as a secured party.

 “Paladin” means Paladin Healthcare Capital, LLC.

 “PAMA” means Philadelphia Academic Medical Associates, LLC.

 “Pending Litigation Claims” means (i) those claims (collectively, the “Saechow Claims”)
 asserted by Pamela Saechow (A) before the American Arbitration Association in the pending
 matter captioned Pamela Saechow v. Philadelphia Academic Health System, LLC, American
 Academic Health System, LLC, Paladin Healthcare Capital, LLC and Joel Freedman, AAA NO:
 01-21-0003-6682, (B) the related administrative charge captioned Pamela Saechow v. American
 Academic Health System, EEOC Charge No. 530-2019-04039, and (C) any other claims related to
 the Saechow Claims or to Pamela Saechow’s employment or termination of employment by any
 Debtor or any of the MBNF Parties, that have been or may in the future be asserted by Pamela
 Saechow against any of the MBNF Parties, MBNF Affiliates or their respective Representatives;
 and (ii) those claims (collectively, the “Richards Claims”) asserted by Suzanne Richards in (A)
 the administrative action captioned Suzanne Richards v. Philadelphia Academic Health System
 LLC, American Academic Health System LLC, Paladin Healthcare Capital LLC, Hahnemann
 University Hospital, and St. Christopher’s Hospital for Children, PHRC Charge No. 201902231
 and EEOC Charge No. 17F202060916, (B) the matter pending before JAMS captioned Suzanne
 Richards and SMR Healthcare Management, Inc. v. American Academic Health System, LLC,
 Paladin Healthcare Capital, LLC and Joel Freedman, JAMS No. 1450006960, and (C) any other
 claims related to the Richards Claims, SMR Healthcare Management, Inc.’s retention by, or
 arrangement with, any Debtor or any of the MBNF Parties, or to employment or termination of
 employment by any Debtor or any of the MBNF Parties of Suzanne Richards through the retention
 of, or arrangement with, SMR Healthcare Management, Inc., that have been or may in the future
 be asserted by Suzanne Richards and/or SMR Healthcare Management, Inc. against any of the
 MBNF Parties, MBNF Affiliates or their respective Representatives.

 “Pension Fund” means the Pension Fund for Hospital and Health Care Employees of Philadelphia
 and Vicinity.

 “Pension Settlement Agreement” means that certain Settlement, Assignment, and Release of
 Claims Agreement dated as of December 24, 2020 between the Pension Fund and American
 Academic Health System, LLC, Front Street Healthcare Properties, LLC, Front Street Healthcare
 Properties II, LLC, the Broad Street PropCos, MBNF Investments, LLC, PAHH, and RRG, along
 with their affiliates, subsidiaries, and other members of the “control group” (as such term is set
 forth in the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. § 1002, 29
 U.S.C. § 1301(a)(14)(A)), but excluding the Debtors and the Debtors’ Subsidiaries.

 “Person” means any natural person, corporation, limited liability company, professional
 association, limited partnership, general partnership, joint stock company, joint venture,

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 association, company, trust, bank, trust company, land trust, business trust or other organization,
 whether or not a legal entity, and any Governmental Authority.

 “Plan” means an amended plan of liquidation of the Debtors under Chapter 11 of the Bankruptcy
 Code, including the exhibits and schedules thereto and any Plan Supplement, as may be amended,
 supplemented, or modified from time to time in accordance with the Bankruptcy Code, the
 Bankruptcy Rules, the Confirmation Order and the terms hereof.

 “Plan Supplement” means the compilation of disclosures, documents and forms of documents,
 schedules, and exhibits to the Plan, as amended, modified or supplemented from time to time in
 accordance with the Bankruptcy Code, the Bankruptcy Rules, and the terms hereof.

 “Power of Attorney” has the meaning set forth in Section 3(a)(vi) of this MOU.

 “Prior Pension Payments” has the meaning set forth in Section 6 of this MOU.

 “Real Estate” means the following properties, as more particularly described by the legal
 description attached hereto and made a part hereof as Schedule D, together with all of right, title
 and interest in and to all improvements and fixtures located thereon, and all rights, privileges and
 recorded easements appurtenant to any of the foregoing:

                                                         Philadelphia, PA Address        OPA

    North Tower, South Tower                            222-248 N. Broad Street          772025002

    (Land next to SHSH Building)                        221-223 N. 15th Street           772028498

    Stiles Alumni Hall Underground                      325 N. 15th Street               881038202

    Martinelli Park                                     300-304 N. Broad Street          885620242

    (redevelopment land/surface parking) (city block) 200-214 N. Broad Street            885467862

    SHSH Building (city block)                          201-219 N. 15th Street           772028496


 “REAs” means, collectively, (i) the Broad Street PropCos REAs, and (ii) the Parking, Access and
 Utilities Easement Agreement (Erie Garage/St. Christopher’s Hospital), effective as of January 11,
 2018, among Front Street Healthcare Properties, LLC, PAHH Erie Street Garage, LLC, and Front
 Street Healthcare Properties II, LLC.

 “Release Certifying Parties” has the meaning set forth in Section 52 of this MOU.

 “Released Claims” has the meaning set forth in Section 14(i) of this MOU.

 “Released Party” means, collectively or individually, as the context may require, Committee
 Released Party, CONA Released Party, Conifer Released Party, Debtor Released Party, HSRE
 Released Party, MBNF Released Party, Tenet Released Party and RRG Released Party.
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 “Releasing Party” means, collectively or individually, as the context may require, Committee
 Releasing Party, CONA Releasing Party, Conifer Releasing Party, Debtor Releasing Party, HSRE
 Releasing Party, HSRE JV Releasing Party, MBNF Releasing Party, Tenet Releasing Party and
 RRG Releasing Party.

 “Representative” means, with respect to any Person, such Person’s and such Person’s current and
 former Affiliates’ current and former officers, directors, control persons, equity holders, managers,
 supervisors, principals, managing members, members, employees, servants, agents, advisory board
 members, financial advisors, partners, attorneys, advisors, accountants, investment bankers,
 consultants, administrative agents, collateral agents, documentation agents, representatives,
 predecessors, successors (including successors in interest), trustees, assigns, assignee for the
 benefit of creditors, liquidators, receivers, heirs, estates, family members, executors,
 administrators, and other professionals, in each case, solely in their respective capacities as such,
 provided, however, that the term “Representative” shall not include (i) the members of the
 Committee; (ii) HRE Capital, LLC f/k/a Healthcare Real Estate Capital, LLC or Huron Consulting
 Services, LLC and its affiliates (collectively, the “January 2018 Transactions Professionals”);
 (iii) Accredited Surety and Casualty Company, Inc. and/or its affiliates; (iv) NKF; and (v) solely
 with respect to the pending claims reported under the D&O Insurance, Suzanne Richards; SMR
 Healthcare Management, Inc.; Pamela Saechow; Jeeni Patel; Candese Combs; Scherise Bell;
 Elizabeth Thomas; Michelle Beckal; Crystal Broomer; and Joelle Leone and any other individuals
 or entities listed in Claim No. X2100660 under the D&O Insurance; provided further that (a) none
 of the Debtors, the Debtors’ Subsidiaries or their respective Representatives is or shall be deemed
 to be a Representative of any of the MBNF Parties, the Broad Street Lenders, the HSRE Entities,
 the CONA Parties, Tenet, Conifer or the Committee; (b) none of the MBNF Parties or their
 Representatives is or shall be deemed to be a Representative of any of the Debtors, the Debtors’
 Subsidiaries, the HSRE Entities, the CONA Parties, Tenet, Conifer or the Committee; (c) none of
 the Broad Street Lenders or their Representatives is or shall be deemed to be a Representative of
 any of the Debtors, the Debtors’ Subsidiaries, the HSRE Entities, the CONA Parties, Tenet, Conifer
 or the Committee; (d) none of the HSRE Entities or their Representatives is or shall be deemed to
 be a Representative of any of the Debtors, the Debtors’ Subsidiaries, the MBNF Parties, the Broad
 Street Lenders, the CONA Parties, Tenet, Conifer or the Committee; (e) none of the CONA Parties
 or their Representatives is or shall be deemed to be a Representative of any of the Debtors, the
 Debtors’ Subsidiaries, the MBNF Parties, the Broad Street Lenders, the HSRE Entities, Tenet,
 Conifer or the Committee; (f) none of Tenet or its Representatives is or shall be deemed to be a
 Representative of any of the Debtors, the Debtors’ Subsidiaries, the MBNF Parties, the Broad
 Street Lenders, the HSRE Entities, the CONA Parties, or the Committee; (g) none of Conifer or its
 Representatives is or shall be deemed to be a Representative of any of the Debtors, the Debtors’
 Subsidiaries, the MBNF Parties, the Broad Street Lenders, the HSRE Entities, the CONA Parties,
 or the Committee; and (h) none of the Committee or its Representatives is or shall be deemed to
 be a Representative of any of the Debtors, the Debtors’ Subsidiaries, the MBNF Parties, the Broad
 Street Lenders, the HSRE Entities, the CONA Parties, Tenet or Conifer.

 “RRG” means Philadelphia Academic Risk Retention Group, LLC.

 “RRG Dissolution” has the meaning set forth in Section 2 hereof.



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 “RRG Membership Interests” means, collectively, (i) those certain 90 units of RRG, representing
 90% of the outstanding membership interests of RRG held by PAHH, (ii) those certain 5 units of
 RRG representing 5% of the outstanding membership interests of RRG held by PAHS, and (iii)
 those certain 5 units of RRG representing 5% of the outstanding membership interests of RRG held
 by PAMA.

 “RRG MOU Implementation Date Actions” has the meaning set forth in Section 2 hereof.

 “RRG Proceeds” has the meaning set forth in Section 2 hereof.

 “RRG Released Party” means each MBNF Released Party and each Debtor Released Party.

 “RRG Releasing Party” means each MBNF Releasing Party and each Debtor Releasing Party.

 “Sale” shall have the meaning ascribed to it in Section 3(b) hereof.

 “Settlement Balancing Payment” means the payment by PAHS to the Third Party Escrow Agent,
 in the amount of $4,450,000, for disbursement as set forth in the MBNF Direction Letter; the source
 of repayment of which shall be limited to the proceeds of the Sale or other disposition of the Real
 Estate, and secured by a lien on the Real Estate, which claim for repayment shall have no recourse
 to any of the Broad Street PropCos, pursuant to the Amended PAHS Loan Documents.

 “Standstill Agreement” means that certain standstill agreement, between and among the Debtors
 and the MBNF Parties, regarding the governance of the Debtors and entered into (and extended
 from time to time) in connection with the mediation conducted by The Honorable Kevin J. Carey
 (ret.).

 “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
 (including backup withholding), assessments, fees or other charges imposed by any Governmental
 Authority, including any interest, additions to tax or penalties applicable thereto.

 “Tenet” means, collectively, Tenet Healthcare Corporation, Tenet Business Services Corporation,
 Tenet Healthsystem Hahnemann, L.L.C., Tenet Healthsystem St. Christopher’s Hospital For
 Children, L.L.C., and each other “Seller” as that term is defined in the ASA and each of their
 respective Affiliates.

 “Tenet Allowed Claim” shall have the meaning ascribed to it in Section 7 hereof.

 “Tenet Debtor Claims” means, subject to the release of all claims against each MBNF Released
 Party as described in Sections 14(a), (d), (e), (i) and (l), any claims allowed to Tenet and/or Conifer,
 or retained by Tenet and/or Conifer, pursuant to that certain Order Granting Motion of the Debtors
 for Entry of Order Approving Settlement Term Sheet Between the Debtors, Tenet Business Services
 Corporation, Conifer Revenue Cycle Solutions, LLC and The Official Committee of Unsecured
 Creditors [D.I. 1118], and the Term Sheet attached thereto as Exhibit 1.

 “Tenet Net Settlement Payment” means the payment from Tenet to the Third Party Escrow Agent
 in the amount of $23,500,000 less the Withdrawal Liability Settlement Payment, the Prior Pension


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 Payments and the Tenet Paladin Settlement Payment, for disbursement as set forth in the MBNF
 Direction Letter.

 “Tenet Paladin Settlement Payment” means the payment from Tenet to the Third Party Escrow
 Agent, in the amount of $5,000,000, in settlement and full resolution of all pending and potential
 claims asserted or assertable by Paladin against Tenet, which payment shall be disbursed by the
 Third Party Escrow Agent to Paladin and PAHH in accordance with the MBNF Direction Letter.

 “Tenet Released Party” means Tenet and its Representatives.

 “Tenet Releasing Party” means Tenet and its Representatives.

 “Tenet/Conifer Indemnification Claims” means any and all claims of Tenet and/or Conifer
 against any of the MBNF Parties for indemnification, whether relating to amounts due or
 potentially due to the Pension Fund, in connection with or relating to the MSA or the TSA, or
 otherwise.

 “Tenet/Conifer MBNF Claims” means any and all claims of Tenet and/or Conifer against any of
 the MBNF Parties, including, without limitation, (i) claims and counterclaims asserted by Tenet
 and/or Conifer in the Chancery Court of the State of Delaware in the matter captioned Philadelphia
 Academic Health Holdings, LLC v. Tenet Business Services Corporation, case no. 2018-0684-
 KSJM, (ii) claims and counterclaims asserted by Tenet and/or Conifer in the Superior Court of the
 State of Delaware in the matter captioned Philadelphia Academic Health Holdings, LLC et al. v.
 Tenet Business Services Corporation, case no. N19C-04-035EMDCCLD, (iii) claims asserted in
 the Superior Court of the State of Delaware in the matter captioned Tenet et. al. v Front Street et.
 al., case no. N19C-09-116-SKR; (iv) claims arising from or in connection with the “Put
 Agreement” (as defined in the ASA); (v) Tenet/Conifer Indemnification Claims; and (vi) any other
 claims arising from, in connection with, or related to the January 2018 Transactions, the ASA,
 Ancillary Documents, TSA and/or MSA.

 “Third Party Escrow Agent” means Omni Agent Solutions.

 “Travelers” means Travelers Casualty and Surety Company of America.

 “TSA” means the Transition Services Agreement between Tenet Business Services Corporation
 and PAHS, dated January 11, 2018, as such agreement may have been amended and/or modified.

 “Unity of Use Agreements” means, collectively, (i) the Broad Street PropCos Unity of Use
 Agreements and (ii) the Easement & Unity of Use Statement, effective as of January 11, 2018,
 among Front Street Healthcare Properties, LLC, PAHH Erie Street Garage, LLC, and Front Street
 Healthcare Properties II, LLC.

 “Withdrawal Liability Settlement Payment” has the meaning set forth in Section 6 of this MOU.




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                                              Agreement

        For good and valuable consideration, receipt and sufficiency of which are hereby
 acknowledged, the Parties hereby agree as follows, subject to the entry of the Approval Order and
 the occurrence of the MOU Implementation Date as set forth herein:

     1. Settlement of Matters. On the MOU Implementation Date, this MOU and the
        consideration provided herein constitutes, among other things, the settlement of all matters
        pending on appeal in the United States District Court for the District of Delaware, Civil
        Action No. 1:21-cv-01779-RGA and all other matters set forth in Section 15 herein.

     2. RRG Proceeds. From and after the Execution Date, RRG shall use commercially
        reasonable efforts to promptly obtain all necessary regulatory approvals for the dissolution
        and liquidation of the RRG (the “RRG Dissolution”) and the distribution of the assets of
        RRG (“RRG Proceeds”) to PAHH and the Debtors as set forth herein, and PAHH, PAMA
        and PAHS shall use commercially reasonable efforts to cooperate with RRG in obtaining
        such regulatory approvals. In furtherance of timely distribution of the RRG Proceeds, as
        of the Execution Date, PAHH, PAHS, and PAMA, each in the capacity as a holder of the
        RRG Membership Interests, shall have executed the members dissolution resolutions
        attached hereto as Exhibit 2(a) and the board of managers of RRG shall have executed the
        board dissolution resolutions attached hereto as Exhibit 2(b). Notwithstanding anything to
        the contrary set forth in the Operating Agreement of RRG, dated as of February 5, 2018,
        and/or the Agreement of Members of Philadelphia Academic Risk Retention Group, LLC
        effective as of March 11, 2020, or otherwise, the RRG Proceeds shall be disbursed as
        follows (the manner of which shall be referred to herein as the “Disbursement Priorities”):
        (i) first, the retention of a reserve in the amount of $200,000, to pay, solely from such
        reserve, (a) all of RRG’s ordinary course taxes and obligations to its trade creditors and
        other vendors that are outstanding as of the MOU Implementation Date based on the issued
        and outstanding invoices, a schedule of which shall be provided by the RRG to the Debtors
        no less than ten (10) calendar days prior to the scheduled payment of such invoices, and (b)
        the documented, out-of-pocket expenses and costs associated with (x) the performance of
        RRG’s obligations to cooperate with Accredited Surety and Casualty Company, Inc. as set
        forth in that certain Assignment, Assumption and Novation Agreement dated as of March
        31, 2022 and (y) the dissolution and winding up of RRG (including preparing and filing of
        its final tax return and any regulatory filings), provided that any unused reserve shall revert
        to PAHS and PAMA; and thereafter, (ii) $2,760,000 to PAHH and (iii) all other proceeds
        to the Debtors, provided, however, that any funds payable by the RRG pursuant to clauses
        (ii) and (iii) above, whether by way of the return of surplus capital, dissolution or otherwise,
        shall be divided equally between (x) PAHH and (y) the Debtors until PAHH and the
        Debtors each receive $2,760,000 and thereafter all such distributions shall be made to the
        Debtors. On or promptly after the Execution Date, the RRG shall request an approval from
        the Vermont Department of Financial Regulation, in a form acceptable to PAHH, PAHS
        and PAMA, for the dissolution, liquidation and wind up of the RRG, and subject to such
        approval, (I) the following shall occur on the MOU Implementation Date (collectively,
        “RRG MOU Implementation Date Actions”): (a) RRG shall pay liquidating distributions
        in an amount equal to all RRG Proceeds less the reserve retained pursuant to clause (i) of
        the Disbursement Priorities, to PAHH and Debtors in accordance with clauses (ii) and (iii)
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            of the Disbursement Priorities; (b) PAHH shall voluntarily dissociate and withdraw as a
            member of the RRG and shall execute the Voluntary Dissociation of Membership Interest
            attached hereto as Exhibit 2(c), thereby relinquishing its rights to participate as a member
            of the RRG and terminating its membership interest in the RRG; and (c) all MBNF
            Individuals that hold any board, officer or other position with the RRG shall resign from
            any and all such positions by executing the two written resignations attached hereto as
            Exhibit 2(d), and the remaining members of the RRG (i.e. PAHS and PAMA) and the
            board of RRG shall appoint individuals to replace such MBNF Individuals acceptable to
            the Vermont Department of Financial Regulation and the Committee by executing the
            member and board resolutions each attached hereto as Exhibit 2(e); and (II) after the MOU
            Implementation Date, RRG shall proceed to dissolve and liquidate, as expeditiously as
            reasonable, for the sole purpose of winding up and paying all final liabilities of the RRG,
            all in accordance with the Disbursement Priorities; and at such time as all final liabilities
            of the RRG have been paid, the RRG shall promptly file articles of termination with the
            Vermont Secretary of State terminating the legal existence of the dissolved RRG as of the
            date of filing, and deliver to each of PAHH, PAHS and PAMA a proper accounting made
            by the RRG’s accountants of the RRG’s assets, liabilities and results of operations through
            the date of termination. The Approval Order shall provide, among other things, that all
            RRG distributions in accordance with the provisions set forth in this MOU are authorized
            and approved and no further authorization or approval from the Bankruptcy Court shall be
            required therefor, including pursuant to the Order (I) authorizing Debtors to Enter into
            Assignment, Assumption and Novation Agreement Pursuant to 11 U.S.C. § 363 and (II)
            Granting Related Relief [Docket No. 3710]. The Debtors shall seek to effectuate the
            dismissal of any MBNF Parties as part of entering into stipulations modifying the automatic
            stay to allow claimants to recover damages for personal injuries, solely by presenting such
            claimants with a copy of a declaration, substantially in the form attached hereto as Exhibit
            2(f).

     3. Settlement Implementation/Broad Street PropCos / Real Estate.

               a. Settlement Implementation. On and after the MOU Implementation Date, the
                  applicable Parties shall implement the settlement transactions, actions, and steps set
                  forth in Sections 3(a)(i) – 3(a)(xx) herein in the sequence set forth below, provided
                  that, if any step is delayed in implementation or effect but has occurred, it shall
                  nevertheless be deemed to have occurred in the indicated sequence. No transactions
                  contemplated by the steps described in this Section 3(a) shall negate any express
                  terms of this MOU, the intent being that all successors and assigns of the Parties
                  shall be bound by the terms hereof. To the extent any payment in these steps is
                  misdirected, the recipient of such misdirected payment shall redirect such payment
                  in accordance with the steps.

                          i.   On the MOU Implementation Date, Tenet shall pay the Withdrawal
                               Liability Settlement Payment.

                         ii.   Immediately thereafter, (a) Tenet shall make the Tenet Paladin
                               Settlement Payment; (b) Tenet shall make the Tenet Net Settlement
                               Payment; (c) the Debtors shall make the Debtor Settlement Payment;

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                        and (d) PAHS shall make the Settlement Balancing Payment.
                        Immediately following its receipt of the payments set forth in the
                        foregoing clauses 3(a)(i) and (3)(a)(ii)(a), (b), (c), and (d), the Third
                        Party Escrow Agent shall, on the MOU Implementation Date, disburse
                        such amounts in accordance with the MBNF Direction Letter. Such
                        payments shall be in full and final satisfaction of, inter alia, the secured
                        obligations under the Broad Street Notes, the Broad Street Mortgages,
                        the Broad Street UCC Fixture Filings, all UCC-1 filings by any of the
                        MBNF Parties against any of the Broad Street PropCos and/or their
                        assets securing the Broad Street Notes, and all other liens granted in
                        connection with the Broad Street Notes.

                 iii.   Immediately thereafter, the Third Party Escrow Agent shall release to
                        the Debtors for filing in the appropriate land records in Philadelphia,
                        Pennsylvania, the Office of the Secretary of State of Pennsylvania, the
                        Office of the Secretary of the State of Delaware, or otherwise, fully
                        executed originals of the documents attached hereto as Exhibit 3(a)(iii),
                        that are listed on Schedule 3(a)(iii), in form suitable for recordation,
                        releasing or terminating the Broad Street Mortgages; the Broad Street
                        UCC Fixture Filings and all UCC-1 filings by any of the MBNF Parties
                        against any of the Broad Street PropCos and/or their assets securing the
                        Broad Street Notes or any other obligation, including, but not limited
                        to, any MBNF Intercompany Claims, as applicable. For the avoidance
                        of doubt, the PAHS Loan Documents and related liens shall be modified
                        consistent with this MOU, but shall not be released.

                 iv.    Immediately thereafter, all MBNF Intercompany Claims, to the extent
                        not released or satisfied hereunder, shall be deemed released and
                        satisfied on the MOU Implementation Date. For the avoidance of doubt,
                        the PAHS Loan Documents and related liens shall be modified
                        consistent with this MOU, but shall not be released.

                  v.    Immediately thereafter, (a) PAHH shall assume the Broad Street Notes,
                        the Front Street Note and any other obligations of any of the Broad
                        Street PropCos to any of the other MBNF Parties and their
                        Representatives to the extent not satisfied or released, and (b) the Third
                        Party Escrow Agent shall release to PAHH, the Broad Street PropCos
                        and the other parties party thereto a fully executed original of the
                        assignment and assumption agreement attached hereto as Exhibit
                        3(a)(v). Such assignment shall include a release of the obligation of the
                        applicable Broad Street PropCo(s) for such obligations.

                 vi.    (a) Immediately thereafter, and pursuant to the Approval Order (but
                        subject to Section 14 of this MOU), the assets of the Broad Street
                        PropCos set forth on Schedule 3(a)(vi) hereto, including without
                        limitation, the Real Estate and all rights of the Broad Street PropCos
                        with respect to contracts, deposits, pre-payments, overpayments,

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                        rebates, refunds and the like (collectively with the Real Estate, the
                        “Assets”), shall be substantively consolidated with the assets of CCH
                        as follows. The Approval Order shall provide, among other things, that
                        CCH shall hold all equitable and other interests in the Real Estate,
                        subject to all liens (other than the liens to be satisfied and/or released
                        pursuant      to     Sections     3(a)(ii)    and     3(a)(iii)    hereof),
                        agreements/encumbrances running with the land (including, for the
                        avoidance of doubt, the REAs and Unity of Use Agreements), and all
                        other assets of the Broad Street PropCos listed on Schedule 3(a)(vi)
                        hereto, such that, subject to Schedule 3(b) hereof, CCH shall have the
                        sole and exclusive authority to use, possess, lease, encumber, sell,
                        transfer, assign, convey or otherwise dispose of the Real Estate and/or
                        such other assets and, shall be entitled to any proceeds of the Real Estate
                        and such other assets, and to execute in the name, and on behalf of, one
                        or more of the Broad Street PropCos any bills of sale, deeds,
                        instruments, certificates and other documents effectuating any such use,
                        lease, sale, transfer, assignment, conveyance and/or other disposition,
                        subject to the terms of this MOU, further order of the Bankruptcy Court
                        or the Plan, as applicable. To facilitate the exercise by CCH, subject to
                        Schedule 3(b) hereof, of the foregoing rights, and without intention of
                        limitation thereof, each of the Broad Street PropCos shall, prior to the
                        MOU Implementation Date, deliver to the Third Party Escrow Agent,
                        for release to CCH on the MOU Implementation Date, a duly executed
                        irrevocable limited power of attorney in the applicable form attached
                        hereto as Exhibit 3(a)(vi) (each, a “Power of Attorney”).

                        (b) CCH acknowledges and agrees that any exercise of its powers, rights
                        and/or privileges granted pursuant to any Power of Attorney or, with
                        respect to the Assets, the Approval Order, shall be, and shall be deemed
                        to be CCH’s sole Financial Liability and without the incurrence of any
                        Financial Liability by any Broad Street PropCo to any third party or
                        otherwise; provided however, that each Broad Street PropCo shall fulfill
                        all liabilities, obligations and responsibilities limited solely to
                        performance by each Broad Street PropCo that does not involve or
                        cause any such Broad Street PropCo to incur any Financial Liability.
                        Each Power of Attorney and any exercise thereof shall be subject to this
                        MOU (including any Schedules and Exhibits hereto). For the avoidance
                        of doubt, CCH shall not (i) become liable for any obligation of PAHH
                        or any of the Broad Street PropCos to any of the other MBNF Parties or
                        any of their Representatives and (ii) acquire any claim held by any of
                        the Broad Street PropCos against any of the other MBNF Parties, the
                        MBNF Affiliates, any of their respective Representatives, or any of the
                        Broad Street Lenders.

                 vii.   Concurrently with Section 3(a)(vi), the liabilities relating to the
                        preservation and maintenance of the Real Estate and such other
                        liabilities, solely as described on Schedule 3(a)(vii) hereto shall be
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                        substantively consolidated with the postpetition liabilities of CCH such
                        that the liabilities set forth on Schedule 3(a)(vii) hereto shall become
                        payable by CCH if past due, due or otherwise payable as incurred in the
                        ordinary course.

                viii.   Immediately thereafter, (a) CCH shall assume any and all obligations of
                        the Broad Street PropCos under the PAHS Loan pursuant to the
                        assignment, assumption and novation agreement attached hereto as
                        Exhibit 3(a)(viii)(A), (b) the Third Party Escrow Agent shall release
                        such agreement to CCH, PAHS and the Broad Street PropCos, (c) the
                        Broad Street PropCos and PAHH shall be fully and unconditionally
                        released from any and all obligations relating to or under the PAHS
                        Loan, (d) the guaranty agreement made by PAHH in connection with
                        the PAHS Loan shall be terminated and be of no further force and effect,
                        (e) the intercreditor and subordination agreement executed in
                        connection therewith shall be terminated and be of no further force or
                        effect and (f) any and all recourse provisions contained in the PAHS
                        Loan Documents shall be of no further force or effect. Upon the
                        occurrence of the MOU Implementation Date, (I) the PAHS Loan
                        Documents shall be amended and novated in a manner consistent with
                        this MOU and attached hereto as Exhibit 3(a)(viii)(B) (the “Amended
                        PAHS Loan Documents”), and (II) the Third Party Escrow Agent shall
                        release to the Debtors for filing in the appropriate land records in
                        Philadelphia, Pennsylvania, the Office of the Secretary of State of
                        Pennsylvania, the Office of the Secretary of the State of Delaware, or
                        otherwise, fully executed originals of the Amended PAHS Loan
                        Documents, that are listed on Schedule 3(a)(viii), in form suitable for
                        recordation or filing, amending the mortgages and UCC-1 financing
                        statements, recorded or filed in connection with the PAHS Loan in a
                        manner consistent with this MOU and terminating the subordination
                        agreement recorded in the land records in Philadelphia in connection
                        with the PAHS Loan.

                 ix.    Immediately thereafter, (a) to the extent that the HSRE ROFO
                        Agreement, or any portion thereof, has not terminated, the HSRE ROFO
                        Agreement shall be deemed terminated in its entirety and be of no
                        further force or effect, and (b) the HSRE Warrant shall be deemed
                        cancelled, released, extinguished, and discharged. For the avoidance of
                        doubt, on the MOU Implementation Date, all of the MBNF Parties’ and
                        HSRE Entities’ rights and privileges granted by the one to the other and
                        their respective Affiliates and/or Representatives, whether under the
                        HSRE Documents (excluding any of the rights and privileges of any
                        Person under the Limited Liability Company Agreement of HSRE-
                        PAHH I, LLC, dated as of August 31, 2017, between HSRE-PAHH IA,
                        LLC and PAHH, all of which shall be deemed cancelled, released,
                        extinguished, and discharged upon HSRE JV’s dissolution which shall
                        occur in accordance with Section 4(a)), the Limited Liability Company
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                        Agreement of PAHH dated as of August 31, 2017, or otherwise, are
                        cancelled, released, extinguished, and discharged, and if requested by
                        the MBNF Parties after the MOU Implementation Date, the HSRE
                        Entities shall confirm in writing that the HSRE Warrant has been
                        cancelled, released, extinguished and discharged; provided, however,
                        nothing herein shall be deemed to modify or impair Sections 3(b), 8 or
                        9 of this MOU.

                  x.    Immediately thereafter, pursuant to the merger agreements attached
                        hereto as Exhibit 3(a)(x), (a) each of the Front Street Entities shall be
                        merged with and into PAHH, with PAHH as the surviving entity of each
                        such merger, (b) the Third Party Escrow Agent shall release to counsel
                        to the MBNF Parties the certificates of merger, forms of which are
                        attached to the merger agreements as exhibits, (c) counsel to the MBNF
                        Parties shall file the certificates of merger with the Secretary of State of
                        the State of Delaware on a same day basis, and (d) the Third Party
                        Escrow Agent shall release to PAHH and the Front Street Entities such
                        merger agreements.

                 xi.    Immediately thereafter, (a) all of the RRG MOU Implementation Date
                        Actions shall occur, and (b) the Third Party Escrow Agent shall release
                        to the Debtors the fully executed original resignations attached hereto
                        as Exhibit 2(d).

                 xii.   Immediately thereafter, (a) the New MBNF Organizational Documents
                        shall become effective and (b) the Third Party Escrow Agent shall
                        release such New MBNF Organizational Documents to MBNF, AAHS,
                        PAHH, and the Broad Street PropCos.

                xiii.   Immediately thereafter, (a) MBNF Equity Buyer LLC shall acquire,
                        from the members of MBNF, the membership interests of MBNF,
                        pursuant to a limited liability company interest purchase agreement
                        attached hereto as Exhibit 3(a)(xiii) and (b) the Third Party Escrow
                        Agent shall release such limited liability company interest purchase
                        agreement to MBNF Equity Buyer LLC and the members of MBNF.

                xiv.    Immediately thereafter and pursuant to the assignment, assumption and
                        novation agreement attached hereto as Exhibit 3(a)(xiv), (a) the
                        obligations of PAHH under the HSRE-PAHH Note shall be assigned by
                        PAHH to PAHS and assumed by PAHS, and (b) the Third Party Escrow
                        Agent shall release such assignment agreement to PAHS, PAHH and
                        HSREP VI Holding, LLC. Effective upon PAHS’ assumption of the
                        obligations under the HSRE-PAHH Note on the MOU Implementation
                        Date, PAHH, pursuant to and subject to the terms of such assignment
                        agreement, shall be deemed released from any and all obligations under
                        the HSRE-PAHH Note, and the HSRE-PAHH Note Pledge Agreement
                        shall be terminated without any further action by any party and shall be

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                       of no further force and effect, and the Third Party Escrow Agent shall
                       release to the Debtors for filing with the Secretary of State of the State
                       of Delaware termination statements to terminate the financing
                       statements filed in connection with the HSRE-PAHH Note Pledge
                       Agreement. Notwithstanding the foregoing assumption by PAHS of the
                       obligations under the HSRE-PAHH Note, from and after the effective
                       time of the assumption, the HSRE-PAHH Note shall be payable and
                       satisfied solely from and be recourse solely to the share of any net
                       proceeds of the Sale of the Real Estate received by or on behalf of the
                       HSRE Entities pursuant to the allocation formula, as set forth in
                       Schedule 3(b) hereto. Nothing herein shall convey or shall be deemed
                       to convey to PAHS any interest in the escrow holding the Escrowed
                       Funds, the Escrowed Funds or the release of the Escrowed Funds.

                 xv.   Immediately thereafter, (a) MBNF Equity Buyer LLC shall acquire,
                       from AAHS, the membership interests of PAHH, pursuant to a limited
                       liability company interest purchase agreement attached hereto as
                       Exhibit 3(a)(xv), and (b) the Third Party Escrow Agent shall release
                       such purchase agreement to MBNF Equity Buyer LLC and AAHS. For
                       the avoidance of doubt, after the consummation of such acquisition, the
                       HSRE JV Interests shall remain an asset of PAHH, with PAHH
                       remaining as a direct subsidiary of MBNF Equity Buyer LLC, and
                       MBNF Equity Buyer LLC shall be bound by the restrictions on transfer
                       of the HSRE JV Interests set forth in Section 4(a) below.

                xvi.   Immediately following the transaction described in Section 3(a)(xv), the
                       Third Party Escrow Agent shall release to the Debtors, and the Debtors
                       shall immediately file:

                       a. PAHH’s IRS Form 8832, in the form of Exhibit A to Exhibit
                          3(a)(xv) to this MOU, the form and substance of which must be
                          reasonably acceptable to PAHS, electing to be classified as an
                          association taxable as a corporation for U.S. federal income tax
                          purposes, with an effective date of such election on the day
                          immediately following the date of filing. This Form 8832 shall
                          stipulate that the election shall be effective immediately prior to the
                          election by PAHS described in Section 3(a)(xvi)(b). Immediately
                          following such filing, the Debtors shall provide a true and correct
                          copy of such Form 8832 and proof of filing to PAHH, by email in
                          accordance with Section 43 herein; and

                       b. PAHS’ IRS Form 8832, in the form of Exhibit A to Exhibit
                          3(a)(xvii) to this MOU, the form and substance of which must be
                          reasonably acceptable to PAHH, electing to be classified as an
                          association taxable as a corporation for U.S. federal income tax
                          purposes, with an effective date of such election on the day
                          immediately following the date of filing. This Form 8832 shall
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                              stipulate that the election shall be effective immediately following
                              the election made by PAHH described in Section 3(a)(xvi)(a).
                              Immediately following such filing, the Debtors shall provide a true
                              and correct copy of such Form 8832 and proof of filing to PAHH,
                              by email in accordance with Section 43 herein.

                   xvii.   On the effective date of the election by PAHS set forth on Form 8832
                           described in Section 3(a)(xvi)(b), (a) PAHH shall transfer its
                           membership interest in PAHS to PAHS Equity Buyer, pursuant to a
                           limited liability company interest purchase agreement attached hereto
                           as Exhibit 3(a)(xvii); and (b) the Third Party Escrow Agent shall
                           release such purchase agreement to PAHH and PAHS Equity Buyer.

                  xviii.   Concurrently with Section 3(a)(xvii), (a) the New PAHS Organizational
                           Documents shall become effective, and (b) the Third Party Escrow
                           Agent shall release such New PAHS Organizational Documents to
                           PAHS.

                   xix.    On the business day immediately following the MOU Implementation
                           Date, but in no event prior to the completion of the actions described in
                           Section 3(a)(xvii) of this MOU, MBNF shall assign all assets of AAHS
                           for the benefit of its creditors.

                    xx.    On the business day immediately following the MOU Implementation
                           Date, but in no event prior to the completion of the actions described in
                           Sections 3(a)(xvii) and 3(a)(xix) of this MOU, MBNF Equity Buyer
                           LLC shall assign all assets of MBNF for the benefit of its creditors.

            b. The Sale. The Real Estate shall be managed, marketed and sold in accordance with
               Schedule 3(b) hereto. The proceeds of the sale (“Sale”) of the Real Estate shall be
               paid and/or distributed in the manner as set forth in Schedule 3(b). For the
               avoidance of any doubt, none of the MBNF Parties nor the Broad Street Lenders
               shall participate in the management, marketing, sale or conveyance of the Real
               Estate except as may be required in Section 4(a)(ii) and/or Section 28 hereof, and
               none shall receive proceeds from the Sale. Notwithstanding anything herein to the
               contrary, the parties intend that for U.S. federal and state and local income tax
               purposes, the payments and/or distribution of the proceeds of the Sale pursuant to
               this Section 3(b) made to Tenet, HSRE Entities and the creditors of the Debtors
               under the Plan shall be with respect to the applicable creditors’ claims, and no
               transaction preceding such payment and/or distribution shall be deemed to be
               treated as a payment and/or distribution with respect to such creditors’ claims. Any
               proceeds of Sale payable to the HSRE Entities shall be paid to the HSRE Entities’
               account at Capital One, N.A., for application in accordance with the CONA
               Documents.

            c. As Is, Where Is. The transactions contemplated by this MOU have been negotiated
               by the MBNF Parties and Non-MBNF Parties. This MOU reflects the mutual

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             agreement of all Parties. The Debtors have had the right and opportunity to conduct
             their own independent examination of the Real Estate and all other Assets, and none
             of the Non-MBNF Parties has relied upon or will rely upon, either directly or
             indirectly, any representation or warranty of any MBNF Released Party.

             Each MBNF Released Party, in each of its capacities (including as shareholder,
             owner, director, officer, or otherwise), specifically disclaims any representation,
             warranty or assurance whatsoever to any of the Non-MBNF Parties and their
             Representatives, and no warranties or representations of any kind or character,
             either express or implied, are made by any MBNF Released Party or any other
             Person or relied upon by any of the Non-MBNF Parties or their Representatives
             with respect to the status of title to, or the maintenance, repair, condition, design or
             marketability of, the Assets, or any portion thereof, including but not limited to: (a)
             any implied or express warranty of habitability or fitness for habitation; (b) any
             implied or express warranty of merchantability; (c) any implied or express warranty
             of fitness in whole or in part for any or a particular purpose; (d) any rights under
             appropriate statutes to claim diminution of consideration; (e) any claim for damages
             because of defects, whether known or unknown, with respect to the Real Estate or
             personal property; (f) the financial condition or prospects of the Assets; and (g) the
             compliance or lack thereof of the Assets and any improvements with Governmental
             Authority regulations, including, without limitation, access laws or environmental
             laws now existing or hereafter enacted or promulgated.

             Each of the Non-MBNF Parties, MBNF Equity Buyer LLC, MBNF Liquidator
             LLC, MBNF Parent 1 Corporation, MBNF Parent 2 Corporation, PAHS Equity
             Buyer and PAHS Holdco LLC understands and acknowledges that it is the express
             intention of the Parties that the Assets will be consolidated with and determined to
             be property of CCH, with the underlying Real Estate in its present condition and
             state of repair, “as is” and “where is,” subject to all faults and noncompliance with
             laws, as the case may be, and subject to the REAs and Unity of Use Agreements.
             Each of the Non-MBNF Parties (i) represents for itself that it is relying solely on its
             own expertise and that of its Representatives, (ii) has been given a sufficient
             opportunity to conduct and has conducted or determined not to conduct such
             inspections, investigations or other independent examinations of the Assets and
             related matters as each of them deems necessary, including but not limited to the
             physical and environmental conditions thereof and suitability for Non-MBNF
             Parties’ purposes and will rely solely upon same, and (iii) will, upon the MOU
             Implementation Date, together with the other Non-MBNF Parties, assume the risk
             that adverse matters including, but not limited to, adverse physical and
             environmental conditions, may not have been revealed by the Non-MBNF Parties’
             inspections and investigations (it being understood that the MBNF Entities have
             delivered the notices required in accordance with Section 3(d)(iv) of this MOU).
             Each of the Non-MBNF Parties, MBNF Equity Buyer LLC, MBNF Liquidator
             LLC, MBNF Parent 1 Corporation, MBNF Parent 2 Corporation, PAHS Equity
             Buyer and PAHS Holdco LLC acknowledges and agrees that, upon the MOU
             Implementation Date, the Real Estate and the other Assets will be consolidated with
             and determined to be property of CCH, with the underlying Real Estate in its present
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               condition and state of repair, “as is” and “where is,” with all faults, liabilities,
               defects and other adverse matters that may be associated with the Real Estate.

               Each of the Non-MBNF Parties acknowledges that no express or implied
               representation or warranty is made by any MBNF Released Party as to the accuracy
               or completeness of any materials provided to the Non-MBNF Parties during the
               Non-MBNF Parties’ due diligence investigation of the Assets, including those
               materials provided in any file transfer links to which the Non-MBNF Parties were
               granted access by any MBNF Released Party, and no MBNF Released Party shall
               have any liability to any of the Non-MBNF Parties relating to or arising from any
               errors in or omissions from any such materials or any other fact or condition which
               may affect the Assets, including the physical condition, value, economics of
               operation or income potential of the Assets.

               Each of the Non-MBNF Parties, MBNF Equity Buyer LLC, MBNF Liquidator
               LLC, MBNF Parent 1 Corporation, MBNF Parent 2 Corporation, PAHS Equity
               Buyer and PAHS Holdco LLC further acknowledges and agrees that there are no
               oral agreements, warranties or representations collateral to or affecting the Assets
               by any MBNF Released Party or any third party. Each of the Non-MBNF Parties,
               MBNF Equity Buyer LLC, MBNF Liquidator LLC, MBNF Parent 1 Corporation,
               MBNF Parent 2 Corporation, PAHS Equity Buyer and PAHS Holdco LLC, with
               their counsel, has fully reviewed the disclaimers, waivers and releases set forth in
               this MOU and understands their significance and agrees that the disclaimers,
               waivers, releases and other agreements set forth herein are an integral part of this
               MOU, and that the MBNF Parties would not have agreed to enter into this MOU
               without the disclaimers, waivers, releases and other agreements set forth in or
               implied by this MOU.

               The terms and conditions of this Section 3(c) will expressly survive the MOU
               Implementation Date.

            d. MBNF Entities Representation. Notwithstanding the disclaimers in Section 3(c)
               to the contrary, the MBNF Entities represent and warrant to the Non-MBNF Parties
               the following:

                 i.   Certain of the MBNF Entities provided the following documents to the
                      Debtors: (a) all material licenses, material permits, property management
                      agreements, utility agreements (other than that certain Steam Service
                      Agreement dated December 1, 2020 between Vicinity Energy
                      Philadelphia, Inc. and Broad Street Healthcare Properties, LLC, which
                      agreement is publicly available and was filed in the Chapter 11 Cases at
                      Docket No. 2400-1, Exhibit E), supply agreements, broker agreements,
                      insurance policies, floor plans, engineering reports and maintenance
                      reports; (b) all notices of current real estate tax assessments; (c) all
                      pending property tax appeal submissions; (d) MAI appraisals of the Real
                      Estate and the most recent broker opinion of value dated December 2021;
                      (e) the most recent “Open Invoice List” prepared by NKF and provided to

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                     the Debtors; and (f) the documents and information contained in the four
                     (4) USB flash drives provided by Tenet to and now in the possession of
                     the MBNF Parties, which contain the diligence materials from the January
                     2018 Transactions including the transfer of the Real Estate to the Broad
                     Street PropCos and provided in substantially the same form as originally
                     provided by Tenet to the MBNF Parties.

               ii.   The MBNF Entities have provided consent for Newmark Southern Region,
                     LLC d/b/a Newmark Knight Frank (“NKF Broker”) to share access to or
                     the contents of the data room established, prepared and/or maintained by
                     NKF Broker related to the marketing of the Real Estate, and the MBNF
                     Entities have requested that NKF Broker provide such access and/or deliver
                     such data to the Debtors.

              iii.   The MBNF Entities have instructed NKF in writing to (a) respond to all
                     inquiries from the Debtors/Committee, Tenet and HSRE Entities, including,
                     without limitation, regarding the marketing, management, maintenance,
                     sale, zoning, real estate tax assessment, tax appeals, licensing, inspections,
                     and insurance of the Real Estate and the Broad Street PropCos, (b) provide
                     the Debtors, for distribution of copies to the Committee, Tenet and HSRE
                     Entities, with all management reports prepared by NKF, and (c) facilitate
                     meetings requested by the Debtors with any of the vendors that are
                     providing services at or for the benefit of the Real Estate.

              iv.    The MBNF Entities have (i) caused Joel Freedman, Svetlana Attestatova,
                     William Brinkman, Kyle Schmidt, and Grace Muranaga to search their
                     respective physical files and “.pldn” email mailboxes, in each case, from
                     March 21, 2020 to the third business day prior to the MOU Implementation
                     Date, using the Outlook search function for emails from the senders with the
                     .gov email extension as follows: from:“.gov”; and (ii) reviewed all emails
                     sent from Grace Muranaga to Svetlana Attestatova from March 21, 2020 to
                     the third business day prior to the MOU Implementation Date, in each case,
                     in order to locate all written notices from Governmental Authorities of any
                     material uncorrected violation of law, ordinance or regulation, relating to
                     the Real Estate and any responses thereto and shall have delivered any such
                     written notices to the Debtors. The MBNF Entities shall deliver to the
                     Debtors the documents required by this Section 3(d)(iv) on no less than a
                     weekly basis commencing on the Execution Date and continuing until the
                     MOU Implementation Date.

               v.    The MBNF Entities have obtained from Cogency Global Inc. a record of all
                     legal actions served on the Broad Street PropCos and delivered such report
                     to the Debtors.




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     4. Other Matters.

            a. MBNF Liquidator LLC. MBNF Liquidator LLC shall cause its subsidiaries,
               including MBNF Parent 1 Corporation, MBNF Parent 2 Corporation, MBNF Equity
               Buyer LLC, MBNF, PAHH, and Broad Street PropCos, to comply with all
               obligations under this MOU from and after the MOU Implementation Date. MBNF
               Liquidator LLC shall: (i) not amend the New MBNF Organizational Documents;
               (ii) promptly execute, and cause the Broad Street PropCos to execute, any and all
               documents necessary to effectuate the Sale, as may be reasonably requested by the
               Debtors, notwithstanding anything to the contrary contained in any Power of
               Attorney; provided that CCH acknowledges and agrees that any Financial Liability
               incurred or resulting from any action taken pursuant to this Section 4(a)(ii) shall be,
               and shall be deemed to be, CCH’s sole Financial Liability and without the
               incurrence of any Financial Liability by any Broad Street PropCo or MBNF
               Liquidator LLC to any third party or otherwise; provided, however, that each Broad
               Street PropCo and MBNF Liquidator LLC shall fulfill all liabilities, obligations and
               responsibilities limited solely to performance by each Broad Street PropCo and
               MBNF Liquidator LLC that does not involve or cause any such Broad Street
               PropCo or MBNF Liquidator LLC to incur any Financial Liability; (iii) not cause
               the Broad Street PropCos to incur any liabilities other than consistent with ordinary
               course liabilities for an entity that is being wound up and liquidated; (iv) maintain
               the Broad Street PropCos’ corporate existence in good standing until closing of the
               Sale; provided that the Debtors shall pay MBNF Liquidator LLC, within ten (10)
               business days subsequent to any written request, any third party documented out-
               of-pocket reasonable costs and fees related thereto that were requested by MBNF
               Liquidator LLC in advance in writing and pre-approved in writing by the Debtors;
               and if the Debtors fail to approve or to pay MBNF Liquidator LLC any such costs
               or fees, MBNF Liquidator LLC shall not be required to maintain the Broad Street
               PropCos’ corporate existence in good standing; (v) not transfer, abandon, or assign
               any of the HSRE JV Interests, which HSRE JV Interests shall continue to be held
               by PAHH, until the earlier of: (x) notice of dissolution of HSRE JV and (y) three
               months after the later to occur of (I) the final distribution to unsecured creditors in
               the Chapter 11 Cases and (II) the final distribution of proceeds of the Sale, so long
               as the last day of such three month period occurs within the same tax year as the
               distribution described in clause (I) or (II), and if it does not, then the last day of the
               period shorter than three months so long as the last day of such shorter period occurs
               within the same tax year as the distribution described in clause (I) or (II); (vi) not
               dissolve, liquidate, or assign assets of PAHH until the earlier of: (x) notice of
               dissolution of HSRE JV and (y) three months after the later to occur of (I) the final
               distribution to unsecured creditors in the Chapter 11 Cases and (II) the final
               distribution of proceeds of the Sale, so long as the last day of such three month
               period occurs within the same tax year as the distribution described in clause (I) or
               (II), and if it does not, then the last day of the period shorter than three months so
               long as the last day of such shorter period occurs within the same tax year as the
               distribution described in clause (I) or (II); and (vii) cause MBNF Parent 1
               Corporation, MBNF Parent 2 Corporation, PAHH, and MBNF Equity Buyer LLC
               to comply with each of the requirements and restrictions set forth in the preceding
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               clauses (i) through (vi). Unless required by applicable law or consented to in
               writing by Joel Freedman, MBNF Liquidator LLC and its subsidiaries shall not
               amend any tax return, make any tax election with retroactive effect, utilize any
               voluntary disclosure program, or take any other action, in each case, in respect of
               MBNF and its subsidiaries that would reasonably be expected to increase the tax
               liability of the beneficial owners of MBNF for any tax period (or a portion thereof)
               ending on or before the date on which the transaction described in Section 3(a)(xiii)
               is consummated. Unless required by applicable law or consented to in writing by
               the Debtors, which consent shall not be unreasonably withheld, conditioned or
               delayed, neither Joel Freedman nor MBNF Liquidator LLC nor any of its
               subsidiaries shall amend any tax return, make any tax election with retroactive
               effect, utilize any voluntary disclosure program, or take any other action (unless
               expressly provided for by the terms of this MOU (including any Schedules and
               Exhibits hereto)), in each case with respect to MBNF and its subsidiaries that would
               reasonably be expected to increase or adversely affect in a material amount any tax
               liability of the Debtors for any tax period (or a portion thereof) beginning after the
               date on which the transaction described in Section 3(a)(xiii) is consummated.
               Notwithstanding the foregoing or any other provision of this MOU (including any
               Schedules and/or Exhibits hereto, but excluding Section 6 of each of the Equity
               Purchase Agreements), each MBNF Party, MBNF Liquidator LLC, MBNF Parent
               1 Corporation, MBNF Parent 2 Corporation and MBNF Equity Buyer LLC shall
               retain all rights to contest, object to, or take any other action they deem necessary
               and/or appropriate with respect to any claim asserted against or with respect to any
               MBNF Party, MBNF Liquidator LLC, MBNF Parent 1 Corporation, MBNF Parent
               2 Corporation or MBNF Equity Buyer LLC in any Governmental Tax Claim
               Proceeding; provided, however, that no MBNF Party, MBNF Liquidator LLC,
               MBNF Parent 1 Corporation, MBNF Parent 2 Corporation or MBNF Equity Buyer
               LLC shall support, encourage, appear, intervene in or participate in, any
               Governmental Tax Claim Proceeding solely against or solely with respect to any of
               the Debtors, so long as the Debtors’ actions therein are limited to (i) the assertion
               of their status as a disregarded entity, (ii) an identification of solely MBNF as a
               regarded entity by way of defense, and/or (iii) objecting to the amount asserted
               and/or priority of such amount in such Governmental Tax Claim Proceeding.

            b. PAHS Holdco LLC. PAHS Holdco LLC shall cause its subsidiaries, including
               PAHS Equity Buyer, PAHS and its subsidiaries, to comply with all obligations
               under this MOU from and after the MOU Implementation Date. PAHS Holdco
               LLC agrees that it shall not amend, and shall cause PAHS Equity Buyer not to
               amend, the New PAHS Organizational Documents in a manner inconsistent with
               this MOU. Unless required by applicable law or consented to in writing by Joel
               Freedman, which consent shall not be unreasonably withheld, conditioned or
               delayed, PAHS Holdco LLC and its subsidiaries shall not amend any tax return,
               make any tax election with retroactive effect, utilize any voluntary disclosure
               program, or take any other action (unless expressly provided for by the terms of this
               MOU (including any Schedules and Exhibits hereto)), in each case, in respect of
               PAHS and its subsidiaries that would reasonably be expected to increase or
               adversely affect in a material amount the tax liability of the beneficial owners of
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               PAHS for any tax period (or a portion thereof) ending on or before the date on which
               the transaction described in Section 3(a)(xvii) is consummated. Unless required by
               applicable law, neither any of the Debtors nor PAHS Holdco LLC nor any of its
               subsidiaries shall amend any tax return, make any tax election with retroactive
               effect, utilize any voluntary disclosure program, or take any other action, in each
               case with respect to the Debtors and their subsidiaries that would reasonably be
               expected to increase or adversely affect in a material amount any tax liability of
               MBNF and its subsidiaries for any tax period (or a portion thereof) beginning after
               the date on which the transaction described in Section 3(a)(xvii) is consummated.
               Notwithstanding the foregoing or any other provision of this MOU (including any
               Schedules and/or Exhibits hereto, but excluding Section 6 of each of the Equity
               Purchase Agreements), each Debtor shall retain all rights to contest, object to, or
               take any other action they deem necessary and/or appropriate with respect to any
               claim asserted against or with respect to any Debtor in any Governmental Tax Claim
               Proceeding; provided, however, that no Debtor shall support, encourage, appear,
               intervene in or participate in, any Governmental Tax Claim Proceeding solely
               against or solely with respect to any of the MBNF Parties, MBNF Liquidator LLC,
               MBNF Parent 1 Corporation, MBNF Parent 2 Corporation or MBNF Equity Buyer
               LLC.

            c. Master Lease Guaranties. Upon the filing of the MOU Release Notice, the Master
               Lease Guaranties shall be deemed terminated, discharged, and deemed satisfied by
               allowance of the HSRE Allowed Lease Damages Claim as set forth in Section 8.

            d. REA Demands. Any outstanding demands under the REAs between the MBNF
               Parties and HSRE Entities shall be resolved as follows: the HSRE Entities shall,
               promptly upon receipt of the Escrowed Funds, cause to be paid $143,000 to the
               account of CCH in accordance with the wire instructions to be provided by CCH in
               full satisfaction of any claims by any of the Debtors or any of the MBNF Parties to
               pay or reimburse any of the MBNF Parties or any of the Debtors, including CCH,
               for water invoices or liens on or related to the Real Estate. When such payment has
               been made, all outstanding demands under the REAs between the MBNF Parties
               (and any of the Debtors, including CCH, as successor-in-interest to any of the
               MBNF Parties’ interest in the Real Estate) and the HSRE Entities and the asserted
               obligations of any party under the Master Lease Guaranties shall be deemed
               satisfied, extinguished and discharged. The MBNF Parties (and any of the Debtors,
               including CCH, as successor-in-interest to any of the MBNF Parties’ interest in the
               Real Estate) and the HSRE Entities acknowledge and agree that, upon payment of
               the foregoing amount, any other amounts that have been invoiced or in any other
               way asserted or alleged to be owing by any of the HSRE Entities under the REAs
               shall be considered no longer owing, due or payable, and the MBNF Parties (and
               any of the Debtors, including CCH, as successor-in-interest to any of the MBNF
               Parties’ interest in the Real Estate) and the HSRE Entities shall agree not to invoice,
               assert or allege any such amounts in the future and that any and all disputes related
               to such amounts shall be waived. For the avoidance of doubt, this subsection or the
               payments described herein shall not have any effect on the obligations of any

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                purchaser of the Real Estate or any other parcels described in the REAs and no such
                purchaser is a third-party beneficiary of this MOU.

            e. Mediation Costs. Promptly upon receipt of the Escrowed Funds, HSRE Entities
               shall cause (i) to be paid reimbursement to each of the Debtors and the MBNF
               Parties for one third of the fees and costs of the Honorable Kevin J. Carey (ret.) paid
               by the Debtors and the MBNF Parties for mediation services rendered on or after
               July 28, 2021 of which reimbursement amount one-half shall be paid to the Debtors
               and one-half shall be paid to the MBNF Parties; and (ii) to be paid to the Honorable
               Kevin J. Carey (ret.) one third of any unpaid fees and costs of the Honorable Kevin
               J. Carey (ret.), including for time and expenses billing following the execution of
               this MOU payable in connection with the mediation (and the MBNF Parties may
               direct HSRE to pay the reimbursement amount to which they are entitled to pursuant
               to clause (i) to the Honorable Kevin J. Carey (ret.) for application to any unpaid
               fees and costs of the Honorable Kevin J. Carey for which the MBNF Parties are
               responsible).

     5. Debtor Management/Governance. On the MOU Implementation Date, the resignation
        of Joel Freedman as an officer of each of the Debtors and the Debtors’ Subsidiaries and as
        a manager of PAHS shall be effective and the Third Party Escrow Agent shall release to
        the Debtors the fully executed original resignations attached hereto as Exhibit 5.

     6. Tenet Payments. On the MOU Implementation Date and in accordance with Section 3,
        Tenet shall make the following cash payments: (i) a payment in such amount (as determined
        by the Pension Fund and agreed to by the Debtors, the MBNF Entities, the HSRE Entities,
        the CONA Parties, Tenet, and the Committee) to the Third Party Escrow Agent for
        immediate subsequent payment, on the MOU Implementation Date and following receipt
        from Tenet, to the Pension Fund in full payment of amounts owed to the Pension Fund
        under the Pension Settlement Agreement as of the MOU Implementation Date (the
        “Withdrawal Liability Settlement Payment”); it being understood that in furtherance of
        this MOU, Tenet (a) made a payment to the Pension Fund in the amount of $580,617 on or
        about January 15, 2022, (b) made a payment in the amount of $894,309 to the Pension Fund
        on or about April 15, 2022, and (c) made a payment in the amount of $894,309 to the
        Pension Fund on or about July 15, 2022 (clauses (a), (b) and (c), collectively, the “Prior
        Pension Payments”); (ii) the Tenet Paladin Settlement Payment, and (iii) the Tenet Net
        Settlement Payment. Immediately following receipt of the payments in Section 6(i), (ii)
        and (iii) hereof, the Third Party Escrow Agent shall, on the MOU Implementation Date,
        disburse such amounts in accordance with the MBNF Direction Letter. For the avoidance
        of doubt, and notwithstanding anything to the contrary in this MOU, the total sum of the
        Withdrawal Liability Settlement Payment, the Prior Pension Payments, the Tenet Paladin
        Settlement Payment and the Tenet Net Settlement Payment provided in this Section 6 shall
        not exceed $23,500,000.

     7. Tenet Claim. Upon the MOU Implementation Date, but subject to the completion of the
        actions set forth in Sections 3(a)(i) through 3(a)(vi) of this MOU, Tenet shall be deemed to
        have a single allowed general unsecured non-priority claim against the Debtors in the
        amount of $30,000,000 (the “Tenet Allowed Claim”), in addition to the Tenet Debtor

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            Claims. In the absence of the substantive consolidation of the Debtors pursuant to the Plan
            or otherwise, the Tenet Allowed Claim shall be treated for purposes of allowance and
            distribution under the Plan as if the Debtors were substantively consolidated such that Tenet
            shall receive an aggregate distribution from all of the Debtors in an amount equal to the
            amount it would have received if the Debtors’ cases were substantively consolidated.

     8. HSRE Claim. Upon the filing of the MOU Release Notice, but subject to the Debtors’
        receipt of payment hereunder pursuant to Section 4(d) and 4(e) of this MOU, the HSRE
        Entities shall be deemed to have a single allowed general unsecured non-priority claim
        against the Debtors in the amount of $30,000,000 (the “HSRE Allowed Lease Damages
        Claim”). The HSRE Entities may allocate the HSRE Allowed Lease Damages Claim (and
        the proceeds thereof) among them in their sole discretion. Capital One, N.A.’s first-priority
        security interest in the HSRE Allowed Lease Damages Claim (and the proceeds thereof)
        shall be preserved notwithstanding this MOU or any allocation by the HSRE Entities
        thereof. In the absence of the substantive consolidation of the Debtors pursuant to the Plan
        or otherwise, the HSRE Allowed Lease Damages Claim shall be treated for purposes of
        allowance and distribution under the Plan as if the Debtors were substantively consolidated
        such that HSRE Entities shall receive an aggregate distribution from all of the Debtors in
        an amount equal to the amount they would have received if the Debtors’ cases were
        substantively consolidated.

     9. Escrowed Funds.

                 a. On the MOU Implementation Date, but prior to the implementation step set forth
                    in Section 3(a)(xiii), the Third Party Escrow Agent shall release to Land Services
                    USA, Inc. the signed joint authorization of PAHH and HSRE JV, consented to by
                    Capital One, N.A., attached hereto as Exhibit 9, directing the release of the
                    Escrowed Funds to an account at Capital One, N.A., in its capacity as
                    administrative agent, on behalf of HSRE JV, designated by Capital One, N.A. and
                    the HSRE Entities.

                 b. PAHH and HSRE JV shall promptly take any and all other actions as may be
                    reasonably necessary to obtain the release of the Escrowed Funds and their
                    payment to Capital One, N.A. For clarity, Capital One, N.A. has a first-priority
                    security interest in the Escrowed Funds under the CONA Documents, which
                    security interest remains notwithstanding this MOU. For the avoidance of doubt,
                    the Escrowed Funds shall not be applied to either the obligations under the HSRE-
                    PAHH Note or to the HSRE Allowed Lease Damages Claim.

     10. Debtors’ Settlement Payment. On the MOU Implementation Date and in accordance with
         Section 3, the Debtors shall make the Debtor Settlement Payment.

     11. Settlement Balancing Payment. On the MOU Implementation Date and in accordance
         with Section 3, the Debtors shall make the Settlement Balancing Payment.

     12. ASIC Bond. On the MOU Implementation Date, (i) upon receipt by the Pension Fund of
         the Withdrawal Liability Settlement Payment pursuant to the Pension Settlement

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            Agreement, the MBNF Parties shall notify the Pension Fund of the payment and its
            obligation to send a notice to ASIC’s counsel in the form of Exhibit D to the Pension
            Settlement Agreement, along with the original ASIC Bond marked by the Pension Fund as
            “cancelled”; and (ii) the Third Party Escrow Agent shall release to ASIC the signed joint
            authorization of PAHH, PAHS, St. Christopher’s Healthcare, LLC, CCH, and PAMA
            attached hereto as Exhibit 12, authorizing and directing ASIC to release the cash collateral
            posted in connection with the ASIC Bond as follows (net of reimbursement of legal costs
            and fees to ASIC consented to by the Debtors and PAHH): (i) 30% to such Person as PAHH
            may in writing direct and (ii) 70% to the Debtors. The Debtors and PAHH shall promptly
            take any and all other actions as may be commercially reasonable to obtain the release of
            the ASIC Bond and cash collateral posted in support thereof consistent with the foregoing.
            The prorated refund of the ASIC Bond premium paid on January 11, 2022, when received
            from ASIC upon cancellation of the ASIC Bond shall be split evenly between the Debtors
            and the MBNF Parties, and the Debtors shall reimburse the MBNF Parties the amount paid
            by the MBNF Parties for renewal of the ASIC Bond on January 11, 2022, net of the MBNF
            Parties’ share of the ASIC Bond premium refund, not later than the business day after the
            MBNF Parties’ receipt of such refund share.

     13. Insurance Cooperation. Each of the MBNF Parties shall, upon the Debtors’ written
         request, promptly provide to the Debtors all information and cooperation the
         Debtors/Committee, Tenet, or HSRE Entities reasonably believe is necessary or desirable
         to either maintain existing or obtain new casualty and general liability insurance with
         respect to the Real Estate.

     14. Releases. Subject to and upon the filing of the MOU Release Notice, and for good and
         valuable consideration, the sufficiency of which is hereby acknowledged, and subject to
         Sections 14(j), 14(l), 14(m), 14(n) and the affirmative defenses set forth in Section 14(c):

               a. Debtor Released Claims. Each Debtor Releasing Party and each Committee
                  Releasing Party hereby releases, remises, acquits, and forever discharges each
                  MBNF Released Party, each Tenet Released Party, each Conifer Released Party,
                  each CONA Released Party, and each HSRE Released Party from any and all claims
                  (including, without limitation, all claims that may be brought derivatively in any
                  Debtor’s capacity as a creditor of any of the MBNF Parties, or otherwise), actions,
                  demands, payments, proceedings, causes of action (including, without limitation,
                  estate causes of action, any claims sounding in contract or tort, fraud,
                  misrepresentation, violation of statute or regulation, and breach of duty of good
                  faith and/or based on contractual or equitable subrogation, any alleged conflict of
                  interest or an ethical violation), obligations, loss, duties, benefits, fees, costs,
                  accounts, rights, suits, controversies, awards, judgments, agreements, promises,
                  damages (including, but not limited to, punitive, multiple, exemplary, or extra-
                  contractual damages), offsets, remedies, penalties, debts, liabilities, interest,
                  expenses, attorneys’ fees, or other relief of any kind or character, or rights to any of
                  the foregoing, whether under the Bankruptcy Code or under State or other
                  applicable law, whether known or unknown, contingent or not contingent, suspected
                  or unsuspected, asserted or unasserted, unforeseen, unanticipated or latent, reduced
                  to judgment, not reduced to judgment, liquidated, unliquidated, fixed, matured,
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             unmatured, disputed, undisputed, secured or unsecured, and whether asserted or
             assertible directly or derivatively, at law, in equity, contractual or otherwise, that
             such Debtor Releasing Party or such Committee Releasing Party ever had, now has,
             may ever have, or may ever claim to have, against any such released party, arising
             from, relating to, or in any way connected with, any event, transaction, action or
             omission that occurred or failed to occur prior to the filing of the MOU Release
             Notice, including, without limitation, based on or relating to, or in any manner
             arising from, in whole or in part, the ASA, the MSA, the TSA, the HSRE
             Documents, the CONA Documents, the MidCap Documents, the Leases, the
             Debtors’ in- or out-of-court restructuring efforts, any of the Debtors’ businesses and
             operations, any of the MBNF Parties’ businesses and operations, the RRG
             Membership Interests, the Debtors’ Chapter 11 Cases, the Real Estate, the January
             2018 Transactions, the Ancillary Documents, the HSRE Complaint, the MBNF
             Complaint, any alleged conflict of interest, disclosure of confidential information
             in contravention of any applicable agreement or order, or ethical violation, any
             false, misleading, inflammatory, defamatory, libelous, slanderous and/or
             disparaging statements, publications and/or writings made, allowed to be made, or
             alleged to have been made or allowed to have been made, by, or attributable to any
             MBNF Released Party, Tenet Released Party, Conifer Released Party, CONA
             Released Party or HSRE Released Party, prior to the filing of the MOU Release
             Notice, any derivative claims asserted or assertible on behalf of any of the Debtors
             or other Person, that the Debtors or the Committee would have been legally entitled
             to assert in their own right (whether individually or collectively) or on behalf of the
             holder of any claim against, or interest in, any of the Debtors or other Person, or
             any related agreement with respect to the foregoing, or upon any other related act
             or omission, transaction, agreement, event, or other occurrence taking place prior
             to the filing of the MOU Release Notice, including any claims related to any act or
             omission that may have constituted actual fraud, willful misconduct or gross
             negligence (collectively, the “Debtor Released Claims”).

             Without limitation of the foregoing, no Debtor Releasing Party or Committee
             Releasing Party shall assert, instigate, assist, or encourage any other Person to
             investigate or to assert, any action, any action in its capacity as a creditor, or any
             derivative action on behalf of any Person(s) in their capacity as a creditor or
             otherwise, against any MBNF Released Party (or challenge any liens or claims of
             any MBNF Released Party), Tenet Released Party, Conifer Released Party, CONA
             Released Party or HSRE Released Party, or derive any benefit therefrom, directly
             or indirectly on account of any Debtor Released Claims. In the event that any
             Debtor Releasing Party or any Committee Releasing Party pursues any Debtor
             Released Claims against any MBNF Released Party, Tenet Released Party, Conifer
             Released Party, CONA Released Party or HSRE Released Party at any time
             subsequent to the filing of the MOU Release Notice, the party pursuing such Debtor
             Released Claims shall fully indemnify, protect, and hold such MBNF Released
             Party, Tenet Released Party, Conifer Released Party, CONA Released Party or
             HSRE Released Party, as applicable, harmless from and against any and all rights,
             claims, debts, losses, demands, acts, contracts, agreements, liabilities, obligations,
             damages, penalties, costs, fees (including, without limitation, all attorney,
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               consultant and expert fees and costs), expenses, duties, breaches, actions, lawsuits,
               allegations, causes of action and/or suits of every nature, character and description,
               whether known or unknown, suspected or unsuspected, disclosed or undisclosed,
               legal or equitable, allegedly or actually arising from, related to or incurred in
               connection with, directly or indirectly, the assertion of any and all such Debtor
               Released Claims, regardless of whether a judicial proceeding of any type or nature
               has been commenced.

            b. MBNF Released Claims. Each MBNF Releasing Party hereby releases, remises,
               acquits, and forever discharges each Debtor Released Party, each Committee
               Released Party, each Tenet Released Party, each Conifer Released Party, each
               CONA Released Party, and each HSRE Released Party from any and all claims
               (including, without limitation, all claims that may be brought derivatively in any
               MBNF Party’s capacity as a creditor of any of the Debtors, or otherwise), actions,
               demands, payments, proceedings, causes of action (including, without limitation,
               estate causes of action, any claims sounding in contract or tort, fraud,
               misrepresentation, violation of statute or regulation, and breach of duty of good
               faith and/or based on contractual or equitable subrogation, any alleged conflict of
               interest or an ethical violation), obligations, loss, duties, benefits, fees, costs,
               accounts, rights, suits, controversies, awards, judgments, agreements, promises,
               damages (including, but not limited to, punitive, multiple, exemplary, or extra-
               contractual damages), offsets, remedies, penalties, debts, liabilities, interest,
               expenses, attorneys’ fees, or other relief of any kind or character, or rights to any of
               the foregoing, whether under the Bankruptcy Code or under State or other
               applicable law, whether known or unknown, contingent or not contingent, suspected
               or unsuspected, asserted or unasserted, unforeseen, unanticipated or latent, reduced
               to judgment, not reduced to judgment, liquidated, unliquidated, fixed, matured,
               unmatured, disputed, undisputed, secured or unsecured, and whether asserted or
               assertible directly or derivatively, at law, in equity, contractual or otherwise, that
               such MBNF Releasing Party ever had, now has, may ever have, or may ever claim
               to have, against any such released party, arising from, relating to, or in any way
               connected with, any event, transaction, action or omission that occurred or failed to
               occur prior to the filing of the MOU Release Notice, including, without limitation,
               based on or relating to, or in any manner arising from, in whole or in part, the ASA,
               the MSA, the TSA, the HSRE Documents, the CONA Documents, the MidCap
               Documents, the Leases, the Debtors’ in- or out-of-court restructuring efforts, any of
               the Debtors’ businesses and operations, any of the MBNF Parties’ businesses and
               operations, the RRG Membership Interests, the Debtors’ Chapter 11 Cases, the Real
               Estate, the January 2018 Transactions, the Ancillary Documents, the HSRE
               Complaint, the MBNF CONA Claims, the MBNF Complaint, the MBNF
               Tenet/Conifer Claims, the MBNF HSRE Claims, any alleged conflict of interest,
               disclosure of confidential information in contravention of any applicable agreement
               or order, or ethical violation, any false, misleading, inflammatory, defamatory,
               libelous, slanderous and/or disparaging statements, publications and/or writings
               made, allowed to be made, or alleged to have been made or allowed to have been
               made, by, or attributable to any Debtor Released Party, Committee Released Party,
               Tenet Released Party, Conifer Released Party, CONA Released Party or HSRE
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               Released Party, prior to the filing of the MOU Release Notice, any derivative claims
               asserted or assertible on behalf of any of the MBNF Parties or other Person, that the
               MBNF Parties would have been legally entitled to assert in their own right (whether
               individually or collectively) or on behalf of the holder of any claim against, or
               interest in, any of the MBNF Parties or other Person, or any related agreement with
               respect to the foregoing, or upon any other related act or omission, transaction,
               agreement, event, or other occurrence taking place prior to the filing of the MOU
               Release Notice, including any claims related to any act or omission that may have
               constituted actual fraud, willful misconduct or gross negligence (collectively, the
               “MBNF Released Claims”).

               Without limitation of the foregoing, no MBNF Releasing Party shall assert,
               instigate, assist, or encourage any other Person to investigate or to assert, any action,
               any action in its capacity as a creditor, or any derivative action on behalf of any
               Person(s) in their capacity as a creditor or otherwise, against any Debtor Released
               Party, Committee Released Party, Tenet Released Party, Conifer Released Party,
               CONA Released Party or HSRE Released Party, or derive any benefit therefrom,
               directly or indirectly on account of any MBNF Released Claims. In the event that
               any MBNF Releasing Party pursues any MBNF Released Claims against any
               Debtor Released Party, Committee Released Party, Tenet Released Party, Conifer
               Released Party, CONA Released Party or HSRE Released Party at any time
               subsequent to the filing of the MOU Release Notice, the party pursuing such MBNF
               Released Claims shall fully indemnify, protect, and hold such Debtor Released
               Party, Committee Released Party, Tenet Released Party, Conifer Released Party,
               CONA Released Party or HSRE Released Party, as applicable, harmless from and
               against any and all rights, claims, debts, losses, demands, acts, contracts,
               agreements, liabilities, obligations, damages, penalties, costs, fees (including,
               without limitation, all attorney, consultant and expert fees and costs), expenses,
               duties, breaches, actions, lawsuits, allegations, causes of action and/or suits of every
               nature, character and description, whether known or unknown, suspected or
               unsuspected, disclosed or undisclosed, legal or equitable, allegedly or actually
               arising from, related to or incurred in connection with, directly or indirectly, the
               assertion of any and all such MBNF Released Claims, regardless of whether a
               judicial proceeding of any type or nature has been commenced.

            c. Broad Street Released Claims. Each of the Broad Street Lenders and each of the
               Broad Street PropCos on behalf of themselves and their Representatives, hereby
               releases, remises, acquits, and forever discharges each other from any and all claims
               (including, without limitation, all claims that may be brought derivatively), actions,
               demands, payments, proceedings, causes of action (including, without limitation,
               estate causes of action, any claims sounding in contract or tort, fraud,
               misrepresentation, violation of statute or regulation, and breach of duty of good
               faith and/or based on contractual or equitable subrogation, any alleged conflict of
               interest or an ethical violation), obligations, loss, duties, benefits, fees, costs,
               accounts, rights, suits, controversies, awards, judgments, agreements, promises,
               damages (including, but not limited to, punitive, multiple, exemplary, or extra-
               contractual damages), offsets, remedies, penalties, debts, liabilities, interest,
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             expenses, attorneys’ fees, or other relief of any kind or character, or rights to any of
             the foregoing, whether under the Bankruptcy Code or under State or other
             applicable law, whether known or unknown, contingent or not contingent, suspected
             or unsuspected, asserted or unasserted, unforeseen, unanticipated or latent, reduced
             to judgment, not reduced to judgment, liquidated, unliquidated, fixed, matured,
             unmatured, disputed, undisputed, secured or unsecured, and whether asserted or
             assertible directly or derivatively, at law, in equity, contractual or otherwise, that
             each of the Broad Street Lenders and any of their Representatives or each of the
             Broad Street PropCos and any of their Representatives ever had, now has, may ever
             have, or may ever claim to have, against any such released party, arising from,
             relating to, or in any way connected with, any event, transaction, action or omission
             that occurred or failed to occur prior to the filing of the MOU Release Notice,
             including, without limitation, based on or relating to, or in any manner arising from,
             in whole or in part, the ASA, the MSA, the TSA, the HSRE Documents, the CONA
             Documents, the MidCap Documents, the Leases, the Debtors’ in- or out-of-court
             restructuring efforts, any of the Debtors’ businesses and operations, any of the
             MBNF Parties’ businesses and operations, the RRG Membership Interests, the
             Debtors’ Chapter 11 Cases, the Real Estate, the January 2018 Transactions, the
             Ancillary Documents, the HSRE Complaint, the MBNF Complaint, the Broad
             Street Mortgages, the Broad Street Notes, the Broad Street UCC Fixture Filings,
             any alleged conflict of interest, disclosure of confidential information in
             contravention of any applicable agreement or order, or ethical violation, any false,
             misleading, inflammatory, defamatory, libelous, slanderous and/or disparaging
             statements, publications and/or writings made, allowed to be made, or alleged to
             have been made or allowed to have been made, by, or attributable to any of the
             Broad Street Lenders, the Broad Street PropCos or their Representatives, prior to
             the filing of the MOU Release Notice, any derivative claims asserted or assertible
             on behalf of any of the Broad Street Lenders, the Broad Street PropCos or any of
             their Representatives, that such parties would have been legally entitled to assert in
             their own right (whether individually or collectively) or on behalf of the holder of
             any claim against, or interest in, any of the Broad Street Lenders, the Broad Street
             PropCos or other Person, or any related agreement with respect to the foregoing, or
             upon any other related act or omission, transaction, agreement, event, or other
             occurrence taking place prior to the filing of the MOU Release Notice, including
             any claims related to any act or omission that may have constituted actual fraud,
             willful misconduct or gross negligence (collectively, the “MBNF/Broad Released
             Claims”).

             Without limitation of the foregoing, none of the Broad Street Lenders, the Broad
             Street PropCos or their Representatives shall assert, instigate, assist, or encourage
             any other Person to investigate or to assert, any action, any action in its capacity as
             a creditor, or any derivative action on behalf of any Person(s) in their capacity as a
             creditor or otherwise, against each other (including challenging any liens or claims),
             or derive any benefit therefrom, directly or indirectly on account of any
             MBNF/Broad Released Claims. In the event that any of the Broad Street Lenders,
             the Broad Street PropCos or their Representatives pursue any MBNF/Broad
             Released Claims against any of the Broad Street Lenders, the Broad Street PropCos
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                or their Representatives at any time subsequent to the filing of the MOU Release
                Notice, the party pursuing such MBNF/Broad Released Claims shall fully
                indemnify, protect, and hold such pursued party harmless from and against any and
                all rights, claims, debts, losses, demands, acts, contracts, agreements, liabilities,
                obligations, damages, penalties, costs, fees (including, without limitation, all
                attorney, consultant and expert fees and costs), expenses, duties, breaches, actions,
                lawsuits, allegations, causes of action and/or suits of every nature, character and
                description, whether known or unknown, suspected or unsuspected, disclosed or
                undisclosed, legal or equitable, allegedly or actually arising from, related to or
                incurred in connection with, directly or indirectly, the assertion of any and all such
                MBNF/Broad Released Claims, regardless of whether a judicial proceeding of any
                type or nature has been commenced. Notwithstanding the foregoing, each of the
                Broad Street Lenders, the Broad Street PropCos and their Representatives retains
                the right to assert MBNF/Broad Released Claims as affirmative defenses including
                setoff against third parties (i.e., other than the Broad Street Lenders, the Broad
                Street PropCos and their Representatives) that assert claims against any of the
                Broad Street Lenders, the Broad Street PropCos or their Representatives arising
                from the same events, transactions or circumstances as the claims released by the
                Broad Street Lenders, the Broad Street PropCos and their Representatives in this
                MOU.

            d. Tenet Released Claims. Each Tenet Releasing Party hereby releases, remises,
               acquits, and forever discharges each Debtor Released Party, each Committee
               Released Party, each MBNF Released Party, each CONA Released Party, and each
               HSRE Released Party from any and all claims (including, without limitation, all
               claims that may be brought derivatively in Tenet’s capacity as a creditor of any of
               the Debtors, the MBNF Parties or otherwise), actions, demands, payments,
               proceedings, causes of action (including, without limitation, estate causes of action,
               any claims sounding in contract or tort, fraud, misrepresentation, violation of statute
               or regulation, and breach of duty of good faith and/or based on contractual or
               equitable subrogation, any alleged conflict of interest or an ethical violation),
               obligations, loss, duties, benefits, fees, costs, accounts, rights, suits, controversies,
               awards, judgments, agreements, promises, damages (including, but not limited to,
               punitive, multiple, exemplary, or extra-contractual damages), offsets, remedies,
               penalties, debts, liabilities, interest, expenses, attorneys’ fees, or other relief of any
               kind or character, or rights to any of the foregoing, whether under the Bankruptcy
               Code or under State or other applicable law, whether known or unknown,
               contingent or not contingent, suspected or unsuspected, asserted or unasserted,
               unforeseen, unanticipated or latent, reduced to judgment, not reduced to judgment,
               liquidated, unliquidated, fixed, matured, unmatured, disputed, undisputed, secured
               or unsecured, and whether asserted or assertible directly or derivatively, at law, in
               equity, contractual or otherwise, that such Tenet Releasing Party ever had, now
               has, may ever have, or may ever claim to have, against any such released party,
               arising from, relating to, or in any way connected with, any event, transaction,
               action or omission that occurred or failed to occur prior to the filing of the MOU
               Release Notice, including, without limitation, based on or relating to, or in any
               manner arising from, in whole or in part, the ASA, the MSA, the TSA, the HSRE
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             Documents, the CONA Documents, the MidCap Documents, the Leases, the
             Debtors’ in- or out-of-court restructuring efforts, any of the Debtors’ businesses and
             operations, any of the MBNF Parties’ businesses and operations, the RRG
             Membership Interests, the Debtors’ Chapter 11 Cases, the Real Estate, the January
             2018 Transactions, the Ancillary Documents, the HSRE Complaint, the MBNF
             Complaint, the Tenet/Conifer MBNF Claims, the Tenet/Conifer Indemnification
             Claims, any alleged conflict of interest, disclosure of confidential information in
             contravention of any applicable agreement or order, or ethical violation, any false,
             misleading, inflammatory, defamatory, libelous, slanderous and/or disparaging
             statements, publications and/or writings made, allowed to be made, or alleged to
             have been made or allowed to have been made, by, or attributable to any Debtor
             Released Party, Committee Released Party, MBNF Released Party, CONA
             Released Party or HSRE Released Party, prior to the filing of the MOU Release
             Notice, any derivative claims asserted or assertible on behalf of any of the Debtors,
             the MBNF Parties or other Person, that Tenet would have been legally entitled to
             assert in its own right (whether individually or collectively) or on behalf of the
             holder of any claim against, or interest in, any of the Debtors, the MBNF Parties, or
             other Person, or any related agreement with respect to the foregoing, or upon any
             other related act or omission, transaction, agreement, event, or other occurrence
             taking place prior to the filing of the MOU Release Notice, including any claims
             related to any act or omission that may have constituted actual fraud, willful
             misconduct or gross negligence (collectively, the “Tenet Released Claims”).

             Without limitation of the foregoing, no Tenet Releasing Party shall assert, instigate,
             assist, or encourage any other Person to investigate or to assert, any action, any
             action in its capacity as a creditor, or any derivative action on behalf of any
             Person(s) in their capacity as a creditor or otherwise, against any Debtor Released
             Party, Committee Released Party, MBNF Released Party, CONA Released Party or
             HSRE Released Party, or derive any benefit therefrom, directly or indirectly on
             account of any Tenet Released Claims. In the event that any Tenet Releasing Party
             pursues any Tenet Released Claims against any Debtor Released Party, Committee
             Released Party, MBNF Released Party, CONA Released Party or HSRE Released
             Party at any time subsequent to the filing of the MOU Release Notice, the party
             pursuing such Tenet Released Claims shall fully indemnify, protect, and hold such
             Debtor Released Party, Committee Released Party, MBNF Released Party, CONA
             Released Party or HSRE Released Party, as applicable, harmless from and against
             any and all rights, claims, debts, losses, demands, acts, contracts, agreements,
             liabilities, obligations, damages, penalties, costs, fees (including, without
             limitation, all attorney, consultant and expert fees and costs), expenses, duties,
             breaches, actions, lawsuits, allegations, causes of action and/or suits of every nature,
             character and description, whether known or unknown, suspected or unsuspected,
             disclosed or undisclosed, legal or equitable, allegedly or actually arising from,
             related to or incurred in connection with, directly or indirectly, the assertion of any
             and all such Tenet Released Claims, regardless of whether a judicial proceeding of
             any type or nature has been commenced.


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            e. Conifer Released Claims. Each Conifer Releasing Party hereby releases, remises,
               acquits, and forever discharges each Debtor Released Party, each Committee
               Released Party, each MBNF Released Party, each CONA Released Party, and each
               HSRE Released Party from any and all claims (including, without limitation, all
               claims that may be brought derivatively in Conifer’s capacity as a creditor of any
               of the Debtors, the MBNF Parties or otherwise), actions, demands, payments,
               proceedings, causes of action (including, without limitation, estate causes of action,
               any claims sounding in contract or tort, fraud, misrepresentation, violation of statute
               or regulation, and breach of duty of good faith and/or based on contractual or
               equitable subrogation, any alleged conflict of interest or an ethical violation),
               obligations, loss, duties, benefits, fees, costs, accounts, rights, suits, controversies,
               awards, judgments, agreements, promises, damages (including, but not limited to,
               punitive, multiple, exemplary, or extra-contractual damages), offsets, remedies,
               penalties, debts, liabilities, interest, expenses, attorneys’ fees, or other relief of any
               kind or character, or rights to any of the foregoing, whether under the Bankruptcy
               Code or under State or other applicable law, whether known or unknown,
               contingent or not contingent, suspected or unsuspected, asserted or unasserted,
               unforeseen, unanticipated or latent, reduced to judgment, not reduced to judgment,
               liquidated, unliquidated, fixed, matured, unmatured, disputed, undisputed, secured
               or unsecured, and whether asserted or assertible directly or derivatively, at law, in
               equity, contractual or otherwise, that such Conifer Releasing Party ever had, now
               has, may ever have, or may ever claim to have, against any such released party,
               arising from, relating to, or in any way connected with, any event, transaction,
               action or omission that occurred or failed to occur prior to the filing of the MOU
               Release Notice, including, without limitation, based on or relating to, or in any
               manner arising from, in whole or in part, the ASA, the MSA, the TSA, the HSRE
               Documents, the CONA Documents, the MidCap Documents, the Leases, the
               Debtors’ in- or out-of-court restructuring efforts, any of the Debtors’ businesses and
               operations, any of the MBNF Parties’ businesses and operations, the RRG
               Membership Interests, the Debtors’ Chapter 11 Cases, the Real Estate, the January
               2018 Transactions, the Ancillary Documents, the HSRE Complaint, the MBNF
               Complaint, the Tenet/Conifer MBNF Claims, the Tenet/Conifer Indemnification
               Claims, any alleged conflict of interest, disclosure of confidential information in
               contravention of any applicable agreement or order, or ethical violation, any false,
               misleading, inflammatory, defamatory, libelous, slanderous and/or disparaging
               statements, publications and/or writings made, allowed to be made, or alleged to
               have been made or allowed to have been made, by, or attributable to any Debtor
               Released Party, Committee Released Party, MBNF Released Party, CONA
               Released Party or HSRE Released Party, prior to the filing of the MOU Release
               Notice, any derivative claims asserted or assertible on behalf of any of the Debtors,
               the MBNF Parties or other Person, that Conifer would have been legally entitled to
               assert in its own right (whether individually or collectively) or on behalf of the
               holder of any claim against, or interest in, any of the Debtors, the MBNF Parties or
               other Person, or any related agreement with respect to the foregoing, or upon any
               other related act or omission, transaction, agreement, event, or other occurrence
               taking place prior to the filing of the MOU Release Notice, including any claims

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                related to any act or omission that may have constituted actual fraud, willful
                misconduct or gross negligence (collectively, the “Conifer Released Claims”).

                Without limitation of the foregoing, no Conifer Releasing Party shall assert,
                instigate, assist, or encourage any other Person to investigate or to assert, any action,
                any action in its capacity as a creditor, or any derivative action on behalf of any
                Person(s) in their capacity as a creditor or otherwise, against any Debtor Released
                Party, Committee Released Party, MBNF Released Party, CONA Released Party or
                HSRE Released Party, or derive any benefit therefrom, directly or indirectly on
                account of any Conifer Released Claims. In the event that any Conifer Releasing
                Party pursues any Conifer Released Claims against any Debtor Released Party,
                Committee Released Party, MBNF Released Party, CONA Released Party or HSRE
                Released Party at any time subsequent to the filing of the MOU Release Notice, the
                party pursuing such Conifer Released Claims shall fully indemnify, protect, and
                hold such Debtor Released Party, Committee Released Party, MBNF Released
                Party, CONA Released Party or HSRE Released Party, as applicable, harmless from
                and against any and all rights, claims, debts, losses, demands, acts, contracts,
                agreements, liabilities, obligations, damages, penalties, costs, fees (including,
                without limitation, all attorney, consultant and expert fees and costs), expenses,
                duties, breaches, actions, lawsuits, allegations, causes of action and/or suits of every
                nature, character and description, whether known or unknown, suspected or
                unsuspected, disclosed or undisclosed, legal or equitable, allegedly or actually
                arising from, related to or incurred in connection with, directly or indirectly, the
                assertion of any and all such Conifer Released Claims, regardless of whether a
                judicial proceeding of any type or nature has been commenced.

            f. CONA Released Claims. Each CONA Releasing Party hereby releases, remises,
               acquits, and forever discharges each Debtor Released Party, each Committee
               Released Party, each MBNF Released Party, each Tenet Released Party and each
               Conifer Released Party from any and all claims (including, without limitation, all
               claims that may be brought derivatively in any CONA Parties’ capacity as a creditor
               of any of the Debtors, the MBNF Parties or otherwise), actions, demands, payments,
               proceedings, causes of action (including, without limitation, estate causes of action,
               any claims sounding in contract or tort, fraud, misrepresentation, violation of statute
               or regulation, and breach of duty of good faith and/or based on contractual or
               equitable subrogation, any alleged conflict of interest or an ethical violation),
               obligations, loss, duties, benefits, fees, costs, accounts, rights, suits, controversies,
               awards, judgments, agreements, promises, damages (including, but not limited to,
               punitive, multiple, exemplary, or extra-contractual damages), offsets, remedies,
               penalties, debts, liabilities, interest, expenses, attorneys’ fees, or other relief of any
               kind or character, or rights to any of the foregoing, whether under the Bankruptcy
               Code or under State or other applicable law, whether known or unknown,
               contingent or not contingent, suspected or unsuspected, asserted or unasserted,
               unforeseen, unanticipated or latent, reduced to judgment, not reduced to judgment,
               liquidated, unliquidated, fixed, matured, unmatured, disputed, undisputed, secured
               or unsecured, and whether asserted or assertible directly or derivatively, at law, in
               equity, contractual or otherwise, that such CONA Releasing Party ever had, now
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             has, may ever have, or may ever claim to have, against any such released party,
             arising from, relating to, or in any way connected with, any event, transaction,
             action or omission that occurred or failed to occur prior to the filing of the MOU
             Release Notice, including, without limitation, based on or relating to, or in any
             manner arising from, in whole or in part, the ASA, the MSA, the TSA, the HSRE
             Documents, the CONA Documents, the MidCap Documents, the Leases, the
             Debtors’ in- or out-of-court restructuring efforts, any of the Debtors’ businesses and
             operations, any of the MBNF Parties’ businesses and operations, the RRG
             Membership Interests, the Debtors’ Chapter 11 Cases, the Real Estate, the January
             2018 Transactions, the Ancillary Documents, the HSRE Complaint, the MBNF
             Complaint, the CONA MBNF Claims, any alleged conflict of interest, disclosure of
             confidential information in contravention of any applicable agreement or order, or
             ethical violation, any false, misleading, inflammatory, defamatory, libelous,
             slanderous and/or disparaging statements, publications and/or writings made,
             allowed to be made, or alleged to have been made or allowed to have been made,
             by, or attributable to any Debtor Released Party, Committee Released Party, MBNF
             Released Party, Tenet Released Party, or Conifer Released Party, prior to the filing
             of the MOU Release Notice, any derivative claims asserted or assertible on behalf
             of any of the Debtors, the MBNF Parties or other Person, that the CONA Parties
             would have been legally entitled to assert in their own right (whether individually
             or collectively) or on behalf of the holder of any claim against, or interest in, any of
             the Debtors, the MBNF Parties or other Person, or any related agreement with
             respect to the foregoing, or upon any other related act or omission, transaction,
             agreement, event, or other occurrence taking place prior to the filing of the MOU
             Release Notice, including any claims related to any act or omission that may have
             constituted actual fraud, willful misconduct or gross negligence (collectively, the
             “CONA Released Claims”); provided, however, that the foregoing release shall
             not release (i) the HSRE Allowed Lease Damages Claim (or CONA Parties’ first-
             priority security interest therein), (ii) HSRE Entities’ rights (or CONA Parties’ first-
             priority security interest therein) to receive an allocated share of the net proceeds of
             the Sale of the Real Estate as set forth in Schedule 3(b), (iii) HSRE Entities’ rights
             (or CONA Parties’ first-priority security interest therein) to the Escrowed Funds as
             set forth in Section 9, or (iv) except as set forth in Section 3(a)(xiv) (including as to
             the termination of PAHH’s pledge of the HSRE JV Interests), the HSRE-PAHH
             Note obligations, any security interests of any of the CONA Parties, or
             subordination rights for the benefit of any of the CONA Parties with respect to the
             foregoing.

             Without limitation of the foregoing, no CONA Releasing Party shall assert,
             instigate, assist, or encourage any other Person to investigate or to assert, any action,
             any action in its capacity as a creditor, or any derivative action on behalf of any
             Person(s) in their capacity as a creditor or otherwise, against any Debtor Released
             Party, Committee Released Party, MBNF Released Party, Tenet Released Party, or
             Conifer Released Party, or derive any benefit therefrom, directly or indirectly on
             account of any CONA Released Claims. In the event that any CONA Releasing
             Party pursues any CONA Released Claims against any Debtor Released Party,
             Committee Released Party, MBNF Released Party, Tenet Released Party or Conifer
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               Released Party at any time subsequent to the filing of the MOU Release Notice, the
               party pursuing such CONA Released Claims shall fully indemnify, protect, and hold
               such Debtor Released Party, Committee Released Party, MBNF Released Party,
               Tenet Released Party or Conifer Released Party, as applicable, harmless from and
               against any and all rights, claims, debts, losses, demands, acts, contracts,
               agreements, liabilities, obligations, damages, penalties, costs, fees (including,
               without limitation, all attorney, consultant and expert fees and costs), expenses,
               duties, breaches, actions, lawsuits, allegations, causes of action and/or suits of every
               nature, character and description, whether known or unknown, suspected or
               unsuspected, disclosed or undisclosed, legal or equitable, allegedly or actually
               arising from, related to or incurred in connection with, directly or indirectly, the
               assertion of any and all such CONA Released Claims, regardless of whether a
               judicial proceeding of any type or nature has been commenced.

            g. HSRE Released Claims. Each HSRE Releasing Party hereby releases, remises,
               acquits, and forever discharges each Debtor Released Party, each Committee
               Released Party, each MBNF Released Party, each Tenet Released Party and each
               Conifer Released Party from any and all claims (including, without limitation, all
               claims that may be brought derivatively in the HSRE Entities’ capacity as a creditor
               of any of the Debtors, the MBNF Parties, or otherwise), actions, demands,
               payments, proceedings, causes of action (including, without limitation, estate
               causes of action, any claims sounding in contract or tort, fraud, misrepresentation,
               violation of statute or regulation, and breach of duty of good faith and/or based on
               contractual or equitable subrogation, any alleged conflict of interest or an ethical
               violation), obligations, loss, duties, benefits, fees, costs, accounts, rights, suits,
               controversies, awards, judgments, agreements, promises, damages (including, but
               not limited to, punitive, multiple, exemplary, or extra-contractual damages), offsets,
               remedies, penalties, debts, liabilities, interest, expenses, attorneys’ fees, or other
               relief of any kind or character, or rights to any of the foregoing, whether under the
               Bankruptcy Code or under State or other applicable law, whether known or
               unknown, contingent or not contingent, suspected or unsuspected, asserted or
               unasserted, unforeseen, unanticipated or latent, reduced to judgment, not reduced to
               judgment, liquidated, unliquidated, fixed, matured, unmatured, disputed,
               undisputed, secured or unsecured, and whether asserted or assertible directly or
               derivatively, at law, in equity, contractual or otherwise, that such HSRE Releasing
               Party ever had, now has, may ever have, or may ever claim to have, against any
               such released party, arising from, relating to, or in any way connected with, any
               event, transaction, action or omission that occurred or failed to occur prior to the
               filing of the MOU Release Notice, including, without limitation, based on or
               relating to, or in any manner arising from, in whole or in part, the ASA, the MSA,
               the TSA, the HSRE Documents, the CONA Documents, the MidCap Documents,
               the Leases, the Debtors’ in- or out-of-court restructuring efforts, any of the Debtors’
               businesses and operations, any of the MBNF Parties’ businesses and operations,
               any of the HSRE JV’s or any of the HSRE JV member’s respective businesses and
               operations, the RRG Membership Interests, the Debtors’ Chapter 11 Cases, the Real
               Estate, the January 2018 Transactions, the Ancillary Documents, the HSRE
               Complaint, the MBNF Complaint, the HSRE MBNF Claims, any alleged conflict
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             of interest, disclosure of confidential information in contravention of any applicable
             agreement or order, or ethical violation, any false, misleading, inflammatory,
             defamatory, libelous, slanderous and/or disparaging statements, publications and/or
             writings made, allowed to be made, or alleged to have been made or allowed to have
             been made, by, or attributable to any Debtor Released Party, Committee Released
             Party, MBNF Released Party, Tenet Released Party, or Conifer Released Party,
             prior to the filing of the MOU Release Notice, any derivative claims asserted or
             assertible on behalf of any of the Debtors, the MBNF Parties or other Person, that
             the HSRE Entities would have been legally entitled to assert in their own right
             (whether individually or collectively) or on behalf of the holder of any claim
             against, or interest in, any of the Debtors, the MBNF Parties or other Person, or any
             related agreement with respect to the foregoing, or upon any other related act or
             omission, transaction, agreement, event, or other occurrence taking place prior to
             the filing of the MOU Release Notice, including any claims related to any act or
             omission that may have constituted actual fraud, willful misconduct or gross
             negligence (collectively, the “HSRE Released Claims”); provided, however, that
             the foregoing release shall not release (i) the HSRE Allowed Lease Damages Claim,
             (ii) HSRE Entities’ rights to receive an allocated share of the net proceeds of the
             Sale of the Real Estate as set forth in Schedule 3(b), (iii) HSRE Entites’ rights to
             the Escrowed Funds as set forth in Section 9, or (iv) except as set forth in Section
             3(a)(xiv) (including as to the termination of PAHH’s pledge of the HSRE JV
             Interests), the HSRE-PAHH Note obligations, any security interests of any of the
             CONA Parties, or subordination rights for the benefit of any of the CONA Parties
             with respect to the foregoing.

             Without limitation of the foregoing, no HSRE Releasing Party shall assert, instigate,
             assist, or encourage any other Person to investigate or to assert, any action, any
             action in its capacity as a creditor, or any derivative action on behalf of any
             Person(s) in their capacity as a creditor or otherwise, against any Debtor Released
             Party, Committee Released Party, MBNF Released Party, Tenet Released Party, or
             Conifer Released Party, or derive any benefit therefrom, directly or indirectly on
             account of any HSRE Released Claims. In the event that any HSRE Releasing Party
             pursues any HSRE Released Claims against any Debtor Released Party, Committee
             Released Party, MBNF Released Party, Tenet Released Party or Conifer Released
             Party at any time subsequent to the filing of the MOU Release Notice, the party
             pursuing such HSRE Released Claims shall fully indemnify, protect, and hold such
             Debtor Released Party, Committee Released Party, MBNF Released Party, Tenet
             Released Party or Conifer Released Party, as applicable, harmless from and against
             any and all rights, claims, debts, losses, demands, acts, contracts, agreements,
             liabilities, obligations, damages, penalties, costs, fees (including, without
             limitation, all attorney, consultant and expert fees and costs), expenses, duties,
             breaches, actions, lawsuits, allegations, causes of action and/or suits of every nature,
             character and description, whether known or unknown, suspected or unsuspected,
             disclosed or undisclosed, legal or equitable, allegedly or actually arising from,
             related to or incurred in connection with, directly or indirectly, the assertion of any
             and all such HSRE Released Claims, regardless of whether a judicial proceeding of
             any type or nature has been commenced.
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            h. HSRE JV Released Claims. Each HSRE JV Releasing Party hereby releases,
               remises, acquits, and forever discharges each CONA Released Party, each HSRE
               Released Party and each MBNF Released Party from any and all claims
               (including, without limitation, all claims that may be brought derivatively in the
               HSRE JV’s capacity as a creditor of any of the Debtors, the MBNF Parties, or
               otherwise), actions, demands, payments, proceedings, causes of action (including,
               without limitation, estate causes of action, any claims sounding in contract or tort,
               fraud, misrepresentation, violation of statute or regulation, and breach of duty of
               good faith and/or based on contractual or equitable subrogation, any alleged
               conflict of interest or an ethical violation), obligations, loss, duties, benefits, fees,
               costs, accounts, rights, suits, controversies, awards, judgments, agreements,
               promises, damages (including, but not limited to, punitive, multiple, exemplary,
               or extra-contractual damages), offsets, remedies, penalties, debts, liabilities,
               interest, expenses, attorneys’ fees, or other relief of any kind or character, or rights
               to any of the foregoing, whether under the Bankruptcy Code or under State or
               other applicable law, whether known or unknown, contingent or not contingent,
               suspected or unsuspected, asserted or unasserted, unforeseen, unanticipated or
               latent, reduced to judgment, not reduced to judgment, liquidated, unliquidated,
               fixed, matured, unmatured, disputed, undisputed, secured or unsecured, and
               whether asserted or assertible directly or derivatively, at law, in equity,
               contractual or otherwise, that such HSRE JV Releasing Party ever had, now has,
               may ever have, or may ever claim to have, against any such released party, arising
               from, relating to, or in any way connected with, any event, transaction, action or
               omission that occurred or failed to occur prior to the filing of the MOU Release
               Notice, including, without limitation, based on or relating to, or in any manner
               arising from, in whole or in part, the ASA, the MSA, the TSA, the HSRE
               Documents, the CONA Documents, the MidCap Documents, the Leases, the
               Debtors’ in- or out-of-court restructuring efforts, any of the Debtors’ businesses
               and operations, any of the HSRE JV’s or any of the HSRE JV member’s respective
               businesses and operations, the Debtors’ Chapter 11 Cases, the Real Estate, the
               January 2018 Transactions, the Ancillary Documents, the HSRE Complaint, the
               MBNF Complaint, the HSRE MBNF Claims, the MBNF HSRE Claims, any
               alleged conflict of interest, disclosure of confidential information in contravention
               of any applicable agreement or order, or ethical violation, any false, misleading,
               inflammatory, defamatory, libelous, slanderous and/or disparaging statements,
               publications and/or writings made, allowed to be made, or alleged to have been
               made or allowed to have been made, by, or attributable to any CONA Released
               Party, HSRE Released Party or MBNF Released Party, prior to the filing of the
               MOU Release Notice, any derivative claims asserted or assertible on behalf of any
               of the Debtors, the MBNF Parties or other Person, that the HSRE JV would have
               been legally entitled to assert in its own right (whether individually or collectively)
               or on behalf of the holder of any claim against, or interest in, any of the Debtors,
               the MBNF Parties or other Person, or any related agreement with respect to the
               foregoing, or upon any other related act or omission, transaction, agreement,
               event, or other occurrence taking place prior to the filing of the MOU Release
               Notice, including any claims related to any act or omission that may have

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                constituted actual fraud, willful misconduct or gross negligence (collectively, the
                “HSRE JV Released Claims”).

                Without limitation of the foregoing, no HSRE JV Releasing Party shall assert,
                instigate, assist, or encourage any other Person to investigate or to assert, any action,
                any action in its capacity as a creditor, or any derivative action on behalf of any
                Person(s) in their capacity as a creditor or otherwise, against any CONA Released
                Party, any HSRE Released Party, or any MBNF Released Party or derive any
                benefit therefrom, directly or indirectly on account of any HSRE JV Released
                Claims. In the event that any HSRE JV Releasing Party pursues any HSRE JV
                Released Claims against any CONA Released Party, any HSRE Released Party, or
                any MBNF Released Party at any time subsequent to the filing of the MOU Release
                Notice, the party pursuing such HSRE JV Released Claims shall fully indemnify,
                protect, and hold such CONA Released Party, HSRE Released Party or MBNF
                Released Party, as applicable, harmless from and against any and all rights, claims,
                debts, losses, demands, acts, contracts, agreements, liabilities, obligations,
                damages, penalties, costs, fees (including, without limitation, all attorney,
                consultant and expert fees and costs), expenses, duties, breaches, actions, lawsuits,
                allegations, causes of action and/or suits of every nature, character and description,
                whether known or unknown, suspected or unsuspected, disclosed or undisclosed,
                legal or equitable, allegedly or actually arising from, related to or incurred in
                connection with, directly or indirectly, the assertion of any and all such HSRE JV
                Released Claims, regardless of whether a judicial proceeding of any type or nature
                has been commenced.

            i. RRG Released Claims. Each RRG Releasing Party hereby releases, remises,
               acquits, and forever discharges each RRG Released Party from any and all claims
               (including, without limitation, all claims that may be brought derivatively in the
               capacity as a creditor of RRG, or otherwise), actions, demands, payments,
               proceedings, causes of action (including, without limitation, estate causes of
               action, any claims sounding in contract or tort, fraud, misrepresentation, violation
               of statute or regulation, and breach of duty of good faith and/or based on
               contractual or equitable subrogation, any alleged conflict of interest or an ethical
               violation), obligations, loss, duties, benefits, fees, costs, accounts, rights, suits,
               controversies, awards, judgments, agreements, promises, damages (including, but
               not limited to, punitive, multiple, exemplary, or extra-contractual damages),
               offsets, remedies, penalties, debts, liabilities, interest, expenses, attorneys’ fees, or
               other relief of any kind or character, or rights to any of the foregoing, whether
               under the Bankruptcy Code or under State or other applicable law, whether known
               or unknown, contingent or not contingent, suspected or unsuspected, asserted or
               unasserted, unforeseen, unanticipated or latent, reduced to judgment, not reduced
               to judgment, liquidated, unliquidated, fixed, matured, unmatured, disputed,
               undisputed, secured or unsecured, and whether asserted or assertible directly or
               derivatively, at law, in equity, contractual or otherwise, that such RRG Releasing
               Party ever had, now has, may ever have, or may ever claim to have, against any
               RRG Released Party, arising from, relating to, or in any way connected with, any
               event, transaction, action or omission that occurred or failed to occur prior to the
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             filing of the MOU Release Notice, including, without limitation, based on or
             relating to, or in any manner arising from, in whole or in part, the ASA, the MSA,
             the TSA, the HSRE Documents, the CONA Documents, the MidCap Documents,
             the Leases, the Debtors’ in- or out-of-court restructuring efforts, any of the
             Debtors’ businesses and operations, RRG’s businesses and operations, any of the
             other MBNF Parties’ businesses and operations, the RRG Membership Interests,
             the Debtors’ Chapter 11 Cases, the Real Estate, the January 2018 Transactions,
             the Ancillary Documents, the HSRE Complaint, the MBNF Complaint, the BAA,
             any claims under any policy that was issued, written or assumed by RRG, or the
             administration thereof, any approval of the RRG Dissolution (regulatory or
             otherwise), each of the RRG MOU Implementation Date Actions, the dissolution,
             winding-up and/or liquidation of RRG or its assets, any distribution of RRG’s
             assets, any alleged conflict of interest, disclosure of confidential information in
             contravention of any applicable agreement or order, or ethical violation, any false,
             misleading, inflammatory, defamatory, libelous, slanderous and/or disparaging
             statements, publications and/or writings made, allowed to be made, or alleged to
             have been made or allowed to have been made, by, or attributable to any RRG
             Released Party, prior to the filing of the MOU Release Notice, any derivative
             claims asserted or assertible on behalf of any of the Debtors, the MBNF Parties or
             other Person, that any RRG Releasing Party would have been legally entitled to
             assert in its own right (whether individually or collectively) or on behalf of the
             holder of any claim against, or interest in, RRG or any other Person, or any related
             agreement with respect to the foregoing, or upon any other related act or omission,
             transaction, agreement, event, or other occurrence taking place prior to the filing
             of the MOU Release Notice, including any claims related to any act or omission
             that may have constituted actual fraud, willful misconduct or gross negligence
             (collectively, the “RRG Released Claims” together with the Debtor Released
             Claims, the MBNF Released Claims, the MBNF/Broad Released Claims, the
             Tenet Released Claims, the Conifer Released Claims, the CONA Released
             Claims, the HSRE Released Claims, and the HSRE JV Released Claims, the
             “Released Claims”).

             Without limitation of the foregoing, no RRG Releasing Party shall assert, instigate,
             assist, or encourage any other Person to investigate or to assert, any action, any
             action in its capacity as a creditor, or any derivative action on behalf of any
             Person(s) in their capacity as a creditor or otherwise, against any RRG Released
             Party (or challenge any liens or claims of any RRG Released Party), or derive any
             benefit therefrom, directly or indirectly on account of any RRG Released Claims.
             In the event that any RRG Releasing Party pursues any RRG Released Claims
             against any RRG Released Party at any time subsequent to the filing of the MOU
             Release Notice, the party pursuing such RRG Released Claims shall fully
             indemnify, protect, and hold such RRG Released Party harmless from and against
             any and all rights, claims, debts, losses, demands, acts, contracts, agreements,
             liabilities, obligations, damages, penalties, costs, fees (including, without
             limitation, all attorney, consultant and expert fees and costs), expenses, duties,
             breaches, actions, lawsuits, allegations, causes of action and/or suits of every nature,

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               character and description, whether known or unknown, suspected or unsuspected,
               disclosed or undisclosed, legal or equitable, allegedly or actually arising from,
               related to or incurred in connection with, directly or indirectly, the assertion of any
               and all such RRG Released Claims, regardless of whether a judicial proceeding of
               any type or nature has been commenced.

            j. California Civil Code § 1542. The Parties intend and agree that the releases
               granted in this MOU shall be effective as a bar to any and all currently unsuspected,
               unknown, or partially known claims. Each Party hereby acknowledges that it has
               been informed by its respective attorneys of, and that it is familiar with, the
               provisions of California Civil Code § 1542, and each Party expressly waives any
               and all rights and benefits conferred upon it by the provisions of California Civil
               Code § 1542, which provides in pertinent part:

                       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                       THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                       KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
                       THE TIME OF EXECUTING THE RELEASE AND THAT, IF
                       KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                       AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
                       OR RELEASED PARTY.

               Each Party also expressly waives any and all provisions, rights, and benefits
               conferred by any state or territory in the United States of America, or any other
               nation, or by the Restatements of the Law or by any principle of common law that
               is similar, comparable, or equivalent to California Civil Code § 1542. Although the
               Parties may hereafter discover facts in addition to or different from those that any
               of them now knows or believes to be true with respect to the subject matter of this
               MOU, the Parties have fully, finally, and forever settled and released any and all
               claims, known or unknown, suspected or unsuspected, contingent or noncontingent,
               whether or not concealed or hidden, that now exist or heretofore have existed upon
               any theory of law or equity relating to this MOU, including, but not limited to, with
               respect to conduct that is negligent, reckless, intentional, with or without malice, or
               a breach of any duty, law, or rule, without regard to the subsequent discovery or
               existence of such different or additional facts. The Parties acknowledge that the
               inclusion of such “Unknown Claims” in this MOU was separately bargained for and
               was a key element of this MOU.

            k. Environmental Claims Release. For purposes of clarity, each of the Non-MBNF
               Parties understands and agrees that the foregoing releases in this Section 14 of the
               MOU includes the release of each MBNF Released Party of and from, any claim or
               cause of action, including, without limitation, any strict liability claim or cause of
               action, that any of the Non-MBNF Parties may have against any MBNF Released
               Party under any environmental law, now existing or hereafter enacted or
               promulgated, relating to environmental matters or environmental conditions in, on,
               under, about or migrating from or onto the Real Estate, including, without
               limitation, the Comprehensive Environmental Response, Compensation and

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               Liability Act or by virtue of any common law right now existing or hereafter created
               related to environmental conditions or environmental matters in, on, under, about
               or migrating from or onto the Real Estate, any and all of which claims shall
               constitute Released Claims under this MOU.

            l. Prior Debtor/Tenet Settlement. Notwithstanding anything to the contrary
               contained herein, the Debtors, Tenet and Conifer shall retain all rights against one
               another under and with respect to that certain Order Granting Motion of the Debtors
               for Entry of Order Approving Settlement Term Sheet Between the Debtors, Tenet
               Business Services Corporation, Conifer Revenue Cycle Solutions, LLC and The
               Official Committee of Unsecured Creditors [D.I. 1118], and the Term Sheet
               attached thereto as Exhibit 1, subject, however, to the release of all claims against
               each MBNF Released Party as described in Sections 14(a), (d), (e) and (i) hereof.

            m. Release Limitations. Notwithstanding anything to the contrary contained herein,
               nothing contained in this MOU shall operate to (i) create, give rise to or accrue any
               claim or right of action that is not directly created or allowed by this MOU or
               expressly preserved by Sections 14(l) and 14(n) of this MOU; (ii) release any
               Released Party from (x) any claim allowed by this MOU or the Approval Order or
               (y) any term, condition, provision or obligation set forth in this MOU or the
               Approval Order arising on or after the MOU Implementation Date, except to the
               extent completed or performed prior to the filing of the MOU Release Notice; (iii)
               release any claims for Actual Fraud in the negotiation or documentation of the
               MOU; (iv) release any claims against Iron Stone Real Estate Partners, its affiliates
               or Representatives; or (v) release any claims (x) between Tenet or Conifer on the
               one hand and the CONA Parties or HSRE Entities on the other hand or (y) by or
               against the Representatives of the Parties (but excluding any Representative who
               also constitutes any MBNF Party, any MBNF Affiliate, Sonsara Management
               Services, LLC, or Jigsaw Advisors, LLC), in each case of the preceding clauses (x)
               and (y), that are unrelated to the ASA, the MSA, the TSA, the HSRE Documents,
               the CONA Documents, the January 2018 Transactions, the MidCap Documents, the
               Ancillary Documents, the Leases, the Debtors’ in- or out-of-court restructuring
               efforts, any of the Debtors’ businesses and operations, any of the MBNF Parties’
               businesses and operations, any of the HSRE JV’s or any of the HSRE JV member’s
               respective businesses and operations, the Debtors’ Chapter 11 Cases, the Real
               Estate, the Broad Street Notes, the HSRE Complaint, the MBNF Complaint, the
               CONA MBNF Claims, the HSRE Debtor Claims, the HSRE MBNF Claims, the
               MBNF CONA Claims, the MBNF Debtor Claims, the MBNF HSRE Claims, the
               MBNF Tenet/Conifer Claims, the Tenet/Conifer Indemnification Claims, the
               Tenet/Conifer MBNF Claims, the Tenet Debtor Claims, the RRG, the RRG
               Membership Interests, the BAA, any claims under any policy that was issued,
               written or assumed by RRG, or the administration thereof, any approval of the RRG
               Dissolution (regulatory or otherwise), any of the RRG MOU Implementation Date
               Actions, the dissolution, winding-up and/or liquidation of RRG or its assets, any
               distribution of RRG’s assets, or any false, misleading, inflammatory, defamatory,
               libelous, slanderous and/or disparaging statements, publications, and/or writings
               made, allowed to be made, or alleged to have been made or allowed to have been
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                made, by, or attributable to any Released Party prior to the filing of the MOU
                Release Notice.

            n. Survival of ASA Provisions. For the avoidance of doubt, the releases in this
               Section 14 shall not affect the transfer of the Assets to the Purchasers as
               contemplated in Section 1.6 of the ASA, the retention of the Excluded Assets by
               the Sellers as contemplated in Section 1.7 of the ASA, the assumption of the
               Assumed Obligations by the Purchasers as contemplated in Section 1.8 of the ASA,
               and the retention of the Excluded Liabilities by the Sellers as contemplated in
               Section 1.9 of the ASA (except for the term “ASA” defined above, each capitalized
               term used in this Section 14(n) shall have the meaning assigned to it in the ASA).
               Each such provision (and the transfer of title to the Assets and Assumed Obligations
               in accordance with the applicable conveyance documents) shall remain in full force
               and effect in accordance with its terms.

            o. Carrier Notices. In furtherance of the releases set forth in this Section 14, and
               promptly after the filing of the MOU Release Notice, (i) the Debtors and Committee
               shall countersign a notice to be prepared and sent by the MBNF Parties in the form
               attached hereto as Exhibit 14(o)(i) to each insurance carrier with respect to the
               policies set forth in items 1-7 on Schedule 14(o) hereto (other than Travelers with
               respect to the D&O Claims under the D&O Insurance) to advise such carrier of the
               settlement and releases set forth in this MOU and dismissal or withdrawal of
               pending litigation described in Section 15; and (ii) MBNF shall countersign a notice
               to be prepared and sent by the Debtors in the form attached hereto as
               Exhibit 14(o)(ii) to each insurance carrier with respect to the policies set forth in
               items 8-10 on Schedule 14(o) hereto to advise such carrier of the settlement and
               releases set forth in this MOU and dismissal or withdrawal of pending litigation
               described in Section 15.

            p. No Challenge of Liens or Claims. Subject to the terms of this MOU, no Releasing
               Party shall challenge any liens or claims of any of the Released Parties related to
               the subject matter of this MOU or the underlying transactions.

     15. Dismissal and/or Withdrawal of Pending Litigation. Promptly after the filing of the
         MOU Release Notice, each of the applicable Parties shall withdraw or stipulate to the
         voluntary dismissal of the following proceedings, matters and motions, including claims,
         counterclaims and crossclaims, with prejudice and with each party to such litigation to bear
         its own fees and costs:

     Appellant(s)                Appellee(s)                   Court                   Case No.
  MBNF Parties             Debtors                    United States District Civil Action No. 1:21-
                           Committee                  Court for the District of cv-01779 (the
                           Tenet                      Delaware                  “Appeal”)
                           Conifer
                           HSRE Entities



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        Plaintiff(s)        Defendant(s)                   Court                Case No.
  Debtors                MBNF Parties              Bankruptcy Court      Adv. No. 21-50991-
                                                                         MFW
  Debtors                HSRE Entities/CONA Bankruptcy Court             Adv. No. 21-50993-
                                                                         MFW
  HSRE-PAHH I, LLC, PAHH and Paladin             Court of Common         Case ID 200300202
  et al.                                         Pleas, Philadelphia
                                                 County – Commerce
  PAHH                   HSRE-PAHH IA, LLC Program
  PAHH Broad Street      PAHH and Paladin        Court of Common         Case ID 190804677
  MOB, LLC, et al.                               Pleas, Philadelphia
                                                 County – Commerce
                                                 Program
  Tenet and Conifer      Front Street Healthcare Superior Court of the   C.A. No. N19C-09-116-
                         Properties, LLC, et al. State of Delaware       SKR
  PAHH et al.            Tenet                   Superior Court of the   C.A. No. N19C-04-
                                                 State of Delaware       035EMDCCLD
  PAHH                   Tenet                   Court of Chancery of    2018-0684-KSJM
                                                 the State of Delaware

      Movant(s)               Name of Pleading            Court                 Docket No.
  MBNF Parties            The MBNF Non-Debtor Bankruptcy Court           D.I. 2543
                          Entities’ Motion to
                          Appoint a Chapter 11
                          Trustee
  Broad Street Healthcare Notice of Appeal        Bankruptcy Court       D.I. 3338
  Properties, LLC, et al.
  Tenet                   Motion of Tenet         Bankruptcy Court       D.I. 2162
                          Business Services
                          Corporation for an
                          Order (i) Confirming
                          that the Automatic Stay
                          Does Not Apply, or (ii)
                          in the Alternative,
                          Granting Relief from
                          the Automatic
                          Stay
  HSRE Entities           Application of Master Bankruptcy Court         D.I. 1578
                          Landlords for Entry of
                          an Order Allowing and
                          Directing Payment of
                          Administrative Expense
                          Claim




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            Each applicable Party agrees to take any and all reasonably necessary steps to effectuate
            the dismissal required by this Section 15. In the case of the Appeal, the Parties may dismiss
            that matter pursuant to a stipulation consistent with the MOU.

     16. Covenant Not to Sue. From and after the filing of the MOU Release Notice, no Releasing
         Party shall bring any Released Claims before any court, arbitrator, or other tribunal or
         jurisdiction or any other Person, whether as a claim, cross-claim, or counterclaim. Any
         Released Party may plead this MOU as a complete bar and/or defense to any Released
         Claim brought in derogation of this covenant not to sue. No Releasing Party shall assert,
         attempt to assert in any manner, or benefit directly or indirectly from any Released Claims
         against any insurers of the Released Parties (other than (i) Travelers with respect to the
         D&O Claims under the D&O Insurance; and (ii) solely for any HSRE Entities to obtain
         reimbursement of such Party’s attorney’s fees, costs and expenses but only if such insurer
         agrees not to assert any subrogation rights against any Person and not to seek contribution,
         reimbursement or any other recovery therefor from any other Person). The Parties
         acknowledge and agree that: (i) a breach of this covenant by any of the Parties shall
         constitute irreparable harm to the other Parties; (ii) monetary damages would be inadequate
         to remedy the breach; and (iii) enforcement of this covenant may be made by complaint
         and petition for injunctive relief, without waiving any claim for damages.

     17. Tenet Shortfall Payment. To the extent Sale proceeds of redacted are not realized from
         the Sale of the Real Estate, Tenet (in order to recover the amount it would have received if
         the sale price had been redacted) will share to the extent of such shortfall, in an amount not
         to exceed $2 million, in any proceeds received by the Debtors from the HPP Notes.

     18. Tax Cooperation.

                 a. Debtor Tax Cooperation. For all periods in which the Debtors are in possession
                     and control of the Debtors’ books and records, and relating solely to time periods
                     prior to the completion of the transaction described in Section 3(a)(xiii), and solely
                     to the extent not previously provided to the MBNF Parties and/or any of their
                     Representatives, the Debtors shall provide the MBNF Parties and the MBNF
                     Equity Buyer LLC with the following information at such time, in such format and
                     in such detail as the Debtors, the MBNF Parties and the MBNF Equity Buyer LLC
                     shall reasonably agree:

                    i.     Trial balance, income statements, and balance sheets (in excel or similar
                           format) for all Debtors;

                   ii.     Support related to any Taxes paid by the Debtors for all tax years;

                  iii.     Support related to potentially non-deductible items;

                   iv.     Detail and support related to any asset sales or dispositions;

                   v.      Detail and support related to payment of claims and obligations;

                   vi.     Detail and support of any adjusting journal entries recorded; and
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              vii.     Any other tax-related information or documentation that the MBNF Parties
                       or the MBNF Equity Buyer LLC may reasonably request.

            b. HSRE Tax Cooperation. For all periods commencing 2021 and thereafter until
               the HSRE JV is dissolved in which HSRE-PAHH IA, LLC or any other HSRE
               Entity is the tax matters partner or partnership representative (or any similar role
               under applicable state or local law) and/or are in possession and control of the HSRE
               JV’s books and records, HSRE-PAHH IA, LLC or such HSRE Entity shall provide
               PAHH, and MBNF or the MBNF Equity Buyer LLC, as the taxpayer, at no material
               cost or expense to the HSRE Entities with the following information as soon as
               reasonably practicable (but in any event prior to filing of any tax returns for HSRE
               JV for the tax years 2021 or thereafter), in such format and in such detail as may be
               reasonably agreed to by (A) the HSRE Entities, (B) a Representative of Joel
               Freedman, and (C) a Representative of MBNF Liquidator LLC, for the 2021 tax
               year and each tax year going forward until the HSRE JV is dissolved:

                i.     Schedule K-1 detailing PAHH’s distributive share of income and losses,
                       allocated liabilities, and ending tax capital (actual);

               ii.     Trial balance, income statements, and balance sheets (in excel or similar
                       format) for HSRE JV;

              iii.     Roll-forward of PAHH’s tax and IRC Section 704(b) capital detail (in excel
                       or similar format);

               iv.     Support related to any taxes paid by the HSRE JV or the HSRE Entities
                       related to the HSRE JV;

               v.      Support related to the HSRE JV’s potentially non-deductible items;

               vi.     Detail and support related to payment and/or forgiveness of debt, claims and
                       obligations of HSRE JV;

              vii.     Detail and support related to any federal and state tax positions taken by
                       HSRE JV or by any of the HSRE Entities as it relates to HSRE JV; and

             viii.     HSRE-PAHH IA, LLC shall cause a IRC Section 754 election to be made
                       by the HSRE JV if requested in writing by any holder of the HSRE JV
                       Interests.

             c. MBNF Tax Cooperation. For all periods in which the MBNF Entities and/or
                MBNF Equity Buyer LLC are in possession and control of the MBNF Entities’
                books and records, and solely to the extent not previously provided to the Debtors
                and/or any of their Representatives, the MBNF Entities and/or MBNF Equity
                Buyer LLC shall provide to the Debtors such tax-related information or
                documentation that the Debtors may reasonably request at such time and in such
                format as the Debtors, the MBNF Entities and/or the MBNF Equity Buyer LLC
                shall reasonably agree.
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     19. Pending Litigation Claims Cooperation. The MBNF Parties and the Debtors shall
         reasonably cooperate in good faith in defending, mediating, arbitrating, considering
         proposals for resolution, and/or resolving the Pending Litigation Claims, including, but not
         limited to telephone and in-person conferences to discuss or prepare for litigation or
         investigatory proceedings, such as hearings, depositions or other discovery proceedings or
         requests, or any proceedings in arbitration. The cooperation described above shall not
         preclude the Debtors or the MBNF Parties from independently resolving their respective
         alleged liabilities with respect to the Pending Litigation Claims; provided that the Debtors
         will stipulate to any relief from the automatic stay with respect to the Pending Litigation
         Claims only after providing advanced written notice to and consulting in good faith with
         the applicable MBNF Parties.

     20. Information Cooperation. Following the MOU Implementation Date and, as is
         commercially reasonable, until the closing of the Sale, upon the reasonable request of the
         Debtors, and at no material cost or expense to the MBNF Parties, the MBNF Individuals
         shall reasonably cooperate in good faith with the Debtors in responding to information
         requests related to the Real Estate if such information is known and available at such time
         to the MBNF Individuals and not otherwise delivered to the Debtors in accordance with
         Section 3(d). Following the MOU Implementation Date, and until the final decree and
         order closing the Chapter 11 Cases is entered, upon the reasonable request of the MBNF
         Parties, and at no material cost or expense to the Debtors, the Debtors shall reasonably
         cooperate in good faith with the MBNF Parties in connection with the winding-up and
         liquidation of any such parties. For the avoidance of any doubt, any cooperation by the
         MBNF Parties or the Debtors under this Section shall not require such Party to waive or
         modify any of such Party’s rights under this MOU.

     21. Casualty Loss and Insurance. On the MOU Implementation Date, the MBNF Parties
         shall be deemed to have assigned, transferred and conveyed to CCH all rights to insurance
         proceeds under all insurance policies and contracts and coverages obtained by any of the
         MBNF Entities or listing any of the MBNF Parties as an insured party, a beneficiary or loss
         payee, on account of any casualty claim arising from or relating to the Assets set forth on
         Schedule 3(a)(vi). To the extent that any of the MBNF Parties received or receive any
         insurance proceeds on account of any casualty claim arising from or relating to the Assets
         set forth on Schedule 3(a)(vi) and such proceeds have not been used to remedy the insured
         loss, then any such proceeds shall be deemed included in the Assets set forth on Schedule
         3(a)(vi) substantively consolidated with CCH; provided, that such proceeds shall be
         separate and apart from the MBNF Entities’ (exclusive of (x) RRG’s deposit accounts and
         (y) the Broad Street PropCos’ deposit accounts maintained at PNC Bank) ending cash
         balance as of the Execution Date in the amount of $99,680.19, which amount does not
         include $1,396 which shall be transferred on the MOU Implementation Date from the
         accounts of the Broad Street PropCos to PAHH, the entirety of which cash shall constitute




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            the property of the MBNF Entities and shall not be deemed included in the Assets set forth
            on Schedule 3(a)(vi) substantively consolidated with CCH.

     22. Plan.

               a. MOU. This MOU shall be incorporated into the Plan. The Committee, the MBNF
                  Parties, Tenet, Conifer, the HSRE Entities and the CONA Parties shall support, and
                  shall not directly or indirectly oppose, any substantive consolidation of the Debtors
                  proposed in the Debtors’ Plan, including, but not limited to, as set forth in this
                  MOU, provided that the Plan and the Confirmation Order do not contain any
                  provisions that are inconsistent with the terms and conditions of this MOU or
                  diminish the rights existing or obtained through this MOU.

               b.    Release. The Plan shall contain releases, consistent with the releases set forth in
                    this MOU, by the Debtors for the benefit of each MBNF Released Party, Tenet
                    Released Party, Conifer Released Party, CONA Released Party, HSRE Released
                    Party and Committee Released Party. In addition, the Debtors shall use
                    commercially reasonable efforts to obtain consensual third-party releases in the
                    Plan to the fullest extent permitted by law for the benefit of the MBNF Individuals,
                    Paladin, Tenet, Conifer and the HSRE Entities. Such efforts shall include the
                    submission of briefing and consultation with the MBNF Parties and the Honorable
                    Kevin J. Carey (ret.) upon receiving formal and/or informal objections to inclusion
                    of such releases, to obtain approval of such releases.

               d. Exculpation. The Plan shall contain exculpation provisions, which shall include a
                  full exculpation from liability in favor of the “Exculpated Parties” (a term defined
                  to include Joel Freedman and his advisors, attorneys, accountants, consultants,
                  financial advisors, investment bankers, agents, and other representatives, including
                  Kyle Schmidt and Svetlana Attestatova, and any of such parties’ successors and
                  assigns), but only to the extent such persons served as a fiduciary to any of the
                  Debtors’ estates, from any cause of action for any claim related to any act or
                  omission, from the Chapter 11 Cases’ petition date to the effective date of the Plan,
                  in connection with, relating to, or arising out of: (i) the Chapter 11 Cases, in whole
                  or in part, including the planning, commencement, and administration thereof; (ii)
                  the Debtors; (iii) the formulation, preparation, dissemination, negotiation, and filing
                  of (A) the Disclosure Statement, (B) the Plan, (C) the Plan Supplement, (D) the
                  MOU, including any schedules and exhibits attached thereto, (E) any sale order,
                  (F) the Approval Order, or (G) any contract, instrument, release, or other agreement
                  or document created or entered into in connection with the Disclosure Statement,
                  the Plan, the Plan Supplement, the filing of the Chapter 11 Cases, the MOU, any
                  sale order, or the Approval Order; (iv) solicitation of votes on the Plan; (v) the
                  prepetition negotiation and settlement of claims; (vi) the pursuit of consummation
                  of the Plan; or (vii) the administration and implementation of the Plan, including
                  the distribution of property under the Plan or any other related agreement, except
                  for claims or causes of action related to or arising from any act or omission that is
                  judicially determined in a final order by a court of competent jurisdiction to have
                  constituted actual fraud, willful misconduct, or gross negligence.

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                The Plan shall provide that the Exculpated Parties have, and upon effectiveness of
                the Plan shall be deemed to have, participated in good faith and in compliance with
                the applicable laws with regard to the solicitation of votes on, and distribution of
                consideration pursuant to, the Plan and, therefore, are not, and on account of such
                distributions shall not be, liable at any time for the violation of any applicable law,
                rule, or regulation governing the solicitation of acceptances or rejections of the Plan
                or such distributions made pursuant to the Plan. Notwithstanding anything to the
                contrary in the foregoing, the exculpation set forth above shall not release or
                exculpate any claim relating to any post-effective date obligations of any Person
                created by the MOU, the Plan, or any document, instrument, or agreement executed
                to implement the Plan.

                The Debtors shall use commercially reasonable efforts, including the submission of
                briefing and consultation with the MBNF Parties and the Honorable Kevin Carey
                (ret.) upon receiving formal and/or informal objections to inclusion of such
                exculpation, to obtain approval of such exculpation provisions.

     23. Conditions to MOU Implementation Date. This MOU shall not be effective, and shall
         have no force or effect, unless and until the following conditions have been satisfied or
         waived by the Debtors, the MBNF Parties, the HSRE Entities, the CONA Parties, Tenet
         and the Committee in writing no later than ninety (90) calendar days after the Execution
         Date or such later date to which all of the foregoing parties consent in writing, which
         consent shall not be unreasonably withheld, conditioned, or delayed; provided, however,
         (a) the requirements with respect to Sections 23(b) and 23(e) are not subject to waiver, (b)
         Sections 14(a) through 14(j) and 16 shall not be effective until the MOU Release Notice is
         filed in accordance with Section 52, and (c) if the following conditions are satisfied or
         waived during the period between sixty-one (61) and ninety (90) calendar days after the
         Execution Date, the Debtor Settlement Payment shall be increased by the amount equal to
         one-half of the amount of the Withdrawal Liability Settlement Payment in excess of
         $15,759,921, which represents the Withdrawal Liability Settlement Payment as of
         September 15, 2022:

            a. Disputed Claims. The Disputed Claims shall have been resolved or otherwise
               addressed in a manner reasonably acceptable to the Debtors, the Committee, and
               the MBNF Parties; it being understood that mutual general releases of the parties to
               the Disputed Claims shall be reasonably acceptable to the Debtors, the Committee,
               and the MBNF Parties.

            b. Approval Order. The Bankruptcy Court shall have entered the Approval Order.

            c. Final Order. The Approval Order shall have become a Final Order.

            d. D&O Settlement. The Debtors shall have resolved, with Travelers and under the
               D&O Insurance, the D&O Claims in a manner acceptable to the Debtors and the
               Committee; provided, however, that any resolution of the D&O Claims shall
               include releases by Travelers, in each case acceptable to the MBNF Individuals, of
               Travelers’ subrogation rights, if any, against the MBNF Individuals.

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            e. RRG Approval. All necessary regulatory approvals, if any, for the RRG’s entry
               into this MOU (including, for the avoidance of doubt, the dissolution, liquidation
               and termination of the RRG), and for the change in control of the RRG by virtue of
               PAHH’s withdrawal as a member of the RRG, shall have been received.

            f. Signed Exhibits. The Debtors, the MBNF Parties, the HSRE Entities, the CONA
               Parties, Tenet, and the Committee shall have confirmed to their satisfaction that the
               Third Party Escrow Agent has in its possession fully and properly executed original
               copies of all documents attached to this MOU as exhibits and the HSRE Warrant
               required to be released upon the occurrence of the MOU Implementation Date.

            g. Standstill Agreement. The Standstill Agreement shall have remained in full force
               and effect at all times from July 21, 2021 through the MOU Implementation Date.

            h. Representations and Warranties. All of the representations and warranties of the
               MBNF Entities contained in Section 3(d) of the MOU and of each Releasing Party
               contained in Section 25 of the MOU shall be true and correct in all material respects
               as of the MOU Implementation Date, except for those representations and
               warranties which address matters only as of a particular date (which will remain
               true and correct in all material respects as of such date). Notwithstanding the
               foregoing, none of the representations or warranties contained in this MOU and
               made by any party hereto shall survive the MOU Implementation Date, and no party
               hereto or its Representatives shall have the right to bring an action based on, arising
               out of, or related to such representations and warranties at any time after the MOU
               Implementation Date.

            i. Pension Fund Payoff Letter. The Debtors shall have received a copy of a payoff
               letter from the Pension Fund delivered pursuant to Section 3(b) of the Pension
               Settlement Agreement, confirming the payoff amount to the Pension Fund to fully
               satisfy the unpaid and outstanding Withdrawal Liability Settlement Payment, as
               such term is defined in the Pension Settlement Agreement as of the contemplated
               MOU Implementation Date.

            j. IRS Form 8832. PAHH and PAHS shall each have prepared an IRS Form 8832
               consistent with the requirements of Sections 3(a)(xvi)(a) and 3(a)(xvi)(b)
               respectively, and each such party shall have confirmed in writing to the other that
               such forms are acceptable and consistent with the requirements of this MOU.

            k. MBNF Direction Letter. MBNF shall have provided the MBNF Direction Letter
               to the Third Party Escrow Agent.

            l. Third Party Escrow Agent Agreement. MBNF, Tenet and the Debtors shall have
               entered into an agreement with the Third Party Escrow Agent in form and substance
               reasonably satisfactory to all parties thereto.

            m. RRG Proceeds. The RRG Proceeds shall be no less than (i) $6,100,000 in cash or
               cash equivalents if the MOU Implementation Date occurs on or before September

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                15, 2022, or (ii) $6,070,000 in cash or cash equivalents if the MOU Implementation
                Date occurs after September 15, 2022.

     24. Non-Debtor Status. For the avoidance of doubt, as a result of entering into this MOU,
         none of the Broad Street PropCos or RRG shall be: (a) considered debtors or debtors in
         possession in the Chapter 11 Cases or any other case; (b) deemed to have filed voluntary
         petitions for relief under Chapter 11 of the Bankruptcy Code; or (c) responsible for any
         reporting obligations under the Bankruptcy Code, including, without limitation, schedules
         of assets and liabilities, schedules of current income and expenditures, schedules of
         executory contracts and unexpired leases, statement of financial affairs, and monthly
         operating reports.

     25. No Assignment of Claims. Each of the Releasing Parties represents and warrants that, as
         of its execution of this MOU, it has not assigned or otherwise transferred (other than with
         respect to as collateral in connection with the CONA Documents) to any Person any of the
         claims addressed by this MOU and shall not assign or otherwise transfer to any Person any
         such claim, provided, however, that the rights and claims of the HSRE Entities (and/or the
         proceeds thereof) constitute collateral that has been pledged to Capital One, N.A. for the
         benefit of the CONA Parties as set forth in the CONA Documents; it being understood that
         the CONA Parties’ preservation of such pledge of collateral shall not reduce, diminish,
         condition or otherwise limit the releases by each CONA Releasing Party set forth in Section
         14(f); provided, however, Capital One, N.A. shall release all rights and claims under the
         CONA Documents upon the final distribution of proceeds from the Sale of the Real Estate
         and proceeds from the Debtors’ estates or successors thereto in accordance with Schedule
         3(b), except to the extent such rights and claims expressly survive the full satisfaction of
         the borrowers’ and guarantors’ obligations under the CONA Documents by the terms
         thereof.

     26. January 2018 Transactions Professionals. [REDACTED]


     27. Employment Preserved Action. [REDACTED]


     28. Further Assurances and Cooperation. The Parties, following entry of the Approval
         Order, agree to promptly execute, acknowledge and deliver any and all such documents
         and instruments and perform any and all such acts, in addition to the matters herein
         specified, as may be reasonably appropriate or necessary, or as may be required by order
         of the Bankruptcy Court, from time to time, to effectuate the transactions contemplated
         hereby, to implement this MOU and to carry out the purpose and intent of this MOU,
         including, without limitation, any document, instrument or direction reasonably required
         by the Third Party Escrow Agent. Without limitation of the foregoing, (i) Tenet and each
         of the MBNF Parties shall provide the Debtors with reasonable and prompt assistance and
         cooperation, if requested, in connection with the HPP Notes, CCH’s interest in HPP and
         documentation related thereto; (ii) the Debtors shall use commercially reasonable efforts to
         cause the MBNF Individuals to be removed as authorized officers, officials, or delegated
         officials for all Debtor entities in any regulatory, billing, or claims processing register,

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            including, without limitation, any Medicare number registrations, the Medicare Provider
            Enrollment, Chain, and Ownership System, and Centers for Medicare and Medicaid
            Services profile; and (iii) the MBNF Parties shall instruct Wells Fargo Bank, N.A. to
            remove Joel Freedman, Stella Freedman, Kyle Schmidt, Steve Blake and William
            Brinkman as a Company Administrator for the Debtors’ bank accounts.

     29. Construction and Severability. The captions and headings herein are solely for the
         convenience of the Parties and do not form a substantive part of this MOU. Whenever the
         singular number is used in this MOU and when required by the context, the same shall
         include the plural, and vice versa, where applicable. Whenever the masculine gender is
         used the reference shall include the feminine and neuter genders, and vice versa. If any
         material term or other provision of this MOU is finally held by the Bankruptcy Court or
         appellate court of competent jurisdiction to be invalid, illegal or incapable of being enforced
         by any rule of law or public policy: (i) said term or other provision shall be enforced to the
         maximum extent allowed and/or construed in order to effect the intent of the Parties as
         closely as possible; and (ii) all other conditions and provisions of this MOU not otherwise
         affected shall nevertheless remain in full force and effect, it being understood that all
         Releases contained in Section 14, all payment terms contained in Sections 2, 4, 6, 10, and
         11, and the provisions of Sections 3, 16 and 22 hereof are material terms.

     30. Entire Agreement. Other than the agreement among MBNF Equity Buyer LLC, MBNF
         Liquidator LLC, MBNF Parent 1 Corporation, MBNF Parent 2 Corporation, the members
         of MBNF and other parties party thereto (together with all schedules, exhibits and
         attachments thereto, the “MBNF Equity Buyer Agreement”), which, for the avoidance of
         doubt, shall be binding only among the parties thereto, this MOU and the Exhibits and
         Schedules hereto constitutes the entire agreement and understanding among the Parties with
         respect to the matters addressed herein and supersedes all prior agreements and
         understandings, oral or written, among the Parties with respect to the subject matter hereof.

     31. Reliance. In executing this MOU, other than as set forth in the MBNF Equity Buyer
         Agreement, which, for the avoidance of doubt, shall be binding only among the parties
         thereto, each Party relied solely on the statements expressly set forth herein, and has placed
         no reliance whatsoever on any statement, representation, or promise of any other Party, or
         any other Person, not expressly set forth herein, or upon the failure of any other Party, or
         any other Person to make any statement, representation or disclosure of anything
         whatsoever. The discovery by any Party, subsequent to the execution of this MOU, of any
         facts, events, transactions, actions or omissions not heretofore known to that Party, or that
         the facts, events, transactions, actions or omissions or law upon which any Party relied in
         executing this MOU was not as that Party believed it to be (other than as expressly set forth
         herein), shall not constitute grounds for declaring this MOU void, voidable, or otherwise
         unenforceable. This Section is intended by the Parties to preclude any claim that any Party
         was induced to enter this MOU by a mistake of fact or law.




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     32. Choice of Law. THIS MOU IS TO BE GOVERNED BY AND CONSTRUED IN
         ACCORDANCE WITH THE LAWS OF THE STATE OF DELAWARE APPLICABLE
         TO CONTRACTS MADE AND TO BE PERFORMED IN SUCH STATE, WITHOUT
         GIVING EFFECT TO THE CONFLICT OF LAWS PRINCIPLES THEREOF. Each Party
         hereto agrees that it shall bring any action or proceeding in respect of any claim arising out
         of or related to this MOU in the Bankruptcy Court, and solely in connection with claims
         arising under this MOU: (a) irrevocably submits to the exclusive jurisdiction of the
         Bankruptcy Court; (b) waives any objection to laying venue in any such action or
         proceeding in the Bankruptcy Court; and (c) waives any objection that the Bankruptcy
         Court is an inconvenient forum or does not have jurisdiction over any Party hereto. Each
         Party agrees, at the request of another Party, other than as set forth in Section 52 herein, to
         consider in good faith and without unreasonable delay, exercising its reasonable business
         judgment, such other Party’s request to engage in confidential mediation of any claim
         arising under this MOU.

     33. Execution of MOU. This MOU may be executed and delivered in any number of
         counterparts and by way of electronic signature and delivery, each such counterpart, when
         executed and delivered, shall be deemed an original, and all of which together shall
         constitute the same agreement. Except as may be expressly provided in this MOU, each
         individual executing this MOU on behalf of a Party represents and warrants that he/she has
         been duly authorized and empowered to execute and deliver this MOU on behalf of said
         Party.

     34. Rules of Interpretation. No Party shall be deemed the drafter of this MOU. This MOU
         is the product of negotiations among the MBNF Parties and the Non-MBNF Parties, and in
         the enforcement or interpretation hereof, is to be interpreted in a neutral manner, and any
         presumption with regard to interpretation for or against any Party by reason of that Party
         having drafted or caused to be drafted this MOU, or any portion hereof, shall not be
         effective in regard to the interpretation hereof. Each Party was represented by counsel
         during the negotiation and drafting of this MOU and continues to be represented by counsel.

     35. Waiver. No negotiations relating to the MOU shall be admissible into evidence in any
         proceeding other than a proceeding to (i) obtain approval of the MOU, (ii) obtain
         confirmation of the Plan, (iii) to enforce the MOU, or (iv) recover the payment of damages
         to which a Party may be entitled under this MOU.

     36. Specific Performance. It is understood and agreed by the Parties that money damages
         would be an insufficient remedy for any breach of this MOU by any Party, and each non-
         breaching Party shall be entitled to specific performance and injunctive or other equitable
         relief (without the posting of any bond and without proof of actual damages) as a remedy




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            of any such breach, including an order of the Bankruptcy Court requiring any Party to
            comply promptly and specifically with any of its obligations hereunder.

     37. Several, Not Joint, Claims. Except where otherwise specified, the agreements and
         obligations of the Parties under this MOU are, in all respects, several and not joint except
         each of the Debtors and Debtors’ Subsidiaries shall be jointly and severally liable for all
         payment obligations of any of the Debtors or the Debtors’ Subsidiaries set forth in this
         MOU.

     38. Remedies Cumulative. All rights, powers, and remedies provided under this MOU or
         otherwise available in respect hereof at law or in equity shall be cumulative and not
         alternative, and the exercise of any right, power, or remedy thereof by any Party shall not
         preclude the simultaneous or later exercise of any other such right, power, or remedy by
         such Party.

     39. Mutual Non-Disparagement. Subject to applicable law, each of the Parties covenants and
         agrees that neither it nor any of its Representatives, shall, with respect to the subject matter
         of this MOU and any Released Claim, in any way publicly criticize, disparage, call into
         disrepute, or otherwise defame or slander the other Parties or the Parties’ businesses,
         products, operations, or services, as applicable, in any manner that would reasonably be
         expected to damage the business or reputation of such other Parties, their businesses,
         products, operations, or services or their Representatives, as applicable. This Section of
         the MOU shall not limit the ability of any Party or its Representative to act in accordance
         with his or her fiduciary duties or otherwise in accordance with applicable law.
         Notwithstanding the foregoing, nothing in this Section of this MOU shall be deemed to
         prohibit responses to any question or inquiry for information when required by legal
         process or to prevent any Party from complying with a request for information from any
         Governmental Authority with jurisdiction over the Party from whom information is sought;
         provided, that, solely in the case of any such disclosure that is proposed or required to
         appear in any required disclosure relating thereto, such Party must provide prompt written
         notice (email shall suffice), to the extent legally permissible and practicable under the
         circumstances, to the other Party prior to making any such public disclosure and reasonably
         consider any comments of such other Party. For the avoidance of any doubt, this Section
         of the MOU shall not preclude any Party from exercising remedies pursuant to this MOU
         with respect to any disputes under this MOU that arise subsequent to entry of the Approval
         Order. None of the Parties shall issue any press release regarding the MOU or the
         transactions contemplated hereunder, unless such press release is in a form reasonably
         acceptable to each of the Debtors, the Committee, the MBNF Parties, Tenet, Conifer and
         the HSRE Entities.

     40. No Admissions. This MOU is intended to compromise disputes and to avoid further
         litigation and motions practice. Nothing in this MOU, nor any actions taken by or failure
         to act by any Party in furtherance of this MOU, shall be construed as an admission of
         liability, wrongdoing, or violation of rule or law on the part of the Debtors, the Debtors’
         Subsidiaries, the Committee, Tenet, Conifer, the MBNF Parties, the HSRE Entities or the
         CONA Parties, and each such Party expressly denies and disputes any such liability,
         wrongdoing, or violation of rule or law. Each Party expressly denies any and all liability

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            or wrongdoing with respect to the claims or allegations described in any legal proceedings
            or any notices, letters, pleadings, or other documents or records described in this MOU,
            including, without limitation, the matters to be dismissed with prejudice described in
            Section 15 hereof.

     41. Attorneys’ Fees. Each Party agrees that it is responsible for the payment of its own
         attorneys’ and other advisors’ fees, expenses, and costs associated with or arising out of the
         legal proceedings described in this MOU and/or the negotiation and execution of this MOU.
         In the event that following the MOU Implementation Date any Party should bring any
         action, suit, or other proceeding on any Released Claim, or contesting the validity of this
         MOU, or attempting to enforce the terms and provisions of this MOU, or to obtain any
         remedy or relief for any breach of this MOU, or to rescind, engage, modify, or reform this
         MOU or any of the terms or provisions hereof, the prevailing Party shall recover such
         Party’s reasonable attorneys’ fees incurred in each and every such action, suit, or other
         proceeding, including any and all appeals or petitions therefrom.

     42. Recitals; Exhibits and Schedules. All of the recitals set forth herein and the exhibits and
         schedules attached to this MOU are material and integral parts hereof and are hereby
         incorporated by reference as part of this MOU.

     43. Notices. Except as otherwise provided in this MOU, all notices required by or permitted
         in this MOU shall be in writing and shall be served on the Parties and their counsel at the
         addresses specified below. Any such notices shall be either (i) sent by overnight delivery
         using a nationally recognized overnight courier, in which case notice shall be deemed
         delivered one (1) business day after deposit with such courier; (ii) sent by electronic mail,
         in which case notice shall be deemed delivered upon successful transmission of such notice;
         (iii) sent by personal delivery, in which case notice shall be deemed delivered upon receipt;
         or (iv) sent by United States mail, in which case notice shall be deemed delivered with five
         (5) business days of mailing. A Party’s or its counsel’s address may be changed by written
         notice to the other Party and its counsel and shall be deemed delivered and effective in
         accordance with the same delivery method used and that method’s corresponding deemed
         delivery schedule described above. Notices delivered by counsel for a Party shall be
         deemed notices given by such Party.

                   If to the Debtors and/or Debtors’ Subsidiaries:

              Saul Ewing Arnstein & Lehr LLP                     Saul Ewing Arnstein & Lehr LLP
              1201 N. Market Street, Suite 2300                  Centre Square West
              P.O. Box 1266                                      1500 Market Street, 38th Floor
              Wilmington, DE 19899                               Philadelphia, PA 19102
              Attn: Mark Minuti                          -and-   Attn: Jeffrey C. Hampton and
              Telephone: (302) 421-6800                                Adam H. Isenberg
              Email: mark.minuti@saul.com                        Telephone: (215) 972-7777
                                                                 Email: jeffrey.hampton@saul.com
                                                                        adam.isenberg@saul.com



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                If to the Committee:

            Fox Rothschild LLP                               Sills Cummis & Gross P.C.
            919 N. Market St.                                One Riverfront Plaza
            Suite 300                                        Newark, NJ 07102
            Wilmington, DE 19899-2323                        Attn: Andrew H. Sherman and
                                                     -and-
            Attn: Seth A. Niederman                                Boris I. Mankovetskiy
            Telephone: (302) 622-4238                        Telephone: (973) 643-7000
            Email: SNiederman@foxrothschild.com              Email: asherman@sillscummis.com
                                                             bmankovetskiy@sillscummis.com

                If to the MBNF Parties:

            Latham & Watkins LLP                             Richards Layton & Finger, P.A.
            1271 Avenue of the Americas                      One Rodney Square
            New York, NY 10020                               920 North King Street
            Attn: Suzzanne Uhland, TJ Li, and                Wilmington, DE 19801
                  Alexandra M. Zablocki                      Attn: Mark D. Collins,
            Telephone: (212) 906-1200                -and-         Michael J. Merchant, and
            Email: suzzanne.uhland@lw.com                          Brendan J. Schlauch
                   tj.li@lw.com                              Telephone: (302) 651-7700
                   alexandra.zablocki@lw.com                 Email: collins@rlf.com
                                                                    merchant@rlf.com
                                                                    schlauch@rlf.com

                If to the HSRE Entities:

            Brian Mutchler and Lauren Brabeck
            HSRE Entities
            444 West Lake Street, Suite 2100
            Chicago, IL 60606
            Telephone: (312) 920-5000
            Email: bmutchler@harrisonst.com
            lbrabeck@harrisonst.com
                                                     -and-
                                                             DLA Piper LLP (US)
            DLA Piper LLP (US)                               One Liberty Place
            1201 North Market Street, Suite 2100             1650 Market Street
            Wilmington, DE 19801                             Suite 5000
            Attn: Stuart M. Brown                            Philadelphia, PA 19103
            Telephone: (302) 468-5700                        Attn: Joseph Kernen
            Email: stuart.brown@us.dlapiper.com              Telephone: (215) 656-3345
                                                             Email: joseph.kernen@dlapiper.com




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            DLA Piper LLP (US)
            444 West Lake Street, Suite 900
            Chicago, IL 60606
            Attn: Richard A. Chesley
            Telephone: (312) 368-4000
            Email: richard.chesley@us.dlapiper.com

                If to Tenet and/or Conifer:

            Kirkland & Ellis LLP                             Pachulski Stang Ziehl & Jones LLP
            300 North LaSalle Street                         919 N. Market Street, 17th Floor
            Chicago, IL 60654                                P.O. Box 8705
            Attn: Stephen C. Hackney and                     Wilmington, DE 19899-8705
                  Kent J. Hayden                             Attn: Laura Davis Jones and
                                                     -and-
            Telephone: (312) 862-2000                              Timothy P. Cairns
            Email: stephen.hackney@kirkland.com              Telephone: (302) 652-4100
                   kent.hayden@kirkland.com                  Email: ljones@pszjlaw.com
                                                                    tcairns@pszjlaw.com


                If to the CONA Parties:

            Reed Smith LLP
            599 Lexington Avenue
            New York, NY 10022
            Attn: Louis A. Curcio
            Telephone: (212) 521-5400
            Email: lcurcio@reedsmith.com

                If to MBNF Liquidator LLC, MBNF Parent 1 Corporation, MBNF Parent 2
                Corporation or MBNF Equity Buyer LLC:

            Seward & Kissel LLP
            One Battery Park Plaza
            New York, NY 10004
            Attn: John R. Ashmead and
                  Ross Hooper
            Telephone: (212) 574-1366
            Email: ashmead@sewkis.com
            hooper@sewkis.com




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                 If to PAHS Holdco LLC or PAHS Equity Buyer:

              SM Law PC
              Post Office Box 530
              Oldwick, NJ 08858
              Attn: Steven J. Mitnick, Esq. and Marc D. Miceli, Esq.
              Telephone: (908) 572-7275
              Email: smitnick@sm-lawpc.com and mmiceli@sm-lawpc.com

     44. Binding Effect. Upon the MOU Implementation Date, this MOU shall be binding upon,
         shall inure to the benefit of, and shall be enforceable by, each of the Parties, their respective
         Affiliates and their respective Representatives, regardless of whether such Affiliates or
         such Representatives are signatories to this MOU.

     45. Covenant Enforceability. The covenants set forth in this MOU that create obligations
         arising on or after the MOU Implementation Date shall survive the MOU Implementation
         Date; provided that such covenants may not be enforced by a Party that is in material breach
         of its obligations hereunder as determined by the Bankruptcy Court.

     46. Adjustment to Claim Registry. Promptly after the filing of the MOU Release Notice,
         Omni Agent Solutions, the official claims agent in the Debtors’ Chapter 11 Cases shall be
         directed by the Debtors to update and modify the official claims register consistent with the
         terms of this MOU. Omni Agent Solutions shall adjust the official claims register to mark
         as “withdrawn” all MBNF Debtor Claims and all HSRE Debtor Claims and shall modify
         any other filed or scheduled MBNF Debtor Claims and HSRE Debtor Claims consistent
         with this MOU, including, but not limited to, as set forth on Schedule 46 attached hereto.

     47. Notices, Etc. Each of the MBNF Parties, Sonsara Management Services, LLC, Jigsaw
         Advisors, LLC, MBNF Equity Buyer LLC, MBNF Liquidator LLC, MBNF Parent 1
         Corporation and MBNF Parent 2 Corporation shall promptly forward to the Debtors, at the
         addresses listed in Section 43 of this MOU, all written notices, written correspondence and
         electronically transcribed voicemail messages they receive, whether delivered
         electronically or otherwise, and including all enclosures, attachments and accompanying
         materials, on and after the Execution Date (and, for the avoidance of doubt, on and after
         the MOU Implementation Date) regarding or relating to the Real Estate or any other Assets
         set forth on Schedule 3(a)(vi).

     48. Turnover. Each Party shall hold in trust any property received by such Party on or after
         the MOU Implementation Date that constitutes property of another Party and shall
         promptly turn over such property to the appropriate Party. For the avoidance of doubt,
         payments received by the Parties that are not inconsistent with the terms of this MOU shall
         be considered the property of the recipient and shall not be subject to turnover.

     49. Limited Joinder. Each of the Broad Street Lenders is a signatory to this MOU solely for
         the purposes of Sections 14(b), 14(c), 14(j), 14(m), 14(p), 16, 25, 28, 29 through 45, and
         only with respect to the Broad Street Lenders described therein, Section 47.


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     50. Notice of Occurrence of MOU Implementation Date. Upon the occurrence of the MOU
         Implementation Date, the Debtors shall file with the Bankruptcy Court in the Chapter 11
         Cases a certification of the Debtors, the Committee, the MBNF Parties, the HSRE Entities,
         the CONA Parties and Tenet of such occurrence (the “MOU Implementation Date
         Certification”) and serve such certification upon the Third Party Escrow Agent and each
         of the Parties on the Debtors’ Bankruptcy Rule 2002 Notice List. Such certification shall
         be in a form reasonably acceptable to the Debtors, the MBNF Parties, the HSRE Entities,
         the CONA Parties, Tenet, and the Committee. The Approval Order shall provide that the
         Third Party Escrow Agent may rely: (i) on the MOU Implementation Date Certification
         without liability to any Party; and (ii) upon the MBNF Direction Letter.

     51. MBNF Direction Letter. On or before the MOU Implementation Date, the MBNF Parties
         shall provide the Third Party Escrow Agent with a written notice in the form reasonably
         acceptable to the Third Party Escrow Agent, including wire transfer instructions, specifying
         the allocation of the payments set forth Sections 6, 10 and 11, and as further described in
         Section 3(a)(ii), including without limitation, for full and final satisfaction of the secured
         obligations under the Broad Street Notes, the Broad Street Mortgages, the Broad Street
         UCC Fixture Filings, all UCC-1 filings by any of the MBNF Parties against any of the
         Broad Street PropCos and/or their assets securing the Broad Street Notes, and all other liens
         granted in connection with the Broad Street Notes (the “MBNF Direction Letter”). The
         MBNF Direction Letter shall, among other things, direct the Third Party Escrow Agent to
         disburse (i) the Tenet Paladin Settlement Payment to Paladin and PAHH, as set forth
         therein; and (ii) the Withdrawal Liability Settlement Payment to the Pension Fund.

     52. MOU Release Notice. Upon the completion of the actions set forth in Sections 3(a)(i) –
         3(a)(v), 3(a)(vi)(a), 3(a)(viii), 3(a)(x)(b), 3(a)(x)(d) – 3(a)(xviii) and 9(a), inclusive, as
         determined in good faith by the Debtors, the Committee, the MBNF Parties, the HSRE
         Entities, the CONA Parties and Tenet (the “Release Certifying Parties”), the Debtors shall
         file with the Bankruptcy Court in the Chapter 11 Cases a certification of the Release
         Certifying Parties of the completion of all such actions (the “MOU Release Notice”) and
         serve such certification upon the Third Party Escrow Agent and each of the Parties on the
         Debtors’ Bankruptcy Rule 2002 Notice List. Such certification shall be effective at the
         time filed and be in a form reasonably acceptable to the Release Certifying Parties.

            If any of the Release Certifying Parties dispute whether the actions set forth in Sections
            3(a)(i) – 3(a)(v), 3(a)(vi)(a), 3(a)(viii), 3(a)(x)(b), 3(a)(x)(d) – 3(a)(xviii) and/or 9(a) have
            been completed, the Release Certifying Parties hereby consent to (a) an immediate
            consensual mediation to be conducted by, and in such manner as determined by, The
            Honorable Kevin J. Carey (ret.), whose recommendation, absent resolution of the dispute,
            shall be immediately submitted to the Bankruptcy Court; and, if necessary (b) an expedited
            hearing before the Bankruptcy Court to determine the sole question of whether such
            action(s) in dispute have been completed; it being understood that each of the Release
            Certifying Parties shall preserve its right to seek reconsideration and to appeal the
            Bankruptcy Court’s determination. If the Bankruptcy Court determines that all such actions
            have been completed, the Release Certifying Parties agree that an order shall be submitted
            and entered by the Bankruptcy Court, which order will include a waiver of the stay set forth
            in Federal Rule of Bankruptcy Procedure 6004(h), directing that the MOU Release Notice
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            shall be filed immediately upon the Bankruptcy Court’s determination becoming effective
            (with or without the signatures of the disputing Release Certifying Parties) and deemed
            valid, provided, however, that the Release Certifying Parties reserve the right to seek a stay
            of any such order. Any prevailing Release Certifying Parties in any proceeding described
            in this paragraph shall recover from any non-prevailing Release Certifying Parties their
            reasonable costs and attorneys’ fees.


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 Alia, Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE
 Entities And CONA Parties

                                       Capital One, N.A.

                                       By:________________________
                                          Name:
                                          Title:


                                       Cadence Bank

                                       By:________________________
                                          Name:
                                          Title:


                                       Column
                                           mn Financial, Inc.

                                       By:________________________
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                                          Name:
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                                             m : David Tlus
                                                          uussty
                                          Title: Authorized Signatory


                                       Sector Financial Inc.

                                       By:________________________
                                          Name:
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                                           Tenet Healthcare Corporation

                                           By:________________________
                                              Name: Michael T. Maloney
                                              Title: Vice President


                                           Tenet Business Services Corporation

                                           By:_ _______________________
                                              Name: Michael T. Maloney
                                              Title: Vice President


                                           Tenet Healthsystem Hahnemann, L.L.C.

                                           By:_____ ___________________
                                              Name: Michael T. Maloney
                                              Title: Vice President


                                           Tenet Healthsystem St. Christopher’s Hospital
                                           For Children, L.L.C.

                                           By:________________________
                                              Name: Michael T. Maloney
                                              Title: Vice President
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 Entities And CONA Parties

                                       Harrison
                                            son
                                             on Street
                                              n Str e t Real Estate, LLC
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                                       By:________________________
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory


                                       HSREP VI Holding, LLC

                                       By:________________________
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory


                                       HSRE-PAHH I, LLC

                                       By:________________________
                                              ___________
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory


                                       HSRE-PAHH IA, LLC

                                       By:________________________
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                                                 ______
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory


                                       PAHH New College MOB, LLC

                                       By:________________________
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory


                                       PAHH Bellet MOB, LLC

                                       By:________________________
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory
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 Entities And CONA Parties

                                       PAHH Broad Street MOB, LLC

                                       By:________________________
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory


                                       PAHH Feinstein MOB, LLC

                                       By:________________________
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory


                                       PAHH Wood Street Garage, LLC

                                       By:________________________
                                           _____
                                              _______
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory


                                       PAHH Erie Street Garage, LLC

                                       By:________________________
                                          Name: Stephen M. Gordon
                                          Title: Authorized Signatory
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 Entities And CONA Parties

                                       Broad Street Healthcare Properties II, LLC

                                       By:________________________
                                          Name:
                                          Title:


                                       Broad Street Healthcare Properties III, LLC

                                       By:________________________
                                          Name:
                                          Title:


                                       Philadelphia Academic Risk Retention Group,
                                       LLC

                                       By:________________________
                                          Name:
                                          Title:


                                       MBNF Equity
                                             q y Buyer
                                                   y LLC

                                       By:________________________
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                                                     _ _____________
                                          Name:
                                          Name
                                             m : Timothy Daileader
                                          Title: Authorized Signatory


                                       MBNF Liquidator
                                              q        LLC

                                       By:________________________
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                                          Name:
                                          Namem : Timothy Daileader
                                          Title: Authorized Signatory


                                       MBNF Parent 1 Corporation
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 Entities And CONA Parties

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                                          Title: Authorized Signatory
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                                           6WHOOD)UHHGPDQ
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                                           3DODGLQ+HDOWKFDUH0DQDJHPHQW//&

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                                              1DPH
                                              7LWOH&KLHI([HFXWLYH2IILFHU


                                           *OREH+HDOWK)RXQGDWLRQ,QF

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 Signature Page For Memorandum Of Understanding RE Global Settlement Among, Inter
 Alia, Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE
 Entities And CONA Parties

                                       Solely for the purposes of Sections 14(b), 14(c),
                                       14(j), 14(m), 14(p), 16, 25, 28, and 29 through 45

                                       Latham & Watkins LLP

                                       ________________________
                                       Suzzanne Uhland
                                       Partner
                                       1271 Avenue of the Americas
                                       New York, NY 10020


                                       Solely for the purposes of Sections 14(b), 14(c),
                                       14(j), 14(m), 14(p), 16, 25, 28, 29 through 45 and
                                       47

                                       Jigsaw Advisors, LLC

                                       By:________________________
                                          Name:
                                          Title:


                                       Solely for the purposes of Sections 14(b), 14(c),
                                       14(j), 14(m), 14(p), 16, 25, 28, 29 through 45 and
                                       47

                                       Sonsara Management Services, LLC

                                       By:________________________
                                          Name:
                                          Title:
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                                  List of Schedules and Exhibits



 Schedule A – Broad Street UCC Fixture Filings

 Schedule B – HSRE Debtor Claims

 Schedule C – MBNF Debtor Claims

 Schedule D – Real Estate Legal Description

 Schedule 3(a)(iii) – List of Documents originals of which are attached as Exhibit 3(a)(iii)

 Schedule 3(a)(vi) – Broad PropCos’ Assets to be Substantively Consolidated with CCH

 Schedule 3(a)(vii) – Broad PropCos’ Liabilities to be Substantively Consolidated with CCH

 Schedule 3(a)(viii) – Amended PAHS Loan Documents

 Schedule 3(b) – Real Estate Management and Marketing Procedures

 Schedule 14(o) – Insurance Carriers and Policies

 Schedule 46 – Adjustment to Claims Registry

 Exhibit 2(a) – RRG Members Dissolution Resolutions

 Exhibit 2(b) – RRG Board Dissolution Resolutions

 Exhibit 2(c) – RRG Voluntary Dissociation of Membership Interest

 Exhibit 2(d) – RRG Written Resignations

 Exhibit 2(e) – RRG Member and Board Resolutions

 Exhibit 2(f) – RRG Stipulation Declaration

 Exhibit 3(a)(iii) – Original Documents to be released by Third Party Escrow Agent for
 Recordation / Filing (Broad Street Notes Etc.)

 Exhibit 3(a)(v) – PAHH Assignment and Assumption Agreement

 Exhibit 3(a)(vi) – Powers of Attorney

 Exhibit 3(a)(viii)(A) – PAHS Loan Assignment, Assumption and Novation Agreement

 Exhibit 3(a)(viii)(B) – Amended PAHS Loan Documents



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 Exhibit 3(a)(x) – Merger Agreements

 Exhibit 3(a)(xiii) – MBNF Limited Liability Company Interests Purchase Agreement

 Exhibit 3(a)(xiv) – HSRE-PAHH Note Assignment, Assumption and Novation Agreement

 Exhibit 3(a)(xv) – PAHH Limited Liability Company Interests Purchase Agreement

 Exhibit 3(a)(xvii) – PAHS Limited Liability Company Interests Purchase Agreement

 Exhibit 5 – Debtors’ Resignations

 Exhibit 9 – Escrowed Funds Release Authorization

 Exhibit 12 – ASIC Bond Joint Authorization

 Exhibit 14(o)(i) – Form of Notice to Insurance Carriers (MBNF Parties’ Policies)

 Exhibit 14(o)(ii) – Form of Notice to Insurance Carriers (Debtors’ Policies)




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                                   SCHEDULE A

                          Broad Street UCC Fixture Filings

Debtor                    Recorded in           Filing #         Filing Date

Broad Street Healthcare   Philadelphia County   53618498         January 14, 2020
Properties, LLC           Recorder

Broad Street Healthcare   Philadelphia County   53618499         January 14, 2020
Properties II, LLC        Recorder

Broad Street Healthcare   Philadelphia County   53618500         January 14, 2020
Properties III, LLC       Recorder

Broad Street Healthcare   Philadelphia County   53897043         October 28, 2021
Properties, LLC           Recorder

Broad Street Healthcare   Philadelphia County   53897044         October 28, 2021
Properties II, LLC        Recorder

Broad Street Healthcare   Philadelphia County   53897045         October 28, 2021
Properties III, LLC       Recorder

Broad Street Healthcare   Philadelphia County   53897046         October 28, 2021
Properties, LLC           Recorder

Broad Street Healthcare   Philadelphia County   53897047         October 28, 2021
Properties II, LLC        Recorder

Broad Street Healthcare   Philadelphia County   53897048         October 28, 2021
Properties III, LLC       Recorder




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                                Schedule B
                             HSRE Debtor Claims
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                                                                                                                 SCHEDULE B

                                        SCHEDULE B – HSRE DEBTOR CLAIMS

    Claim No.                       Debtor                                   Creditor Name                  Claim Amount
609             Center City Healthcare, LLC                        PAHH Wood Street Garage LLC            Unliquidated
613             Center City Healthcare, LLC                        PAHH New College MOB LLC               Unliquidated
623             Center City Healthcare, LLC                        PAHH Feinstein MOB LLC                 Unliquidated
645             Center City Healthcare, LLC                        PAHH Erie Street Garage LLC            Unliquidated
646             Center City Healthcare, LLC                        PAHH Broad Street MOB LLC              Unliquidated
651             Center City Healthcare, LLC                        PAHH Bellet MOB LLC                    Unliquidated
99              Philadelphia Academic Health System, LLC           PAHH Wood Street Garage LLC            Unliquidated
100             Philadelphia Academic Health System, LLC           PAHH New College MOB LLC               Unliquidated
101             Philadelphia Academic Health System, LLC           PAHH Feinstein MOB LLC                 Unliquidated
103             Philadelphia Academic Health System, LLC           PAHH Erie Street Garage LLC            Unliquidated
104             Philadelphia Academic Health System, LLC           PAHH Broad Street MOB LLC              Unliquidated
106             Philadelphia Academic Health System, LLC           PAHH Bellet MOB LLC                    Unliquidated
5               Philadelphia Academic Medical Associates, LLC      PAHH Wood Street Garage LLC            Unliquidated
6               Philadelphia Academic Medical Associates, LLC      PAHH New College MOB LLC               Unliquidated
7               Philadelphia Academic Medical Associates, LLC      PAHH Feinstein MOB LLC                 Unliquidated
8               Philadelphia Academic Medical Associates, LLC      PAHH Erie Street Garage LLC            Unliquidated
9               Philadelphia Academic Medical Associates, LLC      PAHH Broad Street MOB LLC              Unliquidated
10              Philadelphia Academic Medical Associates, LLC      PAHH Bellet MOB LLC                    Unliquidated
166             St. Christopher’s Healthcare, LLC                  PAHH Bellet MOB, LLC                   $46,903,600.20 1
167             St. Christopher’s Healthcare, LLC                  PAHH Broad Street MOB, LLC             $5,542,567.60 2
168             St. Christopher’s Healthcare, LLC                  PAHH Erie Street Garage, LLC           $25,602,145.33 3
169             St. Christopher’s Healthcare, LLC                  PAHH Feinstein MOB, LLC                $78,530,122.53 4
170             St. Christopher’s Healthcare, LLC                  PAHH New College MOB, LLC              $239,420,942.56 5
171             St. Christopher’s Healthcare, LLC                  PAHH Wood Street Garage, LLC           $37,951,713.49 6
298             St. Christopher’s Healthcare, LLC                  PAHH Wood Street Garage LLC            Unliquidated
303             St. Christopher’s Healthcare, LLC                  PAHH New College MOB LLC               Unliquidated
315             St. Christopher’s Healthcare, LLC                  PAHH Feinstein MOB LLC                 Unliquidated
336             St. Christopher’s Healthcare, LLC                  PAHH Erie Street Garage LLC            Unliquidated
341             St. Christopher’s Healthcare, LLC                  PAHH Broad Street MOB LLC              Unliquidated
344             St. Christopher’s Healthcare, LLC                  PAHH Bellet MOB LLC                    Unliquidated
4               HPS of PA, L.L.C.                                  PAHH Wood Street Garage LLC            Unliquidated
5               HPS of PA, L.L.C.                                  PAHH New College MOB LLC               Unliquidated
6               HPS of PA, L.L.C.                                  PAHH Feinstein MOB LLC                 Unliquidated
7               HPS of PA, L.L.C.                                  PAHH Erie Street Garage LLC            Unliquidated
8               HPS of PA, L.L.C.                                  PAHH Broad Street MOB LLC              Unliquidated
9               HPS of PA, L.L.C.                                  PAHH Broad Street MOB LLC              Unliquidated
10              HPS of PA, L.L.C.                                  PAHH Bellet MOB LLC                    Unliquidated
36              TPS II of PA, L.L.C.                               PAHH Wood Street Garage LLC            Unliquidated
37              TPS II of PA, L.L.C.                               PAHH New College MOB LLC               Unliquidated
38              TPS II of PA, L.L.C.                               PAHH Feinstein MOB LLC                 Unliquidated
39              TPS II of PA, L.L.C.                               PAHH Erie Street Garage LLC            Unliquidated

1
          Claim seeks either $46,903,600.20 or the entire $433,951,091.71 identified in the proof of claim as the total amount
          due.
2
          Claims seeks either $5,542,567.60 or the entire $433,951,091.71 identified in the proof of claim as the total amount due.
3
          Claim seeks either $25,602,145.33 or the entire $433,951,091.71 identified in the proof of claim as the total amount.
4
          Claim seeks either $78,530,122.53 or the entire $433,951,091.71 identified in the proof of claim as the total amount
          due.
5
          Claim seeks either $239,420,942.56 or the entire $433,951,091.71 identified in the proof of claim as the total amount
          due.
6
          Claims seeks either $37,951,713.49 or the entire $433,951,091.71 identified in the proof of claim as the total amount
          due.

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Claim No.                         Debtor                                Creditor Name          Claim Amount
40           TPS II of PA, L.L.C.                              PAHH Broad Street MOB LLC     Unliquidated
41           TPS II of PA, L.L.C.                              PAHH Bellet MOB LLC           Unliquidated
6            TPS III of PA, L.L.C.                             PAHH Wood Street Garage LLC   Unliquidated
7            TPS III of PA, L.L.C.                             PAHH New College MOB LLC      Unliquidated
8            TPS III of PA, L.L.C.                             PAHH Feinstein MOB LLC        Unliquidated
9            TPS III of PA, L.L.C.                             PAHH Erie Street Garage LLC   Unliquidated
10           TPS III of PA, L.L.C.                             PAHH Broad Street MOB LLC     Unliquidated
11           TPS III of PA, L.L.C.                             PAHH Bellet MOB LLC           Unliquidated
17           TPS IV of PA, L.L.C.                              PAHH Wood Street Garage LLC   Unliquidated
18           TPS IV of PA, L.L.C.                              PAHH New College MOB LLC      Unliquidated
19           TPS IV of PA, L.L.C.                              PAHH Feinstein MOB LLC        Unliquidated
20           TPS IV of PA, L.L.C.                              PAHH Erie Street Garage LLC   Unliquidated
21           TPS IV of PA, L.L.C.                              PAHH Broad Street MOB LLC     Unliquidated
22           TPS IV of PA, L.L.C.                              PAHH Bellet MOB LLC           Unliquidated
28           SCHC Pediatric Associates, L.L.C.                 PAHH Wood Street Garage LLC   Unliquidated
29           SCHC Pediatric Associates, L.L.C.                 PAHH New College MOB LLC      Unliquidated
30           SCHC Pediatric Associates, L.L.C.                 PAHH Feinstein MOB LLC        Unliquidated
31           SCHC Pediatric Associates, L.L.C.                 PAHH Erie Street Garage LLC   Unliquidated
32           SCHC Pediatric Associates, L.L.C.                 PAHH Broad Street MOB LLC     Unliquidated
33           SCHC Pediatric Associates, L.L.C.                 PAHH Bellet MOB LLC           Unliquidated
6            SCHC Pediatric Anesthesia Associates, L.L.C.      PAHH Wood Street Garage LLC   Unliquidated
7            SCHC Pediatric Anesthesia Associates, L.L.C.      PAHH New College MOB LLC      Unliquidated
8            SCHC Pediatric Anesthesia Associates, L.L.C.      PAHH Feinstein MOB LLC        Unliquidated
9            SCHC Pediatric Anesthesia Associates, L.L.C.      PAHH Erie Street Garage LLC   Unliquidated
10           SCHC Pediatric Anesthesia Associates, L.L.C.      PAHH Broad Street MOB LLC     Unliquidated
11           SCHC Pediatric Anesthesia Associates, L.L.C.      PAHH Bellet MOB LLC           Unliquidated
8            StChris Care at Northeast Pediatrics, L.L.C.      PAHH Wood Street Garage LLC   Unliquidated
9            StChris Care at Northeast Pediatrics, L.L.C.      PAHH New College MOB LLC      Unliquidated
10           StChris Care at Northeast Pediatrics, L.L.C.      PAHH Feinstein MOB LLC        Unliquidated
11           StChris Care at Northeast Pediatrics, L.L.C.      PAHH Erie Street Garage LLC   Unliquidated
12           StChris Care at Northeast Pediatrics, L.L.C.      PAHH Broad Street MOB LLC     Unliquidated
13           StChris Care at Northeast Pediatrics, L.L.C.      PAHH Bellet MOB LLC           Unliquidated
3            TPS of PA, L.L.C.                                 PAHH Wood Street Garage LLC   Unliquidated
4            TPS of PA, L.L.C.                                 PAHH New College MOB LLC      Unliquidated
5            TPS of PA, L.L.C.                                 PAHH Feinstein MOB LLC        Unliquidated
6            TPS of PA, L.L.C.                                 PAHH Erie Street Garage LLC   Unliquidated
7            TPS of PA, L.L.C.                                 PAHH Broad Street MOB LLC     Unliquidated
8            TPS of PA, L.L.C.                                 PAHH Bellet MOB LLC           Unliquidated
8            St. Christopher’s Pediatric Urgent Care Center,   PAHH Wood Street Garage LLC   Unliquidated
             L.L.C.
9            St. Christopher’s Pediatric Urgent Care Center,   PAHH New College MOB LLC      Unliquidated
             L.L.C.
10           St. Christopher’s Pediatric Urgent Care Center,   PAHH Feinstein MOB LLC        Unliquidated
             L.L.C.
11           St. Christopher’s Pediatric Urgent Care Center,   PAHH Erie Street Garage LLC   Unliquidated
             L.L.C.
12           St. Christopher’s Pediatric Urgent Care Center,   PAHH Broad Street MOB LLC     Unliquidated
             L.L.C.
13           St. Christopher’s Pediatric Urgent Care Center,   PAHH Bellet MOB LLC           Unliquidated
             L.L.C.
5            TPS V of PA, L.L.C.                               PAHH Wood Street Garage LLC   Unliquidated
6            TPS V of PA, L.L.C.                               PAHH New College MOB LLC      Unliquidated
7            TPS V of PA, L.L.C.                               PAHH Feinstein MOB LLC        Unliquidated
8            TPS V of PA, L.L.C.                               PAHH Erie Street Garage LLC   Unliquidated
9            TPS V of PA, L.L.C.                               PAHH Broad Street MOB LLC     Unliquidated




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10              TPS V of PA, L.L.C.                                PAHH Bellet MOB LLC                     Unliquidated
N/A             Unspecified                                        PAHH Bellet MOB, LLC,                   $2.6 million
                                                                   PAHH Broad Street MOB, LLC,             (admin.) 7
                                                                   PAHH Feinstein MOB, LLC, PAHH
                                                                   New College, MOB, LLC, PAHH
                                                                   Wood Street Garage, LLC and PAHH
                                                                   Erie Street Garage, LLC
N/A             Unspecified                                        PAHH Bellet MOB, LLC,                   Undetermined 8
                                                                   PAHH Broad Street MOB, LLC,
                                                                   PAHH Feinstein MOB, LLC, PAHH
                                                                   New College, MOB, LLC, PAHH
                                                                   Wood Street Garage, LLC and PAHH
                                                                   Erie Street Garage, LLC




7
         Claim allowed by Order Approving Stipulation Between Debtors and Master Landlords Regarding Rejection of Leases and Allowed
         Administrative Expense Claim (Docket no. 1057).

8
         Claim asserted via Application of Master Landlords for Entry of an Order Allowing and Directing Payment of
         Administrative Expense Claim (Docket no. 1578).
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                                                    MBNF Debtor Claims
                                                                 Claim
Case No.      Debtor                                              No.    Claimant
19-11466      Center City Healthcare, LLC, et al.                1033    Philadelphia Academic Health Holdings, LLC et. al.
19-11466      Center City Healthcare, LLC, et al.                1040    Broad Street Healthcare Properties II, LLC
19-11466      Center City Healthcare, LLC                        1046    Philadelphia Academic Health Holdings, LLC et al.
19-11466      Center City Healthcare, LLC, et al.                1048    Philadelphia Academic Health Holdings, LLC et al.
19-11466      Center City Healthcare, LLC, et al.                1050    Broad Street Healthcare Properties II, LLC
19-11466      Center City Healthcare, LLC, et al.                1060    Philadelphia Academic Health Holdings, LLC et al.
19-11466      Center City Healthcare, LLC                        1067    Philadelphia Academic Health Holdings, LLC et al.
19-11466      Center City Healthcare, LLC, et al.                1072    Paladin Healthcare Capital, LLC
19-11466      Center City Healthcare, LLC, et al.                1073    Broad Street Healthcare Properties II, LLC et al
19-11466      Center City Healthcare, LLC, et al.                1076    Philadelphia Academic Health Holdings
19-11466      Center City Healthcare, LLC, et al.                1087    Joel Freedman
19-11466      Center City Healthcare, LLC                        1074    Broad Street Healthcare Properties, LLC
19-11466      Center City Healthcare, LLC                        1075    Broad Street Healthcare Properties, LLC


19-11467      Philadelphia Academic Health System, LLC            158    MBNF Investments, LLC
19-11467      Philadelphia Academic Health System, LLC            159    American Academic Health System, LLC
19-11467      Philadelphia Academic Health System, LLC            160    Philadelphia Academic Health Holdings, LLC et. al.
19-11467      Philadelphia Academic Health System, LLC            162    Philadelphia Academic Health Holdings, LLC et. al.
19-11467      Philadelphia Academic Health System, LLC            164    Philadelphia Academic Health Holdings, LLC et al.
19-11467      Philadelphia Academic Health System, LLC            165    Philadelphia Academic Health Holdings, LLC et. al.
19-11467      Philadelphia Academic Health System, LLC            167    Philadelphia Academic Health Holdings, LLC et al.
19-11467      Philadelphia Academic Health System, LLC            169    Philadelphia Academic Health Holdings, LLC et. al.
19-11467      Philadelphia Academic Health System, LLC            171    Philadelphia Academic Risk Retention Group, LLC
19-11467      Philadelphia Academic Health System, LLC            172    Philadelphia Academic Risk Retention Group, LLC
19-11467      Philadelphia Academic Health System, LLC            173    Paladin Healthcare Capital, LLC

19-11467      Philadelphia Academic Health System, LLC            174    Philadelphia Academic Health Holdings, LLC
19-11467      Philadelphia Academic Health System, LLC            175    Philadelphia Academic Health Holdings, LLC et. al
19-11467      Philadelphia Academic Health System, LLC            177    Joel Freedman
19-11467      Philadelphia Academic Health System, LLC            178    Joel Freedman
19-11467      Philadelphia Academic Health System, LLC            179    Joel Freedman, et al.
19-11468      St. Christopher’s Healthcare, LLC                   663    Broad Street Healthcare Properties II, LLC
19-11468      St. Christopher’s Healthcare, LLC                   672    Front Street Healthcare Properties II, LLC
19-11468      St. Christopher’s Healthcare, LLC                   673    Philadelphia Academic Health Holdings, LLC et. al.
19-11468      St. Christopher’s Healthcare, LLC                   678    Philadelphia Academic Health Holdings, LLC et al.
19-11468      St. Christopher’s Healthcare, LLC                   679    Philadelphia Academic Health Holdings, LLC et. al.
19-11468      St. Christopher’s Healthcare, LLC                   682    Philadelphia Academic Health Holdings, LLC et al.


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19-11468      St. Christopher’s Healthcare, LLC                           683   Philadelphia Academic Health Holdings, LLC et al.
19-11468      St. Christopher’s Healthcare, LLC                           686   Philadelphia Academic Health Holdings, LLC et al.
19-11468      St. Christopher’s Healthcare, LLC                           687   Front Street Healthcare Properties, LLC
19-11468      St. Christopher’s Healthcare, LLC                           688   Philadelphia Academic Health Holdings, LLC et. al.
19-11468      St. Christopher’s Healthcare, LLC                           692   Front Street Healthcare Properties, LLC
19-11468      St. Christopher’s Healthcare, LLC                           695   Joel Freedman
19-11469      Philadelphia Academic Medical Associates, LLC               23    Philadelphia Academic Health Holdings, LLC et. al.
19-11469      Philadelphia Academic Medical Associates, LLC               24    Philadelphia Academic Health Holdings, LLC et. al.
19-11469      Philadelphia Academic Medical Associates, LLC               25    Philadelphia Academic Health Holdings, LLC et al.
19-11469      Philadelphia Academic Medical Associates, LLC               26    Philadelphia Academic Health Holdings, LLC et al.
19-11469      Philadelphia Academic Medical Associates, LLC               28    Philadelphia Academic Health Holdings, LLC et. al.
19-11469      Philadelphia Academic Medical Associates, LLC               30    Philadelphia Academic Health Holdings, LLC
19-11469      Philadelphia Academic Medical Associates, LLC               31    Philadelphia Academic Risk Retention Group, LLC
19-11469      Philadelphia Academic Medical Associates, LLC               32    Philadelphia Academic Health Holdings, LLC et. al
19-11469      Philadelphia Academic Medical Associates, LLC               33    Joel Freedman
19-11469      Philadelphia Academic Medical Associates, LLC               34    Joel Freedman, et al (see rider)
19-11470      HPS of PA, L.L.C.                                           18    Philadelphia Academic Health Holdings, LLC et. al.
19-11470      HPS of PA, LLC                                              19    Philadelphia Academic Health Holdings, LLC et. al.
19-11470      HPS of PA, L.L.C.                                           21    Philadelphia Academic Health Holdings, LLC et al.
19-11470      HPS of PA, L.L.C.                                           22    Philadelphia Academic Health Holdings, LLC et al.
19-11470      HPS of PA, L.L.C.                                           23    Philadelphia Academic Health Holdings, LLC et. al.
19-11470      HPS of PA, L.L.C.                                           25    Philadelphia Academic Health Holdings, LLC et. al.
19-11470      HPS of PA, L.L.C.                                           26    Joel Freedman
19-11470      HPS of PA, L.L.C.                                           27    Joel Freedman, et al.
19-11471      SCHC Pediatric Associates, L.L.C.                           73    Philadelphia Academic Health Holdings, LLC et. al.
19-11471      SCHC Pediatric Associates, L.L.C.                           75    Philadelphia Academic Health Holdings, LLC et al.
19-11471      SCHC Pediatric Associates, L.L.C.                           77    Philadelphia Academic Health Holdings, LLC et al.
19-11471      SCHC Pediatric Associates, L.L.C.                           78    Philadelphia Academic Health Holdings, LLC et. al.
19-11471      SCHC Pediatric Associates, L.L.C.                           80    Philadelphia Academic Health Holdings, LLC et. al.
19-11471      SCHC Pediatric Associates, L.L.C.                           82    Joel Freedman, on behalf of himself and the indemnitees
19-11471      SCHC Pediatric Associates, L.L.C.                           83    Joel Freedman, et al (see rider)
19-11471      SCHC Pediatric Associates, L.L.C.                           71    Philadelphia Academic Health Holdings, LLC et. al.
19-11472      St. Christopher’s Pediatric Urgent Care Center, L.L.C.      24    Philadelphia Academic Health Holdings, LLC et. al.
19-11472      St. Christopher’s Pediatric Urgent Care Center, L.L.C.      25    Philadelphia Academic Health Holdings, LLC et. al.
19-11472      St. Christopher’s Pediatric Urgent Care Center, L.L.C.      26    Philadelphia Academic Health Holdings, LLC et al.
19-11472      St. Christopher’s Pediatric Urgent Care Center, L.L.C.      27    Philadelphia Academic Health Holdings, LLC et al.
19-11472      St. Christopher’s Pediatric Urgent Care Center, L.L.C.      28    Philadelphia Academic Health Holdings, LLC et. al.
19-11472      St. Christopher’s Pediatric Urgent Care Center, L.L.C.      30    Philadelphia Academic Health Holdings, LLC et. al.
19-11472      St. Christopher’s Pediatric Urgent Care Center, L.L.C       31    Joel Freedman, on behalf of himself and the indemnitees
19-11472      St. Christopher’s Pediatric Urgent Care Center, L.L.C.      32    Joel Freedman, et al
19-11473      SCHC Pediatric Anesthesia Associates, L.L.C.                17    Philadelphia Academic Health Holdings, LLC et. al.


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19-11473      SCHC Pediatric Anesthesia Associates, L.L.C.       18   Philadelphia Academic Health Holdings, LLC et. al.
19-11473      SCHC Pediatric Anesthesia Associates, L.L.C.       19   Philadelphia Academic Health Holdings, LLC et al.
19-11473      SCHC Pediatric Anesthesia Associates, L.L.C.       20   Philadelphia Academic Health Holdings, LLC et. al.
19-11473      SCHC Pediatric Anesthesia Associates, L.L.C.       21   Philadelphia Academic Health Holdings, LLC et al.
19-11473      SCHC Pediatric Anesthesia Associates, L.L.C.       22   Philadelphia Academic Health Holdings, LLC et. al.
19-11473      SCHC Pediatric Anesthesia Associates, L.L.C.       24   Joel Freedman, on behalf of himself and the indemnitees
19-11473      SCHC Pediatric Anesthesia Associates, L.L.C.       25   Joel Freedman, et al
19-11474      StChris Care at Northeast Pediatrics, L.L.C.       19   Philadelphia Academic Health Holdings, LLC et. al.
19-11474      StChris Care at Northeast Pediatrics, L.L.C.       20   Philadelphia Academic Health Holdings, LLC et. al.
19-11474      StChris Care at Northeast Pediatrics, L.L.C.       21   Philadelphia Academic Health Holdings, LLC et al.
19-11474      StChris Care at Northeast Pediatrics, L.L.C.       22   Philadelphia Academic Health Holdings, LLC et al.
19-11474      StChris Care at Northeast Pediatrics, L.L.C.       23   Philadelphia Academic Health Holdings, LLC et. al.
19-11474      StChris Care at Northeast Pediatrics, L.L.C.       24   Philadelphia Academic Health Holdings, LLC et. al.
19-11474      StChris Care at Northeast Pediatrics, L.L.C.       26   Joel Freedman, on behalf of himself and the indemnitees
19-11474      StChris Care at Northeast Pediatrics, L.L.C.       27   Joel Freedman
19-11475      TPS of PA, L.L.C.                                  18   Philadelphia Academic Health Holdings, LLC et. al.
19-11475      TPS of PA, L.L.C.                                  19   Philadelphia Academic Health Holdings, LLC et al.
19-11475      TPS of PA, L.L.C.                                  20   Philadelphia Academic Health Holdings, LLC et. al.
19-11475      TPS of PA, L.L.C.                                  21   Philadelphia Academic Health Holdings, LLC et al.
19-11475      TPS of PA, L.L.C.                                  22   Philadelphia Academic Health Holdings, LLC et. al.
19-11475      TPS of PA, L.L.C.                                  26   Joel Freedman, on behalf of himself and the indemnities
19-11475      TPS of PA, L.L.C.                                  27   Joel Freedman
19-11475      TPS of PA, L.L.C.                                  23   Philadelphia Academic Health Holdings, LLC et. al.
19-11475      TPS of PA, L.L.C.                                  24   Philadelphia Academic Health Holdings, LLC et. al.
19-11476      TPS II of PA, L.L.C.                               55   Philadelphia Academic Health Holdings, LLC et. al.
19-11476      TPS II of PA, L.L.C.                               56   Philadelphia Academic Health Holdings, LLC et al.
19-11476      TPS II of PA, L.L.C.                               57   Philadelphia Academic Health Holdings, LLC et. al.
19-11476      TPS II of PA, L.L.C.                               58   Philadelphia Academic Health Holdings, LLC et al.
19-11476      TPS II of PA, L.L.C.                               59   Philadelphia Academic Health Holdings, LLC et. al.
19-11476      TPS II of PA, L.L.C.                               60   Philadelphia Academic Health Holdings, LLC et. al.
19-11476      TPS II of PA, L.L.C.                               62   Joel Freedman, on behalf of himself and the indemnities
19-11476      TPS II of PA, L.L.C.                               63   Joel Freedman
19-11477      TPS III of PA, L.L.C.                              20   Philadelphia Academic Health Holdings, LLC et. al.
19-11477      TPS III of PA, L.L.C.                              21   Philadelphia Academic Health Holdings, LLC et al.
19-11477      TPS III of PA, L.L.C.                              22   Philadelphia Academic Health Holdings, LLC
19-11477      TPS III of PA, L.L.C.                              23   Philadelphia Academic Health Holdings, LLC et al.
19-11477      TPS III of PA, L.L.C.                              24   Philadelphia Academic Health Holdings, LLC et. al.
19-11477      TPS III of PA, L.L.C.                              25   Philadelphia Academic Health Holdings, LLC et. al.
19-11477      TPS III of PA, L.L.C.                              27   Joel Freedman, on behalf of himself and the indemnities
19-11477      TPS III of PA, L.L.C.                              28   Joel Freedman
19-11478      TPS IV of PA, L.L.C.                               32   Philadelphia Academic Health Holdings, LLC et. al.



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19-11478      TPS IV of PA, L.L.C.               33    Philadelphia Academic Health Holdings, LLC et. al.
19-11478      TPS IV of PA, L.L.C.               34    Philadelphia Academic Health Holdings, LLC et al.
19-11478      TPS IV of PA, L.L.C.               35    Philadelphia Academic Health Holdings, LLC et. al.
19-11478      TPS IV of PA, L.L.C.               36    Philadelphia Academic Health Holdings, LLC et al.
19-11478      TPS IV of PA, L.L.C.               37    Philadelphia Academic Health Holdings, LLC et. al.
19-11478      TPS IV of PA, L.L.C.               39    Joel Freedman, on behalf of himself and the indemnitees
19-11478      TPS IV of PA, L.L.C.               40    Joel Freedman
19-11479      TPS V of PA, L.L.C.                19    Philadelphia Academic Health Holdings, LLC et. al.
19-11479      TPS V of PA, L.L.C.                21    Philadelphia Academic Health Holdings, LLC et. al.
19-11479      TPS V of PA, L.L.C.                23    Philadelphia Academic Health Holdings, LLC et. al.
19-11479      TPS V of PA, L.L.C.                24    Philadelphia Academic Health Holdings, LLC et al.
19-11479      TPS V of PA, L.L.C.                25    Philadelphia Academic Health Holdings, LLC et. al.
19-11479      TPS V of PA, L.L.C.                27    Joel Freedman, on behalf of himself and the indemnitees
19-11479      TPS V of PA, L.L.C.                28    Joel Freedman
19-11479      TPS V of PA, L.L.C.                20    Philadelphia Academic Health Holdings, LLC et al.
19-11479      TPS V of PA, L.L.C.                22    Philadelphia Academic Health Holdings, LLC et al.




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                           Legal Description of the Properties

 TRACT I:

 Parcel A:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF VINE STREET (ON CITY PLAN,
 LEGALLY OPEN, VARIABLE WIDTH) WHERE IT INTERSECTS WITH THE WESTERLY
 SIDE OF BROAD STREET (ON CITY PLAN, LEGALLY OPEN, 113' WIDE) AND
 RUNNING:

 1)       THENCE: ALONG SAID WESTERLY SIDE OF BROAD STREET, S11°21'00"W, A
          DISTANCE OF 257.406' TO A POINT COMMON TO PARCEL C;

 2)       THENCE: ALONG PARCEL C, N78°59'00"W, A DISTANCE OF 121.833' TO A
          POINT;

 3)       THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 94.348' TO
          A POINT;

 4)       THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 32.915' TO
          A POINT;

 5)       THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 42.110' TO
          A POINT;

 6)       THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 46.670' TO
          A POINT;

 7)       THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 1.740' TO
          A POINT COMMON TO THE EASTERLY LINE OF PARCEL B;

 8)       THENCE: ALONG THE NORTHERLY LINE OF PARCEL B, N78°39'00"W, A
          DISTANCE OF 20.198' TO A POINT;

 9)       THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 122.199' TO
          A POINT ON THE SOUTHERLY SIDE OF VINE STREET;




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 10)      THENCE: ALONG THE SOUTHERLY SIDE OF VINE STREET, S78°59'00"E, A
          DISTANCE OF 27.619' TO A POINT;

 11)      THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 0.094' TO
          A POINT;

 12)      THENCE: CONTINUING ALONG THE SOUTHERLY SIDE OF VINE STREET,
          S78°59'00"E, A DISTANCE OF 194.00' TO THE POINT AND PLACE OF BEGINNING.

          PARCEL A BEING known and assessed as 222-48 North Broad Street

          BEING OPA Parcel No. 77-2-0250-02

 Parcel A Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC
 dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County
 of Philadelphia as Document No.     53316755.

 AND

 Parcel F:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE EASTERLY SIDE OF NORTH 15TH STREET, (ON CITY
 PLAN, LEGALLY OPEN, 70' WIDE), SAID POINT BEING LOCATED N 11°21'00" E, A
 DISTANCE OF 167.831' FROM THE INTERSECTION OF SAID EASTERLY SIDE OF
 NORTH 15TH STREET AND THE NORTHERLY SIDE OF RACE STREET, (ON CITY PLAN,
 LEGALLY OPEN, 50' WIDE) AND RUNNING;

          1)    THENCE ALONG SAID EASTERLY SIDE OF NORTH 15TH STREET,
                LOCATED N 11°21'00" E, A DISTANCE OF 32.841' TO A POINT;

          2)    THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
                THE SOUTHERLY LINE OF PARCEL B, S78°59'00"E, A DISTANCE OF
                65.000' TO A POINT COMMON CORNER TO PARCEL E;

          3)    THENCE: ALONG THE PARCEL E, S11°21'00"W, A DISTANCE OF 14.659'
                TO A POINT;



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          4)   THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
               25.578' TO A POINT;

          5)   THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
               13.296' TO A POINT;

          6)   THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
               8.528' TO A POINT;

          7)   THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
               4.886' TO A POINT;

          8)   THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
               30.894' TO THE POINT AND PLACE OF BEGINNING.

 PARCEL F BEING known and assessed as 221-23 N. 15th Street.

 BEING OPA Parcel No. 77-2-0284-98.

 Parcel F Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC
 dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County
 of Philadelphia as Document No. 53316755.

 AND

 Lot 3 —HUH North:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — EXISTING CONDITIONS/ PROPOSED
 SUBDIVISION PLAN" BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF WOOD STREET (40' WIDE)
 WHERE IT INTERSECTS WITH THE EASTERLY SIDE OF 15th STREET (72' WIDE) AND
 RUNNING:

 1)       THENCE: ALONG SAID SOUTHERLY SIDE OF WOOD STREET, S78°59'00"E, A
          DISTANCE OF 197.920' TO A POINT COMMON TO LOT 2;




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 2)       THENCE: ALONG THE WESTERLY LINE OF LOT 2, S11°21'00"W, A DISTANCE
          OF 54.327' TO A POINT;

 3)       THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 33.740' TO
          A POINT;

 4)       THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 29.468' TO
          A POINT;

 5)       THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 6.460' TO
          A POINT;

 6)       THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 22.779' TO
          A POINT COMMON TO THE NORTHERLY LINE OF LOT 1;

 7)       THENCE: ALONG THE NORTHERLY LINE OF LOT 1, N78°59'00"W, A DISTANCE
          OF 31.720' TO A POINT;

 8)       THENCE: N11°21'00"E, A DISTANCE OF 20.325' TO A POINT ON THE
          NORTHERLY SIDE OF PEARL STREET (18' WIDE);

 9)       THENCE: ALONG THE SAID NORTHERLY SIDE OF PEARL STREET,
          N78°59'00"W, A DISTANCE OF 126.000' TO A POINT ON THE SAID EASTERLY
          SIDE OF 15th STREET;

 10)      THENCE: ALONG THE SAID EASTERLY SIDE OF 15th STREET, N11°21'00"E, A
          DISTANCE OF 86.250' TO THE FIRST MENTIONED POINT OF BEGINNING.

 EXCEPTING THEREOUT AND THEREFROM:

 ALL THAT CERTAIN lot or piece of ground lying above a horizontal plane 36.50 feet above
 Philadelphia City Datum, said elevation being the top of the structural floor slab at the first floor
 level.

 BEGINNING at the point of intersection of the Southerly side of Wood Street (40 feet wide) with
 the Easterly side of 15th Street (72 feet wide); thence from said point of beginning extending the
 following four courses and distances:

 Along the said side of Wood Street South 78 degrees 59 minutes 00 seconds East 197 feet, 9 inches
        to a point;

 South 11 degrees 21 minutes 00 seconds West 54 feet, 3-1/2 inches to a point;

 North 78 degrees 59 minutes 00 seconds West approximately along the Southerly face of a 16
        story building 197 feet, 9 inches to a point on the Easterly side of 15th Street;




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 Along the said side of 15th Street North 11 degrees 21 minutes 00 seconds East 54 feet, 3-1/2
        inches to the first mentioned point and place of beginning.


 AND limited to all vertical area within the confines of the above horizontal boundaries up to an
 elevation of 205 feet above Philadelphia City Datum.

 LOT 3 — HUH NORTH BEING known and assessed as 325 N. 15th St.

 BEING OPA Parcel No. 88-1-0382-02.

 Lot 3 —HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated 12/30/2017
 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County of Philadelphia as
 Document No. 53316753.




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 TRACT II:


 Lot 1 – HUH North Fee Parcel:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – EXISTING CONDITIONS / PROPOSED
 SUBDIVISION PLAN” BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE NORTHERLY SIDE OF VINE STREET (VARIABLE
 WIDTH) WHERE IT INTERSECTS WITH THE WESTERLY SIDE OF BROAD STREET (113’
 WIDE) AND RUNNING:

 1)    THENCE: ALONG SAID NORTHERLY SIDE OF VINE STREET, N78°59'00”W, A
 DISTANCE OF 269.667’ TO A POINT;
 2)    THENCE: N11°21'00”E, A DISTANCE OF 122.675’ TO A POINT COMMON TO LOT
 3;
 3)    THENCE: ALONG THE SOUTHERLY LINE OF LOT 3 AND LOT 2, S78°59'00”E, A
 DISTANCE OF 269.667’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD
 STREET;
 4)    THENCE: ALONG THE SAID WESTERLY SIDE OF BROAD STREET, S11°21'00”W,
 A DISTANCE OF 122.675’ TO THE FIRST MENTIONED POINT OF BEGINNING.

 LOT 1 - HUH NORTH BEING assessed and known as 300-04 N. Broad Street

 BEING OPA Parcel No. 88-5-6202-42

 Lot 1 – HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated December 30,
 2017 made effective January 11, 2018 and recorded January 18, 2018 in the Office of the
 Recorder of Deeds for the County of Philadelphia as Document No. 53316753.




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 TRACT III:


 Parcel D:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT OF INTERSECTION OF THE WESTERLY SIDE OF BROAD
 STREET (ON CITY PLAN, LEGALLY OPEN, 113’ WIDE) AND THE NORTHERLY SIDE
 OF RACE STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND RUNNING:

          1)    THENCE: ALONG SAID NORTHERLY SIDE OF RACE STREET,
                N78°59'00”W, A DISTANCE OF 190.025’ TO A POINT, COMMON CORNER
                TO PARCEL E;
          2)    THENCE: ALONG THE EASTERLY LINE OF PARCEL E, N11°21'00”E, A
                DISTANCE OF 94.333’ TO A POINT;
          3)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                19.967’ TO A POINT;
          4)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                15.667’ TO A POINT;
          5)    THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF
                9.942’ TO A POINT;
          6)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                31.333’ TO A POINT;
          7)    THENCE: CONTINUING ALONG PARCEL E, S78°59'00”E, A DISTANCE OF
                20.000’ TO A POINT, COMMON CORNER TO THE SOUTHERLY LINE OF
                PARCEL C;
          8)    THENCE: ALONG THE SOUTHERLY LINE OF PARCEL C, S11°21'00”W, A
                DISTANCE OF 2.000’ TO A POINT;
          9)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                61.122’ TO A POINT;
          10)   THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                8.646’ TO A POINT;
          11)   THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                7.382’ TO A POINT;
          12)   THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                7.952’ TO A POINT;
          13)   THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                91.495’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD STREET;
          14)   THENCE: ALONG THE WESTERLY SIDE OF BROAD STREET,
                S11°21'00”W, A DISTANCE OF 155.932’ TO THE POINT AND PLACE OF
                BEGINNING.



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 BEING known and assessed as 200-14 N. Broad St.

 BEING OPA Parcel No. 88-5-4678-62


 Parcel D Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017 made
 effective January 11, 2018, and recorded January 18, 2018 in the Office of the Recorder of Deeds
 for the County of Philadelphia as Document No. 53316755.

 Parcel E:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:
 BEGINNING AT A POINT AT THE INTERSECTION OF THE NORTHERLY SIDE OF RACE
 STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND THE EASTERLY SIDE OF
 15TH STREET (ON CITY PLAN, LEGALLY OPEN, 70’ WIDE) AND RUNNING:

 1)       THENCE: ALONG THE EASTERLY SIDE OF 15th STREET, N11°21'00”E, A
          DISTANCE OF 167.831’ TO A POINT, COMMON CORNER TO PARCEL F;
 2)       THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
          PARCEL F, S78°59'00”E, A DISTANCE OF 30.894’ TO A POINT;
 3)       THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 4.886’ TO
          A POINT;
 4)       THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 8.528’ TO
          A POINT;
 5)       THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 13.296’ TO
          A POINT;
 6)       THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 25.578’ TO
          A POINT;
 7)       THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 14.659’ TO
          A POINT COMMON TO PARCEL B;
 8)       THENCE: ALONG PARCEL B, S78°59'00”E, A DISTANCE OF 58.582’ TO A POINT;
 9)       THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 21.842’ TO
          A POINT;
 10)      THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 62.210’ TO
          A POINT;
 11)      THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 21.000’ TO
          A POINT COMMON CORNER TO PARCEL C;



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                                                                                    Schedule D


 12)      THENCE: ALONG PARCEL C, S78°59'00”E, A DISTANCE OF 9.708’ TO A POINT;
 13)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 42.833’ TO
          A POINT;
 14)      THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 29.832’ TO
          A POINT;
 15)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 16.035’ TO
          A POINT, COMMON TO PARCEL D;
 16)      THENCE: ALONG PARCEL D, N78°59'00”W, A DISTANCE OF 9.333’ TO A POINT;
 17)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 31.333’ TO
          A POINT;
 18)      THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 9.942’ TO
          A POINT;
 19)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 15.667’ TO
          A POINT;
 20)      THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF 19.967’
          TO A POINT;
 21)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 94.333’ TO
          A POINT ON THE SAID NORTHERLY SIDE OF RACE STREET;
 22)      THENCE: ALONG THE NORTHERLY SIDE OF RACE STREET, N 78°59’00” W, A
          DISTANCE OF 205.975’ TO THE POINT AND PLACE OF BEGINNING.

 BEING known and assessed as 201-19 N. 15th St.

 BEING OPA Parcel No. 77-2-0284-96

 Parcel E Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017, made
 effective January 11, 2018 and recorded January 18, 2018 in the Office of the Recorder of Deeds
 for the County of Philadelphia as Document No. 53316755.




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                               Schedule 3(a)(iii)
      List of Documents originals of which are attached as Exhibit 3(a)(iii)
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                                                                                       Schedule 3(a)(iii)


                                            Schedule 3(a)(iii)



     1. Release of Mortgage ($2.5 million) – Broad Street Healthcare Properties, LLC
     2. Release of Mortgage ($2.5 million) – Broad Street Healthcare Properties II, LLC
     3. Release of Mortgage ($2.5 million) – Broad Street Healthcare Properties III, LLC
     4. Release of Mortgage ($3.0 million) – Broad Street Healthcare Properties, LLC
     5. Release of Mortgage ($3.0 million) – Broad Street Healthcare Properties II, LLC
     6. Release of Mortgage ($3.0 million) – Broad Street Healthcare Properties III, LLC
     7. Release of UCC-1 Fixture Filings – Broad Street Healthcare Properties, LLC, Broad Street
        Healthcare Properties II, LLC and Broad Street Healthcare Properties III, LLC
     8. UCC-3 Terminations - Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties
        II, LLC and Broad Street Healthcare Properties III, LLC, as debtors, and Paladin and Front Street
        Healthcare Properties, LLC, as secured parties




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                               Schedule 3(a)(vi)
       Broad PropCos’ Assets to be Substantively Consolidated with CCH
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                                             SCHEDULE 3(a)(vi)

                Assets of Broad Street PropCos to be Substantively Consolidated with CCH

 Capitalized terms used in this Schedule without definitions shall have the meanings assigned to them in
 the MOU in which this Schedule is referenced and to which it is attached; all Section references in this
 Schedule are to the Sections of the MOU.

 All of each Broad Street PropCo’s right, title and interest in and to the following rights, properties and
 assets, whether tangible or intangible, subject to all liens, claims and encumbrances except as provided
 in the MOU:

     1. All equitable and other interests in the Real Estate, as well as the tangible personal property,
        including equipment, furniture, fixtures, office furnishings, and leasehold improvements, owned
        by any Broad Street PropCo and located upon or at any Real Estate
     2. Broad Street PropCos REAs
     3. Broad Street PropCos Unity of Use Agreements
     4. All deposits, pre-payments, overpayments, rebates, refunds and the like pertaining to items 1-3,
        6 and 7 of this Schedule (excluding, for the avoidance of doubt, deposits, pre-payments,
        overpayments, rebates, refunds and the like with or from any advisor or professional of any of
        the Broad Street PropCos, including those listed in item 36(a) of Schedule 3(a)(vii) to the MOU),
        including without limitation the security deposit made by Broad Street Healthcare Properties, LLC
        pursuant to the Steam Service Agreement dated December 1, 2020 between Vicinity Energy
        Philadelphia, Inc. and Broad Street Healthcare Properties, LLC by and through its agent, G&E Real
        Estate Management Services, Inc., a Delaware corporation, dba Newmark Knight Frank.
     5. Any account balances representing Advances made pursuant to, and as defined in, the PAHS Loan
        Documents in the following bank accounts of the Broad Street PropCos:
             a. Account No.:             10-7776-0053
                Account Name: Broad Street Healthcare Properties, LLC
             b. Account No.:             10-7776-0061
                Account Name: Broad Street Healthcare Properties II, LLC
             c. Account No.:             10-7776-0088
                Account Name: Broad Street Healthcare Properties III, LLC
                Transit/Routing:         043000096
                Bank Name:               PNC Bank, Pittsburgh, PA
        On the MOU Implementation Date (i) all such account balances that do not represent Advances
        (as such term is defined in the PAHS Loan Documents) shall be transferred by the Broad Street
        PropCos to PAHH1 and (ii) all such account balances that represent Advances shall be transferred
        to the CCH bank account designated by PAHS prior to the MOU Implementation Date, other than
        the sum of outstanding amounts due on account of issued checks that had not cleared
        (“Outstanding Checks”). Subject to confirmation by the Broad Street PropCos that there are no
        Outstanding Checks, the Broad Street PropCos shall promptly close all of the above bank accounts.
        If the Broad Street PropCos confirm that there are Outstanding Checks that the Broad Street
        PropCos have determined will not be cashed and to the extent such Outstanding Checks were

 1
          Amount represents the balance in the Broad Street PropCos’ accounts immediately prior to the first
          funding under the PAHS Loan Documents.


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        issued on or after the closing date of the PAHS Loan, the Broad Street PropCos shall promptly
        transfer to the CCH bank account designated by PAHS the amount represented by such
        Outstanding Checks and, after such transfer has occurred, shall close all of the above bank
        accounts.
     6. All contracts and agreements listed as items 1-30 of Schedule 3(a)(vii) to the MOU.
     7. All utilities to or at the Real Estate.
     8. For the avoidance of doubt, (a) the assets to be substantively consolidated with CCH shall not
        include, and shall not be deemed to include: (i) any claim held by any of the Broad Street PropCos
        against any of the other MBNF Parties, the MBNF Affiliates, any of their respective
        Representatives, or any of the Broad Street Lenders, or (ii) with respect to any professional or
        advisor of any of the Broad Street PropCos, including those listed in item 36(a) of Schedule 3(a)(vii)
        to the MOU, any engagement or services agreement, deliverable or rights thereunder, including
        any retainer or privileged communication, in which any Broad Street PropCo may have any
        interest, rights or entitlement, and (b) no power, right or privilege granted by any Broad Street
        PropCo to CCH pursuant to any Power of Attorney shall be exercised by CCH to demand, request,
        pursue or otherwise obtain any assets not substantively consolidated with CCH pursuant to the
        MOU.




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                               Schedule 3(a)(vii)
     Broad PropCos’ Liabilities to be Substantively Consolidated with CCH;
     Broad PropCos’ Contracts to be Substantively Consolidated with CCH
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                                            SCHEDULE 3(a)(vii)

               Liabilities of Broad Street PropCos to be Substantively Consolidated with CCH

 Capitalized terms used in this Schedule without definitions shall have the meanings assigned to them in
 the MOU in which this Schedule is referenced and to which it is attached.

       1. Property Management Agreement dated as of June 1, 2020 between Broad Street PropCos and
           Front Street Healthcare Properties II, LLC, on the one hand, and G&E Real Estate Management
           Services, Inc. dba Newmark Knight Frank, as amended by the First Amendment effective as of
           April 6, 2021
       2. Agreement dated March 27, 2020 between Broad Street Healthcare Properties, LLC and Elite
           Elevator Services, LLC
       3. Service Contract dated May 1, 2021 between Broad Street Healthcare Properties, LLC and Apex
           Elevator Inspection & Testing, LLC
       4. Service Contract dated January 1, 2021 between Broad Street Healthcare Properties, LLC and
           GenServe, LLC
       5. Service Contract dated October 14, 2021 between Broad Street Healthcare Properties, LLC and
           Tozour Energy Systems, Inc.
       6. Service Contract dated July 1, 2022 between Broad Street Healthcare Properties, LLC and Barclay
           Water Management, Inc.
       7. Service Contract dated August 1, 2020 between Broad Street Healthcare Properties, LLC and GDI
           Services, Inc.
       8. Service Contract dated January 29, 2021 between Broad Street Healthcare Properties, LLC and
           Energy Management Systems, Inc.
       9. Service Contract dated July 1, 2020 between Broad Street Healthcare Properties, LLC and
           Western Pest Services
       10. Security Professional Service Agreement, effective as of March 1, 2020, between Broad Street
           PropCos and Front Street Healthcare Properties II, LLC, on the one hand, and Universal
           Protection Service, LP d/b/a Allied Universal Security Services
       11. Service Contract dated October 22, 2021, between Broad Street Healthcare Properties, LLC and
           BTM Construction, LLC
       12. Service Contract dated August 25, 2021, between Broad Street Healthcare Properties, LLC and
           Athena Contracting, Inc.
       13. Service Contract dated March 16, 2021, between Broad Street Healthcare Properties II, LLC and
           Jay B. Comly Building & Office Maintenance, LLC
       14. Purchase Order Number: PH096-02 between Broad Street Healthcare Properties, LLC and
           Electronic Security Solutions
       15. Work Authorization Form dated as of May 26, 2021 between Broad Street Healthcare Properties,
           LLC and Wayman Fire Protection, Inc.
       16. Comcast Business Service Order #25456482 between Broad Street Healthcare Properties and
           Cable Communications Management, LLC and its operating affiliates
       17. Comcast Enterprise Services Sales Order Form # PA-21812406-PDown-17207954 between Broad
           Street Healthcare Properties and Cable Communications Management, LLC and its operating
           affiliates.


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       18. Steam Service Agreement dated December 1, 2020 between Vicinity Energy Philadelphia, Inc.
           and Broad Street Healthcare Properties, LLC
       19. Penn Environmental & Remediation, Inc. Proposal to Complete a Subsurface Evaluation dated
           February 25, 2022
       20. Service Contract dated June 11, 2021 between Broad Street Healthcare Properties, LLC and
           Wayman Fire Protection, Inc.
       21. Any and all contracts, purchase orders, proposals, statements of work, sales orders and similar
           documents and instruments for services at or relating to the Assets that are entered into from
           and after the Execution Date and through the MOU Implementation Date by NKF on behalf of
           any of the Broad Street PropCos, with the prior written consent of CCH.
       22. Purchase Order PH096A-37 between Broad Street Healthcare Properties, LLC and Electronic
           Security Solutions
       23. Service Contract dated May 20, 2022 between Broad Street Healthcare Properties, LLC and
           ASCENT Restoration Consultants
       24. Service Contract dated May 18, 2022 between Broad Street Healthcare Properties, LLC and
           Wayman Fire Protection
       25. Purchase Order PH096A-40 between Broad Street Healthcare Properties, LLC and Barclay Water
           Management
       26. Work Authorization Form dated June 16, 2022 between Broad Street Healthcare Properties, LLC
           and Joseph Dugan, Inc.
       27. Purchase Order PH096A-42 dated July 18, 2022 between Broad Street Healthcare Properties,
           LLC and Wayman Fire Protection
       28. Service Contract dated July 18, 2022 between Broad Street Healthcare Properties, LLC and
           Wayman Fire Protection
       29. Change Order with respect to Proposal #ESSQ29635 FA dated June 9, 2022 for the elevator
           wireless communicators, between Broad Street Healthcare Properties, LLC and Electronic
           Security Solutions
       30. Service Contract dated July 1, 2022 between Broad Street Healthcare Properties, LLC and
           Electronic Security Solutions
       31. All real and personal property taxes, charges, fees, duties, levies or other assessments, including
           use and occupancy, center city district and parking taxes and assessments
       32. All liabilities and obligations under the PAHS Loan Documents, as amended or otherwise
           modified.
       33. All utilities to or at the Real Estate and any liens and other encumbrances related thereto.
       34. All liens and other encumbrances set forth in the schedule of permitted encumbrances to each
           mortgage entered into in connection with the PAHS Loan other than (i) $2,500,000.00 (Open-
           End Mortgage and Security Agreement) – Broad Street Healthcare Properties, LLC, a Delaware
           limited liability company to Joel Freedman, dated 1/7/2020, effective 1/8/2020 and recorded
           1/14/2020 in Document ID #53618447; Assigned to Paladin Healthcare Capital, LLC, a Delaware
           limited liability company recorded 11/2/2021 in Document ID #53899050; Amended and
           Restated 11/2/2021 in Document ID #53899053, and (ii) $3,000,000.00 (Open-End Mortgage
           and Security Agreement) – Broad Street Healthcare Properties, LLC, a Delaware limited liability
           company to Paladin Healthcare Capital, LLC, a Delaware limited liability company dated



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           10/27/2021, effective 10/28/2021 and recorded 11/2/2021 in Document ID #53899056. For the
           avoidance of doubt, the foregoing items (i) and (ii) shall not be assumed by, and shall not be
           deemed to be the liabilities of, CCH or any of the other Debtors and shall no longer be deemed
           liens or encumbrances on the Real Estate.
       35. All trade and accounts payable relating to the Real Estate, as approved by PAHS under the PAHS
           Loan Documents or as set forth on the most recent “Open Invoice” list from NKF and approved
           in writing by the Debtors prior to the Execution Date, and as updated by NKF with any payables
           approved by PAHS under the PAHS Loan Documents on or immediately prior to the MOU
           Implementation Date, plus any unpaid trade and accounts payable included in any budget
           approved by PAHS in accordance with the PAHS Loan Documents.
       36. For the avoidance of doubt:
                a. notwithstanding anything to the contrary set forth herein or in the MOU, liabilities of
                    any of the Broad Street PropCos to any professional or advisor, including without
                    limitation Latham & Watkins, LLP, Richards Layton & Finger, PA, O’Melveny & Myers,
                    LLP, Dovel & Luner LLP, Crowe, LLP, White and Williams, LLP, Chamberlain Hrdlicka
                    White Williams & Aughty, Sonsara Management Services, LLC, Jigsaw Advisors, LLC,
                    Moss Adams LLP and Bochetto & Lentz, P.C., shall not be deemed to be the liabilities of
                    CCH or any other Debtor;
                b. all liabilities, indebtedness, obligations and responsibilities arising out of or relating to
                    any act, omission, event or occurrence connected with the use, management, ownership
                    or operation by CCH of the Real Estate or any other Assets incurred or arising on or after
                    the MOU Implementation Date, including without limitation all indebtedness and all
                    liabilities, obligations and responsibilities created or arising from CCH’s exercise of any
                    powers, rights or privileges granted pursuant to any Power of Attorney (other than the
                    liabilities, obligations and responsibilities limited solely to performance by any Broad
                    Street PropCo that does not involve or cause such Broad Street PropCo’s expenditure of
                    any funds), shall be, and shall be deemed to be, the liabilities, indebtedness, obligations
                    and responsibilities of CCH in all respects;
                c. CCH shall not become liable for any obligation of any of the Broad Street PropCos to any
                    of the other MBNF Parties or any of their Representatives; and
                d. any liability substantively consolidated with CCH, as set forth in this Schedule 3(a)(vii),
                    shall be subject to all existing rights, claims, defenses, affirmative defenses,
                    counterclaims, setoffs and recoupments, not otherwise released or waived in the MOU,
                    all of which may be asserted by CCH.




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                                 Schedule 3(a)(viii)
     List of fully executed originals of the Amended PAHS Loan Documents
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                                       Schedule 3(a)(viii)


 Assignment, Assumption and Novation Agreement among Broad Street Healthcare Properties,
 LLC, Broad Street Healthcare Properties II, LLC, Broad Street Healthcare Properties III, LLC,
 Philadelphia Academic Health System, LLC and Center City Healthcare, LLC
 Mortgage Modification Agreement (Broad Street Healthcare Properties, LLC)
 Mortgage Modification Agreement (Broad Street Healthcare Properties II, LLC)
 Mortgage Modification Agreement (Broad Street Healthcare Properties III, LLC)
 UCC-3 Amendments to the Financing Statements (Broad Street Healthcare Properties, LLC,
 Broad Street Healthcare Properties II, LLC and Broad Street Healthcare Properties III, LLC)
 Termination Agreement (re Intercreditor Agreement recorded for PAHS Loan)




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                                Schedule 3(b)
              Real Estate Management and Marketing Procedures
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                                                                                                      Schedule 3(b)


                                                   Schedule 3(b)

                            Real Estate Marketing/Management Provisions 1

 1.       Oversight Committee:

          (a)       Upon the occurrence of the MOU Implementation Date, there shall be created an
                    oversight committee (the “Oversight Committee”), which shall consist of
                    representatives of the (i) Debtors/Committee, (ii) the HSRE Entities (“HSRE”) and
                    (iii) Tenet. Each of the Debtors/Committee, HSRE and Tenet shall in writing
                    designate one business person, and one attorney, to receive communications and
                    one person with authority to act on behalf of such Oversight Committee member
                    with respect to the Oversight Committee. CONA (as defined below), on behalf of
                    the CONA Parties, shall have observation rights on the Oversight Committee but
                    shall not be considered a “member” of the Oversight Committee.

          (b)       Except as otherwise provided herein, the following decisions are to be made by the
                    Oversight Committee by majority vote, with each of the following to have one
                    equal vote: (a) the Debtors/Committee 2, (b) HSRE and (c) Tenet:

                    (i)     Selection of any replacement Property Manager (as defined below) solely
                            upon the resignation of NKF (as defined below) or any subsequent property
                            manager or removal for good cause;

                    (ii)    Selection and retention of a real estate broker for the Sale (as defined below)
                            of the Real Estate (the “Real Estate Broker”).

                    (iii)   Approval of periodic Budgets (as defined below) and amendments thereto,
                            which approval must include approval by the Debtors and at least one other
                            member of the Oversight Committee.

                    (iv)    Approval of any sale or other disposition of the Real Estate (a “Sale”);
                            provided, however, that (a) any Sale of Real Estate, directly or indirectly, to
                            Capital One, N.A. (“CONA”), any participant (a “CONA Loan
                            Participant”) in the CONA Loan 3, HSRE, Tenet, any MBNF Party, any
                            affiliate of any of the foregoing, or any Sale of Real Estate proposed to be


 1
          Unless the context indicates otherwise, capitalized terms used herein shall have the meaning ascribed to them
          in the MOU.

 2
          If the Debtors and the Committee do not agree on a matter hereunder, they may jointly seek the assistance of
          the Honorable Kevin J. Carey (ret.) or, in the event Judge Carey is unavailable, another disinterested person,
          to assist in resolving any areas of disagreement.
 3
          As used herein, the term “CONA Loan” means that certain loan made pursuant to a Loan Agreement dated
          as of January 11, 2018 in which CONA serves as Administrative Agent and a Lender and certain affiliates of
          HSRE are borrowers.


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                                                                                           Schedule 3(b)


                            financed in whole or in part by any such entity, shall require unanimous
                            approval of all members of the Oversight Committee that have not
                            voluntarily recused themselves, been recused or abstained from voting, (b)
                            HSRE shall recuse itself from any vote on a Sale of Real Estate, directly or
                            indirectly, to HSRE, CONA, a CONA Loan Participant and/or any affiliate
                            of HSRE, CONA or a CONA Loan Participant; (c) Tenet shall recuse itself
                            from any vote on a Sale of Real Estate, directly or indirectly, to Tenet or
                            any affiliate of Tenet and (d) any Sale of Real Estate for less than an amount
                            that has been agreed to by the members of the Oversight Committee shall
                            require the unanimous consent of all members of the Oversight Committee.

                    (v)     In the event any member of the Oversight Committee resigns, voluntarily
                            recuses itself, is recused pursuant to these provisions, or abstains from
                            voting on any matter, and the Oversight Committee is thereafter gridlocked
                            on any matter, the remaining members of the Oversight Committee or, if
                            applicable, those members that have not recused themselves, been recused,
                            or abstained, shall seek the assistance of the Honorable Kevin J. Carey (ret.),
                            or another disinterested party designated by all members of the Oversight
                            Committee, to assist in resolving the gridlock.

          (c)       Procedural Matters:

                    (i)     The Oversight Committee shall have meetings no less often than monthly,
                            which shall be scheduled, to the extent practicable, for the same day of the
                            month and time of day or as otherwise agreed by the members of the
                            Oversight Committee. Meetings may be held by teleconference or video
                            conference.

                    (ii)    The Debtors’ designated business person shall serve as the “chair’” of the
                            Oversight Committee.

                    (iii)   Absent an emergency, all members of the Oversight Committee shall be
                            given at least three (3) business days’ prior written notice of Oversight
                            Committee meetings. The Oversight Committee shall use best efforts to
                            avoid emergencies.

                    (iv)    Upon the occurrence of an emergency, which may be determined by any
                            member of the Oversight Committee in consultation with the Property
                            Manager (as defined below) if practicable, less than three (3) business days’
                            notice may be given of an Oversight Committee meeting. Upon the
                            occurrence of an emergency, and if immediate action is required to prevent
                            a material loss to the Real Estate, in consultation with the Property Manager
                            when practicable, Anthony Perno (“Perno”) shall immediately advise each
                            member of the Oversight Committee and the Debtors may take or authorize
                            action unilaterally, with simultaneous or prompt notice thereafter to the
                            other members of the Oversight Committee.


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                    (v)    The Bankruptcy Court shall have jurisdiction over disputes among the
                           members of the Oversight Committee.

 2.       Real Estate Management and Maintenance Pending Sale:

          (a)       The Real Estate shall be managed by NKF or, in the event of NKF’s resignation or
                    removal for good cause, such other third-party property manager as shall be
                    selected by the Oversight Committee (the “Property Manager”).

          (b)       The Property Manager shall manage and maintain the Real Estate pending sale,
                    pursuant to the Budget.

          (c)       The Property Manager shall report to Perno and the Oversight Committee, shall be
                    available for Oversight Committee meetings as requested, and shall provide to
                    Perno reasonably detailed monthly reports that shall include without limitation (i)
                    expenses incurred and amounts paid with respect to the Real Estate, (ii) Budget vs.
                    actual analysis, (iii) property condition reports and, if appropriate, capital
                    expenditure recommendations and a proposed budget for any proposed capital
                    expenditures over $5,000; and (iv) other matters as shall be reasonably requested
                    by Perno.

          (d)       Perno shall (i) supervise the Property Manager and shall make monthly reports to
                    the Oversight Committee regarding such matters as the Oversight Committee may
                    reasonably request and (ii) have the authority to authorize non-Budgeted
                    expenditures for the maintenance and operation of the Real Estate in an aggregate
                    amount not to exceed $10,000 per month. Proposed non-Budgeted expenditures in
                    an aggregate amount in excess of $10,000 per month shall require an amendment
                    to the applicable Budget, which is subject to approval of the Oversight Committee,
                    including for the avoidance of doubt the Debtors, as provided in paragraph 1(b)(iii)
                    above; provided that the Debtors may approve an amendment to the Budget
                    unilaterally to address an emergency, in accordance with the procedures set forth
                    in paragraph 1(c)(iv) above to avoid or minimize loss.

          (e)       The Property Manager and Perno shall provide such assistance to the Sale Process
                    Manager (as defined below) and the Real Estate Broker regarding the marketing
                    and sale of the Real Estate as shall be reasonably requested.

 3.       Costs and Expenses of the Real Estate Pending Sale (the “Carrying Costs”):

          (a)       Carrying Costs shall be paid, first, from any remaining proceeds of the $5.6 million
                    secured term loan from PAHS, as approved by orders of the Bankruptcy Court
                    entered on March 31, 2022, April 21, 2022 [D.I. 3811 and 3896] (the “PAHS
                    Loan”), provided, however, that nothing contained herein shall negate or otherwise
                    affect the rights and remedies of PAHS with respect to the PAHS Loan, or the terms
                    and conditions thereof. In the event of any inconsistency between (i) the MOU
                    and/or this Exhibit 3(b) and (ii) the documents executed in connection with the
                    PAHS Loan (the “PAHS Loan Documents”), the MOU shall control.

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          (b)       Carrying Costs in excess of the amount of the PAHS Loan (the “Additional
                    Loan”), if any, pursuant to an agreed Budget may be advanced and paid by the
                    Debtors, in consultation with the other members of the Oversight Committee, or,
                    absent the Debtors’ agreement to fund, jointly or severally by the Debtors, Tenet
                    and/or HSRE as may be agreed.

 4.       Distribution of Sale proceeds: the proceeds of any sale of any of the Real Estate shall be
          distributed as follows:

          (a)       First, to pay the customary costs of the sale (e.g., broker’s commission).

          (b)       Second, to satisfy liens on the Real Estate being sold (in order of priority) including
                    but not limited to:

                    (i)    Water liens, Center City District judgment liens and such other amounts
                           reflected on Exhibit “A” hereto (approx. $1.8 million as of 6/15/22).

                    (ii)   The PAHS Loan, as amended pursuant to the Amended PAHS Loan
                           Documents, which for the avoidance of doubt shall provide that the
                           Settlement Balancing Payment shall be secured by a lien on the Real Estate.

          (c)       Third, to satisfy any Additional Loan.

          (d)       Fourth, to reimburse or compensate the Debtors for reasonable amounts expended
                    or incurred, on or after the MOU Implementation Date, directly related to the
                    substantive consolidation and/or sale of the Real Estate and the distribution of the
                    proceeds thereof, including without limitation (i) any taxes, fees and direct costs
                    related thereto; or (ii) the fees and expenses of the Sale Process Manager (as defined
                    below).

          (e)       Fifth, all remaining sale proceeds after payment of the foregoing amounts (the “Net
                    Sale Proceeds”) shall be allocated and paid as follows:

                    (i)    The first $0-20,000,000 of Net Sale Proceeds are to be split as follows:

                           (1)     HSRE – 33.3333%

                           (2)     Tenet – 33.3333%

                           (3)     Debtors – 33.3333%

                    (ii)   All Net Sale Proceeds above $20,000,000 are to be split as follows:

                           (1)     HSRE - 55%

                           (2)     Tenet – 20%

                           (3)     Debtors – 25%

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 5.       The budget referenced in item 1(a)(iii), above, shall be the budget developed by the
          Property Manager in consultation with Perno and approved by the Oversight Committee
          (the “Budget”).

 6.       Real Estate Sale - the Real Estate shall be marketed and sold pursuant to a process which
          shall include the following:

          (a)       The sale process shall be led and managed by Mr. Albert Mezzaroba (the “Sale
                    Process Manager”), who shall (i) supervise the actions of the Real Estate Broker;
                    (ii) oversee the data room, diligence process and management meetings; and (iii)
                    report to and engage with the Oversight Committee on matters related to the sale of
                    the Real Estate.

          (b)       The Oversight Committee, the Sale Process Manager and the Real Estate Broker
                    shall attempt to sell the Real Estate such that closing occurs at a price agreed upon
                    by the Oversight Committee on or before such date as agreed by the Oversight
                    Committee.

          (c)       The Sale Process Manager shall manage the sale process with the assistance of the
                    Debtors’ counsel, with reasonable, documented, out-of-pocket professional fees
                    and costs of counsel to be paid from sale proceeds.

          (d)       The Sale Process Manager and the Real Estate Broker shall report regularly to and
                    engage with the Oversight Committee and shall make themselves available as
                    reasonably requested for status reports and to address questions of the Oversight
                    Committee members.

 7.       Subject to such sale procedures as may be developed by the Real Estate Broker, the
          members of the Oversight Committee shall approve any offer from any person that is not
          an Insider to purchase the Real Estate for more than an amount that has been agreed to by
          the members of the Oversight Committee, provided that such offer is by a qualified bidder,
          as determined and recommended by the Property Sale Manager and Real Estate Broker to
          the Oversight Committee, and, provided further, that such offer has terms and conditions
          acceptable to the Oversight Committee. As used herein, the term “Insider” means Debtors,
          HSRE, CONA, a CONA Loan Participant, Tenet, MBNF, Iron Stone Real Estate Partners,
          and any affiliate or successor of any of the foregoing.

 8.       Any of the procedures specified above may be modified by the unanimous vote of the
          Oversight Committee. Without limitation of the foregoing, the Oversight Committee may
          by the unanimous vote of its members authorize the sale of different parcels of the Real
          Estate to different purchasers, at different times, and/or to an Insider.

 9.       These provisions shall be binding upon the parties and their successors and assigns.

 10.      All members of the Oversight Committee, and each of the CONA Parties, shall at all times
          operate in good faith in a manner to maximize value and minimize expense, including
          Carrying Costs and professional fees.


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 Exhibit “A”

 200-214 N Broad St

 x        Record Owner: Broad Street Healthcare Properties III, LLC

 x        Judgments:

          i.        (Active Case) Center City District vs Broad Street Healthcare; Assessment Lien
                    entered for $16,064.73.

          ii.       (Active Case) Center City District vs Broad Street Healthcare P; Assessment Lien
                    entered for $571.71.

 x        Liens:

          i.        (Active Case) City of Philadelphia vs Joel Freedman and Broad Street Healthcare
                    Properties LLC; RE Tax Lien for $169,538.00 (2019 unpaid).

          ii.       (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $199,104.55 (Apr 2019 – Jun 2019 unpaid).

          iii.      (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $253,763.15 (Jul 2019 – Sep 2019 unpaid).

          iv.       (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $205,963.34 (Sep 2019 – Dec 2019 unpaid).

          v.        (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $103,833.76 (Jan 2020 – Mar 2020 unpaid).

          vi.       (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $94,670.50 (Apr 2020 – Jun 2020 unpaid).

          vii.      (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $45,034.01 (Jul 2020 – Sep 2020 unpaid).

          viii.     (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $1,894.39 (Sep 2020 – Dec 2020 unpaid).

          ix.       (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $4,323.64 (Jan 2021 – Mar 2021 unpaid).

          x.        (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $7,852.93 (Apr 2021 – Jun 2021 unpaid).

          xi.       (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $6,688.09 (Jul 2021 – Sep 2021 unpaid).

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          xii.      (Active Case) City of Philadelphia vs Broad Street Healthcare Properties III LLC;
                    Water/Sewer Lien for $14,187.25 (Sep 2021 – Dec 2021 unpaid).

          xiii.     (Active Case) City of Philadelphia vs Joel Freedman; RE Tax Lien for $42,472.08
                    (2019 unpaid).

          xiv.      (Active Case) City of Philadelphia vs Joel Freeman; RE Tax Lien for $178,407.28
                    (2021 unpaid).

          xv.       (Active Case) City of Philadelphia vs Joel Freeman and Broad Street Healthcare
                    Properties LLC; RE Tax Lien for $169,538.00 (2021 unpaid).

 222-48 N Broad St

 x        Record Owner: Broad Street Healthcare Properties, LLC

 x        Judgments:

          i.        (Active Case) Center City District vs Broad Street Healthcare; Assessment Lien
                    entered for $16,064.73.

          ii.       (Active Case) Center City District vs Broad Street Healthcare P; Assessment Lien
                    entered for $571.71.

 x        Liens:

          i.        (Active Case) Otis Elevator Company vs Broad Street Healthcare Properties, LLC
                    and Tenet Healthsystem Hahnemann LLC; Mechanics Lien.

          ii.       (Active Case) City of Philadelphia vs Broad Street Healthcare Properties LLC; RE
                    Tax Lien for $139,069.88 (2021 unpaid).

 300-04 N Broad St

 x        Record Owner: Broad Street Healthcare Properties II, LLC

 x        Judgments:

          i.        (Active Case) Center City District vs Broad Street Healthcare; Assessment Lien
                    entered for $16,064.73.

          ii.       (Active Case) Center City District vs Broad Street Healthcare P; Assessment Lien
                    entered for $571.71.

 x        Liens:

          i.        (Active Case) Center City District vs Broad Street Healthcare; Assessment Lien
                    entered for $16,064.73 (same as above).

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 221-23 N 15th St

 x        Record Owner: Broad Street Healthcare Properties, LLC

 x        Judgments:

          i.        (Active Case) Center City District vs Broad Street Healthcare; Assessment Lien
                    entered for $16,064.73.

          ii.       (Active Case) Center City District vs Broad Street Healthcare P; Assessment Lien
                    entered for $571.71.

 x        Liens:

          i.        (Active Case) City of Philadelphia vs Broad Street Healthcare Properties LLC; RE
                    Tax Lien for $5,791.72 (2019 unpaid).

          ii.       (Active Case) Center City District vs Broad Street Healthcare P; Assessment Lien
                    entered for $571.71 (same as above).

 325 N 15th St

 x        Record Owner: Broad Street Healthcare Properties, LLC

 x        Judgments:

          i.        (Active Case) Center City District vs Broad Street Healthcare; Assessment Lien
                    entered for $16,064.73.

          ii.       (Active Case) Center City District vs Broad Street Healthcare P; Assessment Lien
                    entered for $571.71.

 x        Liens:

          i.        (Active Case) City of Philadelphia vs Broad Street Healthcare Properties LLC; RE
                    Tax Lien for $40,152.87 (2021 unpaid).




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                                Schedule 14(o)
                           Insurance Carrier Notices
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                                                                                           SCHEDULE 14(o)


                                              SCHEDULE 14(o)

                                          Insurance Carrier Notices

 Capitalized terms used in this Schedule without definitions shall have the meanings assigned to them in
 the MOU in which this Schedule is referenced and to which it is attached.

     1.   Starr Indemnity Policy #1000620691191; Insured: MBNF Investments, LLC; Policy Period:
          1/11/2019 – 1/11/2020, Extended Reporting to 1/11/2021 (D&O/EPL: 1st Excess)

     2.   AIG Policy #08-076-85-48; Insured: MBNF Investments, LLC; Policy Period: 1/11/2019 – 1/11/2020,
          Extended Reporting to 1/11/2021 (D&O/EPL: 2nd Excess)

     3.   AIG Policy #08-076-11-34; Insured: MBNF Investments, LLC; Policy Period: 1/11/2019 – 1/11/2020,
          Extended Reporting to 1/11/2021 (Fiduciary)

     4.   Chubb Policy #8255-7330; Insured: MBNF Investments, LLC; Policy Period: 1/11/2019 – 1/11/2020,
          Extended Reporting to 1/11/2021 (Employed Lawyers Liability)

     5.   Chubb (Westchester) Policy # G71780570 001; Insured: MBNF Investments, LLC; Policy Period:
          1/11/2020 – 1/11/2021, Extension to 1/11/2022 (D&O/EPL/Employed Lawyers Liability)

     6.   Argo Policy #ML7601753-4; Insured: Paladin Healthcare Capital, LLC; Policy Period: 3/2/2020 –
          3/2/2021 (D&O/ Fiduciary)

     7.   AIG Policy #13470625; Insured: Paladin Healthcare Capital, LLC; Policy Period: 3/2/2020 –
          3/2/2021 (Employed Lawyers Liability)

     8.   Wesco Insurance Co./Amtrust Policy #EUW1843059 00; Insured: Philadelphia Academic Health
          System, LLC; Policy Period: 1/11/2020 – 1/11/2021, [Extension to 1/11/23] (D&O)

     9.   Ironshore Policy #DO6NABXGGP001; Insured: Philadelphia Academic Health System, LLC; Policy
          Period: 1/11/2020 – 1/11/2021, [Extension to 1/11/23] (D&O: Excess)

     10. RSUI Indemnity Company Policy #NHS691289; Insured: Philadelphia Academic Health System,
         LLC; Policy Period 1/11/2022 to 1/11/2023




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                                                                                    Schedule 46


                                           Schedule 46


 Claims to be marked “withdrawn” by Omni Agent Solutions:
     x    All HSRE Debtor Claims including without limitation those listed on Schedule B to the
          MOU.
     x    All MBNF Debtor Claims including without limitation those listed on Schedule C to the
          MOU.


 Claims to be marked “allowed” by Omni Agent Solutions:
     x    Tenet Allowed Claim consistent with Section 7 of the MOU.
     x    HSRE Allowed Lease Damages Claim consistent with Section 8 of the MOU.




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                                Exhibit 2(a)
     Unanimous Consent of the Members of RRG re RRG Plan of Dissolution




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                  UNANIMOUS WRITTEN CONSENT OF THE MEMBERS

                                              of

                PHILADELPHIA ACADEMIC RISK RETENTION GROUP, LLC

         Pursuant to Section 2.8 of the Operating Agreement of Philadelphia Academic Risk

 Retention Group, LLC (the “Company”), the undersigned, being duly authorized representatives

 of all of the Members of the Company, hereby consent to the adoption of the following

 resolutions:

         RESOLVED: That, pursuant to a recommendation of the Company’s Board of
                   Managers, the Members hereby (1) approve and adopt the Plan of
                   Dissolution in the form attached hereto as Attachment A; and (2) approve
                   the dissolution and winding-up of the Company’s affairs, and accordingly
                   vote each of their Membership Interests, which together constitute 100%
                   of the Company’s Membership Interests, in favor of such dissolution and
                   winding-up; and

         FURTHER
         RESOLVED: That the Members hereby acknowledge the Company’s Board of
                   Managers’ approval of the Company’s entry into and performance of its
                   obligations under the Memorandum of Understanding Re Global
                   Settlement by and among the Company, each undersigned Member, all
                   other debtors in the jointly administered and procedurally consolidated
                   chapter 11 cases pending in the United States Bankruptcy Court for the
                   District of Delaware entitled In re: City Center Healthcare, LLC d/b/a
                   Hahnemann University Hospital, et. al., and other parties party thereto in
                   the form attached hereto as Attachment B; and

         FURTHER
         RESOLVED: That, any Officer of the Company shall each, acting alone or with any
                   other Officer of the Company, be, and they hereby are, authorized and
                   directed, for and on behalf of the Company, to execute, acknowledge, file
                   and deliver such agreements, documents, certificates, notices, amendments
                   and other instruments, and to take or cause to be taken such action, as
                   they, or any of them, may deem necessary, advisable or appropriate to
                   carry out the transactions contemplated by these resolutions and otherwise
                   accomplish the purposes and intent of these resolutions; and

         FURTHER
         RESOLVED: That any and all actions previously taken by any Officer, representative
                   or agent of the Company prior to the date hereof in furtherance, and
                   within the authority conferred by, of the foregoing resolutions be, and


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                                                                                     Exhibit 2(a)

                       such actions hereby are, ratified, confirmed and approved as the acts
                       and deeds of the Company.

         The Secretary of the Company is hereby directed to file this instrument with the minutes
 of the proceedings of the Members of the Company. The actions taken hereby shall be of the
 same force and effect as if taken at a meeting of the Members of the Company, duly called and
 constituted pursuant to the laws of the State of Vermont.

         IN WITNESS WHEREOF, the undersigned Members have hereunto set their hands as of

 the ___ day of _______, 2022.


 PHILADELPHIA ACADEMIC MEDICAL                       PHILADELPHIA ACADEMIC HEALTH
 ASSOCIATES, LLC                                     SYSTEM, LLC



 ____________________________________                ___________________________________
 A Duly Authorized Representative                    A Duly Authorized Representative



 PHILADELPHIA ACADEMIC HEALTH
 HOLDINGS, LLC



 ____________________________________
 A Duly Authorized Representative




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                                  Attachment A

                                Plan of Dissolution

                                   [see attached]




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                                                       Exhibit to Exhibit 2(a) Plan of Dissolution



                                    PLAN OF DISSOLUTION

                                                  of

              PHILADELPHIA ACADEMIC RISK RETENTION GROUP, LLC

             Approved by Consent Action of the Board of Managers and the Members
                                     [______] ___, 2022

 1.      Philadelphia Academic Risk Retention Group, LLC (the “Company”) shall be liquidated,
         dissolved and terminated pursuant to 11 V.S.A. §§4101-4109, with the termination
         effective as of the filing of Articles of Termination with the Vermont Secretary of State.

 2.      The Company has novated and been released in writing from all of its insurance liabilities,
         both known and unknown pursuant to the Assignment, Assumption and Novation
         Agreement dated as of March 31, 2022 by and among the Company, as assignor,
         Accredited Surety and Casualty Company, Inc., as assignee, and Philadelphia Academic
         Health System, LLC, as the first named insured.

 3.      The Company is a party to a Memorandum of Understanding Re Global Settlement among
         the Company, each of its Members, all other debtors in the jointly administered and
         procedurally consolidated chapter 11 cases pending in the United States Bankruptcy Court
         for the District of Delaware entitled In re: City Center Healthcare, LLC d/b/a Hahnemann
         University Hospital, et. al., and other parties party thereto (the “Global Settlement
         Agreement”).

 4.      Following the novation and release described in Paragraph 2 above and the Global
         Settlement Agreement described in Paragraph 3 above becoming effective pursuant to the
         terms thereof, the Company has no further insurance liabilities, and all of its claims and
         disputes have been settled or arranged to be paid as contemplated in Section 2 of the Global
         Settlement Agreement.

 5.      The Company is not involved in any litigation except for any litigation that has been
         released pursuant to the Global Settlement Agreement.

 6.      The Company does not owe any unpaid wages to its employees.

 7.      To the extent authorized by the Captive Division of the Vermont Department of Financial
         Regulation (“DFR”), on the MOU Implementation Date of the Global Settlement
         Agreement, the Company will make liquidating distributions to Philadelphia Academic
         Health Holdings, LLC (“PAHH”), Philadelphia Academic Health System, LLC
         (“PAHS”), and Philadelphia Academic Medical Associates, LLC (“PAMA”) in a manner
         and amount as prescribed by Section 2 of the Global Settlement Agreement.

 8.      Pursuant to the terms of the Global Settlement Agreement, upon the MOU Implementation
         Date of the Global Settlement Agreement, after the liquidating distributions described in


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                                                       Exhibit to Exhibit 2(a) Plan of Dissolution


         Paragraph 7 above have been made, (a) PAHH shall voluntarily dissociate and withdraw
         as a Member of the Company, thereby relinquishing its rights to participate as a Member
         of the Company and terminating its membership interest in the Company; and (b) Joel
         Freedman and Kyle Schmidt shall resign from any board, officer or other positions held
         with the Company and the remaining Members of the Company (i.e. PAHS and PAMA)
         shall appoint replacement board members and officers acceptable to DFR and the Official
         Committee of Unsecured Creditors appointed by the Bankruptcy Court in In re: City Center
         Healthcare, LLC d/b/a Hahnemann University Hospital, et. al.

 9.      Pursuant to the terms of the Global Settlement Agreement, after the MOU Implementation
         Date of the Global Settlement Agreement, the Company shall proceed to dissolve and
         liquidate, as expeditiously as reasonable, for the sole purpose of winding up and paying all
         final liabilities of the Company, all in accordance with the terms of Section 2 of the Global
         Settlement Agreement; and at such time as all final liabilities of the Company have been
         paid, the Company shall promptly file articles of termination with the Vermont Secretary
         of State terminating the legal existence of the dissolved Company as of the date of filing,
         and deliver to each of PAHH, PAHS and PAMA a proper accounting made by the
         Company’s accountants of the Company’s assets, liabilities and results of operations
         through the date of termination.


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                                                                      Exhibit 2(a)

                                  Attachment B

                           Memorandum of Understanding

                                   [see attached]
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                                        Exhibit 2(b)
                    Unanimous Manager Consent re RRG Plan of Dissolution




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                                                                                     Exhibit 2(b)


             UNANIMOUS WRITTEN CONSENT OF THE BOARD OF MANAGERS

                                                 of

               PHILADELPHIA ACADEMIC RISK RETENTION GROUP, LLC


         Pursuant to Section 2.8 of the Operating Agreement of Philadelphia Academic Risk

 Retention Group, LLC, a Vermont limited liability company (the “Company”), the undersigned,

 being all of the members of the Board of Managers of the Company (the “Board”), hereby

 consent to the adoption of the following resolutions:


         RESOLVED:             That the following agreements (collectively, the “Novation
                               Documents”) and the actions of each of the Company’s Officers,
                               Managers, representatives and agents in negotiating, entering into,
                               executing and delivering each of the Novation Documents are
                               hereby approved and ratified as of the date of their execution:

                                       (1) Assignment, Assumption and Novation Agreement
                                       dated as of March 31, 2022 by and among the Company,
                                       Accredited Surety and Casualty Company, Inc. (“ASC”)
                                       and Philadelphia Academic Health System, LLC (“PAHS”)
                                       attached hereto as Attachment A;

                                       (2) Assignment and Assumption of Claims Service
                                       Agreement dated as of March 31, 2022 by and between the
                                       Company and ASC attached hereto as Attachment B; and

                                       (3) Side Letter Agreement dated March 31, 2022 by and
                                       between the Company and ASC attached hereto as
                                       Attachment C.
         FURTHER
         RESOLVED:             That the Officers of the Company be, and each acting alone is,
                               hereby authorized, empowered and directed, for and on behalf of
                               the Company, to take or cause to be taken any and all such further
                               action as they deem necessary, advisable or appropriate to effect,
                               carry out, perform and comply with the Company’s obligations
                               under the Novation Documents and consummate the transactions
                               contemplated therein, including, but not limited to, payment of the
                               consideration due ASC per the terms of the Assignment,
                               Assumption and Novation Agreement and acknowledgement,
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                                                                                Exhibit 2(b)

                         filing, amendment and delivery of all papers, agreements,
                         documents, instruments and certificates.

         FURTHER
         RESOLVED:       That the Board has concluded that it is in the best interests of the
                         Company to seek its voluntary dissolution, and in pursuance
                         thereof hereby (1) approves the Memorandum of Understanding
                         Re Global Settlement by and among the Company, PAHS,
                         Philadelphia Academic Medical Associates, LLC (“PAMA”), all
                         other debtors in the jointly administered and procedurally
                         consolidated chapter 11 cases pending in the United States
                         Bankruptcy Court for the District of Delaware entitled In re: City
                         Center Healthcare, LLC d/b/a Hahnemann University Hospital, et.
                         al., Philadelphia Academic Health Holdings, LLC (“PAHH” and
                         together with PAHS and PAMA, the “Members”) and other
                         parties party thereto (the “Global Settlement Agreement”) in the
                         form attached hereto as Attachment D; and (2) approves and
                         adopts the Plan of Dissolution (the “Plan”) in the form attached
                         hereto as Attachment E, including liquidating distributions
                         described therein; and

         FURTHER
         RESOLVED:       That the Board hereby recommends the dissolution and liquidation
                         of the Company in accordance with the Global Settlement
                         Agreement and Plan to the Members of the Company; and

         FURTHER
         RESOLVED:       That, subject to approval of the Plan by the Members, the Board
                         hereby authorizes the Officers of the Company, or any of them, to
                         obtain approval to dissolve the Company from the Captive
                         Division of the Vermont Department of Financial Regulation, to
                         execute, carry out and perform the Company’s obligations under
                         the Global Settlement Agreement and to take actions in conformity
                         with the Global Settlement Agreement, to finalize the Plan, to
                         prepare and file Articles of Termination with the Vermont
                         Secretary of State, to execute any related documents or
                         instruments, and to take such further action as such Officers, or
                         any of them, deem necessary, advisable or appropriate to complete
                         the winding-up of the Company’s affairs in accordance with the
                         Plan as soon as possible; and


         FURTHER
         RESOLVED:       That, any Officer of the Company shall each, acting alone or with
                         any other Officer of the Company, be, and they hereby are,
                         authorized and directed, for and on behalf of the Company, to
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                                                                                      Exhibit 2(b)

                               execute, acknowledge, file and deliver such agreements,
                               documents, certificates, notices, amendments and other
                               instruments, and to take or cause to be taken such action, as they,
                               or any of them, may deem necessary, advisable or appropriate to
                               carry out the transactions contemplated by these resolutions and
                               otherwise accomplish the purposes and intent of these resolutions;
                               and

         FURTHER
         RESOLVED:             That the Minutes of the December 8, 2021 Meeting of the
                               Company’s Board of Managers is hereby approved in the form
                               attached hereto as Attachment F.


         The Secretary of the Company is hereby directed to file this instrument with the minutes
 of the proceedings of the Board of Managers of the Company. The actions taken hereby shall be
 of the same force and effect as if taken at a meeting of the Board of Managers of the Company,
 duly called and constituted pursuant to the laws of the State of Vermont.
         This Consent may be executed in two or more counterparts, each of which shall be
 deemed an original, but all of which together shall constitute one and the same instrument.
         IN WITNESS WHEREOF, the undersigned Managers have hereunto set their hands as of

 the ___ day of __________, 2022.




 ___________________________________                 ___________________________________
 Joel Freedman                                       Kyle Schmidt



 ___________________________________
 Patrick Theriault




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                 Attachments Omitted;
                Available Upon Request
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                                    Exhibit 2(c)
                    Voluntary Dissociation of Membership Interest




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                                                                          Exhibit 2(c)

             PHILADELPHIA ACADEMIC RISK RETENTION GROUP, LLC

              VOLUNTARY DISSOCIATION OF MEMBERSHIP INTEREST


       Pursuant to the Memorandum of Understanding Re Global Settlement by and
 among the Members of Philadelphia Academic Risk Retention Group, LLC (the
 “Company”), and other parties party thereto (the “MOU”), Philadelphia Academic Health
 Holdings, LLC does hereby voluntarily dissociate and withdraw as a Member from the
 Company, effective as of the MOU Implementation Date, as that term is defined in the
 MOU.

 Dated: ____, 2022


 PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC



 Duly Authorized Agent




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                                  Exhibit 2(d)
                                  Resignations




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                                                                                   Exhibit 2(d)


 TO:          The Board of Managers of Philadelphia Academic Risk Retention Group, LLC
              (“PARRG”)

 FROM:         Joel Freedman

 DATE:         _________ __, 2022



 Ladies and Gentlemen:

         Pursuant to Section 2 of the Memorandum of Understanding Re Global Settlement
 Among, Inter Alia, Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties,
 HSRE Entities and CONA Parties (the “Agreement”), I hereby submit my resignation as
 Manager, Chief Executive Officer and President of PARRG, effective as of the MOU
 Implementation Date (as defined in the Agreement), immediately following the voluntary
 dissociation and withdrawal of Philadelphia Academic Health Holdings, LLC as a Member of
 PARRG.

         .

 Sincerely,


 _______________________
 Joel Freedman
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                                                                                  Exhibit 2(d)


 TO:           The Board of Managers of Philadelphia Academic Risk Retention Group, LLC
               (“PARRG”)

 FROM:         Kyle Schmidt

 DATE:         ________ __, 2022



 Ladies and Gentlemen:

        Pursuant to Section 2 of the Memorandum of Understanding Re Global Settlement
 Among, Inter Alia, Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties,
 HSRE Entities and CONA Parties (the “Agreement”), I hereby submit my resignation as
 Manager and Treasurer of PARRG, effective as of the MOU Implementation Date (as defined in
 the Agreement), immediately following the voluntary dissociation and withdrawal of
 Philadelphia Academic Health Holdings, LLC as a Member of PARRG.

 Sincerely,


 _______________________
 Kyle Schmidt
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         Case 19-11466-MFW
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                                   Exhibit 2(e)
          Unanimous Written Consent of Members re Manager Replacement
     Unanimous Written Consent of Board of Managers re Officer Replacement




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                                                                                     Exhibit 2(e)

             UNANIMOUS WRITTEN CONSENT OF THE BOARD OF MANAGERS

                                                 of

               PHILADELPHIA ACADEMIC RISK RETENTION GROUP, LLC


         Pursuant to Section 2.8 of the Operating Agreement of Philadelphia Academic Risk

 Retention Group, LLC, a Vermont limited liability company (the “Company”), the undersigned,

 being all of the members of the Board of Managers of the Company (the “Board”), hereby

 consent to the adoption of the following resolutions:


         RESOLVED:             That, effective upon the MOU Implementation Date of the
                               Memorandum of Understanding Re Global Settlement by and
                               among the Company, its Members, all other debtors in the jointly
                               administered and procedurally consolidated chapter 11 cases
                               pending in the United States Bankruptcy Court for the District of
                               Delaware entitled In re: City Center Healthcare, LLC d/b/a
                               Hahnemann University Hospital, et. al., Philadelphia Academic
                               Health Holdings, LLC (“PAHH”) and other parties party thereto
                               (the “Agreement”), and immediately after PAHH’s voluntary
                               dissociation and withdrawal as a Member of the Company
                               pursuant to the Agreement, the resignation of Joel Freedman as the
                               Chief Executive Officer and President of the Company and the
                               resignation of Kyle Schmidt as Treasurer of the Company are both
                               hereby accepted in the forms attached hereto; and

         FURTHER
         RESOLVED:             That, effective upon the MOU Implementation Date of the
                               Agreement, and immediately upon the resignation of Joel
                               Freedman, Allen D. Wilen is hereby appointed as the Chief
                               Executive Officer and President of the Company, to serve for the
                               remainder of his term and until a successor is duly elected and
                               qualified; and

         FURTHER
         RESOLVED:             That, effective upon the MOU Implementation Date of the
                               Agreement, and immediately upon the resignation of Kyle
                               Schmidt, John DiNome is hereby appointed as the Treasurer of the
                               Company, to serve for the remainder of his term and until a
                               successor is duly elected and qualified; and

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                                                                                      Exhibit 2(e)

         FURTHER
         RESOLVED:             That the Company’s Officers and agents are hereby authorized and
                               directed to take any and all actions deemed necessary or desirable
                               to effectuate the foregoing resolutions.

         The Secretary of the Company is hereby directed to file this instrument with the minutes

 of the proceedings of the Board of Managers of the Company. The actions taken hereby shall be

 of the same force and effect as if taken at a meeting of the Board of Managers of the Company,

 duly called and constituted pursuant to the laws of the State of Vermont.

         This Consent may be executed in two or more counterparts, each of which shall be

 deemed an original, but all of which together shall constitute one and the same instrument.

         IN WITNESS WHEREOF, the undersigned Managers have hereunto set their hands as of

 the ___ day of __________, 2022.




 ___________________________________                 ___________________________________
 Allen D. Wilen                                      John Dinome



 ___________________________________
 Patrick Theriault




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                                                                      Exhibit 2(e)

                                 ATTACHMENTS

                   Resignations of Joel Freedman and Kyle Schmidt

                                   [see attached]
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                                                                                   Exhibit 2(e)

                  UNANIMOUS WRITTEN CONSENT OF THE MEMBERS

                                              of

                PHILADELPHIA ACADEMIC RISK RETENTION GROUP, LLC

         Pursuant to Section 2.8 of the Operating Agreement of Philadelphia Academic Risk

 Retention Group, LLC (the “Company”), the undersigned, being duly authorized representatives

 of all of the Members of the Company, hereby consent to the adoption of the following

 resolutions:

         RESOLVED:           That, effective upon the MOU Implementation Date of the
                             Memorandum of Understanding Re Global Settlement by and
                             among the Company, each undersigned Member, all other debtors
                             in the jointly administered and procedurally consolidated chapter
                             11 cases pending in the United States Bankruptcy Court for the
                             District of Delaware entitled In re: City Center Healthcare, LLC
                             d/b/a Hahnemann University Hospital, et. al., Philadelphia
                             Academic Health Holdings, LLC (“PAHH”) and other parties
                             party thereto (the “Agreement”), and immediately after PAHH’s
                             voluntary dissociation and withdrawal as a Member of the
                             Company pursuant to the Agreement, the attached resignations of
                             Joel Freedman and Kyle Schmidt as Managers of the Company are
                             both hereby accepted; and

         FURTHER
         RESOLVED:           That, effective upon the MOU Implementation Date of the
                             Agreement, and immediately upon the resignation of Joel
                             Freedman, Allen D. Wilen is hereby appointed as a Manager of the
                             Company, to serve for the remainder of his term and until a
                             successor is duly elected and qualified; and

         FURTHER
         RESOLVED:           That, effective upon the MOU Implementation Date of the
                             Agreement, and immediately upon the resignation of Kyle
                             Schmidt, John DiNome is hereby appointed as a Manager of the
                             Company, to serve for the remainder of his term and until a
                             successor is duly elected and qualified; and

         FURTHER
         RESOLVED:           That the Company’s Officers and agents are hereby authorized and
                             directed to take any and all actions deemed necessary or desirable
                             to effectuate the foregoing resolutions.



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                                                                                     Exhibit 2(e)

         The Secretary of the Company is hereby directed to file this instrument with the minutes

 of the proceedings of the Members of the Company. The actions taken hereby shall be of the

 same force and effect as if taken at a meeting of the Members of the Company, duly called and

 constituted pursuant to the laws of the State of Vermont.

         IN WITNESS WHEREOF, the undersigned Members have hereunto set their hands as of

 the ___ day of _________, 2022.


 PHILADELPHIA ACADEMIC MEDICAL                       PHILADELPHIA ACADEMIC HEALTH
 ASSOCIATES, LLC                                     SYSTEM, LLC



 ____________________________________                ___________________________________
 A Duly Authorized Representative                    A Duly Authorized Representative




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                                                                      Exhibit 2(e)

                                 ATTACHMENTS

                   Resignations of Joel Freedman and Kyle Schmidt

                                   [see attached]
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                                  Exhibit 2(f)
                  Declaration re Recovery for Personal Injuries
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                                                                                          Exhibit 2(f)


                        AFFIDAVIT OF NON-INVOLVEMENT OF
                      AMERICAN ACADEMIC HEALTH SYSTEM, LLC

          I, ___________, duly sworn according to law, hereby depose and say that:

          1.     I am the ____________ of American Academic Health System, LLC (“AAHS”),

 and I am authorized to take this Affidavit on behalf of AAHS.

          2.     AAHS was formerly a parent company of Philadelphia Academic Health

 Holdings, LLC (“PAHH”), and AAHS’s assets were assigned for the benefit of AAHS’s

 creditors on ________.

          3.     PAHH, as the purchasers’ representative, and certain of its affiliates entered into,

 and consummated the purchase (the “Transaction”) of certain assets of Tenet Business Services

 Corporation and certain of its affiliates (collectively, “Tenet”), including Hahnemann University

 Hospital, at 11:59 p.m. on January 11, 2018 pursuant to the asset sale agreement with Tenet (the

 “Agreement”).

          4.     Based on my review of the books and records of AAHS, AAHS was never a party

 to the Agreement or a purchaser of any of the assets acquired in the Transaction, and AAHS did

 not provide any medical care to any person.



                                                       _________________________________


 Sworn to and subscribed

 before me this  day
 of
 _____________________
 Notary Public




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                                                                                         Exhibit 2(f)


                          AFFIDAVIT OF NON-INVOLVEMENT OF
                          PALADIN HEALTHCARE CAPITAL, LLC

          I, Joel Freedman, duly sworn according to law, hereby depose and say that:

          1.     I am the Chief Executive Officer of Paladin Healthcare Capital, LLC (“Paladin”),

 and I am authorized to take this Affidavit on behalf of Paladin.

          2.     On February 15, 2017, Paladin entered into a Non-Binding Letter of Intent (the

 “Letter of Intent”) to purchase certain assets of Tenet Business Services Corporation and certain

 of its affiliates (“Tenet”), including but not limited to Hahnemann University Hospital and St.

 Christopher’s Hospital for Children (the “Transaction”).

          3.     Prior to entering into an asset sale agreement contemplated in the Letter of Intent,

 Paladin designated Philadelphia Academic Health Holdings, LLC (“PAHH”) and other affiliates

 of PAHH (or their respective designees) as the parties to enter into an asset sale agreement and

 other definitive purchase documents contemplated in the Letter of Intent.

          4.     PAHH, as the purchasers’ representative, and certain of its affiliates entered into,

 and consummated the Transaction on January 11, 2018 pursuant to, the asset sale agreement with

 Tenet (the “Agreement”).

          5.     Paladin was never a party to the Agreement or a purchaser of any of the assets

 acquired in the Transaction.

          6.     Paladin has no ownership interest in PAHH, any of the assets acquired in the

 Transaction or any of the purchasers party to the Agreement.

                                                       _________________________________
                                                       Joel Freedman
 Sworn to and subscribed
 before me this     day
 of              .
 _____________________
 Notary Public




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                               Exhibit 3(a)(iii)
                     Original Documents to be released by
               Third PartyEscrow Agent for Recordation / Filing
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                                                                                Exhibit 3(a)(iii)


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 Parcel #772025002; #772028498; #881038202




                                  RELEASE OF MORTGAGE

                THIS RELEASE OF MORTGAGE (the "Release") is made as of __________,
 2022, and effective as of __________, 2022, by PALADIN HEALTHCARE CAPITAL, LLC,
 a Delaware limited liability company, as Agent (the "Mortgagee"), having an address at 21143
 Hawthorne Boulevard, #505, Torrance, CA 90503, in favor of BROAD STREET
 HEALTHCARE PROPERTIES, LLC, a Delaware limited liability company (the
 "Mortgagor"), having an address at 21143 Hawthorne Boulevard, #505, Torrance, CA 90503.

                                       WITNESSETH

               A.     On October 27, 2021, Mortgagor executed and delivered a certain Open-
 End Mortgage and Security Agreement, effective as of October 28, 2021 (the "Mortgage"), in
 favor of Mortgagee. The Mortgage was recorded on November 2, 2021 in the Office of the
 Recorder of Deeds of Philadelphia County, Pennsylvania, in Document Id# 53899056.

                B.     Pursuant to the terms of the Mortgage, Mortgagor granted Mortgagee a
 lien upon certain premises located in Philadelphia County, Pennsylvania, as more particularly
 described in Exhibit A (the "Mortgaged Premises"). The Mortgage secures certain obligations of
 Mortgagor (the "Obligations"), including the payment of an indebtedness in the original
 principal amount of Three Million Dollars ($3,000,000.00), with interest, as more particularly
 described in the Mortgage.




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                NOW, THEREFORE, Mortgagee, for and consideration of the sum of Ten
 Dollars ($10.00) paid by Mortgagor at the time of the execution of this Release and other good
 and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, has
 granted, released, quit-claimed, remised, exonerated, discharged and set over, and by these
 presents does grant, release, quit-claim, remise, exonerate, discharge and set over the Mortgaged
 Premises unto Mortgagor, its successors and assigns.

                 TO HAVE AND TO HOLD the Mortgaged Premises, with the appurtenances,
 unto Mortgagor, its successors and assigns, forever freed, exonerated and discharged of and from
 the lien of the Mortgage, and every part thereof.

                 AND THE MORTGAGEE also releases, discharges and terminates its lien and
 security interest in all other property covered by the Mortgage, including, without limitation, all
 machinery, equipment and other personal property located on or used in connection with the
 operation of the Mortgaged Premises, and all leases, rents, issues and profits of the Mortgaged
 Premises.




                                      [Signatures page follows]




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        IN WITNESS WHEREOF, Mortgagee has executed this Release of Mortgage as of the
 day and year first above written.

                                                  MORTGAGEE:

                                                  PALADIN HEALTHCARE CAPITAL, LLC,
                                                  a Delaware limited liability company, as Agent


                                                  By: ______________________________
                                                  Name: ____________________________
                                                  Title: _____________________________



 COMMONWEALTH OF PENNSYLVANIA                            :
                                                         :       SS
 COUNTY OF ________________________                      :

                 On this ______ day of ___________________, 2022, before me a Notary Public
 in and for the Commonwealth of Pennsylvania, the undersigned officer, personally appeared
 _________________________, who acknowledged him/herself to be the
 ________________________ of ______________________, a Delaware limited liability
 company, and that he/she as such officer, being authorized to do so, executed the foregoing
 instrument for the purposes therein contained by signing the name of the company by him/herself
 as such officer.

                     In Witness Whereof, I hereunto set my hand and official seal.

                                                  ___________________________________[SEAL]
                                                  Notary Public

                                                  My Commission Expires:

                                                  _________________________________________




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                                          EXHIBIT A
                            Legal Description of Mortgaged Premises

 Parcel A:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF VINE STREET (ON CITY
 PLAN, LEGALLY OPEN, VARIABLE WIDTH) WHERE IT INTERSECTS WITH THE
 WESTERLY SIDE OF BROAD STREET (ON CITY PLAN, LEGALLY OPEN, 113' WIDE)
 AND RUNNING:

 1)           THENCE: ALONG SAID WESTERLY SIDE OF BROAD STREET, S11°21'00"W, A
              DISTANCE OF 257.406' TO A POINT COMMON TO PARCEL C;

 2)           THENCE: ALONG PARCEL C, N78°59'00"W, A DISTANCE OF 121.833' TO A
              POINT;

 3)           THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 94.348'
              TO A POINT;

 4)           THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 32.915'
              TO A POINT;

 5)           THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 42.110'
              TO A POINT;

 6)           THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 46.670'
              TO A POINT;

 7)           THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 1.740' TO
              A POINT COMMON TO THE EASTERLY LINE OF PARCEL B;

 8)           THENCE: ALONG THE NORTHERLY LINE OF PARCEL B, N78°39'00"W, A
              DISTANCE OF 20.198' TO A POINT;

 9)           THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 122.199'
              TO A POINT ON THE SOUTHERLY SIDE OF VINE STREET;

 10)          THENCE: ALONG THE SOUTHERLY SIDE OF VINE STREET, S78°59'00"E, A
              DISTANCE OF 27.619' TO A POINT;




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 11)          THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 0.094' TO
              A POINT;

 12)          THENCE: CONTINUING ALONG THE SOUTHERLY SIDE OF VINE STREET,
              S78°59'00"E, A DISTANCE OF 194.00' TO THE POINT AND PLACE OF
              BEGINNING.

              PARCEL A BEING known and assessed as 222-48 North Broad Street

              BEING OPA Parcel No. 77-2-0250-02

 Parcel A Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB,
 LLC dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the
 County of Philadelphia as Document No.   53316755.

 AND

 Parcel F:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE EASTERLY SIDE OF NORTH 15TH STREET, (ON
 CITY PLAN, LEGALLY OPEN, 70' WIDE), SAID POINT BEING LOCATED N 11°21'00" E,
 A DISTANCE OF 167.831' FROM THE INTERSECTION OF SAID EASTERLY SIDE OF
 NORTH 15TH STREET AND THE NORTHERLY SIDE OF RACE STREET, (ON CITY
 PLAN, LEGALLY OPEN, 50' WIDE) AND RUNNING;

              1)     THENCE ALONG SAID EASTERLY SIDE OF NORTH 15TH STREET,
                     LOCATED N 11°21'00" E, A DISTANCE OF 32.841' TO A POINT;

              2)     THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
                     THE SOUTHERLY LINE OF PARCEL B, S78°59'00"E, A DISTANCE OF
                     65.000' TO A POINT COMMON CORNER TO PARCEL E;

              3)     THENCE: ALONG THE PARCEL E, S11°21'00"W, A DISTANCE OF 14.659'
                     TO A POINT;




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              4)     THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
                     25.578' TO A POINT;

              5)     THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
                     13.296' TO A POINT;

              6)     THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
                     8.528' TO A POINT;

              7)     THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
                     4.886' TO A POINT;

              8)     THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
                     30.894' TO THE POINT AND PLACE OF BEGINNING.

 PARCEL F BEING known and assessed as 221-23 N. 15th Street.

 BEING OPA Parcel No. 77-2-0284-98.

 Parcel F Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB,
 LLC dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the
 County of Philadelphia as Document No. 53316755.

 AND

 Lot 3 —HUH North:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — EXISTING CONDITIONS/ PROPOSED
 SUBDIVISION PLAN" BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF WOOD STREET (40' WIDE)
 WHERE IT INTERSECTS WITH THE EASTERLY SIDE OF 15th STREET (72' WIDE) AND
 RUNNING:

 1)           THENCE: ALONG SAID SOUTHERLY SIDE OF WOOD STREET, S78°59'00"E, A
              DISTANCE OF 197.920' TO A POINT COMMON TO LOT 2;

 2)           THENCE: ALONG THE WESTERLY LINE OF LOT 2, S11°21'00"W, A DISTANCE
              OF 54.327' TO A POINT;



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 3)           THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 33.740'
              TO A POINT;

 4)           THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 29.468'
              TO A POINT;

 5)           THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 6.460' TO
              A POINT;

 6)           THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 22.779'
              TO A POINT COMMON TO THE NORTHERLY LINE OF LOT 1;

 7)           THENCE: ALONG THE NORTHERLY LINE OF LOT 1, N78°59'00"W, A
              DISTANCE OF 31.720' TO A POINT;

 8)           THENCE: N11°21'00"E, A DISTANCE OF 20.325' TO A POINT ON THE
              NORTHERLY SIDE OF PEARL STREET (18' WIDE);

 9)           THENCE: ALONG THE SAID NORTHERLY SIDE OF PEARL STREET,
              N78°59'00"W, A DISTANCE OF 126.000' TO A POINT ON THE SAID EASTERLY
              SIDE OF 15th STREET;

 10)          THENCE: ALONG THE SAID EASTERLY SIDE OF 15th STREET, N11°21'00"E, A
              DISTANCE OF 86.250' TO THE FIRST MENTIONED POINT OF BEGINNING.

 EXCEPTING THEREOUT AND THEREFROM:

 ALL THAT CERTAIN lot or piece of ground lying above a horizontal plane 36.50 feet above
 Philadelphia City Datum, said elevation being the top of the structural floor slab at the first floor
 level.

 BEGINNING at the point of intersection of the Southerly side of Wood Street (40 feet wide)
 with the Easterly side of 15th Street (72 feet wide); thence from said point of beginning
 extending the following four courses and distances:

 Along the said side of Wood Street South 78 degrees 59 minutes 00 seconds East 197 feet, 9
       inches to a point;

 South 11 degrees 21 minutes 00 seconds West 54 feet, 3-1/2 inches to a point;

 North 78 degrees 59 minutes 00 seconds West approximately along the Southerly face of a 16
        story building 197 feet, 9 inches to a point on the Easterly side of 15th Street;

 Along the said side of 15th Street North 11 degrees 21 minutes 00 seconds East 54 feet, 3-1/2
        inches to the first mentioned point and place of beginning.



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 AND limited to all vertical area within the confines of the above horizontal boundaries up to an
 elevation of 205 feet above Philadelphia City Datum.

 LOT 3 — HUH NORTH BEING known and assessed as 325 N. 15th St.

 BEING OPA Parcel No. 88-1-0382-02.

 Lot 3 —HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated 12/30/2017
 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County of Philadelphia as
 Document No. 53316753.




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 Parcel #772025002; #772028498; #881038202




                                  RELEASE OF MORTGAGE

                THIS RELEASE OF MORTGAGE (the "Release") is made as of __________,
 2022, and effective as of __________, 2022, by PALADIN HEALTHCARE CAPITAL, LLC,
 a Delaware limited liability company, as Agent (the "Mortgagee"), having an address at 21143
 Hawthorne Boulevard, #505, Torrance, CA 90503, in favor of BROAD STREET
 HEALTHCARE PROPERTIES, LLC, a Delaware limited liability company (the
 "Mortgagor"), having an address at 21143 Hawthorne Boulevard, #505, Torrance, CA 90503.

                                       WITNESSETH

                A.      On January 7, 2020, Mortgagor executed and delivered a certain Open-
 End Mortgage and Security Agreement, effective as of January 8, 2020, to Joel Freedman,
 recorded on January 14, 2020 in Document Id# 53618447, which Joel Freedman assigned to
 Paladin Healthcare Capital, LLC on October 27, 2021, effective as of October 28, 2021, recorded
 on November 2, 2021 in Document Id# 53899050. On October 27, 2021, Mortgagor executed
 and delivered a certain Amended and Restated Open-End Mortgage and Security Agreement (the
 "Mortgage"), effective as of October 28, 2021, in favor of Mortgagee. The Mortgage was
 recorded on November 2, 2021 in the Office of the Recorder of Deeds of Philadelphia County,
 Pennsylvania, in Document Id# 53899053.

                B.      Pursuant to the terms of the Mortgage, Mortgagor granted Mortgagee a
 lien upon certain premises located in Philadelphia County, Pennsylvania, as more particularly
 described in Exhibit A (the "Mortgaged Premises"). The Mortgage secures certain obligations of
 Mortgagor (the "Obligations"), including the payment of an indebtedness in the original
 principal amount of Two Million Five Hundred Thousand Dollars ($2,500,000.00), with interest,
 as more particularly described in the Mortgage.




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                NOW, THEREFORE, Mortgagee, for and consideration of the sum of Ten
 Dollars ($10.00) paid by Mortgagor at the time of the execution of this Release and other good
 and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, has
 granted, released, quit-claimed, remised, exonerated, discharged and set over, and by these
 presents does grant, release, quit-claim, remise, exonerate, discharge and set over the Mortgaged
 Premises unto Mortgagor, its successors and assigns.

                 TO HAVE AND TO HOLD the Mortgaged Premises, with the appurtenances,
 unto Mortgagor, its successors and assigns, forever freed, exonerated and discharged of and from
 the lien of the Mortgage, and every part thereof.

                 AND THE MORTGAGEE also releases, discharges and terminates its lien and
 security interest in all other property covered by the Mortgage, including, without limitation, all
 machinery, equipment and other personal property located on or used in connection with the
 operation of the Mortgaged Premises, and all leases, rents, issues and profits of the Mortgaged
 Premises.


                                      [Signatures page follows]




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                                                                                Exhibit 3(a)(iii)


        IN WITNESS WHEREOF, Mortgagee has executed this Release of Mortgage as of the
 day and year first above written.

                                            MORTGAGEE:

                                            PALADIN HEALTHCARE CAPITAL, LLC,
                                            a Delaware limited liability company, as Agent


                                            By: ______________________________
                                            Name: ____________________________
                                            Title: _____________________________



 COMMONWEALTH OF PENNSYLVANIA                       :
                                                    :      SS
 COUNTY OF ________________________                 :

                 On this ______ day of ___________________, 2022, before me a Notary Public
 in and for the Commonwealth of Pennsylvania, the undersigned officer, personally appeared
 _________________________, who acknowledged him/herself to be the
 ________________________ of ______________________, a Delaware limited liability
 company, and that he/she as such officer, being authorized to do so, executed the foregoing
 instrument for the purposes therein contained by signing the name of the company by him/herself
 as such officer.

               In Witness Whereof, I hereunto set my hand and official seal.

                                            ___________________________________[SEAL]
                                            Notary Public

                                            My Commission Expires:

                                            _________________________________________




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                                          EXHIBIT A
                            Legal Description of Mortgaged Premises

 Parcel A:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF VINE STREET (ON CITY PLAN,
 LEGALLY OPEN, VARIABLE WIDTH) WHERE IT INTERSECTS WITH THE WESTERLY
 SIDE OF BROAD STREET (ON CITY PLAN, LEGALLY OPEN, 113' WIDE) AND
 RUNNING:

 1)           THENCE: ALONG SAID WESTERLY SIDE OF BROAD STREET, S11°21'00"W, A
              DISTANCE OF 257.406' TO A POINT COMMON TO PARCEL C;

 2)           THENCE: ALONG PARCEL C, N78°59'00"W, A DISTANCE OF 121.833' TO A
              POINT;

 3)           THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 94.348' TO
              A POINT;

 4)           THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 32.915' TO
              A POINT;

 5)           THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 42.110' TO
              A POINT;

 6)           THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 46.670' TO
              A POINT;

 7)           THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 1.740' TO
              A POINT COMMON TO THE EASTERLY LINE OF PARCEL B;

 8)           THENCE: ALONG THE NORTHERLY LINE OF PARCEL B, N78°39'00"W, A
              DISTANCE OF 20.198' TO A POINT;

 9)           THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 122.199' TO
              A POINT ON THE SOUTHERLY SIDE OF VINE STREET;

 10)          THENCE: ALONG THE SOUTHERLY SIDE OF VINE STREET, S78°59'00"E, A
              DISTANCE OF 27.619' TO A POINT;



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 11)          THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 0.094' TO
              A POINT;

 12)          THENCE: CONTINUING ALONG THE SOUTHERLY SIDE OF VINE STREET,
              S78°59'00"E, A DISTANCE OF 194.00' TO THE POINT AND PLACE OF BEGINNING.

              PARCEL A BEING known and assessed as 222-48 North Broad Street

              BEING OPA Parcel No. 77-2-0250-02

 Parcel A Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC
 dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County
 of Philadelphia as Document No.     53316755.

 AND

 Parcel F:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE EASTERLY SIDE OF NORTH 15TH STREET, (ON CITY
 PLAN, LEGALLY OPEN, 70' WIDE), SAID POINT BEING LOCATED N 11°21'00" E, A
 DISTANCE OF 167.831' FROM THE INTERSECTION OF SAID EASTERLY SIDE OF
 NORTH 15TH STREET AND THE NORTHERLY SIDE OF RACE STREET, (ON CITY PLAN,
 LEGALLY OPEN, 50' WIDE) AND RUNNING;

              1)    THENCE ALONG SAID EASTERLY SIDE OF NORTH 15TH STREET,
                    LOCATED N 11°21'00" E, A DISTANCE OF 32.841' TO A POINT;

              2)    THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
                    THE SOUTHERLY LINE OF PARCEL B, S78°59'00"E, A DISTANCE OF
                    65.000' TO A POINT COMMON CORNER TO PARCEL E;

              3)    THENCE: ALONG THE PARCEL E, S11°21'00"W, A DISTANCE OF 14.659'
                    TO A POINT;

              4)    THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
                    25.578' TO A POINT;


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              5)   THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
                   13.296' TO A POINT;

              6)   THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
                   8.528' TO A POINT;

              7)   THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
                   4.886' TO A POINT;

              8)   THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
                   30.894' TO THE POINT AND PLACE OF BEGINNING.

 PARCEL F BEING known and assessed as 221-23 N. 15th Street.

 BEING OPA Parcel No. 77-2-0284-98.

 Parcel F Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC
 dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County
 of Philadelphia as Document No. 53316755.

 AND

 Lot 3 —HUH North:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — EXISTING CONDITIONS/ PROPOSED
 SUBDIVISION PLAN" BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF WOOD STREET (40' WIDE)
 WHERE IT INTERSECTS WITH THE EASTERLY SIDE OF 15th STREET (72' WIDE) AND
 RUNNING:

 1)           THENCE: ALONG SAID SOUTHERLY SIDE OF WOOD STREET, S78°59'00"E, A
              DISTANCE OF 197.920' TO A POINT COMMON TO LOT 2;

 2)           THENCE: ALONG THE WESTERLY LINE OF LOT 2, S11°21'00"W, A DISTANCE
              OF 54.327' TO A POINT;




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 3)           THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 33.740' TO
              A POINT;

 4)           THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 29.468' TO
              A POINT;

 5)           THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 6.460' TO
              A POINT;

 6)           THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 22.779' TO
              A POINT COMMON TO THE NORTHERLY LINE OF LOT 1;

 7)           THENCE: ALONG THE NORTHERLY LINE OF LOT 1, N78°59'00"W, A DISTANCE
              OF 31.720' TO A POINT;

 8)           THENCE: N11°21'00"E, A DISTANCE OF 20.325' TO A POINT ON THE
              NORTHERLY SIDE OF PEARL STREET (18' WIDE);

 9)           THENCE: ALONG THE SAID NORTHERLY SIDE OF PEARL STREET,
              N78°59'00"W, A DISTANCE OF 126.000' TO A POINT ON THE SAID EASTERLY
              SIDE OF 15th STREET;

 10)          THENCE: ALONG THE SAID EASTERLY SIDE OF 15th STREET, N11°21'00"E, A
              DISTANCE OF 86.250' TO THE FIRST MENTIONED POINT OF BEGINNING.

 EXCEPTING THEREOUT AND THEREFROM:

 ALL THAT CERTAIN lot or piece of ground lying above a horizontal plane 36.50 feet above
 Philadelphia City Datum, said elevation being the top of the structural floor slab at the first floor
 level.

 BEGINNING at the point of intersection of the Southerly side of Wood Street (40 feet wide) with
 the Easterly side of 15th Street (72 feet wide); thence from said point of beginning extending the
 following four courses and distances:

 Along the said side of Wood Street South 78 degrees 59 minutes 00 seconds East 197 feet, 9 inches
        to a point;

 South 11 degrees 21 minutes 00 seconds West 54 feet, 3-1/2 inches to a point;

 North 78 degrees 59 minutes 00 seconds West approximately along the Southerly face of a 16
        story building 197 feet, 9 inches to a point on the Easterly side of 15th Street;

 Along the said side of 15th Street North 11 degrees 21 minutes 00 seconds East 54 feet, 3-1/2
        inches to the first mentioned point and place of beginning.




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 AND limited to all vertical area within the confines of the above horizontal boundaries up to an
 elevation of 205 feet above Philadelphia City Datum.

 LOT 3 — HUH NORTH BEING known and assessed as 325 N. 15th St.

 BEING OPA Parcel No. 88-1-0382-02.

 Lot 3 —HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated 12/30/2017
 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County of Philadelphia as
 Document No. 53316753.




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                                                                                Exhibit 3(a)(iii)


 Prepared By:

 Martin J. Doyle, Esq.
 Saul Ewing Arnstein & Lehr LLP
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102


 Return To:

 Martin J. Doyle, Esq.
 Saul Ewing Arnstein & Lehr LLP
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102

 Parcel #885620242




                                  RELEASE OF MORTGAGE

                THIS RELEASE OF MORTGAGE (the "Release") is made as of __________,
 2022, and effective as of __________, 2022 by PALADIN HEALTHCARE CAPITAL, LLC,
 a Delaware limited liability company, as Agent (the "Mortgagee"), having an address at 21143
 Hawthorne Boulevard, #505, Torrance, CA 90503, in favor of BROAD STREET
 HEALTHCARE PROPERTIES II, LLC, a Delaware limited liability company (the
 "Mortgagor"), having an address at 21143 Hawthorne Boulevard, #505, Torrance, CA 90503.

                                     WITNESSETH

               A.     On October 27, 2021, Mortgagor executed and delivered a certain Open-
 End Mortgage and Security Agreement, effective as of October 28, 2021 (the "Mortgage"), in
 favor of Mortgagee. The Mortgage was recorded on November 2, 2021 in the Office of the
 Recorder of Deeds of Philadelphia County, Pennsylvania, in Document Id# 53899057.

                B.     Pursuant to the terms of the Mortgage, Mortgagor granted Mortgagee a
 lien upon certain premises located in Philadelphia County, Pennsylvania, as more particularly
 described in Exhibit A (the "Mortgaged Premises"). The Mortgage secures certain obligations of
 Mortgagor (the "Obligations"), including the payment of an indebtedness in the original
 principal amount of Three Million Dollars ($3,000,000.00), with interest, as more particularly
 described in the Mortgage.




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                NOW, THEREFORE, Mortgagee, for and consideration of the sum of Ten
 Dollars ($10.00) paid by Mortgagor at the time of the execution of this Release and other good
 and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, has
 granted, released, quit-claimed, remised, exonerated, discharged and set over, and by these
 presents does grant, release, quit-claim, remise, exonerate, discharge and set over the Mortgaged
 Premises unto Mortgagor, its successors and assigns.

                 TO HAVE AND TO HOLD the Mortgaged Premises, with the appurtenances,
 unto Mortgagor, its successors and assigns, forever freed, exonerated and discharged of and from
 the lien of the Mortgage, and every part thereof.

                 AND THE MORTGAGEE also releases, discharges and terminates its lien and
 security interest in all other property covered by the Mortgage, including, without limitation, all
 machinery, equipment and other personal property located on or used in connection with the
 operation of the Mortgaged Premises, and all leases, rents, issues and profits of the Mortgaged
 Premises.




                                      [Signatures page follows]




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        IN WITNESS WHEREOF, Mortgagee has executed this Release of Mortgage as of the
 day and year first above written.

                                                  MORTGAGEE:

                                                  PALADIN HEALTHCARE CAPITAL, LLC,
                                                  a Delaware limited liability company, as Agent


                                                  By: ______________________________
                                                  Name: ____________________________
                                                  Title: _____________________________



 COMMONWEALTH OF PENNSYLVANIA                            :
                                                         :       SS
 COUNTY OF ________________________                      :

                 On this ______ day of ___________________, 2022, before me a Notary Public
 in and for the Commonwealth of Pennsylvania, the undersigned officer, personally appeared
 _________________________, who acknowledged him/herself to be the
 ________________________ of ______________________, a Delaware limited liability
 company, and that he/she as such officer, being authorized to do so, executed the foregoing
 instrument for the purposes therein contained by signing the name of the company by him/herself
 as such officer.

                     In Witness Whereof, I hereunto set my hand and official seal.

                                                  ___________________________________[SEAL]
                                                  Notary Public

                                                  My Commission Expires:

                                                  _________________________________________




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                                        EXHIBIT A
                          Legal Description of Mortgaged Premises

 Lot 1 – HUH North Fee Parcel:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – EXISTING CONDITIONS / PROPOSED
 SUBDIVISION PLAN” BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE NORTHERLY SIDE OF VINE STREET (VARIABLE
 WIDTH) WHERE IT INTERSECTS WITH THE WESTERLY SIDE OF BROAD STREET
 (113’ WIDE) AND RUNNING:

 1)    THENCE: ALONG SAID NORTHERLY SIDE OF VINE STREET, N78°59'00”W, A
 DISTANCE OF 269.667’ TO A POINT;
 2)    THENCE: N11°21'00”E, A DISTANCE OF 122.675’ TO A POINT COMMON TO LOT
 3;
 3)    THENCE: ALONG THE SOUTHERLY LINE OF LOT 3 AND LOT 2, S78°59'00”E, A
 DISTANCE OF 269.667’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD
 STREET;
 4)    THENCE: ALONG THE SAID WESTERLY SIDE OF BROAD STREET,
 S11°21'00”W, A DISTANCE OF 122.675’ TO THE FIRST MENTIONED POINT OF
 BEGINNING.

 LOT 1 - HUH NORTH BEING assessed and known as 300-04 N. Broad Street

 BEING OPA Parcel No. 88-5-6202-42

 Lot 1 – HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated December 30,
 2017 made effective January 11, 2018 and recorded January 18, 2018 in the Office of the
 Recorder of Deeds for the County of Philadelphia as Document No. 53316753.




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                                                                                Exhibit 3(a)(iii)


 Prepared By:

 Martin J. Doyle, Esq.
 Saul Ewing Arnstein & Lehr LLP
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102


 Return To:

 Martin J. Doyle, Esq.
 Saul Ewing Arnstein & Lehr LLP
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102

 Parcel #885620242




                                  RELEASE OF MORTGAGE

                THIS RELEASE OF MORTGAGE (the "Release") is made as of __________,
 2022, and effective as of __________, 2022, by PALADIN HEALTHCARE CAPITAL, LLC,
 a Delaware limited liability company, as Agent (the "Mortgagee"), having an address at 21143
 Hawthorne Boulevard, #505, Torrance, CA 90503, in favor of BROAD STREET
 HEALTHCARE PROPERTIES II, LLC, a Delaware limited liability company (the
 "Mortgagor"), having an address at 21143 Hawthorne Boulevard, #505, Torrance, CA 90503.

                                     WITNESSETH

                A.      On January 7, 2020, Mortgagor executed and delivered a certain Open-
 End Mortgage and Security Agreement, effective as of January 8, 2020, to Joel Freedman,
 recorded on January 14, 2020 in Document Id# 53618448, which Joel Freedman assigned to
 Paladin Healthcare Capital, LLC on October 27, 2021, effective as of October 28, 2021, recorded
 on November 2, 2021 in Document Id# 53899051. On October 27, 2021, Mortgagor executed
 and delivered a certain Amended and Restated Open-End Mortgage and Security Agreement (the
 "Mortgage"), effective as of October 28, 2021, in favor of Mortgagee. The Mortgage was
 recorded on November 2, 2021 in the Office of the Recorder of Deeds of Philadelphia County,
 Pennsylvania, in Document Id# 53899054.

                B.      Pursuant to the terms of the Mortgage, Mortgagor granted Mortgagee a
 lien upon certain premises located in Philadelphia County, Pennsylvania, as more particularly
 described in Exhibit A (the "Mortgaged Premises"). The Mortgage secures certain obligations of
 Mortgagor (the "Obligations"), including the payment of an indebtedness in the original
 principal amount of Two Million Five Hundred Thousand Dollars ($2,500,000.00), with interest,
 as more particularly described in the Mortgage.




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                NOW, THEREFORE, Mortgagee, for and consideration of the sum of Ten
 Dollars ($10.00) paid by Mortgagor at the time of the execution of this Release and other good
 and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, has
 granted, released, quit-claimed, remised, exonerated, discharged and set over, and by these
 presents does grant, release, quit-claim, remise, exonerate, discharge and set over the Mortgaged
 Premises unto Mortgagor, its successors and assigns.

                 TO HAVE AND TO HOLD the Mortgaged Premises, with the appurtenances,
 unto Mortgagor, its successors and assigns, forever freed, exonerated and discharged of and from
 the lien of the Mortgage, and every part thereof.

                 AND THE MORTGAGEE also releases, discharges and terminates its lien and
 security interest in all other property covered by the Mortgage, including, without limitation, all
 machinery, equipment and other personal property located on or used in connection with the
 operation of the Mortgaged Premises, and all leases, rents, issues and profits of the Mortgaged
 Premises.




                                      [Signatures page follows]




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        IN WITNESS WHEREOF, Mortgagee has executed this Release of Mortgage as of the
 day and year first above written.

                                                  MORTGAGEE:

                                                  PALADIN HEALTHCARE CAPITAL, LLC,
                                                  a Delaware limited liability company, as Agent


                                                  By: ______________________________
                                                  Name: ____________________________
                                                  Title: _____________________________



 COMMONWEALTH OF PENNSYLVANIA                            :
                                                         :       SS
 COUNTY OF ________________________                      :

                 On this ______ day of ___________________, 2022, before me a Notary Public
 in and for the Commonwealth of Pennsylvania, the undersigned officer, personally appeared
 _________________________, who acknowledged him/herself to be the
 ________________________ of ______________________, a Delaware limited liability
 company, and that he/she as such officer, being authorized to do so, executed the foregoing
 instrument for the purposes therein contained by signing the name of the company by him/herself
 as such officer.

                     In Witness Whereof, I hereunto set my hand and official seal.

                                                  ___________________________________[SEAL]
                                                  Notary Public

                                                  My Commission Expires:

                                                  _________________________________________




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                                        EXHIBIT A
                          Legal Description of Mortgaged Premises

 Lot 1 – HUH North Fee Parcel:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – EXISTING CONDITIONS / PROPOSED
 SUBDIVISION PLAN” BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE NORTHERLY SIDE OF VINE STREET (VARIABLE
 WIDTH) WHERE IT INTERSECTS WITH THE WESTERLY SIDE OF BROAD STREET
 (113’ WIDE) AND RUNNING:

 1)    THENCE: ALONG SAID NORTHERLY SIDE OF VINE STREET, N78°59'00”W, A
 DISTANCE OF 269.667’ TO A POINT;
 2)    THENCE: N11°21'00”E, A DISTANCE OF 122.675’ TO A POINT COMMON TO LOT
 3;
 3)    THENCE: ALONG THE SOUTHERLY LINE OF LOT 3 AND LOT 2, S78°59'00”E, A
 DISTANCE OF 269.667’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD
 STREET;
 4)    THENCE: ALONG THE SAID WESTERLY SIDE OF BROAD STREET,
 S11°21'00”W, A DISTANCE OF 122.675’ TO THE FIRST MENTIONED POINT OF
 BEGINNING.

 LOT 1 - HUH NORTH BEING assessed and known as 300-04 N. Broad Street

 BEING OPA Parcel No. 88-5-6202-42

 Lot 1 – HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated December 30,
 2017 made effective January 11, 2018 and recorded January 18, 2018 in the Office of the
 Recorder of Deeds for the County of Philadelphia as Document No. 53316753.




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                                                                                Exhibit 3(a)(iii)


 Prepared By:

 Martin J. Doyle, Esq.
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 1500 Market Street, 38th Floor
 Philadelphia, PA 19102


 Return To:

 Martin J. Doyle, Esq.
 Saul Ewing Arnstein & Lehr LLP
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102

 Parcel #885467862; #772028496




                                  RELEASE OF MORTGAGE

                THIS RELEASE OF MORTGAGE (the "Release") is made as of __________,
 2022, and effective as of __________, 2022, by PALADIN HEALTHCARE CAPITAL, LLC,
 a Delaware limited liability company, as Agent (the "Mortgagee"), having an address at 21143
 Hawthorne Boulevard, #505, Torrance, CA 90503, in favor of BROAD STREET
 HEALTHCARE PROPERTIES III, LLC, a Delaware limited liability company (the
 "Mortgagor"), having an address at 21143 Hawthorne Boulevard, #505, Torrance, CA 90503.

                                     WITNESSETH

               A.     On October 27, 2021, Mortgagor executed and delivered a certain Open-
 End Mortgage and Security Agreement, effective as of October 28, 2021 (the "Mortgage"), in
 favor of Mortgagee. The Mortgage was recorded on November 2, 2021 in the Office of the
 Recorder of Deeds of Philadelphia County, Pennsylvania, in Document Id# 53899058.

                B.     Pursuant to the terms of the Mortgage, Mortgagor granted Mortgagee a
 lien upon certain premises located in Philadelphia County, Pennsylvania, as more particularly
 described in Exhibit A (the "Mortgaged Premises"). The Mortgage secures certain obligations of
 Mortgagor (the "Obligations"), including the payment of an indebtedness in the original
 principal amount of Three Million Dollars ($3,000,000.00), with interest, as more particularly
 described in the Mortgage.




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                                                                                     Exhibit 3(a)(iii)



                NOW, THEREFORE, Mortgagee, for and consideration of the sum of Ten
 Dollars ($10.00) paid by Mortgagor at the time of the execution of this Release and other good
 and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, has
 granted, released, quit-claimed, remised, exonerated, discharged and set over, and by these
 presents does grant, release, quit-claim, remise, exonerate, discharge and set over the Mortgaged
 Premises unto Mortgagor, its successors and assigns.

                 TO HAVE AND TO HOLD the Mortgaged Premises, with the appurtenances,
 unto Mortgagor, its successors and assigns, forever freed, exonerated and discharged of and from
 the lien of the Mortgage, and every part thereof.

                 AND THE MORTGAGEE also releases, discharges and terminates its lien and
 security interest in all other property covered by the Mortgage, including, without limitation, all
 machinery, equipment and other personal property located on or used in connection with the
 operation of the Mortgaged Premises, and all leases, rents, issues and profits of the Mortgaged
 Premises.




                                      [Signatures page follows]




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                                                                                     Exhibit 3(a)(iii)


        IN WITNESS WHEREOF, Mortgagee has executed this Release of Mortgage as of the
 day and year first above written.

                                                  MORTGAGEE:

                                                  PALADIN HEALTHCARE CAPITAL, LLC,
                                                  a Delaware limited liability company, as Agent


                                                  By: ______________________________
                                                  Name: ____________________________
                                                  Title: _____________________________



 COMMONWEALTH OF PENNSYLVANIA                            :
                                                         :       SS
 COUNTY OF ________________________                      :

                 On this ______ day of ___________________, 2022, before me a Notary Public
 in and for the Commonwealth of Pennsylvania, the undersigned officer, personally appeared
 _________________________, who acknowledged him/herself to be the
 ________________________ of ______________________, a Delaware limited liability
 company, and that he/she as such officer, being authorized to do so, executed the foregoing
 instrument for the purposes therein contained by signing the name of the company by him/herself
 as such officer.

                     In Witness Whereof, I hereunto set my hand and official seal.

                                                  ___________________________________[SEAL]
                                                  Notary Public

                                                  My Commission Expires:

                                                  _________________________________________




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                                                                       Exhibit 3(a)(iii)


                                           EXHIBIT A
                             Legal Description of Mortgaged Premises

 Parcel D:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT OF INTERSECTION OF THE WESTERLY SIDE OF BROAD
 STREET (ON CITY PLAN, LEGALLY OPEN, 113’ WIDE) AND THE NORTHERLY SIDE
 OF RACE STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND RUNNING:

              1)     THENCE: ALONG SAID NORTHERLY SIDE OF RACE STREET,
                     N78°59'00”W, A DISTANCE OF 190.025’ TO A POINT, COMMON CORNER
                     TO PARCEL E;
              2)     THENCE: ALONG THE EASTERLY LINE OF PARCEL E, N11°21'00”E, A
                     DISTANCE OF 94.333’ TO A POINT;
              3)     THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                     19.967’ TO A POINT;
              4)     THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                     15.667’ TO A POINT;
              5)     THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF
                     9.942’ TO A POINT;
              6)     THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                     31.333’ TO A POINT;
              7)     THENCE: CONTINUING ALONG PARCEL E, S78°59'00”E, A DISTANCE
                     OF 20.000’ TO A POINT, COMMON CORNER TO THE SOUTHERLY LINE
                     OF PARCEL C;
              8)     THENCE: ALONG THE SOUTHERLY LINE OF PARCEL C, S11°21'00”W, A
                     DISTANCE OF 2.000’ TO A POINT;
              9)     THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                     61.122’ TO A POINT;
              10)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                     8.646’ TO A POINT;
              11)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                     7.382’ TO A POINT;
              12)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                     7.952’ TO A POINT;
              13)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                     91.495’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD STREET;
              14)    THENCE: ALONG THE WESTERLY SIDE OF BROAD STREET,
                     S11°21'00”W, A DISTANCE OF 155.932’ TO THE POINT AND PLACE OF
                     BEGINNING.



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                                                                                Exhibit 3(a)(iii)



 BEING known and assessed as 200-14 N. Broad St.

 BEING OPA Parcel No. 88-5-4678-62


 Parcel D Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017
 made effective January 11, 2018, and recorded January 18, 2018 in the Office of the Recorder of
 Deeds for the County of Philadelphia as Document No. 53316755.

 Parcel E:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:
 BEGINNING AT A POINT AT THE INTERSECTION OF THE NORTHERLY SIDE OF
 RACE STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND THE EASTERLY
 SIDE OF 15TH STREET (ON CITY PLAN, LEGALLY OPEN, 70’ WIDE) AND RUNNING:

 1)           THENCE: ALONG THE EASTERLY SIDE OF 15th STREET, N11°21'00”E, A
              DISTANCE OF 167.831’ TO A POINT, COMMON CORNER TO PARCEL F;
 2)           THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
              PARCEL F, S78°59'00”E, A DISTANCE OF 30.894’ TO A POINT;
 3)           THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 4.886’ TO
              A POINT;
 4)           THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 8.528’ TO
              A POINT;
 5)           THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 13.296’
              TO A POINT;
 6)           THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 25.578’
              TO A POINT;
 7)           THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 14.659’
              TO A POINT COMMON TO PARCEL B;
 8)           THENCE: ALONG PARCEL B, S78°59'00”E, A DISTANCE OF 58.582’ TO A POINT;
 9)           THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 21.842’
              TO A POINT;
 10)          THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 62.210’
              TO A POINT;
 11)          THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 21.000’
              TO A POINT COMMON CORNER TO PARCEL C;


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 12)          THENCE: ALONG PARCEL C, S78°59'00”E, A DISTANCE OF 9.708’ TO A POINT;
 13)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 42.833’
              TO A POINT;
 14)          THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 29.832’
              TO A POINT;
 15)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 16.035’
              TO A POINT, COMMON TO PARCEL D;
 16)          THENCE: ALONG PARCEL D, N78°59'00”W, A DISTANCE OF 9.333’ TO A
              POINT;
 17)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 31.333’
              TO A POINT;
 18)          THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 9.942’ TO
              A POINT;
 19)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 15.667’
              TO A POINT;
 20)          THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF 19.967’
              TO A POINT;
 21)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 94.333’
              TO A POINT ON THE SAID NORTHERLY SIDE OF RACE STREET;
 22)          THENCE: ALONG THE NORTHERLY SIDE OF RACE STREET, N 78°59’00” W, A
              DISTANCE OF 205.975’ TO THE POINT AND PLACE OF BEGINNING.

 BEING known and assessed as 201-19 N. 15th St.

 BEING OPA Parcel No. 77-2-0284-96

 Parcel E Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017,
 made effective January 11, 2018 and recorded January 18, 2018 in the Office of the Recorder of
 Deeds for the County of Philadelphia as Document No. 53316755.




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                                                                                Exhibit 3(a)(iii)


 Prepared By:

 Martin J. Doyle, Esq.
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 1500 Market Street, 38th Floor
 Philadelphia, PA 19102


 Return To:

 Martin J. Doyle, Esq.
 Saul Ewing Arnstein & Lehr LLP
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102

 Parcel #885467862; #772028496




                                  RELEASE OF MORTGAGE

                THIS RELEASE OF MORTGAGE (the "Release") is made as of __________,
 2022, and effective as of __________, 2022, by PALADIN HEALTHCARE CAPITAL, LLC,
 a Delaware limited liability company, as Agent (the "Mortgagee"), having an address at 21143
 Hawthorne Boulevard, #505, Torrance, CA 90503, in favor of BROAD STREET
 HEALTHCARE PROPERTIES III, LLC, a Delaware limited liability company (the
 "Mortgagor"), having an address at 21143 Hawthorne Boulevard, #505, Torrance, CA 90503.

                                     WITNESSETH

                A.      On January 7, 2020, Mortgagor executed and delivered a certain Open-
 End Mortgage and Security Agreement, effective as of January 8, 2020, to Joel Freedman,
 recorded on January 14, 2020 in Document Id# 53618449, which Joel Freedman assigned to
 Paladin Healthcare Capital, LLC on October 27, 2021, effective as of October 28, 2021, recorded
 on November 2, 2021 in Document Id# 53899052. On October 27, 2021, Mortgagor executed
 and delivered a certain Amended and Restated Open-End Mortgage and Security Agreement (the
 "Mortgage"), effective as of October 28, 2021, in favor of Mortgagee. The Mortgage was
 recorded on November 2, 2021 in the Office of the Recorder of Deeds of Philadelphia County,
 Pennsylvania, in Document Id# 53899055.

                B.      Pursuant to the terms of the Mortgage, Mortgagor granted Mortgagee a
 lien upon certain premises located in Philadelphia County, Pennsylvania, as more particularly
 described in Exhibit A (the "Mortgaged Premises"). The Mortgage secures certain obligations of
 Mortgagor (the "Obligations"), including the payment of an indebtedness in the original
 principal amount of Two Million Five Hundred Thousand Dollars ($2,500,000.00), with interest,
 as more particularly described in the Mortgage.




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                                                                                     Exhibit 3(a)(iii)



                NOW, THEREFORE, Mortgagee, for and consideration of the sum of Ten
 Dollars ($10.00) paid by Mortgagor at the time of the execution of this Release and other good
 and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, has
 granted, released, quit-claimed, remised, exonerated, discharged and set over, and by these
 presents does grant, release, quit-claim, remise, exonerate, discharge and set over the Mortgaged
 Premises unto Mortgagor, its successors and assigns.

                 TO HAVE AND TO HOLD the Mortgaged Premises, with the appurtenances,
 unto Mortgagor, its successors and assigns, forever freed, exonerated and discharged of and from
 the lien of the Mortgage, and every part thereof.

                 AND THE MORTGAGEE also releases, discharges and terminates its lien and
 security interest in all other property covered by the Mortgage, including, without limitation, all
 machinery, equipment and other personal property located on or used in connection with the
 operation of the Mortgaged Premises, and all leases, rents, issues and profits of the Mortgaged
 Premises.




                                      [Signatures page follows]




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                                                                                     Exhibit 3(a)(iii)


        IN WITNESS WHEREOF, Mortgagee has executed this Release of Mortgage as of the
 day and year first above written.

                                                  MORTGAGEE:

                                                  PALADIN HEALTHCARE CAPITAL, LLC,
                                                  a Delaware limited liability company, as Agent


                                                  By: ______________________________
                                                  Name: ____________________________
                                                  Title: _____________________________



 COMMONWEALTH OF PENNSYLVANIA                            :
                                                         :       SS
 COUNTY OF ________________________                      :

                 On this ______ day of ___________________, 2022, before me a Notary Public
 in and for the Commonwealth of Pennsylvania, the undersigned officer, personally appeared
 _________________________, who acknowledged him/herself to be the
 ________________________ of ______________________, a Delaware limited liability
 company, and that he/she as such officer, being authorized to do so, executed the foregoing
 instrument for the purposes therein contained by signing the name of the company by him/herself
 as such officer.

                     In Witness Whereof, I hereunto set my hand and official seal.

                                                  ___________________________________[SEAL]
                                                  Notary Public

                                                  My Commission Expires:

                                                  _________________________________________




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                                                                       Exhibit 3(a)(iii)


                                           EXHIBIT A
                             Legal Description of Mortgaged Premises

 Parcel D:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT OF INTERSECTION OF THE WESTERLY SIDE OF BROAD
 STREET (ON CITY PLAN, LEGALLY OPEN, 113’ WIDE) AND THE NORTHERLY SIDE
 OF RACE STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND RUNNING:

              1)     THENCE: ALONG SAID NORTHERLY SIDE OF RACE STREET,
                     N78°59'00”W, A DISTANCE OF 190.025’ TO A POINT, COMMON CORNER
                     TO PARCEL E;
              2)     THENCE: ALONG THE EASTERLY LINE OF PARCEL E, N11°21'00”E, A
                     DISTANCE OF 94.333’ TO A POINT;
              3)     THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                     19.967’ TO A POINT;
              4)     THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                     15.667’ TO A POINT;
              5)     THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF
                     9.942’ TO A POINT;
              6)     THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                     31.333’ TO A POINT;
              7)     THENCE: CONTINUING ALONG PARCEL E, S78°59'00”E, A DISTANCE
                     OF 20.000’ TO A POINT, COMMON CORNER TO THE SOUTHERLY LINE
                     OF PARCEL C;
              8)     THENCE: ALONG THE SOUTHERLY LINE OF PARCEL C, S11°21'00”W, A
                     DISTANCE OF 2.000’ TO A POINT;
              9)     THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                     61.122’ TO A POINT;
              10)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                     8.646’ TO A POINT;
              11)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                     7.382’ TO A POINT;
              12)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                     7.952’ TO A POINT;
              13)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                     91.495’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD STREET;
              14)    THENCE: ALONG THE WESTERLY SIDE OF BROAD STREET,
                     S11°21'00”W, A DISTANCE OF 155.932’ TO THE POINT AND PLACE OF
                     BEGINNING.



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                                                                                Exhibit 3(a)(iii)



 BEING known and assessed as 200-14 N. Broad St.

 BEING OPA Parcel No. 88-5-4678-62


 Parcel D Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017
 made effective January 11, 2018, and recorded January 18, 2018 in the Office of the Recorder of
 Deeds for the County of Philadelphia as Document No. 53316755.

 Parcel E:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:
 BEGINNING AT A POINT AT THE INTERSECTION OF THE NORTHERLY SIDE OF
 RACE STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND THE EASTERLY
 SIDE OF 15TH STREET (ON CITY PLAN, LEGALLY OPEN, 70’ WIDE) AND RUNNING:

 1)           THENCE: ALONG THE EASTERLY SIDE OF 15th STREET, N11°21'00”E, A
              DISTANCE OF 167.831’ TO A POINT, COMMON CORNER TO PARCEL F;
 2)           THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
              PARCEL F, S78°59'00”E, A DISTANCE OF 30.894’ TO A POINT;
 3)           THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 4.886’ TO
              A POINT;
 4)           THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 8.528’ TO
              A POINT;
 5)           THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 13.296’
              TO A POINT;
 6)           THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 25.578’
              TO A POINT;
 7)           THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 14.659’
              TO A POINT COMMON TO PARCEL B;
 8)           THENCE: ALONG PARCEL B, S78°59'00”E, A DISTANCE OF 58.582’ TO A POINT;
 9)           THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 21.842’
              TO A POINT;
 10)          THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 62.210’
              TO A POINT;
 11)          THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 21.000’
              TO A POINT COMMON CORNER TO PARCEL C;



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 12)          THENCE: ALONG PARCEL C, S78°59'00”E, A DISTANCE OF 9.708’ TO A POINT;
 13)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 42.833’
              TO A POINT;
 14)          THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 29.832’
              TO A POINT;
 15)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 16.035’
              TO A POINT, COMMON TO PARCEL D;
 16)          THENCE: ALONG PARCEL D, N78°59'00”W, A DISTANCE OF 9.333’ TO A
              POINT;
 17)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 31.333’
              TO A POINT;
 18)          THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 9.942’ TO
              A POINT;
 19)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 15.667’
              TO A POINT;
 20)          THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF 19.967’
              TO A POINT;
 21)          THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 94.333’
              TO A POINT ON THE SAID NORTHERLY SIDE OF RACE STREET;
 22)          THENCE: ALONG THE NORTHERLY SIDE OF RACE STREET, N 78°59’00” W, A
              DISTANCE OF 205.975’ TO THE POINT AND PLACE OF BEGINNING.

 BEING known and assessed as 201-19 N. 15th St.

 BEING OPA Parcel No. 77-2-0284-96

 Parcel E Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017,
 made effective January 11, 2018 and recorded January 18, 2018 in the Office of the Recorder of
 Deeds for the County of Philadelphia as Document No. 53316755.




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                               Exhibit 3(a)(v)
                    Assumption and Assignment Agreement
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                          ASSIGNMENT AND ASSUMPTION AGREEMENT
            Reference is made to that certain Memorandum of Understanding Re Global Settlement dated
 [____], 2022 (the “Global Settlement Agreement”) among Broad Street Healthcare Properties, LLC
 (“Broad I”), Broad Street Healthcare Properties II, LLC (“Broad II”), Broad Street Healthcare Properties
 III, LLC (“Broad III” and individually and collectively with Broad I and Broad II, “Assignor” ),
 Philadelphia Academic Health Holdings, LLC (“Assignee”), Front Street Healthcare Properties, LLC
 (“Front I”), and other parties party thereto, and this Assignment and Assumption Agreement (this
 “Agreement”) is being entered into pursuant to the Global Settlement Agreement. Capitalized terms used
 in this Agreement without definition shall have the meanings assigned to them in the Global Settlement
 Agreement.
             1. On the MOU Implementation Date, (a) all of Assignor’s obligations under the Broad Street
 Notes are being repaid and satisfied in full as described in, in accordance with, and pursuant to the Global
 Settlement Agreement, (b) all of Assignor’s obligations under the Subordinated Demand and Secured
 Promissory Note made by Assignor in favor of Front I dated as of February 12, 2020 in the original principal
 amount of $10,000,000, as modified to $15,000,000, shall be deemed satisfied, discharged, released and
 extinguished (the “Front Street Note”), (c) all of Assignor’s obligations under the Global Intercompany
 Note dated as of May 29, 2019 among Assignor and other entities party hereto (the “Global Note”) and (d)
 any other obligation of any Assignor to any of the other MBNF Parties or their Representatives (all such
 other obligations collectively, the “Remaining Intercompany Obligations”), shall be deemed satisfied,
 discharged, released and extinguished. Nevertheless, to the extent any of Assignor’s obligations under the
 Broad Street Notes, the Front Street Note or the Global Note or any of the Remaining Intercompany
 Obligations remain outstanding, unsatisfied, undischarged or unreleased after the MOU Implementation
 Date, all of such obligations (collectively, “Assumed Obligations”) shall, as of the MOU Implementation
 Date, be deemed to be transferred, delegated and assigned by Assignor to Assignee without recourse to
 Assignor, absolutely and unconditionally, and Assignee hereby irrevocably accepts and assumes from
 Assignor without recourse to Assignor, absolutely and unconditionally, as its direct and primary obligation,
 all of the Assumed Obligations. From and after the MOU Implementation Date, (x) Assignee agrees to
 perform and discharge all of the Assumed Obligations and (y) Assignor shall relinquish its rights, if any,
 with respect to the Assumed Obligations and be released from the Assumed Obligations.
             2. Each of Assignor, Assignee, the Broad Street Lenders, Front I and the other parties hereto
 represents and warrants that it has the right to execute this Agreement, and this Agreement constitutes the
 legally valid and binding obligation of such party, enforceable against such party in accordance with its
 terms.
             3. Each of Assignor, Assignee, the Broad Street Lenders, Front I and the other parties hereto
 hereby acknowledges and agrees that after giving effect to this Agreement, (i) the Assumed Obligations
 shall be debt as to which Assignor (a) provides no credit support of any kind, or (b) is not directly or
 indirectly liable as a guarantor or otherwise.
              4.   The effective date of this Agreement shall be the MOU Implementation Date.
             5. All of the terms and provisions of this Agreement will apply to, be binding in all respects
 upon and inure to the benefit of the parties hereto and their respective permitted successors and assigns.
 None of the provisions of this Agreement shall be varied or terminated except by written agreement of the
 parties hereto. If any provisions of this Agreement shall be held invalid or unenforceable by any court of
 competent jurisdiction, the remainder of this Agreement shall not be affected thereby and each other term,
 covenant, condition, and provision shall be valid and enforceable to the fullest extent permitted by law.
 This Agreement may be signed in any number of counterparts, each of which shall be an original, with the
 same effect as if the signatures were upon the same instrument. The headings contained in this Agreement

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 are for reference purposes only and shall not affect in any way the meaning or interpretation of this
 Agreement.
             6. This Agreement is for the sole benefit of the parties hereto and their successors and assigns,
 and nothing herein expressed or implied shall give or be construed to give to any individual, partnership,
 corporation, association, trust, limited liability company, joint venture, unincorporated organization or other
 entity, other than the parties hereto and such successors and assigns, any legal or equitable rights, remedy
 or claim hereunder.
            7. This Agreement and the rights and obligations of the parties hereto shall be governed by,
 and shall be construed and enforced in accordance with, the internal laws of the State of Delaware, without
 regard to conflicts of laws principles.


                                              [signatures follow]




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          IN WITNESS WHEREOF, the parties hereto have caused this Assignment and Assumption
 Agreement to be executed by their respective duly authorized signatories.


                                                 ASSIGNOR:
                                                 BROAD STREET HEALTHCARE
                                                 PROPERTIES, LLC


                                                 By: _______________________________
                                                 Name: Joel Freedman
                                                 Title: Chief Executive Officer and President
                                                 BROAD STREET HEALTHCARE
                                                 PROPERTIES II, LLC


                                                 By: _______________________________
                                                 Name: Joel Freedman
                                                 Title: Chief Executive Officer and President
                                                 BROAD STREET HEALTHCARE
                                                 PROPERTIES III, LLC


                                                 By: _______________________________
                                                 Name: Joel Freedman
                                                 Title: Chief Executive Officer and President


                                                 ASSIGNEE:
                                                 PHILADELPHIA ACADEMIC HEALTH
                                                 HOLDINGS, LLC


                                                 By: _______________________________
                                                 Name:
                                                 Title:




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                                 ACKNOWLEDGED AND AGREED:
                                 MBNF INVESTMENTS, LLC


                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer and President

                                 AMERICAN ACADEMIC HEALTH SYSTEM, LLC


                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer

                                 PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC


                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer and President

                                 FRONT STREET HEALTHCARE PROPERTIES, LLC


                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer and President

                                 FRONT STREET HEALTHCARE PROPERTIES II, LLC


                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer and President

                                 BROAD STREET HEALTHCARE PROPERTIES, LLC


                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer and President

                                 BROAD STREET HEALTHCARE PROPERTIES II, LLC




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                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer and President

                                 BROAD STREET HEALTHCARE PROPERTIES III, LLC


                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer and President

                                 PHILADELPHIA ACADEMIC RISK RETENTION GROUP,
                                 LLC


                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer and President




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                                 DEBTORS:

                                 CENTER CITY HEALTHCARE, LLC



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 PHILADELPHIA ACADEMIC HEALTH SYSTEM, LLC



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 ST. CHRISTOPHER’S HEALTHCARE, LLC



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 PHILADELPHIA ACADEMIC MEDICAL ASSOCIATES,
                                 LLC



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 HPS OF PA, L.L.C.



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 SCHC PEDIATRIC ASSOCIATES, L.L.C.



                                 By: ___________________________________
                                 Name:
                                 Title:



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                                 ST. CHRISTOPHER’S PEDIATRIC URGENT CARE
                                 CENTER, L.L.C.

                                 By: ___________________________________
                                 Name:
                                 Title:

                                 SCHC PEDIATRIC ANESTHESIA ASSOCIATES, L.L.C.



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 STCHRIS CARE AT NORTHEAST PEDIATRICS, L.L.C.



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 TPS OF PA, L.L.C.



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 TPS II OF PA, L.L.C.



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 TPS III OF PA, L.L.C.



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 TPS IV OF PA, L.L.C.




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                                 By: ___________________________________
                                 Name:
                                 Title:

                                 TPS V OF PA, L.L.C.



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 DEBTORS’ SUBSIDIARIES:

                                 PHYSICIANS CLINICAL NETWORK, LLC



                                 By: ___________________________________
                                 Name:
                                 Title:

                                 PHYSICIAN PERFORMANCE NETWORK OF
                                 PHILADELPHIA, L.L.C.



                                 By: ___________________________________
                                 Name:
                                 Title:




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                                 BROAD STREET LENDERS:
                                 PALADIN HEALTHCARE CAPITAL, LLC


                                 By: ___________________________________
                                 Name: Joel Freedman
                                 Title: Chief Executive Officer and President

                                 LATHAM & WATKINS, LLP


                                 By: ________________________________
                                 Name: Suzzanne Uhland
                                 Title: Partner


                                 JIGSAW ADVISORS, LLC


                                 By: ________________________________
                                 Name: William R. Brinkman
                                 Title: Principal


                                 SONSARA MANAGEMENT SERVICES, LLC


                                 By: ________________________________
                                 Name: Svetlana Attestatova
                                 Title: President




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 Prepared by:

 Saul Ewing Arnstein & Lehr LLP
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102
 Attention: Martin J. Doyle, Esq.

 Property Addresses:

 222-248 N. Broad Street
 221-223 N. 15th Street
 325 N. 15th Street
 Philadelphia, PA

 Tax Parcel Nos.:

 772025002
 772028498
 881038202

                              LIMITED POWER OF ATTORNEY

        THIS LIMITED POWER OF ATTORNEY is dated the ___ day of __________, 2022 and
is effective as of the ___ day of __________, 2022.

       NOTICE IS HEREBY GIVEN THAT BROAD STREET HEALTHCARE
PROPERTIES, LLC, a Delaware limited liability company (the "Company"), does hereby
appoint CENTER CITY HEALTHCARE, LLC, a Delaware limited liability company (the
“Agent”), as true and lawful attorney-in-fact for the Company to act for the Company in the
Company's name for the following limited purposes:

         To do and perform any act, deed, matter or thing relating to, in connection with or
         occasioned by the sale, lease, disposition, management, development, maintenance or
         operation of the property or properties listed in the heading above (collectively or
         individually, in whole or in part, the "Property"), as completely as the Company might itself
         do.

         Without limiting the generality of the foregoing, the Agent may do any of the following:

         1.     dispose of the Property or any interest therein, including, but not limited to the
                power to sell at public or private sale for cash or credit or partly for each;

         2.     exchange, mortgage, encumber or lease the Property for any period of time;

         3.     give or acquire options for sales, purchases, exchanges or leases of the Property;

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         4.    manage, repair, improve, maintain, restore, alter, build, protect or insure the
               Property;

         5.    amend, modify, terminate, administer and enforce leases of the Property;

         6.    demolish structures or develop the Property or any interest in the Property;

         7.    collect and distribute rent, sale proceeds, earnings and insurance and condemnation
               proceeds from the Property;

         8.    pay, contest, protest and compromise the Property’s real estate taxes and
               assessments;

         9.    release in whole or in part, assign the whole or a part of, satisfy in whole or in part
               and enforce any mortgage, encumbrance, lien or other claim to the Property;

         10.   grant easements, dedicate the Property, partition and subdivide the Property and file
               plans, applications or other documents in connection therewith; and

         11.   make, execute and deliver any deeds, leases, licenses, contracts, agreements,
               writings, forms, applications, documents, statements, affidavits, and instruments for
               the Property, and do and perform any act, deed, matter or thing for the Property that
               may be necessary or appropriate on such terms and conditions, and under such
               covenants, as the Agent shall deem proper in connection with the exercise of the any
               of the foregoing powers, as fully as the Company could do.

       This Limited Power of Attorney is IRREVOCABLE and coupled with an interest in and to
the Property.

       The Company hereby ratifies and confirms all that the Agent shall lawfully do or cause to
be done by virtue of this Limited Power of Attorney that is within the scope of the powers, rights
and/or privileges granted pursuant to this Limited Power of Attorney.



                                    Signature on following page.




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       IN WITNESS WHEREOF, this Limited Power of Attorney has been duly executed by
 the Company.

                                                     BROAD STREET HEALTHCARE
                                                     PROPERTIES, LLC, a Delaware limited
                                                     liability company


                                                     By:
                                                     Name: Joel Freedman
                                                     Title: Chief Executive Officer and
                                                     President

 STATE OF                      )
                               ) SS:
 COUNTY OF                   _ )

         I,                                     , a Notary Public in and for said County, in the
 State aforesaid, DO HEREBY CERTIFY, that Joel Freedman, the Chief Executive Officer and
 President of Broad Street Healthcare Properties, LLC, a Delaware limited liability company, who
 is personally known to me to be the same person whose name is subscribed to the
 foregoing instrument as such Chief Executive Officer and President, appeared before me this
 day in person and acknowledged that he signed and delivered the said instrument as his own free
 and voluntary act and as the free and voluntary act of said Chief Executive Officer and President,
 for the uses and purposes therein set forth.

             GIVEN under my hand and Notarial Seal this       day of                  , 2022.

   My Commission Expires:


                                                       Notary Public




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 ACKNOWLEDGED AND AGREED:

 CENTER CITY HEALTHCARE,
 LLC, a Delaware limited liability
 company


 By:
 Name:
 Title:

 STATE OF ______________           :
                                   : SS
 COUNTY OF ____________            :

        On this, the ____ day of ____________ 2022, before me a Notary Public in and for the
 State and County aforesaid, personally appeared __________________, who acknowledged
 himself/herself to be the ________________ of CENTER CITY HEALTHCARE, LLC, a
 Delaware limited liability company, and that as such party, being authorized to do so, he/she
 executed the foregoing instrument for the purposes therein contained by signing the name of the
 company by himself/herself as such ______________ on behalf of the company.

 IN WITNESS WHEREOF, I have hereunto set my hand and official seal.

                                                 __________________________________
                                                 Notary Public
                                                 My Commission Expires: _____________




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Prepared by:

Saul Ewing Arnstein & Lehr LLP
Centre Square West
1500 Market Street, 38th Floor
Philadelphia, PA 19102
Attention: Martin J. Doyle, Esq.

Property Addresses:

300-304 N. Broad Street
Philadelphia, PA

Tax Parcel No.:
885620242

                                LIMITED POWER OF ATTORNEY

        THIS LIMITED POWER OF ATTORNEY is dated the ___ day of __________, 2022 and
is effective as of the ___ day of __________, 2022.

       NOTICE IS HEREBY GIVEN THAT BROAD STREET HEALTHCARE
PROPERTIES II, LLC, a Delaware limited liability company (the "Company"), does hereby
appoint CENTER CITY HEALTHCARE, LLC, a Delaware limited liability company (the
“Agent”), as true and lawful attorney-in-fact for the Company to act for the Company in the
Company's name for the following limited purposes:

         To do and perform any act, deed, matter or thing relating to, in connection with or
         occasioned by the sale, lease, disposition, management, development, maintenance or
         operation of the property or properties listed in the heading above (collectively or
         individually, in whole or in part, the "Property"), as completely as the Company might itself
         do.

         Without limiting the generality of the foregoing, the Agent may do any of the following:

         1.       dispose of the Property or any interest therein, including, but not limited to the
                  power to sell at public or private sale for cash or credit or partly for each;

         2.       exchange, mortgage, encumber or lease the Property for any period of time;

         3.       give or acquire options for sales, purchases, exchanges or leases of the Property;

         4.       manage, repair, improve, maintain, restore, alter, build, protect or insure the
                  Property;

         5.       amend, modify, terminate, administer and enforce leases of the Property;


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         6.       demolish structures or develop the Property or any interest in the Property;

         7.       collect and distribute rent, sale proceeds, earnings and insurance and condemnation
                  proceeds from the Property;

         8.       pay, contest, protest and compromise the Property’s real estate taxes and
                  assessments;

         9.       release in whole or in part, assign the whole or a part of, satisfy in whole or in part
                  and enforce any mortgage, encumbrance, lien or other claim to the Property;

         10.      grant easements, dedicate the Property, partition and subdivide the Property and file
                  plans, applications or other documents in connection therewith; and

         11.      make, execute and deliver any deeds, leases, licenses, contracts, agreements,
                  writings, forms, applications, documents, statements, affidavits, and instruments for
                  the Property, and do and perform any act, deed, matter or thing for the Property that
                  may be necessary or appropriate on such terms and conditions, and under such
                  covenants, as the Agent shall deem proper in connection with the exercise of the any
                  of the foregoing powers, as fully as the Company could do.

       This Limited Power of Attorney is IRREVOCABLE and coupled with an interest in and to
the Property.

       The Company hereby ratifies and confirms all that the Agent shall lawfully do or cause to
be done by virtue of this Limited Power of Attorney that is within the scope of the powers, rights
and/or privileges granted pursuant to this Limited Power of Attorney.


                                       Signature on following page.




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                                                                                    Exhibit 3(a)(vi)



       IN WITNESS WHEREOF, this Limited Power of Attorney has been duly executed by
 the Company.

                                                   BROAD STREET HEALTHCARE
                                                   PROPERTIES II, LLC, a Delaware
                                                   limited liability company


                                                   By:
                                                   Name: Joel Freedman
                                                   Title: Chief Executive Officer and
                                                   President

 STATE OF                     )
                              ) SS:
 COUNTY OF                  _ )

         I,                                     , a Notary Public in and for said County, in the
 State aforesaid, DO HEREBY CERTIFY, that Joel Freedman, the Chief Executive Officer and
 President of Broad Street Healthcare Properties II, LLC, a Delaware limited liability company,
 who is personally known to me to be the same person whose name is subscribed to the
 foregoing instrument as such Chief Executive Officer and President, appeared before me this
 day in person and acknowledged that he signed and delivered the said instrument as his own free
 and voluntary act and as the free and voluntary act of said Chief Executive Officer and
 President, for the uses and purposes therein set forth.

            GIVEN under my hand and Notarial Seal this      day of                 , 2022.

   My Commission Expires:


                                                     Notary Public




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                                                                                  Exhibit 3(a)(vi)


 ACKNOWLEDGED AND AGREED:

 CENTER CITY HEALTHCARE,
 LLC, a Delaware limited liability
 company


 By:
 Name:
 Title:

 STATE OF ______________           :
                                   : SS
 COUNTY OF ____________            :

        On this, the ____ day of ____________ 2022, before me a Notary Public in and for the
 State and County aforesaid, personally appeared __________________, who acknowledged
 himself/herself to be the ________________ of CENTER CITY HEALTHCARE, LLC, a
 Delaware limited liability company, and that as such party, being authorized to do so, he/she
 executed the foregoing instrument for the purposes therein contained by signing the name of the
 company by himself/herself as such ______________ on behalf of the company.

 IN WITNESS WHEREOF, I have hereunto set my hand and official seal.

                                                 __________________________________
                                                 Notary Public
                                                 My Commission Expires: _____________




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                                                                                           Exhibit 3(a)(vi)



 Prepared by:

 Saul Ewing Arnstein & Lehr LLP
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102
 Attention: Martin J. Doyle, Esq.

 Property Addresses:

 200-214 N. Broad Street
 201-219 N. 15th Street (Parcel E)
 Philadelphia, PA

 Tax Parcel Nos.:
 885467862
 772028496

                                LIMITED POWER OF ATTORNEY

        THIS LIMITED POWER OF ATTORNEY is dated the ___ day of __________, 2022 and
is effective as of the ___ day of __________, 2022.

       NOTICE IS HEREBY GIVEN THAT BROAD STREET HEALTHCARE
PROPERTIES III, LLC, a Delaware limited liability company (the "Company"), does hereby
appoint CENTER CITY HEALTHCARE, LLC, a Delaware limited liability company (the
“Agent”), as true and lawful attorney-in-fact for the Company to act for the Company in the
Company's name for the following limited purposes:

         To do and perform any act, deed, matter or thing relating to, in connection with or
         occasioned by the sale, lease, disposition, management, development, maintenance or
         operation of the property or properties listed in the heading above (collectively or
         individually, in whole or in part, the "Property"), as completely as the Company might itself
         do.

         Without limiting the generality of the foregoing, the Agent may do any of the following:

         1.       dispose of the Property or any interest therein, including, but not limited to the
                  power to sell at public or private sale for cash or credit or partly for each;

         2.       exchange, mortgage, encumber or lease the Property for any period of time;

         3.       give or acquire options for sales, purchases, exchanges or leases of the Property;

         4.       manage, repair, improve, maintain, restore, alter, build, protect or insure the
                  Property;


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         5.       amend, modify, terminate, administer and enforce leases of the Property;

         6.       demolish structures or develop the Property or any interest in the Property;

         7.       collect and distribute rent, sale proceeds, earnings and insurance and condemnation
                  proceeds from the Property;

         8.       pay, contest, protest and compromise the Property’s real estate taxes and
                  assessments;

         9.       release in whole or in part, assign the whole or a part of, satisfy in whole or in part
                  and enforce any mortgage, encumbrance, lien or other claim to the Property;

         10.      grant easements, dedicate the Property, partition and subdivide the Property and file
                  plans, applications or other documents in connection therewith; and

         11.      make, execute and deliver any deeds, leases, licenses, contracts, agreements,
                  writings, forms, applications, documents, statements, affidavits, and instruments for
                  the Property, and do and perform any act, deed, matter or thing for the Property that
                  may be necessary or appropriate on such terms and conditions, and under such
                  covenants, as the Agent shall deem proper in connection with the exercise of the any
                  of the foregoing powers, as fully as the Company could do.

       This Limited Power of Attorney is IRREVOCABLE and coupled with an interest in and to
the Property.

       The Company hereby ratifies and confirms all that the Agent shall lawfully do or cause to
be done by virtue of this Limited Power of Attorney that is within the scope of the powers, rights
and/or privileges granted pursuant to this Limited Power of Attorney.


                                       Signature on following page.




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       IN WITNESS WHEREOF, this Limited Power of Attorney has been duly executed by
 the Company.

                                                     BROAD STREET HEALTHCARE
                                                     PROPERTIES III, LLC, a Delaware
                                                     limited liability company


                                                     By:
                                                     Name: Joel Freedman
                                                     Title: Chief Executive Officer and
                                                     President

 STATE OF                     )
                              ) SS:
 COUNTY OF                  _ )

         I,                                     , a Notary Public in and for said County, in the
 State aforesaid, DO HEREBY CERTIFY, that Joel Freedman, the Chief Executive Officer and
 President of Broad Street Healthcare Properties III, LLC, a Delaware limited liability company,
 who is personally known to me to be the same person whose name is subscribed to the
 foregoing instrument as such Chief Executive Officer and President, appeared before me this
 day in person and acknowledged that he signed and delivered the said instrument as his own free
 and voluntary act and as the free and voluntary act of said Chief Executive Officer and President,
 for the uses and purposes therein set forth.

            GIVEN under my hand and Notarial Seal this        day of                  , 2022.

   My Commission Expires:


                                                       Notary Public




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 ACKNOWLEDGED AND AGREED:

 CENTER CITY HEALTHCARE,
 LLC, a Delaware limited liability
 company


 By:
 Name:
 Title:

 STATE OF ______________           :
                                   : SS
 COUNTY OF ____________            :

        On this, the ____ day of ____________ 2022, before me a Notary Public in and for the
 State and County aforesaid, personally appeared __________________, who acknowledged
 himself/herself to be the ________________ of CENTER CITY HEALTHCARE, LLC, a
 Delaware limited liability company, and that as such party, being authorized to do so, he/she
 executed the foregoing instrument for the purposes therein contained by signing the name of the
 company by himself/herself as such ______________ on behalf of the company.

 IN WITNESS WHEREOF, I have hereunto set my hand and official seal.

                                                 __________________________________
                                                 Notary Public
                                                 My Commission Expires: _____________




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                             Exhibit 3(a)(viii)(A)
               Assignment, Assumption and Novation Agreement
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                  ASSIGNMENT, ASSUMPTION AND NOVATION AGREEMENT
            Reference is made to the Secured Promissory Note dated March 31, 2022 (the
 “Promissory Note”) made by Broad Street Healthcare Properties, LLC, Broad Street Healthcare
 Properties II, LLC and Broad Street Healthcare Properties III, LLC, all of which are Delaware
 limited liability companies (collectively, the “Assignor” or the “Broad Street PropCos”), and
 Philadelphia Academic Health System, LLC, a Delaware limited liability company (the “Lender”).
 Unless otherwise defined herein, terms defined in the Promissory Note and used herein shall have
 the meanings given to them in the Promissory Note.
          The Assignor, the Lender and Center City Healthcare, LLC, a Delaware limited liability
 company (the “Assignee”), are parties to that certain Memorandum of Understanding Re Global
 Settlement dated [____], 2022 (the “MOU”), and this Assignment, Assumption and Novation
 Agreement (this “Agreement”) is being entered into pursuant to the MOU.
               The Assignor, the Lender and the Assignee agree as follows:
            1. As of the MOU Implementation Date (as defined in the MOU), the Assignor hereby
 irrevocably, absolutely and unconditionally transfers, delegates and assigns, on a novation basis,
 to the Assignee, without recourse to the Assignor, all of Assignor’s rights, duties, obligations,
 responsibilities and liabilities, whether joint or several (collectively the “Assumed Obligations”),
 in and under (a) the Promissory Note and (b) each of the Open-End Mortgages and Security
 Agreements dated as of March 30, 2022 and effective as of March 31, 2022 from each of the Broad
 Street PropCos to the Lender, each as amended by that certain Mortgage Modification Agreement
 made as of [_________], 2022 1 and effective as of the Effective Date as defined therein (each, a
 “Mortgage” and collectively, the “Mortgages”). From and after the MOU Implementation Date,
 Assignee hereby irrevocably, absolutely and unconditionally assumes and agrees to perform and
 discharge all of the Assumed Obligations, and Assignee shall be substituted for Assignor in
 Assignor’s name, place and stead as the maker on and under the Promissory Note, so as to effect
 a novation of the Promissory Note and to fully release Assignor from any and all existing and
 further rights, interests, duties, obligations, responsibilities and liabilities under the Promissory
 Note.
           2. The Assignee (a) represents and warrants that it has the right to execute this
 Agreement, and this Agreement constitutes the legally valid and binding obligation of the
 Assignee, enforceable against the Assignee in accordance with its terms; and (b) confirms that it
 has received a copy of the Promissory Note and each Mortgage.
            3. The Lender represents and warrants that: (a) it is the owner and holder of the
 Promissory Note and each Mortgage; (b) it has the right to execute this Agreement, and this
 Agreement constitutes the legally valid and binding obligation of the Lender, enforceable against
 the Lender in accordance with its terms; (c) none of the Promissory Note nor any of the Mortgages
 has been amended or modified prior to the MOU Implementation Date; and (d) no act or omission
 on the part of Assignor has occurred, which would constitute an Event of Default or that, with
 notice or lapse of time or both, would constitute an Event of Default.


 1
     NTD: this assignment only has the effective date and not any other date.

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                                                                                   Exhibit 3(a)(viii)(A)


           4. The Assignor represents and warrants that it has the right to execute this
 Agreement, and this Agreement constitutes the legally valid and binding obligation of the
 Assignor, enforceable against the Assignor in accordance with its terms.
            5. Each of the Assignor, the Assignee and the Lender hereby acknowledges and agrees
 that after giving effect to this Agreement, (i) the Assumed Obligations shall be debt as to which
 none of the Assignor or any other MBNF Party (a) provides credit support of any kind, or (b) is
 directly or indirectly liable as a guarantor or otherwise; and (ii) the Second Amended and Restated
 Lien Subordination Agreement dated as of March 30, 2022 and effective as of March 31, 2022 by
 and among Lender, Paladin Healthcare Capital, LLC, as agent, and Front Street Healthcare
 Properties, LLC, and the Guaranty Agreement by Philadelphia Academic Health Holdings, LLC
 dated March 31, 2022 to and in favor of the Lender, shall be deemed terminated without any further
 action by any party and shall be of no further force and effect; provided, however, that
 notwithstanding anything to the contrary contained herein, the Assumed Obligations will continue
 to be secured by the Mortgages and the UCC Financing Statements from each of the Broad Street
 PropCos to the Lender, each of which shall be amended on the MOU Implementation Date
 pursuant to the Amended PAHS Loan Documents (as defined in the MOU) to provide, among
 other things, that none of the obligations and liabilities thereunder shall be recourse to any of the
 Broad Street PropCos.
               6.   The effective date of this Agreement shall be the MOU Implementation Date.
           7. From and after the MOU Implementation Date, (i) the Assignee shall be deemed
 the maker of the Promissory Note and have the rights and obligations of a borrower under the
 Promissory Note and shall be bound by the provisions thereof, and shall perform the Assumed
 Obligations and (ii) the Assignor shall relinquish its rights and be released from its obligations
 under the Promissory Note and each Mortgage, subject, however, to the continuing effectiveness
 of each Mortgage and the UCC Financing Statements from each of the Broad Street PropCos to
 the Lender, and each of the Mortgages shall be amended on the MOU Implementation Date
 pursuant to the Amended PAHS Loan Documents to provide, among other things, that none of the
 obligations and liabilities thereunder shall be recourse to any of the Broad Street PropCos. The
 Lender acknowledges and agrees that from and after the MOU Implementation Date its recourse
 under the Promissory Note, each Mortgage and each such UCC financing statement shall be
 limited solely to the Real Estate (as defined in the MOU).
           8. All of the terms and provisions of this Agreement will apply to, be binding in all
 respects upon and inure to the benefit of the parties hereto and their respective permitted successors
 and assigns. None of the provisions of this Agreement shall be varied or terminated except by
 written agreement of the parties hereto. If any provisions of this Agreement shall be held invalid
 or unenforceable by any court of competent jurisdiction, the remainder of this Agreement shall not
 be affected thereby and each other term, covenant, condition, and provision shall be valid and
 enforceable to the fullest extent permitted by law. This Agreement may be signed in any number
 of counterparts, each of which shall be an original, with the same effect as if the signatures were
 upon the same instrument.
            9. This Agreement is for the sole benefit of the parties hereto and their successors and
 assigns, and nothing herein expressed or implied shall give or be construed to give to any Person,



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 other than the parties hereto and such successors and assigns, any legal or equitable rights, remedy
 or claim hereunder.
            10. This Agreement and the rights and obligations of the Assignor, Assignee and
 Lender hereunder shall be governed by, and shall be construed and enforced in accordance with,
 the internal laws of the Commonwealth of Pennsylvania, without regard to conflicts of laws
 principles.
                                         [signatures follow]




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          IN WITNESS WHEREOF, the parties hereto have caused this Assignment, Assumption
 and Novation Agreement to be executed by their respective duly authorized signatories.


                                               ASSIGNOR:
                                               BROAD STREET HEALTHCARE
                                               PROPERTIES, LLC


                                               By: _____________________________
                                               Name: Joel Freedman
                                               Title: Chief Executive Officer and President
                                               BROAD STREET HEALTHCARE
                                               PROPERTIES II, LLC


                                               By: _____________________________
                                               Name: Joel Freedman
                                               Title: Chief Executive Officer and President
                                               BROAD STREET HEALTHCARE
                                               PROPERTIES III, LLC


                                               By: _____________________________
                                               Name: Joel Freedman
                                               Title: Chief Executive Officer and President


                                               ASSIGNEE:
                                               CENTER CITY HEALTHCARE, LLC


                                               By: _____________________________
                                               Name:
                                               Title:




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                                            LENDER:
                                            PHILADELPHIA ACADEMIC
                                            HEALTH SYSTEM, LLC


                                            By: _____________________________
                                            Name:
                                            Title:




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                            Exhibit 3(a)(viii)(B)
                       Amended PAHS Loan Documents
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                                                                              Exhibit 3(a)(viii)(B)


 After recording, please return to:
 Saul Ewing Arnstein & Lehr LLP
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102
 Attention: Martin J. Doyle, Esq.


 Mortgaged Property Addresses:

 222-248 N. Broad Street
 221-223 N. 15th Street
 325 N. 15th Street
 300-304 N. Broad Street
 200-214 N. Broad Street
 201-219 N. 15th Street (Parcel E)
 Philadelphia, PA

 Tax Parcel Nos.:

 772025002
 772028498
 881038202
 885620242
 885467862
 772028496

                                TERMINATION AGREEMENT

                THIS TERMINATION AGREEMENT (this “Agreement”) is made the ____ day
 of ____, 2022 and effective as of the ___ day of __________, 2022 (the “Effective Date”) by
 and among PHILADELPHIA ACADEMIC HEALTH SYSTEM, LLC, a Delaware limited
 liability company (“Senior Lender”), PALADIN HEALTHCARE CAPITAL, LLC, a
 Delaware limited liability company, in its capacity as administrative agent for the Tranche II
 Debt (as defined below) (“Tranche II Agent”), PALADIN HEALTHCARE CAPITAL, LLC,
 a Delaware limited liability company, in its capacity as administrative agent for the Tranche III
 Debt (as defined below) (“Tranche III Agent”), and FRONT STREET HEALTHCARE
 PROPERTIES, LLC, a Delaware limited liability company (“Tranche IV Creditor” and
 together with Senior Lender, Tranche II Agent and Tranche III Agent, the “Parties”).

                 WHEREAS, the Parties are parties to the Second Amended and Restated Lien
 Subordination Agreement, dated March 30, 2022, effective as of March 31, 2022, and recorded
 on April 8, 2022 as Document ID # 54019851 (the “Intercreditor Agreement”), consented to
 by Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties II, LLC and
 Broad Street Healthcare Properties III, LLC (collectively, the “Broad Street PropCos”), with
 respect to the property located at 222-248 N. Broad Street, 221-223 N. 15th Street, 325 N. 15th
 Street, 300-304 N. Broad Street, 200-214 N. Broad Street and 201-219 N. 15th Street (Parcel E)


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 in the City and County of Philadelphia, Commonwealth of Pennsylvania, as more particularly
 described in Exhibit A attached hereto and made a part hereof (the “Real Property”); and

               WHEREAS, the Parties and the Broad Street PropCos are parties to that certain
 Memorandum of Understanding Re Global Settlement dated [____], 2022 (the “MOU”), and this
 Agreement is being entered into pursuant to the MOU.

                NOW, THEREFORE, in consideration of the foregoing and the mutual covenants
 and agreements herein contained, and intending to be legally bound hereby, the Parties hereby
 agree as follows (all capitalized terms not defined herein shall have the meanings specified in the
 Intercreditor Agreement):

                1.     Representations and Warranties. The Tranche II Agent, Tranche III
 Agent and Tranche IV Creditor hereby represent and warrant to the Senior Lender, as of the
 Effective Date, that:

                         a.      the Tranche II Debt will be satisfied, and to the extent not satisfied,
 released as to each of the Broad Street PropCos pursuant to the MOU, and all mortgages, liens
 and other security interests respecting the Tranche II Debt that are attaching to the Real Property
 have been or will be satisfied, released or terminated of record pursuant to the MOU;

                          b.     the Tranche III Debt will be satisfied, and to the extent not
 satisfied, released as to each of the Broad Street PropCos pursuant to the MOU, and all
 mortgages, liens and other security interests respecting the Tranche III Debt that are attaching to
 the Real Property have been or will be satisfied, released or terminated of record pursuant to the
 MOU; and

                          c.     the Tranche IV Debt will be satisfied, and to the extent not
 satisfied, released as to each of the Broad Street PropCos pursuant to the MOU, and all liens and
 other security interests respecting the Tranche IV Debt as to each of the Broad Street PropCos
 have been or will be satisfied, released or terminated of record pursuant to the MOU.

                2.     Termination. Effective as of the Effective Date, the Intercreditor
 Agreement shall terminate and be of no further force and effect, and none of the Parties shall
 have any further obligations thereunder or with respect thereto.

               3.      Counterparts. This Agreement may be executed in counterpart originals,
 each of which shall constitute an original, and all of which together shall constitute one and the
 same agreement.


                                   [Signatures on following pages]




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         IN WITNESS WHEREOF, each of the Parties have executed this Agreement effective
 as of the Effective Date.

 “Senior Lender”

 PHILADELPHIA ACADEMIC HEALTH SYSTEM, LLC



 By:
 Name:
 Title:


 “Tranche II Agent”

 PALADIN HEALTHCARE CAPITAL, LLC



 By:
 Name:
 Title:



 “Tranche III Agent”
 PALADIN HEALTHCARE CAPITAL, LLC



 By:
 Name:
 Title:


 “Tranche IV Creditor”
 FRONT STREET HEALTHCARE
 PROPERTIES, LLC



 By:
 Name:
 Title:



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 STATE OF __________                                                   )
                                                                       )         SS:
 COUNTY OF _______                                                     )

 I, ____________________________, a Notary Public in and for said County, in the State
 aforesaid, DO HEREBY CERTIFY, that _________________, the _________________ of
 PHILADELPHIA ACADEMIC HEALTH SYSTEM, LLC, a Delaware limited liability
 company, who is personally known to me to be the same person whose name is subscribed to the
 foregoing instrument as such _____________, appeared before me this day in person and
 acknowledged that he signed and delivered the said instrument as his own free and voluntary act
 and as the free and voluntary act of said ______________, for the uses and purposes therein set
 forth.

         GIVEN under my hand and Notarial Seal this ____ day of _____________, 2022.

 My Commission Expires:


                                                    Notary Public




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 STATE OF __________                                                      )
                                                                          )         SS:
 COUNTY OF _______                                                        )

 I, ____________________________, a Notary Public in and for said County, in the State
 aforesaid, DO HEREBY CERTIFY, that _________________, the _________________ of
 PALADIN HEALTHCARE CAPITAL, LLC, a Delaware limited liability company, who is
 personally known to me to be the same person whose name is subscribed to the foregoing
 instrument as such _____________, appeared before me this day in person and acknowledged
 that he signed and delivered the said instrument as his own free and voluntary act and as the free
 and voluntary act of said ______________, for the uses and purposes therein set forth.

         GIVEN under my hand and Notarial Seal this ____ day of _____________, 2022.

 My Commission Expires:


                                                      Notary Public




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         Case 19-11466-MFW
                        Document
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                                                                               Exhibit 3(a)(viii)(B)


                                                                          )
 STATE OF __________
                                                                          )         SS:
 COUNTY OF _______                                                        )

 I, ____________________________, a Notary Public in and for said County, in the State
 aforesaid, DO HEREBY CERTIFY, that _________________, the _________________ of
 FRONT STREET HEALTHCARE PROPERTIES, LLC, a Delaware limited liability company,
 who is personally known to me to be the same person whose name is subscribed to the foregoing
 instrument as such _____________, appeared before me this day in person and acknowledged
 that he signed and delivered the said instrument as his own free and voluntary act and as the free
 and voluntary act of said ______________, for the uses and purposes therein set forth.

         GIVEN under my hand and Notarial Seal this ____ day of _____________, 2022.

 My Commission Expires:


                                                      Notary Public




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                                     EXHIBIT A

                        Legal Description of the Real Property

 TRACT I:

 Parcel A:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF VINE STREET (ON CITY PLAN,
 LEGALLY OPEN, VARIABLE WIDTH) WHERE IT INTERSECTS WITH THE WESTERLY
 SIDE OF BROAD STREET (ON CITY PLAN, LEGALLY OPEN, 113' WIDE) AND
 RUNNING:

 1)      THENCE: ALONG SAID WESTERLY SIDE OF BROAD STREET, S11°21'00"W, A
         DISTANCE OF 257.406' TO A POINT COMMON TO PARCEL C;

 2)      THENCE: ALONG PARCEL C, N78°59'00"W, A DISTANCE OF 121.833' TO A
         POINT;

 3)      THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 94.348' TO
         A POINT;

 4)      THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 32.915' TO
         A POINT;

 5)      THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 42.110' TO
         A POINT;

 6)      THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 46.670' TO
         A POINT;

 7)      THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 1.740' TO
         A POINT COMMON TO THE EASTERLY LINE OF PARCEL B;

 8)      THENCE: ALONG THE NORTHERLY LINE OF PARCEL B, N78°39'00"W, A
         DISTANCE OF 20.198' TO A POINT;

 9)      THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 122.199' TO
         A POINT ON THE SOUTHERLY SIDE OF VINE STREET;




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 10)     THENCE: ALONG THE SOUTHERLY SIDE OF VINE STREET, S78°59'00"E, A
         DISTANCE OF 27.619' TO A POINT;

 11)     THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 0.094' TO
         A POINT;

 12)     THENCE: CONTINUING ALONG THE SOUTHERLY SIDE OF VINE STREET,
         S78°59'00"E, A DISTANCE OF 194.00' TO THE POINT AND PLACE OF BEGINNING.

         PARCEL A BEING known and assessed as 222-48 North Broad Street

         BEING OPA Parcel No. 77-2-0250-02

 Parcel A Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC
 dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County
 of Philadelphia as Document No.     53316755.

 AND

 Parcel F:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE EASTERLY SIDE OF NORTH 15TH STREET, (ON CITY
 PLAN, LEGALLY OPEN, 70' WIDE), SAID POINT BEING LOCATED N 11°21'00" E, A
 DISTANCE OF 167.831' FROM THE INTERSECTION OF SAID EASTERLY SIDE OF
 NORTH 15TH STREET AND THE NORTHERLY SIDE OF RACE STREET, (ON CITY PLAN,
 LEGALLY OPEN, 50' WIDE) AND RUNNING;

         1)    THENCE ALONG SAID EASTERLY SIDE OF NORTH 15TH STREET,
               LOCATED N 11°21'00" E, A DISTANCE OF 32.841' TO A POINT;

         2)    THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
               THE SOUTHERLY LINE OF PARCEL B, S78°59'00"E, A DISTANCE OF
               65.000' TO A POINT COMMON CORNER TO PARCEL E;

         3)    THENCE: ALONG THE PARCEL E, S11°21'00"W, A DISTANCE OF 14.659'
               TO A POINT;



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         4)    THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
               25.578' TO A POINT;

         5)    THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
               13.296' TO A POINT;

         6)    THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
               8.528' TO A POINT;

         7)    THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
               4.886' TO A POINT;

         8)    THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
               30.894' TO THE POINT AND PLACE OF BEGINNING.

 PARCEL F BEING known and assessed as 221-23 N. 15th Street.

 BEING OPA Parcel No. 77-2-0284-98.

 Parcel F Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC
 dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County
 of Philadelphia as Document No. 53316755.

 AND

 Lot 3 —HUH North:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — EXISTING CONDITIONS/ PROPOSED
 SUBDIVISION PLAN" BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF WOOD STREET (40' WIDE)
 WHERE IT INTERSECTS WITH THE EASTERLY SIDE OF 15th STREET (72' WIDE) AND
 RUNNING:

 1)      THENCE: ALONG SAID SOUTHERLY SIDE OF WOOD STREET, S78°59'00"E, A
         DISTANCE OF 197.920' TO A POINT COMMON TO LOT 2;




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 2)      THENCE: ALONG THE WESTERLY LINE OF LOT 2, S11°21'00"W, A DISTANCE
         OF 54.327' TO A POINT;

 3)      THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 33.740' TO
         A POINT;

 4)      THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 29.468' TO
         A POINT;

 5)      THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 6.460' TO
         A POINT;

 6)      THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 22.779' TO
         A POINT COMMON TO THE NORTHERLY LINE OF LOT 1;

 7)      THENCE: ALONG THE NORTHERLY LINE OF LOT 1, N78°59'00"W, A DISTANCE
         OF 31.720' TO A POINT;

 8)      THENCE: N11°21'00"E, A DISTANCE OF 20.325' TO A POINT ON THE
         NORTHERLY SIDE OF PEARL STREET (18' WIDE);

 9)      THENCE: ALONG THE SAID NORTHERLY SIDE OF PEARL STREET,
         N78°59'00"W, A DISTANCE OF 126.000' TO A POINT ON THE SAID EASTERLY
         SIDE OF 15th STREET;

 10)     THENCE: ALONG THE SAID EASTERLY SIDE OF 15th STREET, N11°21'00"E, A
         DISTANCE OF 86.250' TO THE FIRST MENTIONED POINT OF BEGINNING.

 EXCEPTING THEREOUT AND THEREFROM:

 ALL THAT CERTAIN lot or piece of ground lying above a horizontal plane 36.50 feet above
 Philadelphia City Datum, said elevation being the top of the structural floor slab at the first floor
 level.

 BEGINNING at the point of intersection of the Southerly side of Wood Street (40 feet wide) with
 the Easterly side of 15th Street (72 feet wide); thence from said point of beginning extending the
 following four courses and distances:

 Along the said side of Wood Street South 78 degrees 59 minutes 00 seconds East 197 feet, 9 inches
 to a point;

 South 11 degrees 21 minutes 00 seconds West 54 feet, 3-1/2 inches to a point;

 North 78 degrees 59 minutes 00 seconds West approximately along the Southerly face of a 16
 story building 197 feet, 9 inches to a point on the Easterly side of 15th Street;




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 Along the said side of 15th Street North 11 degrees 21 minutes 00 seconds East 54 feet, 3-1/2
 inches to the first mentioned point and place of beginning.


 AND limited to all vertical area within the confines of the above horizontal boundaries up to an
 elevation of 205 feet above Philadelphia City Datum.

 LOT 3 — HUH NORTH BEING known and assessed as 325 N. 15th St.

 BEING OPA Parcel No. 88-1-0382-02.

 Lot 3 —HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated 12/30/2017
 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County of Philadelphia as
 Document No. 53316753.




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 TRACT II:


 Lot 1 – HUH North Fee Parcel:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – EXISTING CONDITIONS / PROPOSED
 SUBDIVISION PLAN” BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE NORTHERLY SIDE OF VINE STREET (VARIABLE
 WIDTH) WHERE IT INTERSECTS WITH THE WESTERLY SIDE OF BROAD STREET (113’
 WIDE) AND RUNNING:

 1)    THENCE: ALONG SAID NORTHERLY SIDE OF VINE STREET, N78°59'00”W, A
 DISTANCE OF 269.667’ TO A POINT;
 2)    THENCE: N11°21'00”E, A DISTANCE OF 122.675’ TO A POINT COMMON TO LOT
 3;
 3)    THENCE: ALONG THE SOUTHERLY LINE OF LOT 3 AND LOT 2, S78°59'00”E, A
 DISTANCE OF 269.667’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD
 STREET;
 4)    THENCE: ALONG THE SAID WESTERLY SIDE OF BROAD STREET, S11°21'00”W,
 A DISTANCE OF 122.675’ TO THE FIRST MENTIONED POINT OF BEGINNING.

 LOT 1 - HUH NORTH BEING assessed and known as 300-04 N. Broad Street

 BEING OPA Parcel No. 88-5-6202-42

 Lot 1 – HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated December 30,
 2017 made effective January 11, 2018 and recorded January 18, 2018 in the Office of the
 Recorder of Deeds for the County of Philadelphia as Document No. 53316753.




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 TRACT III:


 Parcel D:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT OF INTERSECTION OF THE WESTERLY SIDE OF BROAD
 STREET (ON CITY PLAN, LEGALLY OPEN, 113’ WIDE) AND THE NORTHERLY SIDE
 OF RACE STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND RUNNING:

         1)    THENCE: ALONG SAID NORTHERLY SIDE OF RACE STREET,
               N78°59'00”W, A DISTANCE OF 190.025’ TO A POINT, COMMON CORNER
               TO PARCEL E;
         2)    THENCE: ALONG THE EASTERLY LINE OF PARCEL E, N11°21'00”E, A
               DISTANCE OF 94.333’ TO A POINT;
         3)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
               19.967’ TO A POINT;
         4)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
               15.667’ TO A POINT;
         5)    THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF
               9.942’ TO A POINT;
         6)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
               31.333’ TO A POINT;
         7)    THENCE: CONTINUING ALONG PARCEL E, S78°59'00”E, A DISTANCE OF
               20.000’ TO A POINT, COMMON CORNER TO THE SOUTHERLY LINE OF
               PARCEL C;
         8)    THENCE: ALONG THE SOUTHERLY LINE OF PARCEL C, S11°21'00”W, A
               DISTANCE OF 2.000’ TO A POINT;
         9)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
               61.122’ TO A POINT;
         10)   THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
               8.646’ TO A POINT;
         11)   THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
               7.382’ TO A POINT;
         12)   THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
               7.952’ TO A POINT;
         13)   THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
               91.495’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD STREET;
         14)   THENCE: ALONG THE WESTERLY SIDE OF BROAD STREET,
               S11°21'00”W, A DISTANCE OF 155.932’ TO THE POINT AND PLACE OF
               BEGINNING.



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 BEING known and assessed as 200-14 N. Broad St.

 BEING OPA Parcel No. 88-5-4678-62


 Parcel D Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017 made
 effective January 11, 2018, and recorded January 18, 2018 in the Office of the Recorder of Deeds
 for the County of Philadelphia as Document No. 53316755.

 Parcel E:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:
 BEGINNING AT A POINT AT THE INTERSECTION OF THE NORTHERLY SIDE OF RACE
 STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND THE EASTERLY SIDE OF
 15TH STREET (ON CITY PLAN, LEGALLY OPEN, 70’ WIDE) AND RUNNING:

 1)      THENCE: ALONG THE EASTERLY SIDE OF 15th STREET, N11°21'00”E, A
         DISTANCE OF 167.831’ TO A POINT, COMMON CORNER TO PARCEL F;
 2)      THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
         PARCEL F, S78°59'00”E, A DISTANCE OF 30.894’ TO A POINT;
 3)      THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 4.886’ TO
         A POINT;
 4)      THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 8.528’ TO
         A POINT;
 5)      THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 13.296’ TO
         A POINT;
 6)      THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 25.578’ TO
         A POINT;
 7)      THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 14.659’ TO
         A POINT COMMON TO PARCEL B;
 8)      THENCE: ALONG PARCEL B, S78°59'00”E, A DISTANCE OF 58.582’ TO A POINT;
 9)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 21.842’ TO
         A POINT;
 10)     THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 62.210’ TO
         A POINT;
 11)     THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 21.000’ TO
         A POINT COMMON CORNER TO PARCEL C;



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 12)     THENCE: ALONG PARCEL C, S78°59'00”E, A DISTANCE OF 9.708’ TO A POINT;
 13)     THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 42.833’ TO
         A POINT;
 14)     THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 29.832’ TO
         A POINT;
 15)     THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 16.035’ TO
         A POINT, COMMON TO PARCEL D;
 16)     THENCE: ALONG PARCEL D, N78°59'00”W, A DISTANCE OF 9.333’ TO A POINT;
 17)     THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 31.333’ TO
         A POINT;
 18)     THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 9.942’ TO
         A POINT;
 19)     THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 15.667’ TO
         A POINT;
 20)     THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF 19.967’
         TO A POINT;
 21)     THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 94.333’ TO
         A POINT ON THE SAID NORTHERLY SIDE OF RACE STREET;
 22)     THENCE: ALONG THE NORTHERLY SIDE OF RACE STREET, N 78°59’00” W, A
         DISTANCE OF 205.975’ TO THE POINT AND PLACE OF BEGINNING.

 BEING known and assessed as 201-19 N. 15th St.

 BEING OPA Parcel No. 77-2-0284-96

 Parcel E Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017,
 made effective January 11, 2018 and recorded January 18, 2018 in the Office of the Recorder of
 Deeds for the County of Philadelphia as Document No. 53316755.




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  After recording, please return to:

  Saul Ewing Arnstein & Lehr LLP
  Centre Square West
  1500 Market Street, 38th Floor
  Philadelphia, PA 19102
  Attention: Martin J. Doyle, Esq.

  Mortgaged Property Addresses:

  222-248 N. Broad Street
  221-223 N. 15th Street
  325 N. 15th Street
  Philadelphia, PA

  Tax Parcel Nos.:
  772025002
  772028498
  881038202


                        MORTGAGE MODIFICATION AGREEMENT

       This Mortgage Modification Agreement (this “Modification”) is made as of the ___ day of
 _______, 2022, and effective as of the ___ day of _______, 2022 (the “Effective Date”), by and
 between BROAD STREET HEALTHCARE PROPERTIES, LLC, a Delaware limited liability
 company (“Broad” or “Mortgagor”) and PHILADELPHIA ACADEMIC HEALTH SYSTEM,
 LLC, a Delaware limited liability company (“Mortgagee”).

        WHEREAS, Mortgagor previously granted to Mortgagee a Mortgage dated as of March
 30, 2022, effective as of March 31, 2022, and recorded April 7, 2022 as Document ID # 54019494
 (the “Mortgage”), which granted a lien on the property located at 222-248 N. Broad Street, 221-
 223 N. 15th Street and 325 N. 15th Street in the City and County of Philadelphia, Commonwealth
 of Pennsylvania, as more particularly described in Exhibit A attached hereto and made a part hereof
 (the “Mortgaged Property”); and

         WHEREAS, the Mortgage was granted as security for Mortgagor’s obligations pursuant to
 that certain Note (the “Original Note”) and such other Loan Documents (each as defined in the
 Mortgage) and each reflecting a Loan amount of Five Million Six Hundred Thousand and No/100
 Dollars ($5,600,000.00); and

        WHEREAS, Mortgagor, Mortgagee and other parties have entered into that certain
 Memorandum of Understanding Re: Global Settlement Among, Inter Alia, Debtors, Debtors’
 Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities, and CONA Parties (the
 “MOU”); and



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         WHEREAS, pursuant to the MOU, the Original Note will be assigned to and assumed by
 Center City Healthcare, LLC (“CCH”), on the Effective Date, pursuant to the Assignment,
 Assumption and Novation Agreement effective as of the MOU Implementation Date (as defined
 in the MOU) (the “Assignment Agreement”), under which all of Mortgagor’s rights, duties,
 obligations, responsibilities and liabilities under the Original Note will be transferred and assigned
 to and assumed by CCH, and the Original Note will be novated (as assigned, assumed and novated,
 the “Novated Note”); and

        WHEREAS, pursuant to the MOU, Mortgagee shall make the payment in the amount of
 Four Million Four Hundred Fifty Thousand and No/100 Dollars ($4,450,000.00) (such amount,
 the “Settlement Balancing Payment”) under and in accordance with the terms of the MOU; and

         WHEREAS, the parties to the MOU have agreed, under the terms of the MOU (including
 Schedule 3(b) thereto), that when all or any part of the Property shall be sold, then the proceeds
 from such sale(s) shall be distributed in accordance with the terms of the MOU including, without
 limitation, for payments of amounts due under the Novated Note and reimbursement to Mortgagee
 of the Settlement Balancing Payment; and

          WHEREAS, Mortgagor, as a party to the MOU, is benefitting by the MOU; and

         WHEREAS, pursuant to the MOU, Mortgagor has agreed to amend the Mortgage to extend
 the lien of the Mortgage on the Mortgaged Property to secure the Settlement Balancing Payment
 Reimbursement Obligation (as defined below); and

          WHEREAS, Mortgagor and Mortgagee have further agreed to amend the Mortgage, in
 each case with respect to Mortgagor’s personal recourse duties, obligations, responsibilities and
 liabilities and with respect to personal recourse remedies available to Mortgagee and certain other
 terms and conditions as set forth herein; and

          WHEREAS, the foregoing recitals are hereby incorporated in this Modification.

         NOW THEREFORE, for good and valuable consideration, Mortgagor and Mortgagee
 agree to amend the Mortgage, effective as of the Effective Date:

     1. The Mortgage is hereby modified so that all references therein to the amount of Five
        Million Six Hundred Thousand and No/100 Dollars ($5,600,000.00) are replaced with the
        sum of Ten Million Fifty Thousand and No/100 Dollars ($10,050,000).

     2. The Mortgage is hereby modified so that all references to the “Mortgaged Property” shall
        be deemed to include the property listed on Schedule A hereto and the definition of
        “Agreements” shall be deleted and replaced in its entirety with the following:

                 “Agreements” shall mean (i) all certificates, instruments, franchises, permits,
                 licenses, plans, specifications, warranties, and guarantees, and (ii) all agreements,
                 contracts and other documents listed on Schedule A attached to the Mortgage
                 Modification Agreement dated [______________], in each case now or hereafter


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                 entered into, and all rights therein and thereto, respecting or pertaining to the use,
                 occupation, construction, management or operation of the Land and any part
                 thereof and any Improvements, or respecting any of Mortgagor’s business or
                 activity conducted at the Premises or any part thereof, or relating to any of the
                 Fixtures, and all right, title and interest of Mortgagor therein and thereunder,
                 including, without limitation, the right, upon the happening of an Event of Default
                 hereunder, to receive and collect any sums payable to Mortgagor thereunder.

          Mortgagee is hereby authorized to file amendments to the Financing Statements to reflect
          this modification of the Mortgaged Property, at Mortgagee’s cost and expense.

     3. Pursuant to the Assignment Agreement, but subject to the provisions of Section 4.06 of the
        Mortgage (as modified herein), the Mortgagee acknowledges that any personal recourse
        duties, obligations, responsibilities and liabilities of Mortgagor under the Mortgage and
        any recourse remedies available to Mortgagee shall be the responsibility of and shall be
        performed by, CCH irrevocably, absolutely and unconditionally in all respects, without
        personal recourse to Broad. Subject to Section 4.06 of the Mortgage (as modified herein),
        Mortgagee hereby releases Broad from any and all such personal recourse duties,
        obligations, responsibilities and liabilities under the Mortgage and any and all personal
        recourse remedies available to Mortgagee under the Mortgage. For the avoidance of doubt,
        the performance of covenants, conditions, agreements and obligations under, inter alia,
        Article I, any provisions referenced in Section 2.01(a), Section 2.01(h), Section 2.08, or
        Section 3.14 of the Mortgage, repayment of “Future Advances” (as defined in the
        Mortgage) and the performance and observance of all other provisions of the Mortgage,
        the Novated Note and the other Loan Documents, shall be the sole responsibility of, and
        shall be performed by, CCH, and recourse for the failure to perform any of the foregoing
        shall be solely against CCH and the Mortgaged Property.

     4. The Mortgage is hereby modified so that all references to the “Note” shall refer to the
        Novated Note as transferred and assigned by Mortgagor to CCH pursuant to, and novated
        in accordance with, the Assignment Agreement.

     5. The following is hereby added to the definition of the term “Secured Obligations” in the
        Mortgage:

                 and (vii) Repayment of the Settlement Balancing Payment Reimbursement
                 Obligation, solely out of the proceeds of the sales and/or other dispositions of the
                 Mortgaged Property in accordance with the terms of the MOU.
     6. The following are hereby added to the definitions section of the Mortgage in the proper
        alphabetical order:

                 “MOU” shall mean that certain Memorandum of Understanding Re: Global
          Settlement Among, Inter Alia, Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer,
          MBNF Parties, HSRE Entities, and CONA Parties, dated as of _____, 2022.



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                  “Settlement Balancing Payment” shall mean the amount of Four Million Four
          Hundred Fifty Thousand and No/100 Dollars ($4,450,000.00) paid by Mortgagee under
          and in accordance with the terms of the MOU.

                  “Settlement Balancing Payment Reimbursement Obligation” shall mean the
          obligation to repay to Mortgagee the Settlement Balancing Payment, in accordance with
          the terms of the MOU (including Schedule 3(b) thereto), when all or any part of the
          Mortgaged Property are sold, solely from the proceeds from such sale(s) and/or other
          dispositions. For the avoidance of doubt, Mortgagor shall not in any circumstances be
          liable for or obligated on the Settlement Balancing Reimbursement Obligation and the
          repayment thereof shall be strictly limited to the proceeds from any sale of the Mortgaged
          Property.

     7. The last paragraph of the Granting Clause of the Mortgage is hereby amended to read in
        its entirety as follows: “PROVIDED ALWAYS, and this instrument is created upon the
        express condition that, if Mortgagor pays or causes to be paid to Mortgagee, the Secured
        Obligations, then this Mortgage and the estate hereby granted shall cease and become
        void.”

     8. Section 2.01(b) of the Mortgage is hereby amended to delete the following phrase
        contained therein “or the other Loan Documents”.

     9. The final paragraph of Section 2.01(c) of the Mortgage, commencing with the phrase
        “Notwithstanding anything to the contrary in this Mortgage or the Note, including the
        existence of any Event of Default…”, is hereby deleted in its entirety.

     10. The final paragraph of Section 2.01(d) of the Mortgage, commencing with the phrase
         “Notwithstanding anything to the contrary in this Mortgage or the Note, including the
         existence of any Event of Default…”, is hereby deleted in its entirety.

     11. The final paragraph of Section 2.01(e) of the Mortgage, commencing with the phrase
         “Notwithstanding anything to the contrary in this Mortgage or the Note, including the
         existence of any Event of Default…”, is hereby deleted in its entirety.

     12. Section 2.01(g) of the Mortgage is hereby amended to delete the following phrase
         contained therein “(other than a default in payment of obligations of Borrower under the
         Note or any of the other Loan Documents)”.

     13. The second sentence of Section 3.04 of the Mortgage, commencing with the phrase “This
         Mortgage may not be assigned by Mortgagee prior to …”, is hereby deleted in its entirety.

     14. The final sentence of Section 3.04 of the Mortgage, commencing with the phrase “If there
         is more than one Mortgagor…”, is hereby deleted in its entirety.

     15. Section 3.14 of the Mortgage is hereby deleted in its entirety and replaced with the
         following:



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                  SECTION 3.14. Mortgagor acknowledges that this Mortgage is a Loan Document
          and agrees that any Event of Default under this Mortgage will constitute an “Event of
          Default” under the Co-Borrower Mortgages, the Note and the other Loan Documents, and
          that, in such event, in addition to any and all other remedies available to Mortgagee
          hereunder or under any of the other Loan Documents or at law or in equity, Mortgagee
          shall be permitted to recover any amounts secured hereby from the value of the Mortgaged
          Property and the property secured by the Co- Borrower Mortgages, on a pro rata basis or
          otherwise, as determined by Mortgagee in its reasonable discretion.

     16. Section 4.06(a) of the Mortgage is hereby deleted in its entirety and replaced with the
         following:

                 (a)      Recourse against Mortgagor is limited solely to the Mortgaged Property,
                 and (i) neither Mortgagor, or (ii) nor (a) any member of Mortgagor, (b) any person
                 owning, directly or indirectly, any legal or beneficial interest in Mortgagor or a
                 member of Mortgagor, (c) any partner, manager, principal, officer, controlling
                 person, beneficiary, trustee, advisor, representative, or other similar fiduciary,
                 shareholder, employee, agent, affiliate or director of any person described above,
                 or (d) any of their respective successors and assigns, shall have any personal
                 liability for the payment or performance of any of the obligations or otherwise
                 under the Note or Mortgage.

     17. Section 4.06(b) of the Mortgage is hereby deleted in its entirety and replaced with the
         following:

                 (b)     Notwithstanding the foregoing, nothing herein shall serve to limit
                 Mortgagee’s right to seek any judgment against Mortgagor solely to the extent such
                 judgment or decree may be necessary to foreclose and bar Mortgagor’s interests in
                 the Mortgaged Property; provided that the recourse under such judgment or decree
                 shall be solely to the Mortgaged Property; and further provided that nothing herein
                 stated or set forth in the Note shall: (a) release, impair or otherwise affect the
                 Novated Note or this Mortgage; nor (b) impair or otherwise affect the validity or
                 the lien of the Novated Note or this Mortgage; nor (c) impair the right of Mortgagee
                 to accelerate the maturity of the Novated Note (or to avail itself of any of its other
                 rights and remedies) in accordance with the terms hereof.

     18. Except as modified hereby, all other provisions of the Mortgage remain in full force and
         effect.

     19. This Modification Agreement may be executed in any number of counterparts, and each of
         such counterparts shall for all purposes be deemed to be an original and all such
         counterparts shall together constitute but one and the same instrument.




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                   [END OF TEXT; SIGNATURE PAGE FOLLOWS]




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         IN WITNESS WHEREOF, this Modification is duly executed as of the day and year
 first above written.

                                            MORTGAGOR:

                                            BROAD STREET HEALTHCARE
                                            PROPERTIES, LLC,
                                            a Delaware limited liability company

                                            By:
                                            Name: Joel Freedman
                                            Title: Chief Executive Officer and President



 STATE OF ___________________ )
                              ) SS:
 COUNTY OF _________________ )

         I, ______________________________________ , a Notary Public in and for said County,
 in the State aforesaid, DO HEREBY CERTIFY, that ___________________, the
 ___________________ of Broad Street Healthcare Properties, LLC, a Delaware limited liability
 company, who is personally known to me to be the same person whose name is subscribed to the
 foregoing instrument as such ______________________________________, appeared before me
 this day in person and acknowledged that he signed and delivered the said instrument as his own
 free and voluntary act and as the free and voluntary act of said ___________________, for the
 uses and purposes therein set forth.

          GIVEN under my hand and Notarial Seal this _____ day of ______________, 2022.

 My Commission Expires:

 ________________________________                   ________________________________
                                                    Notary Public




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                                             MORTGAGEE:

                                             PHILADELPHIA ACADEMIC HEALTH
                                             SYSTEM, LLC,
                                             a Delaware limited liability company

                                             By:
                                             Name:
                                             Title:


 STATE OF ___________________ )
                              ) SS:
 COUNTY OF _________________ )

          I, ______________________________________ , a Notary Public in and for said County,
 in the State aforesaid, DO HEREBY CERTIFY, that ___________________, the
 ___________________ of Philadelphia Academic Healthcare System, LLC, a Delaware limited
 liability company, who is personally known to me to be the same person whose name is subscribed
 to the foregoing instrument as such ______________________________________, appeared
 before me this day in person and acknowledged that he signed and delivered the said instrument
 as his own free and voluntary act and as the free and voluntary act of said ___________________,
 for the uses and purposes therein set forth.

          GIVEN under my hand and Notarial Seal this _____ day of ____________, 2022.

 My Commission Expires:

 ________________________________                     ________________________________
                                                      Notary Public




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                                    EXHIBIT A

                LEGAL DESCRIPTION OF THE MORTGAGED PROPERTY

 Parcel A:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF VINE STREET (ON CITY PLAN,
 LEGALLY OPEN, VARIABLE WIDTH) WHERE IT INTERSECTS WITH THE WESTERLY
 SIDE OF BROAD STREET (ON CITY PLAN, LEGALLY OPEN, 113' WIDE) AND
 RUNNING:

 1)       THENCE: ALONG SAID WESTERLY SIDE OF BROAD STREET, S11°21'00"W, A
          DISTANCE OF 257.406' TO A POINT COMMON TO PARCEL C;

 2)       THENCE: ALONG PARCEL C, N78°59'00"W, A DISTANCE OF 121.833' TO A
          POINT;

 3)       THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 94.348' TO
          A POINT;

 4)       THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 32.915' TO
          A POINT;

 5)       THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 42.110' TO
          A POINT;

 6)       THENCE: CONTINUING ALONG SAME, N78°39'00"W, A DISTANCE OF 46.670' TO
          A POINT;

 7)       THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 1.740' TO
          A POINT COMMON TO THE EASTERLY LINE OF PARCEL B;

 8)       THENCE: ALONG THE NORTHERLY LINE OF PARCEL B, N78°39'00"W, A
          DISTANCE OF 20.198' TO A POINT;

 9)       THENCE: CONTINUING ALONG SAME, N11°21'00"E, A DISTANCE OF 122.199' TO
          A POINT ON THE SOUTHERLY SIDE OF VINE STREET;




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 10)      THENCE: ALONG THE SOUTHERLY SIDE OF VINE STREET, S78°59'00"E, A
          DISTANCE OF 27.619' TO A POINT;

 11)      THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 0.094' TO
          A POINT;

 12)      THENCE: CONTINUING ALONG THE SOUTHERLY SIDE OF VINE STREET,
          S78°59'00"E, A DISTANCE OF 194.00' TO THE POINT AND PLACE OF BEGINNING.

          PARCEL A BEING known and assessed as 222-48 North Broad Street

          BEING OPA Parcel No. 77-2-0250-02

 Parcel A Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC
 dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County
 of Philadelphia as Document No.     53316755.

 AND

 Parcel F:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — PROPOSED SUBDIVISION PLAN"
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE EASTERLY SIDE OF NORTH 15TH STREET, (ON CITY
 PLAN, LEGALLY OPEN, 70' WIDE), SAID POINT BEING LOCATED N 11°21'00" E, A
 DISTANCE OF 167.831' FROM THE INTERSECTION OF SAID EASTERLY SIDE OF
 NORTH 15TH STREET AND THE NORTHERLY SIDE OF RACE STREET, (ON CITY PLAN,
 LEGALLY OPEN, 50' WIDE) AND RUNNING;

          1)    THENCE ALONG SAID EASTERLY SIDE OF NORTH 15TH STREET,
                LOCATED N 11°21'00" E, A DISTANCE OF 32.841' TO A POINT;

          2)    THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
                THE SOUTHERLY LINE OF PARCEL B, S78°59'00"E, A DISTANCE OF
                65.000' TO A POINT COMMON CORNER TO PARCEL E;

          3)    THENCE: ALONG THE PARCEL E, S11°21'00"W, A DISTANCE OF 14.659'
                TO A POINT;



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          4)   THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
               25.578' TO A POINT;

          5)   THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
               13.296' TO A POINT;

          6)   THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
               8.528' TO A POINT;

          7)   THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF
               4.886' TO A POINT;

          8)   THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF
               30.894' TO THE POINT AND PLACE OF BEGINNING.

 PARCEL F BEING known and assessed as 221-23 N. 15th Street.

 BEING OPA Parcel No. 77-2-0284-98.

 Parcel F Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Reciprocal Easement and Operating
 Agreement made by and between Broad Street Healthcare Properties, LLC, Broad Street
 Healthcare Properties III, LLC, PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC
 dated 12/30/2017 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County
 of Philadelphia as Document No. 53316755.

 AND

 Lot 3 —HUH North:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 "HAHNEMANN UNIVERSITY HOSPITAL — EXISTING CONDITIONS/ PROPOSED
 SUBDIVISION PLAN" BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE SOUTHERLY SIDE OF WOOD STREET (40' WIDE)
 WHERE IT INTERSECTS WITH THE EASTERLY SIDE OF 15th STREET (72' WIDE) AND
 RUNNING:

 1)       THENCE: ALONG SAID SOUTHERLY SIDE OF WOOD STREET, S78°59'00"E, A
          DISTANCE OF 197.920' TO A POINT COMMON TO LOT 2;




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 2)       THENCE: ALONG THE WESTERLY LINE OF LOT 2, S11°21'00"W, A DISTANCE
          OF 54.327' TO A POINT;

 3)       THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 33.740' TO
          A POINT;

 4)       THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 29.468' TO
          A POINT;

 5)       THENCE: CONTINUING ALONG SAME, N78°59'00"W, A DISTANCE OF 6.460' TO
          A POINT;

 6)       THENCE: CONTINUING ALONG SAME, S11°21'00"W, A DISTANCE OF 22.779' TO
          A POINT COMMON TO THE NORTHERLY LINE OF LOT 1;

 7)       THENCE: ALONG THE NORTHERLY LINE OF LOT 1, N78°59'00"W, A DISTANCE
          OF 31.720' TO A POINT;

 8)       THENCE: N11°21'00"E, A DISTANCE OF 20.325' TO A POINT ON THE
          NORTHERLY SIDE OF PEARL STREET (18' WIDE);

 9)       THENCE: ALONG THE SAID NORTHERLY SIDE OF PEARL STREET,
          N78°59'00"W, A DISTANCE OF 126.000' TO A POINT ON THE SAID EASTERLY
          SIDE OF 15th STREET;

 10)      THENCE: ALONG THE SAID EASTERLY SIDE OF 15th STREET, N11°21'00"E, A
          DISTANCE OF 86.250' TO THE FIRST MENTIONED POINT OF BEGINNING.

 EXCEPTING THEREOUT AND THEREFROM:

 ALL THAT CERTAIN lot or piece of ground lying above a horizontal plane 36.50 feet above
 Philadelphia City Datum, said elevation being the top of the structural floor slab at the first floor
 level.

 BEGINNING at the point of intersection of the Southerly side of Wood Street (40 feet wide) with
 the Easterly side of 15th Street (72 feet wide); thence from said point of beginning extending the
 following four courses and distances:

 Along the said side of Wood Street South 78 degrees 59 minutes 00 seconds East 197 feet, 9 inches
        to a point;

 South 11 degrees 21 minutes 00 seconds West 54 feet, 3-1/2 inches to a point;

 North 78 degrees 59 minutes 00 seconds West approximately along the Southerly face of a 16
        story building 197 feet, 9 inches to a point on the Easterly side of 15th Street;




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 Along the said side of 15th Street North 11 degrees 21 minutes 00 seconds East 54 feet, 3-1/2
        inches to the first mentioned point and place of beginning.


 AND limited to all vertical area within the confines of the above horizontal boundaries up to an
 elevation of 205 feet above Philadelphia City Datum.

 LOT 3 — HUH NORTH BEING known and assessed as 325 N. 15th St.

 BEING OPA Parcel No. 88-1-0382-02.

 Lot 3 —HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated 12/30/2017
 and recorded 1/18/2018 in the Office of the Recorder of Deeds for the County of Philadelphia as
 Document No. 53316753.




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                                              SCHEDULE A
 Capitalized terms used in this Schedule without definitions shall have the meanings assigned to them in
 that certain Memorandum Of Understanding to which Debtor and Secured Party are parties (the “MOU”);
 all Section references in this Schedule are to the Sections of the Mortgage.
 All of Broad Street Healthcare Properties, LLC (“Broad Street PropCo I”) right, title and interest in and to
 the following rights, properties and assets, whether tangible or intangible, subject to all liens, claims and
 encumbrances, except as provided in the MOU:
     1. All equitable and other interests in the Real Estate, as well as the tangible personal property,
        including equipment, furniture, fixtures, office furnishings, and leasehold improvements, owned
        by Broad Street PropCo I and located upon or at any Real Estate.
     2. Broad Street PropCo I REAs.
     3. Broad Street PropCo I Unity of Use Agreements.
     4. All deposits, pre-payments, overpayments, rebates, refunds and the like pertaining to items 1-3, 6
        and 7 of this Schedule (excluding, for the avoidance of doubt, deposits, pre-payments,
        overpayments, rebates, refunds and the like with or from any advisor or professional of Broad Street
        PropCo I, including those listed in item 32(a) of Schedule 3(a)(vii) to the MOU), including without
        limitation the security deposit made by Broad Street Healthcare Properties, LLC pursuant to the
        Steam Service Agreement dated December 1, 2020 between Vicinity Energy Philadelphia, Inc. and
        Broad Street Healthcare Properties, LLC by and through its agent, G&E Real Estate Management
        Services, Inc., a Delaware corporation, dba Newmark Knight Frank.
     5. Any account balances representing Advances made pursuant to, and as defined in, the Philadelphia
        Academic Health System, LLC (“PAHS”) Loan Documents in the following bank accounts:
            a. Account No.:               XX-XXXX-0053
                 Account Name: Broad Street Healthcare Properties, LLC
                 Transit/Routing:         043000096
                 Bank Name:               PNC Bank, Pittsburgh, PA




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          On the MOU Implementation Date (i) all such account balances that do not represent Advances (as
          such term is defined in the PAHS Loan Documents) shall be transferred by Broad Street PropCo I
          to PAHH and (ii) all such account balances that represent Advances shall be transferred to the
          Center City Healthcare, LLC (“CCH’) bank account designated by PAHS prior to the MOU
          Implementation Date, other than the sum of outstanding amounts due on account of issued checks
          that had not cleared (“Outstanding Checks”).

     6. All contracts and agreements listed as items 1-26 of Schedule 3(a)(vii) to the MOU.

     7. All utilities to or at the Real Estate.
     8. For the avoidance of doubt, (a) the assets shall not include, and shall not be deemed to include: (i)
     any claim held by Broad Street PropCo I against any of the other MBNF Parties, the MBNF Affiliates,
     any of their respective Representatives, or any Broad Street Lenders, or (ii) with respect to any
     professional or advisor of Broad Street PropCo I, including those listed in item 32(a) of Schedule
     3(a)(vii) to the MOU, any engagement or services agreement, deliverable or rights thereunder,
     including any retainer or privileged communication, in which Broad Street PropCo I may have any
     interest, rights or entitlement, and (b) no power, right or privilege granted by Broad Street PropCo I to
     CCH pursuant to any Power of Attorney shall be exercised by CCH to demand, request, pursue or
     otherwise obtain any assets not substantively consolidated with CCH pursuant to the MOU.


     The obligations that are secured by the collateral described herein, and by other collateral, are without
     personal recourse as to the Debtor, as set forth in certain agreements between, among other parties,
     the Debtor and the Secured Party hereunder.




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                                                                                 Exhibit 3(a)(viii)(B)


  After recording, please return to:

  Saul Ewing Arnstein & Lehr LLP
  Centre Square West
  1500 Market Street, 38th Floor
  Philadelphia, PA 19102
  Attention: Martin J. Doyle, Esq.

  Mortgaged Property Address:

  300-304 N. Broad Street
  Philadelphia, PA

  Tax Parcel No.:
  885620242


                        MORTGAGE MODIFICATION AGREEMENT

          This Mortgage Modification Agreement (this “Modification”) is made as of the ___ day of
 _______, 2022, and effective as of the ___ day of _______, 2022 (the “Effective Date”), by and
 between BROAD STREET HEALTHCARE PROPERTIES II, LLC, a Delaware limited
 liability company (“Broad II” or "Mortgagor") and PHILADELPHIA ACADEMIC HEALTH
 SYSTEM, LLC, a Delaware limited liability company (“Mortgagee”).

        WHEREAS, Mortgagor previously granted to Mortgagee a Mortgage dated as of March
 30, 2022, effective as of March 31, 2022, and recorded April 7, 2022 as Document ID # 54019493
 (the “Mortgage”), which granted a lien on the property located at 300-304 N. Broad Street in the
 City and County of Philadelphia, Commonwealth of Pennsylvania, as more particularly described
 in Exhibit A attached hereto and made a part hereof (the “Mortgaged Property”); and

         WHEREAS, the Mortgage was granted as security for Mortgagor’s obligations pursuant to
 that certain Note (the “Original Note”) and such other Loan Documents (each as defined in the
 Mortgage) and each reflecting a Loan amount of Five Million Six Hundred Thousand and No/100
 Dollars ($5,600,000.00); and

        WHEREAS, Mortgagor, Mortgagee and other parties have entered into that certain
 Memorandum of Understanding Re: Global Settlement Among, Inter Alia, Debtors, Debtors’
 Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities, and CONA Parties (the
 “MOU”); and

         WHEREAS, pursuant to the MOU, the Original Note will be assigned to and assumed by
 Center City Healthcare, LLC (“CCH”), on the Effective Date, pursuant to the Assignment,
 Assumption and Novation Agreement effective as of the MOU Implementation Date (as defined
 in the MOU) (the “Assignment Agreement”), under which all of Mortgagor’s rights, duties,
 obligations, responsibilities and liabilities under the Original Note will be transferred and assigned


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 to and assumed by CCH, and the Original Note will be novated (as assigned, assumed and novated,
 the “Novated Note”); and

        WHEREAS, pursuant to the MOU, Mortgagee shall make the payment in the amount of
 Four Million Four Hundred Fifty Thousand and No/100 Dollars ($4,450,000.00) (such amount,
 the “Settlement Balancing Payment”) under and in accordance with the terms of the MOU; and

         WHEREAS, the parties to the MOU have agreed, under the terms of the MOU (including
 Schedule 3(b) thereto), that when all or any part of the Property shall be sold, then the proceeds
 from such sale(s) shall be distributed in accordance with the terms of the MOU including, without
 limitation, for payments of amounts due under the Novated Note and reimbursement to Mortgagee
 of the Settlement Balancing Payment; and

          WHEREAS, Mortgagor, as a party to the MOU, is benefitting by the MOU; and

         WHEREAS, pursuant to the MOU, Mortgagor has agreed to amend the Mortgage to extend
 the lien of the Mortgage on the Mortgaged Property to secure the Settlement Balancing Payment
 Reimbursement Obligation (as defined below); and

          WHEREAS, Mortgagor and Mortgagee have further agreed to amend the Mortgage, in
 each case with respect to Mortgagor’s personal recourse duties, obligations, responsibilities and
 liabilities and with respect to personal recourse remedies available to Mortgagee and certain other
 terms and conditions as set forth herein; and

          WHEREAS, the foregoing recitals are hereby incorporated in this Modification.

         NOW THEREFORE, for good and valuable consideration, Mortgagor and Mortgagee
 agree to amend the Mortgage, effective as of the Effective Date:

     1. The Mortgage is hereby modified so that all references therein to the amount of Five
        Million Six Hundred Thousand and No/100 Dollars ($5,600,000.00) are replaced with the
        sum of Ten Million Fifty Thousand and No/100 Dollars ($10,050,000).

     2. The Mortgage is hereby modified so that all references to the “Mortgaged Property” shall
        be deemed to include the property listed on Schedule A hereto and the definition of
        “Agreements” shall be deleted and replaced in its entirety with the following:

                 “Agreements” shall mean (i) all certificates, instruments, franchises, permits,
                 licenses, plans, specifications, warranties, and guarantees, and (ii) all agreements,
                 contracts and other documents listed on Schedule A attached to the Mortgage
                 Modification Agreement dated [______________], in each case now or hereafter
                 entered into, and all rights therein and thereto, respecting or pertaining to the use,
                 occupation, construction, management or operation of the Land and any part
                 thereof and any Improvements, or respecting any of Mortgagor’s business or
                 activity conducted at the Premises or any part thereof, or relating to any of the
                 Fixtures, and all right, title and interest of Mortgagor therein and thereunder,


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                 including, without limitation, the right, upon the happening of an Event of Default
                 hereunder, to receive and collect any sums payable to Mortgagor thereunder.

          Mortgagee is hereby authorized to file amendments to the Financing Statements to reflect
          this modification of the Mortgaged Property, at Mortgagee’s cost and expense.

     3. Pursuant to the Assignment Agreement, but subject to the provisions of Section 4.06 of the
        Mortgage (as modified herein), the Mortgagee acknowledges that any personal recourse
        duties, obligations, responsibilities and liabilities of Mortgagor under the Mortgage and
        any recourse remedies available to Mortgagee shall be the responsibility of and shall be
        performed by, CCH irrevocably, absolutely and unconditionally in all respects, without
        personal recourse to Broad II. Subject to Section 4.06 of the Mortgage (as modified
        herein), Mortgagee hereby releases Broad II from any and all such personal recourse duties,
        obligations, responsibilities and liabilities under the Mortgage and any and all personal
        recourse remedies available to Mortgagee under the Mortgage. For the avoidance of doubt,
        the performance of covenants, conditions, agreements and obligations under, inter alia,
        Article I, any provisions referenced in Section 2.01(a), Section 2.01(h), Section 2.08, or
        Section 3.14 of the Mortgage, repayment of “Future Advances” (as defined in the
        Mortgage) and the performance and observance of all other provisions of the Mortgage,
        the Novated Note and the other Loan Documents, shall be the sole responsibility of, and
        shall be performed by, CCH, and recourse for the failure to perform any of the foregoing
        shall be solely against CCH and the Mortgaged Property.

     4. The Mortgage is hereby modified so that all references to the “Note” shall refer to the
        Novated Note as transferred and assigned by Mortgagor to CCH pursuant to, and novated
        in accordance with, the Assignment Agreement.

     5. The following is hereby added to the definition of the term “Secured Obligations” in the
        Mortgage:

                 and (vii) Repayment of the Settlement Balancing Payment Reimbursement
                 Obligation, solely out of the proceeds of the sales and/or other dispositions of the
                 Mortgaged Property in accordance with the terms of the MOU.

     6. The following are hereby added to the definitions section of the Mortgage in the proper
        alphabetical order:

                 “MOU” shall mean that certain Memorandum of Understanding Re: Global
          Settlement Among, Inter Alia, Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer,
          MBNF Parties, HSRE Entities, and CONA Parties, dated as of _____, 2022.

                  “Settlement Balancing Payment” shall mean the amount of Four Million Four
          Hundred Fifty Thousand and No/100 Dollars ($4,450,000.00) paid by Mortgagee under
          and in accordance with the terms of the MOU.




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                  “Settlement Balancing Payment Reimbursement Obligation” shall mean the
          obligation to repay to Mortgagee the Settlement Balancing Payment, in accordance with
          the terms of the MOU (including Schedule 3(b) thereto), when all or any part of the
          Mortgaged Property are sold, solely from the proceeds from such sale(s) and/or other
          dispositions. For the avoidance of doubt, Mortgagor shall not in any circumstances be
          liable for or obligated on the Settlement Balancing Reimbursement Obligation and the
          repayment thereof shall be strictly limited to the proceeds from any sale of the Mortgaged
          Property..

     7. The last paragraph of the Granting Clause of the Mortgage is hereby amended to read in
        its entirety as follows: “PROVIDED ALWAYS, and this instrument is created upon the
        express condition that, if Mortgagor pays or causes to be paid to Mortgagee, the Secured
        Obligations, then this Mortgage and the estate hereby granted shall cease and become
        void.”

     8. Section 2.01(b) of the Mortgage is hereby amended to delete the following phrase
        contained therein “or the other Loan Documents”.

     9. The final paragraph of Section 2.01(c) of the Mortgage, commencing with the phrase
        “Notwithstanding anything to the contrary in this Mortgage or the Note, including the
        existence of any Event of Default…”, is hereby deleted in its entirety.

     10. The final paragraph of Section 2.01(d) of the Mortgage, commencing with the phrase
         “Notwithstanding anything to the contrary in this Mortgage or the Note, including the
         existence of any Event of Default…”, is hereby deleted in its entirety.

     11. The final paragraph of Section 2.01(e) of the Mortgage, commencing with the phrase
         “Notwithstanding anything to the contrary in this Mortgage or the Note, including the
         existence of any Event of Default…”, is hereby deleted in its entirety.

     12. Section 2.01(g) of the Mortgage is hereby amended to delete the following phrase
         contained therein “(other than a default in payment of obligations of Borrower under the
         Note or any of the other Loan Documents)”.
     13. The second sentence of Section 3.04 of the Mortgage, commencing with the phrase “This
         Mortgage may not be assigned by Mortgagee prior to …”, is hereby deleted in its entirety.

     14. The final sentence of Section 3.04 of the Mortgage, commencing with the phrase “If there
         is more than one Mortgagor…”, is hereby deleted in its entirety.

     15. Section 3.14 of the Mortgage is hereby deleted in its entirety and replaced with the
         following:

                  SECTION 3.14. Mortgagor acknowledges that this Mortgage is a Loan Document
          and agrees that any Event of Default under this Mortgage will constitute an “Event of
          Default” under the Co-Borrower Mortgages, the Note and the other Loan Documents, and
          that, in such event, in addition to any and all other remedies available to Mortgagee


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          hereunder or under any of the other Loan Documents or at law or in equity, Mortgagee
          shall be permitted to recover any amounts secured hereby from the value of the Mortgaged
          Property and the property secured by the Co- Borrower Mortgages, on a pro rata basis or
          otherwise, as determined by Mortgagee in its reasonable discretion.

     16. Section 4.06(a) of the Mortgage is hereby deleted in its entirety and replaced with the
         following:

                 (a)      Recourse against Mortgagor is limited solely to the Mortgaged Property,
                 and (i) neither Mortgagor, or (ii) nor (a) any member of Mortgagor, (b) any person
                 owning, directly or indirectly, any legal or beneficial interest in Mortgagor or a
                 member of Mortgagor, (c) any partner, manager, principal, officer, controlling
                 person, beneficiary, trustee, advisor, representative, or other similar fiduciary,
                 shareholder, employee, agent, affiliate or director of any person described above,
                 or (d) any of their respective successors and assigns, shall have any personal
                 liability for the payment or performance of any of the obligations or otherwise
                 under the Note or Mortgage.

     17. Section 4.06(b) of the Mortgage is hereby deleted in its entirety and replaced with the
         following:

                 (b)     Notwithstanding the foregoing, nothing herein shall serve to limit
                 Mortgagee’s right to seek any judgment against Mortgagor solely to the extent
                 such judgment or decree may be necessary to foreclose and bar Mortgagor’s
                 interests in the Mortgaged Property; provided that the recourse under such
                 judgment or decree shall be solely to the Mortgaged Property; and further
                 provided that nothing herein stated or set forth in the Note shall: (a) release,
                 impair or otherwise affect the Novated Note or this Mortgage; nor (b) impair or
                 otherwise affect the validity or the lien of the Novated Note or this Mortgage; nor
                 (c) impair the right of Mortgagee to accelerate the maturity of the Novated Note
                 (or to avail itself of any of its other rights and remedies) in accordance with the
                 terms hereof.

     18. Except as modified hereby, all other provisions of the Mortgage remain in full force and
         effect.

     19. This Modification Agreement may be executed in any number of counterparts, and each of
         such counterparts shall for all purposes be deemed to be an original and all such
         counterparts shall together constitute but one and the same instrument.



                        [END OF TEXT; SIGNATURE PAGE FOLLOWS]




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         IN WITNESS WHEREOF, this Modification is duly executed as of the day and year
 first above written.

                                            MORTGAGOR:

                                            BROAD STREET HEALTHCARE
                                            PROPERTIES II, LLC,
                                            a Delaware limited liability company

                                            By:
                                            Name: Joel Freedman
                                            Title: Chief Executive Officer and President




 STATE OF ___________________ )
                              ) SS:
 COUNTY OF _________________ )

         I, ______________________________________ , a Notary Public in and for said County,
 in the State aforesaid, DO HEREBY CERTIFY, that ___________________, the
 ___________________ of Broad Street Healthcare Properties II, LLC, a Delaware limited liability
 company, who is personally known to me to be the same person whose name is subscribed to the
 foregoing instrument as such ______________________________________, appeared before me
 this day in person and acknowledged that he signed and delivered the said instrument as his own
 free and voluntary act and as the free and voluntary act of said ___________________, for the
 uses and purposes therein set forth.

          GIVEN under my hand and Notarial Seal this _____ day of ______________, 2022.

 My Commission Expires:

 ________________________________                   ________________________________
                                                    Notary Public




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                                             MORTGAGEE:

                                             PHILADELPHIA ACADEMIC HEALTH
                                             SYSTEM, LLC,
                                             a Delaware limited liability company

                                             By:
                                             Name:
                                             Title:


 STATE OF ___________________ )
                              ) SS:
 COUNTY OF _________________ )

          I, ______________________________________ , a Notary Public in and for said County,
 in the State aforesaid, DO HEREBY CERTIFY, that ___________________, the
 ___________________ of Philadelphia Academic Healthcare System, LLC, a Delaware limited
 liability company, who is personally known to me to be the same person whose name is subscribed
 to the foregoing instrument as such ______________________________________, appeared
 before me this day in person and acknowledged that he signed and delivered the said instrument
 as his own free and voluntary act and as the free and voluntary act of said ___________________,
 for the uses and purposes therein set forth.

          GIVEN under my hand and Notarial Seal this _____ day of ____________, 2022.

 My Commission Expires:

 ________________________________                     ________________________________
                                                      Notary Public




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                                         EXHIBIT A

                LEGAL DESCRIPTION OF THE MORTGAGED PROPERTY

 Lot 1 – HUH North Fee Parcel:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – EXISTING CONDITIONS / PROPOSED
 SUBDIVISION PLAN” BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE NORTHERLY SIDE OF VINE STREET (VARIABLE
 WIDTH) WHERE IT INTERSECTS WITH THE WESTERLY SIDE OF BROAD STREET (113’
 WIDE) AND RUNNING:

 1)    THENCE: ALONG SAID NORTHERLY SIDE OF VINE STREET, N78°59'00”W, A
 DISTANCE OF 269.667’ TO A POINT;
 2)    THENCE: N11°21'00”E, A DISTANCE OF 122.675’ TO A POINT COMMON TO LOT
 3;
 3)    THENCE: ALONG THE SOUTHERLY LINE OF LOT 3 AND LOT 2, S78°59'00”E, A
 DISTANCE OF 269.667’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD
 STREET;
 4)    THENCE: ALONG THE SAID WESTERLY SIDE OF BROAD STREET, S11°21'00”W,
 A DISTANCE OF 122.675’ TO THE FIRST MENTIONED POINT OF BEGINNING.

 LOT 1 - HUH NORTH BEING assessed and known as 300-04 N. Broad Street

 BEING OPA Parcel No. 88-5-6202-42

 Lot 1 – HUH North Easement Parcel:

 TOGETHER WITH the reciprocal easements set forth in Parking, Access And Utilities
 Easement Agreement made by and between PAHH Wood Street Garage, LLC, Broad Street
 Healthcare Properties, LLC and Broad Street Healthcare Properties II, LLC dated December 30,
 2017 made effective January 11, 2018 and recorded January 18, 2018 in the Office of the
 Recorder of Deeds for the County of Philadelphia as Document No. 53316753.




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                                               SCHEDULE A
 Capitalized terms used in this Schedule without definitions shall have the meanings assigned to them in
 that certain Memorandum Of Understanding to which Debtor and Secured Party are parties (the “MOU”);
 all Section references in this Schedule are to the Sections of the Mortgage.
 All of Broad Street Healthcare Properties II, LLC (“Broad Street PropCo II”) right, title and interest in and
 to the following rights, properties and assets, whether tangible or intangible, subject to all liens, claims and
 encumbrances, except as provided in the MOU:
     1. All equitable and other interests in the Real Estate, as well as the tangible personal property,
        including equipment, furniture, fixtures, office furnishings, and leasehold improvements, owned
        by Broad Street PropCo II and located upon or at any Real Estate.
     2. Broad Street PropCo II REAs.
     3. Broad Street PropCo II Unity of Use Agreements.
     4. All deposits, pre-payments, overpayments, rebates, refunds and the like pertaining to items 1-3, 6
        and 7 of this Schedule (excluding, for the avoidance of doubt, deposits, pre-payments,
        overpayments, rebates, refunds and the like with or from any advisor or professional of Broad Street
        PropCo II, including those listed in item 32(a) of Schedule 3(a)(vii) to the MOU), including without
        limitation the security deposit made by Broad Street Healthcare Properties, LLC pursuant to the
        Steam Service Agreement dated December 1, 2020 between Vicinity Energy Philadelphia, Inc. and
        Broad Street Healthcare Properties, LLC by and through its agent, G&E Real Estate Management
        Services, Inc., a Delaware corporation, dba Newmark Knight Frank.
     5. Any account balances representing Advances made pursuant to, and as defined in, the Philadelphia
        Academic Health System, LLC (“PAHS”) Loan Documents in the following bank accounts:
            a. Account No.:               XX-XXXX-0061
                 Account Name: Broad Street Healthcare Properties II, LLC
                 Transit/Routing:         043000096
                 Bank Name:               PNC Bank, Pittsburgh, PA




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     On the MOU Implementation Date (i) all such account balances that do not represent Advances (as
     such term is defined in the PAHS Loan Documents) shall be transferred by Broad Street PropCo II to
     PAHH and (ii) all such account balances that represent Advances shall be transferred to the Center City
     Healthcare, LLC (“CCH’) bank account designated by PAHS prior to the MOU Implementation Date,
     other than the sum of outstanding amounts due on account of issued checks that had not cleared
     (“Outstanding Checks”).

     6. All contracts and agreements listed as items 1-26 of Schedule 3(a)(vii) to the MOU.

     7. All utilities to or at the Real Estate.
     8. For the avoidance of doubt, (a) the assets shall not include, and shall not be deemed to include: (i)
     any claim held by Broad Street PropCo II against any of the other MBNF Parties, the MBNF Affiliates,
     any of their respective Representatives, or any Broad Street Lenders, or (ii) with respect to any
     professional or advisor of Broad Street PropCo II, including those listed in item 32(a) of Schedule
     3(a)(vii) to the MOU, any engagement or services agreement, deliverable or rights thereunder,
     including any retainer or privileged communication, in which Broad Street PropCo II may have any
     interest, rights or entitlement, and (b) no power, right or privilege granted by Broad Street PropCo II to
     CCH pursuant to any Power of Attorney shall be exercised by CCH to demand, request, pursue or
     otherwise obtain any assets not substantively consolidated with CCH pursuant to the MOU.


     The obligations that are secured by the collateral described herein, and by other collateral, are without
     personal recourse as to the Debtor, as set forth in certain agreements between, among other parties,
     the Debtor and the Secured Party hereunder.




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  After recording, please return to:

  Saul Ewing Arnstein & Lehr LLP
  Centre Square West
  1500 Market Street, 38th Floor
  Philadelphia, PA 19102
  Attention: Martin J. Doyle, Esq.

   Mortgaged Property Addresses:

   200-214 N. Broad Street
   201-219 N. 15th Street (Parcel E)
   Philadelphia, PA

   Tax Parcel Nos.:

   885467862
   772028496


                        MORTGAGE MODIFICATION AGREEMENT

          This Mortgage Modification Agreement (this “Modification”) is made as of the ___ day of
 _______, 2022, and effective as of the ___ day of _______, 2022 (the “Effective Date”), by and
 between BROAD STREET HEALTHCARE PROPERTIES III, LLC, a Delaware limited
 liability company (“Broad III” or “Mortgagor”) and PHILADELPHIA ACADEMIC HEALTH
 SYSTEM, LLC, a Delaware limited liability company (“Mortgagee”).

        WHEREAS, Mortgagor has previously granted to Mortgagee a Mortgage dated as of
 March 30, 2022, effective as of March 31, 2022, and recorded April 7, 2022 as Document ID #
 54019476 (the “Mortgage”), which granted a lien on the property located at 200-214 N. Broad
 Street and 201-219 N. 15th Street (Parcel E) in the City and County of Philadelphia,
 Commonwealth of Pennsylvania, as more particularly described in Exhibit A attached hereto and
 made a part hereof (the “Mortgaged Property”); and

         WHEREAS, the Mortgage was granted as security for Mortgagor’s obligations pursuant to
 that certain Note (the “Original Note”) and such other Loan Documents (each as defined in the
 Mortgage) and each reflecting a Loan amount of Five Million Six Hundred Thousand and No/100
 Dollars ($5,600,000.00); and

        WHEREAS, Mortgagor, Mortgagee and other parties have entered into that certain
 Memorandum of Understanding Re: Global Settlement Among, Inter Alia, Debtors, Debtors’
 Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities, and CONA Parties (the
 “MOU”); and




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         WHEREAS, pursuant to the MOU, the Original Note will be assigned to and assumed by
 Center City Healthcare, LLC (“CCH”), on the Effective Date, pursuant to the Assignment,
 Assumption and Novation Agreement effective as of the MOU Implementation Date (as defined
 in the MOU) (the “Assignment Agreement”), under which all of Mortgagor’s rights, duties,
 obligations, responsibilities and liabilities under the Original Note will be transferred and assigned
 to and assumed by CCH, and the Original Note will be novated (as assigned, assumed and novated,
 the “Novated Note”); and

        WHEREAS, pursuant to the MOU, Mortgagee shall make the payment in the amount of
 Four Million Four Hundred Fifty Thousand and No/100 Dollars ($4,450,000.00) (such amount,
 the “Settlement Balancing Payment”) under and in accordance with the terms of the MOU; and

         WHEREAS, the parties to the MOU have agreed, under the terms of the MOU (including
 Schedule 3(b) thereto), that when all or any part of the Property shall be sold, then the proceeds
 from such sale(s) shall be distributed in accordance with the terms of the MOU including, without
 limitation, for payments of amounts due under the Novated Note and reimbursement to Mortgagee
 of the Settlement Balancing Payment; and

          WHEREAS, Mortgagor, as a party to the MOU, is benefitting by the MOU; and

         WHEREAS, pursuant to the MOU, Mortgagor has agreed to amend the Mortgage to extend
 the lien of the Mortgage on the Mortgaged Property to secure the Settlement Balancing Payment
 Reimbursement Obligation (as defined below); and

          WHEREAS, Mortgagor and Mortgagee have further agreed to amend the Mortgage, in
 each case with respect to Mortgagor’s personal recourse duties, obligations, responsibilities and
 liabilities and with respect to personal recourse remedies available to Mortgagee and certain other
 terms and conditions as set forth herein; and

          WHEREAS, the foregoing recitals are hereby incorporated in this Modification.

         NOW THEREFORE, for good and valuable consideration, Mortgagor and Mortgagee
 agree to amend the Mortgage, effective as of the Effective Date:

     1. The Mortgage is hereby modified so that all references therein to the amount of Five
        Million Six Hundred Thousand and No/100 Dollars ($5,600,000.00) are replaced with the
        sum of Ten Million Fifty Thousand and No/100 Dollars ($10,050,000).

     2. The Mortgage is hereby modified so that all references to the “Mortgaged Property” shall
        be deemed to include the property listed on Schedule A hereto and the definition of
        “Agreements” shall be deleted and replaced in its entirety with the following:

                 “Agreements” shall mean (i) all certificates, instruments, franchises, permits,
                 licenses, plans, specifications, warranties, and guarantees, and (ii) all agreements,
                 contracts and other documents listed on Schedule A attached to the Mortgage
                 Modification Agreement dated [______________], in each case now or hereafter


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                 entered into, and all rights therein and thereto, respecting or pertaining to the use,
                 occupation, construction, management or operation of the Land and any part
                 thereof and any Improvements, or respecting any of Mortgagor’s business or
                 activity conducted at the Premises or any part thereof, or relating to any of the
                 Fixtures, and all right, title and interest of Mortgagor therein and thereunder,
                 including, without limitation, the right, upon the happening of an Event of Default
                 hereunder, to receive and collect any sums payable to Mortgagor thereunder.

          Mortgagee is hereby authorized to file amendments to the Financing Statements to reflect
          this modification of the Mortgaged Property, at Mortgagee’s cost and expense.

     3. Pursuant to the Assignment Agreement, but subject to the provisions of Section 4.06 of the
        Mortgage (as modified herein), the Mortgagee acknowledges that any personal recourse
        duties, obligations, responsibilities and liabilities of Mortgagor under the Mortgage and
        any recourse remedies available to Mortgagee shall be the responsibility of and shall be
        performed by, CCH irrevocably, absolutely and unconditionally in all respects, without
        personal recourse to Broad III. Subject to Section 4.06 of the Mortgage (as modified
        herein), Mortgagee hereby releases Broad III from any and all such personal recourse
        duties, obligations, responsibilities and liabilities under the Mortgage and any and all
        personal recourse remedies available to Mortgagee under the Mortgage. For the avoidance
        of doubt, the performance of covenants, conditions, agreements and obligations under,
        inter alia, Article I, any provisions referenced in Section 2.01(a), Section 2.01(h), Section
        2.08, or Section 3.14 of the Mortgage, repayment of “Future Advances” (as defined in the
        Mortgage) and the performance and observance of all other provisions of the Mortgage,
        the Novated Note and the other Loan Documents, shall be the sole responsibility of, and
        shall be performed by, CCH, and recourse for the failure to perform any of the foregoing
        shall be solely against CCH and the Mortgaged Property.

     4. The Mortgage is hereby modified so that all references to the “Note” shall refer to the
        Novated Note as transferred and assigned by Mortgagor to CCH pursuant to, and novated
        in accordance with, the Assignment Agreement.

     5. The following is hereby added to the definition of the term “Secured Obligations” in the
        Mortgage:

                 and (vii) Repayment of the Settlement Balancing Payment Reimbursement
                 Obligation, solely out of the proceeds of the sales and/or other dispositions of the
                 Mortgaged Property in accordance with the terms of the MOU.
     6. The following are hereby added to the definitions section of the Mortgage in the proper
        alphabetical order:

                 “MOU” shall mean that certain Memorandum of Understanding Re: Global
          Settlement Among, Inter Alia, Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer,
          MBNF Parties, HSRE Entities, and CONA Parties, dated as of _____, 2022.



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                  “Settlement Balancing Payment” shall mean the amount of Four Million Four
          Hundred Fifty Thousand and No/100 Dollars ($4,450,000.00) paid by Mortgagee under
          and in accordance with the terms of the MOU.

                  “Settlement Balancing Payment Reimbursement Obligation” shall mean the
          obligation to repay to Mortgagee the Settlement Balancing Payment, in accordance with
          the terms of the MOU (including Schedule 3(b) thereto), when all or any part of the
          Mortgaged Property are sold, solely from the proceeds from such sale(s) and/or other
          dispositions. For the avoidance of doubt, Mortgagor shall not in any circumstances be
          liable for or obligated on the Settlement Balancing Reimbursement Obligation and the
          repayment thereof shall be strictly limited to the proceeds from any sale of the Mortgaged
          Property.

     7. The last paragraph of the Granting Clause of the Mortgage is hereby amended to read in
        its entirety as follows: “PROVIDED ALWAYS, and this instrument is created upon the
        express condition that, if Mortgagor pays or causes to be paid to Mortgagee, the Secured
        Obligations, then this Mortgage and the estate hereby granted shall cease and become
        void.”

     8. Section 2.01(b) of the Mortgage is hereby amended to delete the following phrase
        contained therein “or the other Loan Documents”.

     9. The final paragraph of Section 2.01(c) of the Mortgage, commencing with the phrase
        “Notwithstanding anything to the contrary in this Mortgage or the Note, including the
        existence of any Event of Default…”, is hereby deleted in its entirety.

     10. The final paragraph of Section 2.01(d) of the Mortgage, commencing with the phrase
         “Notwithstanding anything to the contrary in this Mortgage or the Note, including the
         existence of any Event of Default…”, is hereby deleted in its entirety.

     11. The final paragraph of Section 2.01(e) of the Mortgage, commencing with the phrase
         “Notwithstanding anything to the contrary in this Mortgage or the Note, including the
         existence of any Event of Default…”, is hereby deleted in its entirety.

     12. Section 2.01(g) of the Mortgage is hereby amended to delete the following phrase
         contained therein “(other than a default in payment of obligations of Borrower under the
         Note or any of the other Loan Documents)”.

     13. The second sentence of Section 3.04 of the Mortgage, commencing with the phrase “This
         Mortgage may not be assigned by Mortgagee prior to …”, is hereby deleted in its entirety.

     14. The final sentence of Section 3.04 of the Mortgage, commencing with the phrase “If there
         is more than one Mortgagor…”, is hereby deleted in its entirety.

     15. Section 3.14 of the Mortgage is hereby deleted in its entirety and replaced with the
         following:



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                  SECTION 3.14. Mortgagor acknowledges that this Mortgage is a Loan Document
          and agrees that any Event of Default under this Mortgage will constitute an “Event of
          Default” under the Co-Borrower Mortgages, the Note and the other Loan Documents, and
          that, in such event, in addition to any and all other remedies available to Mortgagee
          hereunder or under any of the other Loan Documents or at law or in equity, Mortgagee
          shall be permitted to recover any amounts secured hereby from the value of the Mortgaged
          Property and the property secured by the Co- Borrower Mortgages, on a pro rata basis or
          otherwise, as determined by Mortgagee in its reasonable discretion.

     16. Section 4.06(a) of the Mortgage is hereby deleted in its entirety and replaced with the
         following:

                 (a)      Recourse against Mortgagor is limited solely to the Mortgaged Property,
                 and (i) neither Mortgagor, or (ii) nor (a) any member of Mortgagor, (b) any person
                 owning, directly or indirectly, any legal or beneficial interest in Mortgagor or a
                 member of Mortgagor, (c) any partner, manager, principal, officer, controlling
                 person, beneficiary, trustee, advisor, representative, or other similar fiduciary,
                 shareholder, employee, agent, affiliate or director of any person described above,
                 or (d) any of their respective successors and assigns, shall have any personal
                 liability for the payment or performance of any of the obligations or otherwise
                 under the Note or Mortgage.

     17. Section 4.06(b) of the Mortgage is hereby deleted in its entirety and replaced with the
         following:

                 (b)     Notwithstanding the foregoing, nothing herein shall serve to limit
                 Mortgagee’s right to seek any judgment against Mortgagor solely to the extent such
                 judgment or decree may be necessary to foreclose and bar Mortgagor’s interests in
                 the Mortgaged Property; provided that the recourse under such judgment or decree
                 shall be solely to the Mortgaged Property; and further provided that nothing herein
                 stated or set forth in the Note shall: (a) release, impair or otherwise affect the
                 Novated Note or this Mortgage; nor (b) impair or otherwise affect the validity or
                 the lien of the Novated Note or this Mortgage; nor (c) impair the right of Mortgagee
                 to accelerate the maturity of the Novated Note (or to avail itself of any of its other
                 rights and remedies) in accordance with the terms hereof.

     18. Except as modified hereby, all other provisions of the Mortgage remain in full force and
         effect.

     19. This Modification Agreement may be executed in any number of counterparts, and each of
         such counterparts shall for all purposes be deemed to be an original and all such
         counterparts shall together constitute but one and the same instrument.




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                   [END OF TEXT; SIGNATURE PAGE FOLLOWS]




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         IN WITNESS WHEREOF, this Modification is duly executed as of the day and year
 first above written.

                                             MORTGAGOR:

                                             BROAD STREET HEALTHCARE
                                             PROPERTIES III, LLC,
                                             a Delaware limited liability company

                                             By:
                                             Name: Joel Freedman
                                             Title: Chief Executive Officer and President




 STATE OF ___________________ )
                              ) SS:
 COUNTY OF _________________ )

          I, ______________________________________ , a Notary Public in and for said County,
 in the State aforesaid, DO HEREBY CERTIFY, that ___________________, the
 ___________________ of Broad Street Healthcare Properties III, LLC, a Delaware limited
 liability company, who is personally known to me to be the same person whose name is subscribed
 to the foregoing instrument as such ______________________________________, appeared
 before me this day in person and acknowledged that he signed and delivered the said instrument
 as his own free and voluntary act and as the free and voluntary act of said ___________________,
 for the uses and purposes therein set forth.

          GIVEN under my hand and Notarial Seal this _____ day of ______________, 2022.

 My Commission Expires:

 ________________________________                   ________________________________
                                                    Notary Public




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                                             MORTGAGEE:

                                             PHILADELPHIA ACADEMIC HEALTH
                                             SYSTEM, LLC,
                                             a Delaware limited liability company

                                             By:
                                             Name:
                                             Title:


 STATE OF ___________________ )
                              ) SS:
 COUNTY OF _________________ )

          I, ______________________________________ , a Notary Public in and for said County,
 in the State aforesaid, DO HEREBY CERTIFY, that ___________________, the
 ___________________ of Philadelphia Academic Healthcare System, LLC, a Delaware limited
 liability company, who is personally known to me to be the same person whose name is subscribed
 to the foregoing instrument as such ______________________________________, appeared
 before me this day in person and acknowledged that he signed and delivered the said instrument
 as his own free and voluntary act and as the free and voluntary act of said ___________________,
 for the uses and purposes therein set forth.

          GIVEN under my hand and Notarial Seal this _____ day of ____________, 2022.

 My Commission Expires:

 ________________________________                     ________________________________
                                                      Notary Public




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                                    EXHIBIT A

                 LEGAL DESCRIPTION OF THE MORTGAGED PROPERTY

 Parcel D:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT OF INTERSECTION OF THE WESTERLY SIDE OF BROAD
 STREET (ON CITY PLAN, LEGALLY OPEN, 113’ WIDE) AND THE NORTHERLY SIDE
 OF RACE STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND RUNNING:

          1)    THENCE: ALONG SAID NORTHERLY SIDE OF RACE STREET,
                N78°59'00”W, A DISTANCE OF 190.025’ TO A POINT, COMMON CORNER
                TO PARCEL E;
          2)    THENCE: ALONG THE EASTERLY LINE OF PARCEL E, N11°21'00”E, A
                DISTANCE OF 94.333’ TO A POINT;
          3)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                19.967’ TO A POINT;
          4)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                15.667’ TO A POINT;
          5)    THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF
                9.942’ TO A POINT;
          6)    THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                31.333’ TO A POINT;
          7)    THENCE: CONTINUING ALONG PARCEL E, S78°59'00”E, A DISTANCE OF
                20.000’ TO A POINT, COMMON CORNER TO THE SOUTHERLY LINE OF
                PARCEL C;
          8)    THENCE: ALONG THE SOUTHERLY LINE OF PARCEL C, S11°21'00”W, A
                DISTANCE OF 2.000’ TO A POINT;
          9)    THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                61.122’ TO A POINT;
          10)   THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                8.646’ TO A POINT;
          11)   THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                7.382’ TO A POINT;
          12)   THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF
                7.952’ TO A POINT;
          13)   THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF
                91.495’ TO A POINT ON THE SAID WESTERLY SIDE OF BROAD STREET;




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          14)   THENCE: ALONG THE WESTERLY SIDE OF BROAD STREET,
                S11°21'00”W, A DISTANCE OF 155.932’ TO THE POINT AND PLACE OF
                BEGINNING.

 BEING known and assessed as 200-14 N. Broad St.

 BEING OPA Parcel No. 88-5-4678-62


 Parcel D Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017 made
 effective January 11, 2018, and recorded January 18, 2018 in the Office of the Recorder of Deeds
 for the County of Philadelphia as Document No. 53316755.

 Parcel E:

 ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND SITUATE, LYING AND
 BEGINNING IN THE CITY AND COUNTY OF PHILADELPHIA, COMMONWEALTH OF
 PENNSYLVANIA, AS SHOWN ON A PLAN BY PENNONI ASSOCIATES ENTITLED
 “HAHNEMANN UNIVERSITY HOSPITAL – PROPOSED SUBDIVISION PLAN”
 BOUNDED AND DESCRIBED AS FOLLOWS:
 BEGINNING AT A POINT AT THE INTERSECTION OF THE NORTHERLY SIDE OF RACE
 STREET (ON CITY PLAN, LEGALLY OPEN, 50’ WIDE) AND THE EASTERLY SIDE OF
 15TH STREET (ON CITY PLAN, LEGALLY OPEN, 70’ WIDE) AND RUNNING:

 1)       THENCE: ALONG THE EASTERLY SIDE OF 15th STREET, N11°21'00”E, A
          DISTANCE OF 167.831’ TO A POINT, COMMON CORNER TO PARCEL F;
 2)       THENCE: LEAVING SAID EASTERLY SIDE OF 15th STREET AND ALONG
          PARCEL F, S78°59'00”E, A DISTANCE OF 30.894’ TO A POINT;
 3)       THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 4.886’ TO
          A POINT;
 4)       THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 8.528’ TO
          A POINT;
 5)       THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 13.296’ TO
          A POINT;
 6)       THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 25.578’ TO
          A POINT;
 7)       THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 14.659’ TO
          A POINT COMMON TO PARCEL B;
 8)       THENCE: ALONG PARCEL B, S78°59'00”E, A DISTANCE OF 58.582’ TO A POINT;
 9)       THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 21.842’ TO
          A POINT;




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 10)      THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 62.210’ TO
          A POINT;
 11)      THENCE: CONTINUING ALONG SAME, N11°21'00”E, A DISTANCE OF 21.000’ TO
          A POINT COMMON CORNER TO PARCEL C;
 12)      THENCE: ALONG PARCEL C, S78°59'00”E, A DISTANCE OF 9.708’ TO A POINT;
 13)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 42.833’ TO
          A POINT;
 14)      THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 29.832’ TO
          A POINT;
 15)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 16.035’ TO
          A POINT, COMMON TO PARCEL D;
 16)      THENCE: ALONG PARCEL D, N78°59'00”W, A DISTANCE OF 9.333’ TO A POINT;
 17)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 31.333’ TO
          A POINT;
 18)      THENCE: CONTINUING ALONG SAME, S78°59'00”E, A DISTANCE OF 9.942’ TO
          A POINT;
 19)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 15.667’ TO
          A POINT;
 20)      THENCE: CONTINUING ALONG SAME, N78°59'00”W, A DISTANCE OF 19.967’
          TO A POINT;
 21)      THENCE: CONTINUING ALONG SAME, S11°21'00”W, A DISTANCE OF 94.333’ TO
          A POINT ON THE SAID NORTHERLY SIDE OF RACE STREET;
 22)      THENCE: ALONG THE NORTHERLY SIDE OF RACE STREET, N 78°59’00” W, A
          DISTANCE OF 205.975’ TO THE POINT AND PLACE OF BEGINNING.

 BEING known and assessed as 201-19 N. 15th St.

 BEING OPA Parcel No. 77-2-0284-96

 Parcel E Easement Parcel:

 TOGETHER WITH in that certain Reciprocal Easement and Operating Agreement made by and
 between Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties III, LLC,
 PAHH Feinstein MOB, LLC and PAHH New College MOB, LLC dated December 30, 2017,
 made effective January 11, 2018 and recorded January 18, 2018 in the Office of the Recorder of
 Deeds for the County of Philadelphia as Document No. 53316755.




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                                               SCHEDULE A
 Capitalized terms used in this Schedule without definitions shall have the meanings assigned to them in
 that certain Memorandum Of Understanding to which Debtor and Secured Party are parties (the “MOU”);
 all Section references in this Schedule are to the Sections of the Mortgage.
 All of Broad Street Healthcare Properties III, LLC (“Broad Street PropCo III”) right, title and interest in
 and to the following rights, properties and assets, whether tangible or intangible, subject to all liens, claims
 and encumbrances, except as provided in the MOU:
     1. All equitable and other interests in the Real Estate, as well as the tangible personal property,
        including equipment, furniture, fixtures, office furnishings, and leasehold improvements, owned
        by Broad Street PropCo III and located upon or at any Real Estate.
     2. Broad Street PropCo III REAs.
     3. Broad Street PropCo III Unity of Use Agreements.
     4. All deposits, pre-payments, overpayments, rebates, refunds and the like pertaining to items 1-3, 6
        and 7 of this Schedule (excluding, for the avoidance of doubt, deposits, pre-payments,
        overpayments, rebates, refunds and the like with or from any advisor or professional of Broad Street
        PropCo III, including those listed in item 32(a) of Schedule 3(a)(vii) to the MOU), including
        without limitation the security deposit made by Broad Street Healthcare Properties, LLC pursuant
        to the Steam Service Agreement dated December 1, 2020 between Vicinity Energy Philadelphia,
        Inc. and Broad Street Healthcare Properties, LLC by and through its agent, G&E Real Estate
        Management Services, Inc., a Delaware corporation, dba Newmark Knight Frank.
     5. Any account balances representing Advances made pursuant to, and as defined in, the Philadelphia
        Academic Health System, LLC (“PAHS”) Loan Documents in the following bank accounts:
             a. Account No.:             XX-XXXX-0088
                Account Name: Broad Street Healthcare Properties III, LLC
                Transit/Routing:         043000096
                Bank Name:               PNC Bank, Pittsburgh, PA




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                                                                                       Exhibit 3(a)(viii)(B)

     On the MOU Implementation Date (i) all such account balances that do not represent Advances (as
     such term is defined in the PAHS Loan Documents) shall be transferred by Broad Street PropCo III to
     PAHH and (ii) all such account balances that represent Advances shall be transferred to the Center City
     Healthcare, LLC (“CCH’) bank account designated by PAHS prior to the MOU Implementation Date,
     other than the sum of outstanding amounts due on account of issued checks that had not cleared
     (“Outstanding Checks”).

     6. All contracts and agreements listed as items 1-26 of Schedule 3(a)(vii) to the MOU.

     7. All utilities to or at the Real Estate.
     8. For the avoidance of doubt, (a) the assets shall not include, and shall not be deemed to include: (i)
     any claim held by Broad Street PropCo III against any of the other MBNF Parties, the MBNF Affiliates,
     any of their respective Representatives, or any Broad Street Lenders, or (ii) with respect to any
     professional or advisor of Broad Street PropCo III, including those listed in item 32(a) of Schedule
     3(a)(vii) to the MOU, any engagement or services agreement, deliverable or rights thereunder,
     including any retainer or privileged communication, in which Broad Street PropCo III may have any
     interest, rights or entitlement, and (b) no power, right or privilege granted by Broad Street PropCo III
     to CCH pursuant to any Power of Attorney shall be exercised by CCH to demand, request, pursue or
     otherwise obtain any assets not substantively consolidated with CCH pursuant to the MOU.


     The obligations that are secured by the collateral described herein, and by other collateral, are without
     personal recourse as to the Debtor, as set forth in certain agreements between, among other parties,
     the Debtor and the Secured Party hereunder.




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                                                      EXHIBITA

                                            ADDITIONALCOLLATERAL

 CapitalizedtermsusedinthisSchedulewithoutdefinitionsshallhavethemeaningsassignedtothemin
 thatcertainMemorandumOfUnderstandingtowhichDebtorandSecuredPartyareparties(the“MOU”);
 allSectionreferencesinthisSchedulearetotheSectionsoftheMortgage.

 AllofBroadStreetHealthcarePropertiesII,LLC(“BroadStreetPropCoII”)right,titleandinterestinand
 tothefollowingrights,propertiesandassets,whethertangibleorintangible,subjecttoallliens,claims
 andencumbrances,exceptasprovidedintheMOU:

     1. All equitable and other interests in the Real Estate, as well as the tangible personal property,
        includingequipment,furniture,fixtures,officefurnishings,andleaseholdimprovements,owned
        byBroadStreetPropCoIIandlocateduponoratanyRealEstate.
     2. BroadStreetPropCoIIREAs.
     3. BroadStreetPropCoIIUnityofUseAgreements.
     4. Alldeposits,preͲpayments,overpayments,rebates,refundsandthelikepertainingtoitems1Ͳ3,
        6 and 7 of this Schedule (excluding, for the avoidance of doubt, deposits, preͲpayments,
        overpayments,rebates,refundsandthelikewithorfromanyadvisororprofessionalofBroad
        StreetPropCoII,includingthoselistedinitem32(a)ofSchedule3(a)(vii)totheMOU),including
        withoutlimitationthesecuritydepositmadebyBroadStreetHealthcareProperties,LLCpursuant
        totheSteamServiceAgreementdatedDecember1,2020betweenVicinityEnergyPhiladelphia,
        Inc. and Broad Street Healthcare Properties, LLC by and through its agent, G&E Real Estate
        ManagementServices,Inc.,aDelawarecorporation,dbaNewmarkKnightFrank.
     5. Any account balances representing Advances made pursuant to, and as defined in, the
        Philadelphia Academic Health System, LLC (“PAHS”) Loan Documents in the following bank
        accounts:
              a. AccountNo.:             XXͲXXXXͲ0061
                 AccountName:BroadStreetHealthcarePropertiesII,LLC
                 Transit/Routing:          043000096
                 BankName:               PNCBank,Pittsburgh,PA

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          OntheMOUImplementationDate(i)allsuchaccountbalancesthatdonotrepresentAdvances(as
          suchtermisdefinedinthePAHSLoanDocuments)shallbetransferredbyBroadStreetPropCoIIto
          PAHH1and(ii)allsuchaccountbalancesthatrepresentAdvancesshallbetransferredtotheCenter
          CityHealthcare,LLC(“CCH’)bankaccountdesignatedbyPAHSpriortotheMOUImplementationDate,
          otherthanthesumofoutstandingamountsdueonaccountofissuedchecksthathadnotcleared
          (“OutstandingChecks”).
               
          6.Allcontractsandagreementslistedasitems1Ͳ26ofSchedule3(a)(vii)totheMOU.

          7.AllutilitiestoorattheRealEstate.

          8.Fortheavoidanceofdoubt,(a)theassetsshallnotinclude,andshallnotbedeemedtoinclude:(i)
          anyclaimheldbyBroadStreetPropCoIIagainstanyoftheotherMBNFParties,theMBNFAffiliates,
          any of their respective Representatives, or any Broad Street Lenders, or (ii) with respect to any
          professional or advisor of Broad Street PropCo II, including those listed in item 32(a) of Schedule
          3(a)(vii) to the MOU, any engagement or services agreement, deliverable or rights thereunder,
          includinganyretainerorprivilegedcommunication,inwhichBroadStreetPropCoIImayhaveany
          interest,rightsorentitlement,and(b)nopower,rightorprivilegegrantedbyBroadStreetPropCoII
          toCCHpursuanttoanyPowerofAttorneyshallbeexercisedbyCCHtodemand,request,pursueor
          otherwiseobtainanyassetsnotsubstantivelyconsolidatedwithCCHpursuanttotheMOU.

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          The obligations that are secured by the collateral described herein, and by other collateral, are
          withoutpersonalrecourseastotheDebtor,assetforthincertainagreementsbetween,amongother
          parties,theDebtorandtheSecuredPartyhereunder.




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            Amount represents the balance in the Broad Street PropCos’ accounts immediately prior to the first
              fundingunderthePAHSLoanDocuments.


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          OntheMOUImplementationDate(i)allsuchaccountbalancesthatdonotrepresentAdvances(as
          suchtermisdefinedinthePAHSLoanDocuments)shallbetransferredbyBroadStreetPropCoIIto
          PAHH1and(ii)allsuchaccountbalancesthatrepresentAdvancesshallbetransferredtotheCenter
          CityHealthcare,LLC(“CCH’)bankaccountdesignatedbyPAHSpriortotheMOUImplementationDate,
          otherthanthesumofoutstandingamountsdueonaccountofissuedchecksthathadnotcleared
          (“OutstandingChecks”).
               
          6.Allcontractsandagreementslistedasitems1Ͳ26ofSchedule3(a)(vii)totheMOU.

          7.AllutilitiestoorattheRealEstate.

          8.Fortheavoidanceofdoubt,(a)theassetsshallnotinclude,andshallnotbedeemedtoinclude:(i)
          anyclaimheldbyBroadStreetPropCoIIagainstanyoftheotherMBNFParties,theMBNFAffiliates,
          any of their respective Representatives, or any Broad Street Lenders, or (ii) with respect to any
          professional or advisor of Broad Street PropCo II, including those listed in item 32(a) of Schedule
          3(a)(vii) to the MOU, any engagement or services agreement, deliverable or rights thereunder,
          includinganyretainerorprivilegedcommunication,inwhichBroadStreetPropCoIImayhaveany
          interest,rightsorentitlement,and(b)nopower,rightorprivilegegrantedbyBroadStreetPropCoII
          toCCHpursuanttoanyPowerofAttorneyshallbeexercisedbyCCHtodemand,request,pursueor
          otherwiseobtainanyassetsnotsubstantivelyconsolidatedwithCCHpursuanttotheMOU.

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          The obligations that are secured by the collateral described herein, and by other collateral, are
          withoutpersonalrecourseastotheDebtor,assetforthincertainagreementsbetween,amongother
          parties,theDebtorandtheSecuredPartyhereunder.




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            Amount represents the balance in the Broad Street PropCos’ accounts immediately prior to the first
              fundingunderthePAHSLoanDocuments.


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                                                      EXHIBITA

                                            ADDITIONALCOLLATERAL

 CapitalizedtermsusedinthisSchedulewithoutdefinitionsshallhavethemeaningsassignedtothemin
 thatcertainMemorandumOfUnderstandingtowhichDebtorandSecuredPartyareparties(the“MOU”);
 allSectionreferencesinthisSchedulearetotheSectionsoftheMortgage.

 AllofBroadStreetHealthcarePropertiesIII,LLC(“BroadStreetPropCoIII”)right,titleandinterestinand
 tothefollowingrights,propertiesandassets,whethertangibleorintangible,subjecttoallliens,claims
 andencumbrances,exceptasprovidedintheMOU:

     1. All equitable and other interests in the Real Estate, as well as the tangible personal property,
        includingequipment,furniture,fixtures,officefurnishings,andleaseholdimprovements,owned
        byBroadStreetPropCoIIIandlocateduponoratanyRealEstate.
     2. BroadStreetPropCoIIIREAs.
     3. BroadStreetPropCoIIIUnityofUseAgreements.
     4. Alldeposits,preͲpayments,overpayments,rebates,refundsandthelikepertainingtoitems1Ͳ3,
        6 and 7 of this Schedule (excluding, for the avoidance of doubt, deposits, preͲpayments,
        overpayments,rebates,refundsandthelikewithorfromanyadvisororprofessionalofBroad
        StreetPropCoIII,includingthoselistedinitem32(a)ofSchedule3(a)(vii)totheMOU),including
        withoutlimitationthesecuritydepositmadebyBroadStreetHealthcareProperties,LLCpursuant
        totheSteamServiceAgreementdatedDecember1,2020betweenVicinityEnergyPhiladelphia,
        Inc. and Broad Street Healthcare Properties, LLC by and through its agent, G&E Real Estate
        ManagementServices,Inc.,aDelawarecorporation,dbaNewmarkKnightFrank.
     5. Any account balances representing Advances made pursuant to, and as defined in, the
        Philadelphia Academic Health System, LLC (“PAHS”) Loan Documents in the following bank
        accounts:
              a. AccountNo.:             XXͲXXXXͲ0088
                 AccountName:BroadStreetHealthcarePropertiesIII,LLC
                 Transit/Routing:          043000096
                 BankName:               PNCBank,Pittsburgh,PA

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          OntheMOUImplementationDate(i)allsuchaccountbalancesthatdonotrepresentAdvances(as
          suchtermisdefinedinthePAHSLoanDocuments)shallbetransferredbyBroadStreetPropCoIIIto
          PAHH1and(ii)allsuchaccountbalancesthatrepresentAdvancesshallbetransferredtotheCenter
          CityHealthcare,LLC(“CCH’)bankaccountdesignatedbyPAHSpriortotheMOUImplementationDate,
          otherthanthesumofoutstandingamountsdueonaccountofissuedchecksthathadnotcleared
          (“OutstandingChecks”).
               
          6.Allcontractsandagreementslistedasitems1Ͳ26ofSchedule3(a)(vii)totheMOU.

          7.AllutilitiestoorattheRealEstate.

          8.Fortheavoidanceofdoubt,(a)theassetsshallnotinclude,andshallnotbedeemedtoinclude:(i)
          anyclaimheldbyBroadStreetPropCoIIIagainstanyoftheotherMBNFParties,theMBNFAffiliates,
          any of their respective Representatives, or any Broad Street Lenders, or (ii) with respect to any
          professional or advisor of Broad Street PropCo III, including those listed in item 32(a) of Schedule
          3(a)(vii) to the MOU, any engagement or services agreement, deliverable or rights thereunder,
          includinganyretainerorprivilegedcommunication,inwhichBroadStreetPropCoIIImayhaveany
          interest,rightsorentitlement,and(b)nopower,rightorprivilegegrantedbyBroadStreetPropCoIII
          toCCHpursuanttoanyPowerofAttorneyshallbeexercisedbyCCHtodemand,request,pursueor
          otherwiseobtainanyassetsnotsubstantivelyconsolidatedwithCCHpursuanttotheMOU.

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          The obligations that are secured by the collateral described herein, and by other collateral, are
          withoutpersonalrecourseastotheDebtor,assetforthincertainagreementsbetween,amongother
          parties,theDebtorandtheSecuredPartyhereunder.




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            Amount represents the balance in the Broad Street PropCos’ accounts immediately prior to the first
              fundingunderthePAHSLoanDocuments.


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          OntheMOUImplementationDate(i)allsuchaccountbalancesthatdonotrepresentAdvances(as
          suchtermisdefinedinthePAHSLoanDocuments)shallbetransferredbyBroadStreetPropCoIIIto
          PAHH1and(ii)allsuchaccountbalancesthatrepresentAdvancesshallbetransferredtotheCenter
          CityHealthcare,LLC(“CCH’)bankaccountdesignatedbyPAHSpriortotheMOUImplementationDate,
          otherthanthesumofoutstandingamountsdueonaccountofissuedchecksthathadnotcleared
          (“OutstandingChecks”).
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          6.Allcontractsandagreementslistedasitems1Ͳ26ofSchedule3(a)(vii)totheMOU.

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          8.Fortheavoidanceofdoubt,(a)theassetsshallnotinclude,andshallnotbedeemedtoinclude:(i)
          anyclaimheldbyBroadStreetPropCoIIIagainstanyoftheotherMBNFParties,theMBNFAffiliates,
          any of their respective Representatives, or any Broad Street Lenders, or (ii) with respect to any
          professional or advisor of Broad Street PropCo III, including those listed in item 32(a) of Schedule
          3(a)(vii) to the MOU, any engagement or services agreement, deliverable or rights thereunder,
          includinganyretainerorprivilegedcommunication,inwhichBroadStreetPropCoIIImayhaveany
          interest,rightsorentitlement,and(b)nopower,rightorprivilegegrantedbyBroadStreetPropCoIII
          toCCHpursuanttoanyPowerofAttorneyshallbeexercisedbyCCHtodemand,request,pursueor
          otherwiseobtainanyassetsnotsubstantivelyconsolidatedwithCCHpursuanttotheMOU.

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          The obligations that are secured by the collateral described herein, and by other collateral, are
          withoutpersonalrecourseastotheDebtor,assetforthincertainagreementsbetween,amongother
          parties,theDebtorandtheSecuredPartyhereunder.




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            Amount represents the balance in the Broad Street PropCos’ accounts immediately prior to the first
              fundingunderthePAHSLoanDocuments.


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                                                      EXHIBITA

                                            ADDITIONALCOLLATERAL

 CapitalizedtermsusedinthisSchedulewithoutdefinitionsshallhavethemeaningsassignedtothemin
 thatcertainMemorandumOfUnderstandingtowhichDebtorandSecuredPartyareparties(the“MOU”);
 allSectionreferencesinthisSchedulearetotheSectionsoftheMortgage.

 AllofBroadStreetHealthcareProperties,LLC(“BroadStreetPropCoI”)right,titleandinterestinandto
 thefollowingrights,propertiesandassets,whethertangibleorintangible,subjecttoallliens,claimsand
 encumbrances,exceptasprovidedintheMOU:

     1. All equitable and other interests in the Real Estate, as well as the tangible personal property,
        includingequipment,furniture,fixtures,officefurnishings,andleaseholdimprovements,owned
        byBroadStreetPropCoIandlocateduponoratanyRealEstate.
     2. BroadStreetPropCoIREAs.
     3. BroadStreetPropCoIUnityofUseAgreements.
     4. Alldeposits,preͲpayments,overpayments,rebates,refundsandthelikepertainingtoitems1Ͳ3,
        6 and 7 of this Schedule (excluding, for the avoidance of doubt, deposits, preͲpayments,
        overpayments,rebates,refundsandthelikewithorfromanyadvisororprofessionalofBroad
        StreetPropCoI,includingthoselistedinitem32(a)ofSchedule3(a)(vii)totheMOU),including
        withoutlimitationthesecuritydepositmadebyBroadStreetHealthcareProperties,LLCpursuant
        totheSteamServiceAgreementdatedDecember1,2020betweenVicinityEnergyPhiladelphia,
        Inc. and Broad Street Healthcare Properties, LLC by and through its agent, G&E Real Estate
        ManagementServices,Inc.,aDelawarecorporation,dbaNewmarkKnightFrank.
     5. Any account balances representing Advances made pursuant to, and as defined in, the
        Philadelphia Academic Health System, LLC (“PAHS”) Loan Documents in the following bank
        accounts:

               a.AccountNo.:         XXͲXXXXͲ0053
               AccountName: BroadStreetHealthcareProperties,LLC
                   Transit/Routing:          043000096
                   BankName:               PNCBank,Pittsburgh,PA
                                    




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               OntheMOUImplementationDate(i)allsuchaccountbalancesthatdonotrepresentAdvances
               (assuchtermisdefinedinthePAHSLoanDocuments)shallbetransferredbyBroadStreetPropCo
               ItoPAHH1and(ii)allsuchaccountbalancesthatrepresentAdvancesshallbetransferredtothe
               Center City Healthcare, LLC (“CCH’) bank account designated by PAHS prior to the MOU
               Implementation Date, other than the sum of outstanding amounts due on account of issued
               checksthathadnotcleared(“OutstandingChecks”).
               
          6.Allcontractsandagreementslistedasitems1Ͳ26ofSchedule3(a)(vii)totheMOU.

          7.AllutilitiestoorattheRealEstate.

          8.Fortheavoidanceofdoubt,(a)theassetsshallnotinclude,andshallnotbedeemedtoinclude:(i)
          anyclaimheldbyBroadStreetPropCoIagainstanyoftheotherMBNFParties,theMBNFAffiliates,
          any of their respective Representatives, or any Broad Street Lenders, or (ii) with respect to any
          professional or advisor of Broad Street PropCo I, including those listed in item 32(a) of Schedule
          3(a)(vii) to the MOU, any engagement or services agreement, deliverable or rights thereunder,
          including any retainer or privileged communication, in which Broad Street PropCo I may have any
          interest,rightsorentitlement,and(b)nopower,rightorprivilegegrantedbyBroadStreetPropCoI
          toCCHpursuanttoanyPowerofAttorneyshallbeexercisedbyCCHtodemand,request,pursueor
          otherwiseobtainanyassetsnotsubstantivelyconsolidatedwithCCHpursuanttotheMOU.

          

          The obligations that are secured by the collateral described herein, and by other collateral, are
          withoutpersonalrecourseastotheDebtor,assetforthincertainagreementsbetween,amongother
          parties,theDebtorandtheSecuredPartyhereunder.




                                           
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            Amount represents the balance in the Broad Street PropCos’ accounts immediately prior to the first
              fundingunderthePAHSLoanDocuments.


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               OntheMOUImplementationDate(i)allsuchaccountbalancesthatdonotrepresentAdvances
               (assuchtermisdefinedinthePAHSLoanDocuments)shallbetransferredbyBroadStreetPropCo
               ItoPAHH1and(ii)allsuchaccountbalancesthatrepresentAdvancesshallbetransferredtothe
               Center City Healthcare, LLC (“CCH’) bank account designated by PAHS prior to the MOU
               Implementation Date, other than the sum of outstanding amounts due on account of issued
               checksthathadnotcleared(“OutstandingChecks”).
               
          6.Allcontractsandagreementslistedasitems1Ͳ26ofSchedule3(a)(vii)totheMOU.

          7.AllutilitiestoorattheRealEstate.

          8.Fortheavoidanceofdoubt,(a)theassetsshallnotinclude,andshallnotbedeemedtoinclude:(i)
          anyclaimheldbyBroadStreetPropCoIagainstanyoftheotherMBNFParties,theMBNFAffiliates,
          any of their respective Representatives, or any Broad Street Lenders, or (ii) with respect to any
          professional or advisor of Broad Street PropCo I, including those listed in item 32(a) of Schedule
          3(a)(vii) to the MOU, any engagement or services agreement, deliverable or rights thereunder,
          including any retainer or privileged communication, in which Broad Street PropCo I may have any
          interest,rightsorentitlement,and(b)nopower,rightorprivilegegrantedbyBroadStreetPropCoI
          toCCHpursuanttoanyPowerofAttorneyshallbeexercisedbyCCHtodemand,request,pursueor
          otherwiseobtainanyassetsnotsubstantivelyconsolidatedwithCCHpursuanttotheMOU.

          

          The obligations that are secured by the collateral described herein, and by other collateral, are
          withoutpersonalrecourseastotheDebtor,assetforthincertainagreementsbetween,amongother
          parties,theDebtorandtheSecuredPartyhereunder.




                                           
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            Amount represents the balance in the Broad Street PropCos’ accounts immediately prior to the first
              fundingunderthePAHSLoanDocuments.


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                        Document
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Case 1:21-cv-01779-RGA
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                              Exhibit 3(a)(x)
          Merger Agreement (Front Street Entities merged into PAHH)
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                                                                                       Exhibit 3(a)(x)


                             AGREEMENT OF MERGER
                                           OF
                   FRONT STREET HEALTHCARE PROPERTIES, LLC
                          (a Delaware limited liability company)
                                  WITH AND INTO
                 PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC
                          (a Delaware limited liability company)


         This AGREEMENT OF MERGER (this “Agreement”) is dated as of [________],
 2022, by and between Front Street Healthcare Properties, LLC, a Delaware limited liability
 company (“Front Street”), and Philadelphia Academic Health Holdings, LLC, a Delaware
 limited liability company (“PAHH”).
                                            RECITALS
        A.      PAHH, the sole member and sole manager of Front Street, has deemed it
 advisable and in the best interests of Front Street that Front Street be merged with and into
 PAHH.
         B.     American Academic Health System, LLC, the sole member with management
 authority for PAHH, has adopted resolutions approving this Agreement in accordance with the
 Delaware Limited Liability Company Act (the “DLLCA”).
         NOW, THEREFORE, the parties hereto, in consideration of the mutual covenants
 herein contained and intending to be legally bound, agree as follows:
        1.     Parties to Merger. Front Street and PAHH shall effect a merger (the “Merger”)
 in accordance with and subject to the terms and conditions of this Agreement.
         2.     Merger; Governing Law. At the Effective Time (as defined in Section 3
 hereof), Front Street shall be merged with and into PAHH, the separate existence of Front Street
 shall cease, and PAHH shall continue as the surviving limited liability company (the “Surviving
 Limited Liability Company”) under the name “Philadelphia Academic Health Holdings, LLC.”
 The Surviving Limited Liability Company shall continue to be governed by the laws of the State
 of Delaware.
          3.     Filing and Effective Time. A Certificate of Merger (the “Delaware
 Certificate”) to be filed with the Secretary of State of the State of Delaware, substantially in the
 form of Exhibit A attached hereto with such changes as may be required by the Secretary of
 State of the State of Delaware, and such other documents and instruments as are required by, and
 complying in all respects with, the DLLCA shall be delivered to the appropriate state officials for
 filing. The Merger shall become effective at such time as the Delaware Certificate is accepted for
 record by the Secretary of State of the State of Delaware or such other time as specified in the
 Delaware Certificate (the “Effective Time”).



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         4.    Certificate of Formation. At the Effective Time, the Certificate of Formation of
 PAHH shall be and thereafter remain the Certificate of Formation of the Surviving Limited
 Liability Company until thereafter amended in accordance with applicable law, and the
 Surviving Limited Liability Company shall continue to be a limited liability company organized
 and governed by the laws of the State of Delaware.
         5.     Limited Liability Company Agreement. At the Effective Time, the Limited
 Liability Company Agreement of PAHH shall be and thereafter remain the Limited Liability
 Company Agreement of the Surviving Limited Liability Company until altered, amended or
 repealed in the manner therein provided in accordance with the Limited Liability Company
 Agreement of the Surviving Limited Liability Company and applicable law.
          6.      Cancellation of Limited Liability Company Interests. At the Effective Time,
 all of the limited liability company interests in Front Street issued and outstanding immediately
 prior to the Effective Time shall, by virtue of the Merger and without any action on the part of
 PAHH, be canceled and cease to exist.
         7.     Effect of Merger. At the Effective Time, the Merger shall have the effect set
 forth in the DLLCA.
        8.      Amendment or Termination. This Agreement may be amended or terminated at
 any time on or before the Effective Time by agreement of PAHH, the sole member and sole
 manager of Front Street, and AAHS the sole member with management authority for PAHH.
        9.     Counterparts. This Agreement may be executed in one or more counterparts,
 each of which shall be deemed an original and all of which together shall be considered one and
 the same agreement.
                                     [Signature Page Follows]




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                                                                                  Exhibit 3(a)(x)


       IN WITNESS WHEREOF, the parties hereto have duly executed this Agreement of
 Merger as of the day and year first written above.
                                   FRONT STREET HEALTHCARE PROPERTIES, LLC



                                   By: _______________________________
                                   Name: Joel Freedman
                                   Title: Chief Executive Officer and President


                                   PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC


                                   By: _______________________________
                                   Name: Joel Freedman
                                   Title: Chief Executive Officer and President




                       SIGNATURE PAGE TO AGREEMENT OF MERGER
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                                                                                         Exhibit 3(a)(x)


                                             EXHIBIT A
                                        Delaware Certificate


                                  CERTIFICATE OF MERGER
                                           OF
                             AGREEMENT OF MERGER
                                           OF
                   FRONT STREET HEALTHCARE PROPERTIES, LLC
                          (a Delaware limited liability company)
                                  WITH AND INTO
                 PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC
                          (a Delaware limited liability company)



                              Pursuant to Title 6, Section 18-209 of the
                              Delaware Limited Liability Company Act




     Philadelphia Academic Health Holdings, LLC, a Delaware limited liability company
 (“PAHH”), executed the following Certificate of Merger:
      FIRST: The name of the surviving limited liability company is Philadelphia Academic
 Health Holdings, LLC, and the name of the limited liability company being merged into this
 surviving limited liability company is Front Street Healthcare Properties, LLC.
     SECOND: The Agreement of Merger has been approved, adopted, certified, executed and
 acknowledged by each of the constituent limited liability companies.
      THIRD: The name of the surviving limited liability company is Philadelphia Academic
 Health Holdings, LLC.
      FOURTH: This Certificate of Merger, and the merger provided for herein, shall become
 effective at the time this Certificate of Merger is filed with the Secretary of State of the State of
 Delaware.
      FIFTH: The Agreement of Merger is on file at c/o Cogency Global Inc., 850 New Burton
 Road, Suite 201, Dover, DE 19904 (Kent County), the place of business of the registered agent
 of surviving limited liability company in the State of Delaware.
       SIXTH: A copy of the Agreement of Merger will be furnished by the surviving limited
 liability company on request, without cost, to any member of the constituent limited liability
 companies.



                                              EXHIBIT A
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                                                                                      Exhibit 3(a)(x)


     SEVENTH: The current certificate of formation of PAHH shall be the certificate of
 formation of the surviving limited liability company.


      IN WITNESS WHEREOF, the surviving limited liability company has caused this
 Certificate of Merger to be executed by the undersigned, its authorized officer, as of this ___ day
 of ________, 2022.

                                   PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC



                                   By: ________________________________
                                   Name: Joel Freedman
                                   Title: Chief Executive Officer and President




                                            EXHIBIT A
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                             AGREEMENT OF MERGER
                                           OF
                  FRONT STREET HEALTHCARE PROPERTIES II, LLC
                          (a Delaware limited liability company)
                                  WITH AND INTO
                 PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC
                          (a Delaware limited liability company)


         This AGREEMENT OF MERGER (this “Agreement”) is dated as of [________],
 2022, by and between Front Street Healthcare Properties II, LLC, a Delaware limited liability
 company (“Front Street”), and Philadelphia Academic Health Holdings, LLC, a Delaware
 limited liability company (“PAHH”).
                                            RECITALS
        A.      PAHH, the sole member and sole manager of Front Street, has deemed it
 advisable and in the best interests of Front Street that Front Street be merged with and into
 PAHH.
         B.     American Academic Health System, LLC, the sole member with management
 authority for PAHH, has adopted resolutions approving this Agreement in accordance with the
 Delaware Limited Liability Company Act (the “DLLCA”).
         NOW, THEREFORE, the parties hereto, in consideration of the mutual covenants
 herein contained and intending to be legally bound, agree as follows:
        1.     Parties to Merger. Front Street and PAHH shall effect a merger (the “Merger”)
 in accordance with and subject to the terms and conditions of this Agreement.
         2.     Merger; Governing Law. At the Effective Time (as defined in Section 3
 hereof), Front Street shall be merged with and into PAHH, the separate existence of Front Street
 shall cease, and PAHH shall continue as the surviving limited liability company (the “Surviving
 Limited Liability Company”) under the name “Philadelphia Academic Health Holdings, LLC.”
 The Surviving Limited Liability Company shall continue to be governed by the laws of the State
 of Delaware.
          3.     Filing and Effective Time. A Certificate of Merger (the “Delaware
 Certificate”) to be filed with the Secretary of State of the State of Delaware, substantially in the
 form of Exhibit A attached hereto with such changes as may be required by the Secretary of
 State of the State of Delaware, and such other documents and instruments as are required by, and
 complying in all respects with, the DLLCA shall be delivered to the appropriate state officials for
 filing. The Merger shall become effective at such time as the Delaware Certificate is accepted for
 record by the Secretary of State of the State of Delaware or such other time as specified in the
 Delaware Certificate (the “Effective Time”).



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         4.    Certificate of Formation. At the Effective Time, the Certificate of Formation of
 PAHH shall be and thereafter remain the Certificate of Formation of the Surviving Limited
 Liability Company until thereafter amended in accordance with applicable law, and the
 Surviving Limited Liability Company shall continue to be a limited liability company organized
 and governed by the laws of the State of Delaware.
         5.     Limited Liability Company Agreement. At the Effective Time, the Limited
 Liability Company Agreement of PAHH shall be and thereafter remain the Limited Liability
 Company Agreement of the Surviving Limited Liability Company until altered, amended or
 repealed in the manner therein provided in accordance with the Limited Liability Company
 Agreement of the Surviving Limited Liability Company and applicable law.
          6.      Cancellation of Limited Liability Company Interests. At the Effective Time,
 all of the limited liability company interests in Front Street issued and outstanding immediately
 prior to the Effective Time shall, by virtue of the Merger and without any action on the part of
 PAHH, be canceled and cease to exist.
         7.     Effect of Merger. At the Effective Time, the Merger shall have the effect set
 forth in the DLLCA.
        8.      Amendment or Termination. This Agreement may be amended or terminated at
 any time on or before the Effective Time by agreement of PAHH, the sole member and sole
 manager of Front Street, and AAHS the sole member with management authority for PAHH.
        9.     Counterparts. This Agreement may be executed in one or more counterparts,
 each of which shall be deemed an original and all of which together shall be considered one and
 the same agreement.
                                     [Signature Page Follows]




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                                                                                  Exhibit 3(a)(x)


       IN WITNESS WHEREOF, the parties hereto have duly executed this Agreement of
 Merger as of the day and year first written above.
                                   FRONT STREET HEALTHCARE PROPERTIES II, LLC



                                   By: _______________________________
                                   Name: Joel Freedman
                                   Title: Chief Executive Officer and President


                                   PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC


                                   By: _______________________________
                                   Name: Joel Freedman
                                   Title: Chief Executive Officer and President




                       SIGNATURE PAGE TO AGREEMENT OF MERGER
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                                             EXHIBIT A
                                        Delaware Certificate


                                  CERTIFICATE OF MERGER
                                           OF
                             AGREEMENT OF MERGER
                                           OF
                  FRONT STREET HEALTHCARE PROPERTIES II, LLC
                          (a Delaware limited liability company)
                                  WITH AND INTO
                 PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC
                          (a Delaware limited liability company)



                              Pursuant to Title 6, Section 18-209 of the
                              Delaware Limited Liability Company Act




     Philadelphia Academic Health Holdings, LLC, a Delaware limited liability company
 (“PAHH”), executed the following Certificate of Merger:
      FIRST: The name of the surviving limited liability company is Philadelphia Academic
 Health Holdings, LLC, and the name of the limited liability company being merged into this
 surviving limited liability company is Front Street Healthcare Properties II, LLC.
     SECOND: The Agreement of Merger has been approved, adopted, certified, executed and
 acknowledged by each of the constituent limited liability companies.
      THIRD: The name of the surviving limited liability company is Philadelphia Academic
 Health Holdings, LLC.
      FOURTH: This Certificate of Merger, and the merger provided for herein, shall become
 effective at the time this Certificate of Merger is filed with the Secretary of State of the State of
 Delaware.
      FIFTH: The Agreement of Merger is on file at c/o Cogency Global Inc., 850 New Burton
 Road, Suite 201, Dover, DE 19904 (Kent County), the place of business of the registered agent
 of surviving limited liability company in the State of Delaware.
       SIXTH: A copy of the Agreement of Merger will be furnished by the surviving limited
 liability company on request, without cost, to any member of the constituent limited liability
 companies.



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     SEVENTH: The current certificate of formation of PAHH shall be the certificate of
 formation of the surviving limited liability company.


      IN WITNESS WHEREOF, the surviving limited liability company has caused this
 Certificate of Merger to be executed by the undersigned, its authorized officer, as of this ___ day
 of ________, 2022.

                                   PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC



                                   By: ________________________________
                                   Name: Joel Freedman
                                   Title: Chief Executive Officer and President




                                            EXHIBIT A
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                                Exhibit 3(a)(xiii)
                Limited Liability Company Purchase Agreement
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                        LIMITED LIABILITY COMPANY INTEREST
                               PURCHASE AGREEMENT

         THIS LIMITED LIABILITY COMPANY INTEREST PURCHASE AGREEMENT
 (this “Agreement”), dated as of [________], 2022 (the “Execution Date”), is made by and
 among Joel Freedman; Stella Freedman; Barbara S. Kramer, Trustee, Michael Ouzounian
 Irrevocable Trust, dated June 26, 2017; Barbara S. Kramer, Trustee, Benjamin Joseph Freedman
 Irrevocable Trust, dated June 26, 2017; and Barbara S. Kramer, Trustee, Nathan Alexander
 Freedman Irrevocable Trust, dated June 26, 2017 (collectively, the “Sellers” and each, a
 “Seller”), on the one hand, and MBNF Equity Buyer LLC, a [_____________] (“Buyer”), on
 the other hand (each of the Sellers and Buyer, a “Party,” and collectively, the “Parties”).

                                          WITNESSETH

        WHEREAS, the Sellers collectively own one hundred percent (100%) of the issued and
 outstanding limited liability company interests (the “MBNF Interests”) in, and constitute all of
 members of, MBNF Investments, LLC, a Delaware limited liability company (“MBNF”);

         WHEREAS, certain Sellers and Buyer are parties to that certain Memorandum of
  Understanding Re Global Settlement by and among the debtors in the jointly administered and
  procedurally consolidated chapter 11 cases pending in the United States Bankruptcy Court for
  the District of Delaware entitled In re: City Center Healthcare, LLC d/b/a Hahnemann
  University Hospital, et. al., and other parties party thereto (the “Global Settlement
  Agreement”); and

          WHEREAS, the Sellers desire to sell, assign, transfer, convey and deliver the MBNF
  Interests, together with all of each Seller’s rights, title and interest in, to and under the MBNF
  Interests, to Buyer, and Buyer desires to purchase, acquire and accept from the Sellers, all of
  each Seller’s rights, title and interest in, to and under the MBNF Interests, on the terms and
  conditions set forth herein.

         NOW, THEREFORE, in consideration of the foregoing premises and the mutual
  covenants set forth herein and other good and valuable consideration the receipt and sufficiency
  of which are hereby acknowledged, the Parties hereby agree as follows:

          1.     Transfer of the MBNF Interests. On the terms and conditions set forth in this
 Agreement, each Seller hereby sells, assigns, transfers, conveys and delivers (the “Transfer”) to
 Buyer and Buyer hereby purchases, acquires and accepts from each Seller, all of such Seller’s
 right, title and interest in, to and under the MBNF Interests, free and clear of all Liens. For
 purposes of this Agreement, “Lien” means any lien (statutory or otherwise), pledge,
 hypothecation, security interest, encumbrance, claim or charge of any kind whatsoever.

         2.      Consideration. In consideration for the Transfer of the MBNF Interests, Buyer
 will pay Sellers one dollar ($1.00).

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          3.      Transfer Taxes. Buyer shall be responsible for, and shall pay, any and all transfer
  taxes (including interest and penalties, if applicable) imposed by and payable to any applicable
  governmental authority arising directly from the Transfer of the MBNF Interests as contemplated
  herein (collectively, “Transfer Taxes”). Each Party shall prepare and timely file all tax returns
  and statements required to be filed and delivered with and to all applicable governmental
  authorities in respect of Transfer of the MBNF Interests as contemplated herein, including with
  respect to any and all Transfer Taxes.

             4.   Representations and Warranties.
               (a)        Each Seller hereby represents and warrants to Buyer, as of the Execution
Date, as follows:
                            (i)     MBNF is a limited liability company duly organized, validly
                    existing and in good standing under the laws of the State of Delaware;

                            (ii)    such Seller has good title to such Seller’s portion of the MBNF
                    Interests as set forth on Schedule A hereto and will transfer the same to Buyer
                    free and clear of all Liens;

                           (iii)   the MBNF Interests are not certificated; and

                            (iv)   the MBNF Interests have been duly authorized, validly issued, and
                    are fully-paid and non-assessable and are held beneficially and of record by the
                    Sellers, free and clear of any Liens, were offered, issued, sold and delivered in
                    compliance with all applicable laws governing the issuance of securities and were
                    not issued in violation of (or subject to), and are not currently subject to, any
                    preemptive rights, rights of first refusal or offer or other similar rights.

              (b)     Each Party hereby represents and warrants to the other Party, as of the
Execution Date, as follows:

                           (i)     it has the power to execute, deliver and perform its obligations
                    under this Agreement and all necessary action has been taken to authorize the
                    execution, delivery and performance of the same;

                          (ii)   this Agreement has been duly and validly executed and delivered
                   by such Party and, assuming due and valid execution by the other Party, this
                   Agreement constitutes a valid and binding obligation of such Party enforceable in
                   accordance with its terms subject to applicable bankruptcy, reorganization,
                   insolvency, moratorium and other laws affecting creditors' rights generally; and

                           (iii)  the execution, delivery and performance of this Agreement will not
                   contravene any existing applicable law or regulation or authorization to which it is
                   subject, any of its constitutive documents or any contract or agreement to which it
                   is party.

             Except for the representations and warranties expressly set forth herein, each Party

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 disclaims all other representations or warranties, including any implied or statutory
 representations and warranties, such as merchantability or fitness for a given purpose.

        5.      Effectiveness. This Agreement shall become effective on the business day
 immediately preceding the effective date of IRS Form 8832 filed by Philadelphia Academic
 Health Holdings, LLC (“PAHH”) and signed by Buyer and MBNF, attached hereto as Exhibit A,
 pursuant to which PAHH will elect to be classified as an association taxable as a corporation for
 U.S. federal income tax purposes, as described in the Global Settlement Agreement.

             6.   Tax Matters.
               (a)     Each Seller shall provide Buyer with a duly executed IRS Form W-9 on or
prior to the Execution Date.
               (b)     Sellers shall be entitled to prepare and file, or cause to be prepared and filed,
all U.S. federal and applicable state and local income tax returns of or in respect of MBNF with
respect to any taxable period ending on or prior to the effective date of the Transfer pursuant to this
Agreement, and Sellers shall be entitled to control any audit or similar proceeding of or in respect
of MBNF with respect to any such income tax return. Buyer shall promptly notify Sellers of any
correspondence received by it or any of its subsidiaries from any taxing authority commencing, or
stating such authority’s intention to commence, an audit or other proceeding with respect to any
such income tax return and any other correspondence received from any taxing authority relating to
an audit or proceeding, and Buyer shall provide to Sellers copies of such correspondence.
                (c)    For U.S. federal and other applicable income tax purposes, (i) the Parties
intend that, in accordance with the principles of Rev. Rul. 99-6 (Situation 2), the Transfer pursuant
to this Agreement will be treated by Sellers as a sale of partnership interests in MBNF and by
Buyer as a purchase of all of the assets, and an assumption of all of the liabilities, of MBNF, and
(ii) no Party shall file any income tax return or take any position for income tax purposes
inconsistent with such treatment, unless otherwise required by a “determination” within the
meaning of Section 1313(a) of the Internal Revenue Code of 1986, as amended (or an analogous
provision of other applicable income tax law).
               (d)      The Parties shall cooperate fully, as and to the extent reasonably requested by
the other Party, in connection with the filing of tax returns and any audit or other proceeding with
respect to taxes of or in respect of MBNF and its subsidiaries, including by executing or causing to
be executed any IRS Form 2848 (or any analogous or similar form for U.S. federal, state and local
tax purposes) or other documents reasonably requested to enable the requesting Party to file any
income tax return or control any audit or other proceeding pursuant to Section 6(b) and to take any
other action reasonably necessary in connection with the Transfer or the Global Settlement
Agreement.

         7.      Successors and Assigns. No Party may assign or delegate this Agreement or its
 rights or obligations hereunder without the prior written consent of all other Parties. All of the
 terms and provisions of this Agreement shall inure to the benefit of and be binding upon the
 Parties and their respective successors and permitted assigns.

       8.     Amendments and Waivers; Rights and Remedies. This Agreement may not be
 amended except by an instrument in writing signed by each of the Parties. At any time a Party
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 may extend the time for the performance of any of the obligations or other acts of the other Party
 or waive compliance with any of the agreements or conditions contained herein. Any such
 extension or waiver shall be valid only if set forth in an instrument in writing signed by the Party
 to be bound thereby. The failure of any Party to assert any of its rights under this Agreement or
 otherwise shall not constitute a waiver of such rights. No failure or delay by any Party in
 exercising any right, power or privilege hereunder shall operate as a waiver thereof nor shall any
 single or partial exercise thereof preclude any other or further exercise thereof or the exercise of
 any other right, power or privilege. The rights and remedies herein provided shall be cumulative
 and not exclusive of any rights or remedies provided by applicable law.

         9.      Miscellaneous. All costs and expenses incurred in connection with this
 Agreement shall be paid by the Party incurring such cost or expense. This Agreement is the
 result of arms-length negotiations among the Parties and has been prepared jointly by the Parties.
 In applying and interpreting the provisions of this Agreement, there shall be no presumption that
 this Agreement was prepared by any one Party or that this Agreement shall be construed in favor
 of or against any one Party. The section headings herein are included for convenience of
 reference only and shall be ignored in the construction or interpretation hereof. This Agreement
 may be signed in any number of counterparts, each of which shall be an original, with the same
 effect as if the signatures thereto and hereto were upon the same instrument. Furthermore, this
 Agreement may be executed by transfer of an originally signed document by facsimile, email in
 PDF format or other electronic copy signature, each of which will be as fully binding as an
 original document. This Agreement constitutes the entire agreement among the Parties with
 respect to the subject matter of this Agreement and supersedes all prior agreements and
 understandings among the Parties with respect to the subject matter of this Agreement; provided
 that nothing in this Agreement, in Section 1 or otherwise, is to be construed as affecting the
 rights or obligations of any of the parties to the Global Settlement Agreement (except for Buyer
 and Sellers and only to the extent expressly provided for in this Agreement), it being
 acknowledged that this Agreement is in furtherance of the purposes of the Global Settlement
 Agreement.

         10.      Severability. If any term or other provision of this Agreement is invalid, illegal or
 incapable of being enforced by any rule of law or public policy, all other terms, conditions and
 provisions of this Agreement shall nevertheless remain in full force and effect so long as the
 economic or legal substance of the transactions contemplated hereby is not affected in a manner
 materially adverse to any Party. Upon such determination that any term or other provision is
 invalid, illegal or incapable of being enforced, the Parties shall negotiate in good faith to modify
 this Agreement so as to effect the original intent of the Parties as closely as possible in an
 acceptable manner to the end that the transactions contemplated hereby are fulfilled to the fullest
 extent possible.

         11.     Governing Law. This Agreement shall be governed by, and construed in
 accordance with, the laws of the State of Delaware, without giving effect to any choice of law or
 conflicts of law provision that would cause the application of the laws of any jurisdiction other
 than the State of Delaware.

                                      [Signature Page Follows.]

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         IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed
 by their duly authorized representatives as of the Execution Date.

                                         ______________________________
                                         Joel Freedman


                                         ______________________________
                                         Stella Freedman


                                         MICHAEL OUZOUNIAN IRREVOCABLE TRUST,
                                         Dated June 26, 2017

                                         ______________________________
                                         By: Barbara S. Kramer, Trustee


                                         BENJAMIN JOSEPH FREEDMAN IRREVOCABLE
                                         TRUST, Dated June 26, 2017

                                         ______________________________
                                         By: Barbara S. Kramer, Trustee


                                         NATHAN ALEXANDER FREEDMAN
                                         IRREVOCABLE TRUST, Dated June 26, 2017

                                         ______________________________
                                         By: Barbara S. Kramer, Trustee


                                         MBNF Equity Buyer LLC


                                         By:______________________________
                                         Name:
                                         Title:




             [Signature Page to Limited Liability Company Interest Purchase Agreement]
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                                         SCHEDULE A

                                         MBNF Interests

                         Sellers’ Ownership Schedule of MBNF Interests




                                       Seller                                  Percentage
                                                                                Interest
        Joel Freedman                                                            52.80%
        Stella Freedman                                                          35.20%
        Michael Ouzounian Irrevocable Trust, dated June 26, 2017                  4.00%
        Benjamin Joseph Freedman Irrevocable Trust, dated June 26, 2017           4.00%
        Nathan Alexander Freedman Irrevocable Trust, dated June 26, 2017          4.00%
        Total:                                                                    100%




             [Schedule A to Limited Liability Company Interest Purchase Agreement]
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                                           EXHIBIT A

                                     PAHH’s IRS Form 8832

                                           [see attached]




             [Exhibit A to Limited Liability Company Interest Purchase Agreement]
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The form you are looking for begins on the next page of this file. Before viewing it, please see
the important update information below.

                                     New Mailing Addresses
Addresses for mailing certain forms have changed since the forms were last published. The new mailing
addresses are shown below.
Mailing address for Forms 706͈A, 706͈GS(D), 706͈GS(T), 706͈NA, 706͈QDT, 8612, 8725, 8831, 8842, 8892,
8924, 8928:

Department of the Treasury
Internal Revenue Service Center
Kansas City, MO 64999

Mailing address for Forms 2678, 8716, 8822-B, 8832, 8855:

Taxpayers in the States Below                             Mail the Form to This Address
Connecticut, Delaware, District of Columbia, Georgia,
Illinois, Indiana,Kentucky, Maine, Maryland,              Department of the Treasury
Massachusetts, Michigan, New Hampshire, New Jersey, Internal Revenue Service Center
New York, North Carolina, Ohio, Pennsylvania, Rhode       Kansas City, MO 64999
Island, South Carolina, Vermont, Virginia, West Virginia,
Wisconsin
Alabama, Alaska, Arizona, Arkansas, California,
Colorado, Florida, Hawaii, Idaho, Iowa, Kansas,           Department of the Treasury
Louisiana, Minnesota, Mississippi, Missouri, Montana,     Internal Revenue Service Center
Nebraska, Nevada, New Mexico, North Dakota,               Ogden, UT 84201
Oklahoma, Oregon, South Dakota, Tennessee, Texas,
Utah, Washington, Wyoming


This update supplements these forms’ instructions. Filers should rely on this update for the changes described,
which will be incorporated into the next revision of the forms’ instructions.
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 PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC

 EIN

 ATTACHMENT TO FORM 8832



 Philadelphia Academic Health System, LLC, EIN                  (“PAHS”), and Philadelphia Academic Health
 Holdings, LLC, EIN                (“PAHH”), are filing Forms 8832 both having an effective date of
 ____________, with each entity electing to be classified as an association taxable as a corporation.
 Pursuant to Treasury Regulation section 301.7701-3(g)(3)(iii), PAHS and PAHH wish to specify that the
 elections shall be effective in the following order:

 1. First, PAHH shall change its classification to be treated as an association taxable as a corporation.

 2. Second, PAHS shall change its classification to be treated as an association taxable as a corporation.



 Immediately prior to these entity classification elections, both PAHH and PAHS were disregarded as
 separate from MBNF Equity Buyer LLC, EIN ______.




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                 ASSIGNMENT, ASSUMPTION AND NOVATION AGREEMENT
           Reference is made to that certain Promissory Note (the “Promissory Note”) made by
 Philadelphia Academic Health Holdings, LLC, a Delaware limited liability company (the
 “Company” or “Assignor”), to HSREP VI Holding, LLC, a Delaware limited liability company
 (the “Lender”). Unless otherwise defined herein, terms defined in the Promissory Note and used
 herein shall have the meanings given to them in the Promissory Note.
            The Assignor, the Lender and Philadelphia Academic Health System, LLC, a Delaware
 limited liability company (the “Assignee”), among others, are parties to that certain Memorandum
 of Understanding Re Global Settlement dated [____], 2022 (the “MOU”), and this Assignment,
 Assumption and Novation Agreement (this “Agreement”) is being entered into pursuant to the
 MOU.
               The Assignor, the Lender and the Assignee agree as follows:
            1. As of the MOU Implementation Date (as defined in the MOU), the Assignor hereby
 irrevocably transfers, delegates and assigns, on a novation basis, to the Assignee without recourse
 to the Assignor, absolutely and unconditionally, and the Assignee hereby irrevocably accepts and
 assumes, on a novation basis, from the Assignor without recourse to the Assignor, absolutely and
 unconditionally, as its direct and primary obligation, all of Assignor’s rights, interests, duties,
 obligations, responsibilities and liabilities in and under the Promissory Note, provided, however,
 that Assignee’s duties, obligations, responsibilities and liabilities with respect to the Promissory
 Note shall be solely as set forth in Section 3(a)(xiv), Section 3(b) and Schedule 3(b) of the MOU
 (for the avoidance of doubt, with recourse only to proceeds of the Real Estate (as such term as
 defined in the MOU)) (collectively the “Assumed and Amended Obligations”). From and after
 the MOU Implementation Date, Assignee agrees to perform and discharge all of the Assumed and
 Amended Obligations, and Assignee shall be substituted for Assignor in Assignor’s name, place
 and stead as the maker on and under the Promissory Note, so as to effect a novation of the
 Promissory Note and to fully release Assignor from any and all existing and further rights,
 interests, duties, obligations, responsibilities and liabilities under the Promissory Note and, to the
 extent there is any interest of Assignor in the proceeds of the Real Estate, such interest is hereby
 released. From and after the date hereof, all references in the Promissory Note to Assignor as the
 “Company” as defined in the Promissory Note shall be deemed to be a reference to Assignee as
 the “Company.”
           2. The Assignee (a) represents and warrants that it has the right to execute this
 Agreement, and this Agreement constitutes the legally valid and binding obligation of the
 Assignee, enforceable against the Assignee in accordance with its terms; and (b) confirms that it
 has received a copy of the Promissory Note.
           3. The Lender represents and warrants that: (a) it is the owner and holder of the
 Promissory Note; and (b) it has the right to execute this Agreement, and this Agreement is legally
 valid and binding against the Lender.




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           4. The Assignor represents and warrants that it has the right to execute this
 Agreement, and this Agreement constitutes the legally valid and binding obligation of the
 Assignor, enforceable against the Assignor in accordance with its terms.
            5. Each of the Assignor, the Assignee and the Lender hereby acknowledges and agrees
 that on and after the MOU Implementation Date and after giving effect to this Agreement, (i) the
 Assumed and Amended Obligations shall be debt as to which none of the Assignor, any of its
 subsidiaries (other than the Assignee and any of its subsidiaries) or any other MBNF Party
 (a) provides credit support of any kind, or (b) is directly or indirectly liable as a guarantor or
 otherwise; (ii) the Pledge Agreement shall be deemed terminated without any further action by
 any party and shall be of no further force and effect; (iii) the Promissory Note is and will remain
 unsecured; (iv) the Promissory Note shall remain subject to the terms and conditions of that certain
 Intercreditor and Subordination Agreement dated as of January 11, 2018 between Capital One,
 National Association, in its capacity as administrative agent and Lender (the “Subordination
 Agreement”); provided, however, that Lender and Capital One, National Association hereby
 release Assignor from any and all of its obligations under or with respect to the Subordination
 Agreement and in its stead accept the Assignee as the subordinated party thereto; and (v) all
 payments or other distributions made on account of the Promissory Note shall be made exclusively
 in accordance with written direction provided to Assignee in accordance with the MOU and shall
 be limited solely to the share of any net proceeds of the Sale (as such term defined in the MOU)
 of the Real Estate received by or on behalf of the HSRE Entities (as such term is defined in the
 MOU) pursuant to the allocation formula as set forth in Schedule 3(b) to the MOU, and that the
 Assignee shall have no other obligations under or with respect to the Promissory Note. Assignee
 and Lender acknowledge that Lender remains subject to the terms and conditions of the
 Subordination Agreement, including, without limitation by holding all amounts received in
 connection with the Promissory Note in trust for the benefit of the Senior Loan (as defined in the
 Subordination Agreement) in accordance with terms of the Senior Loan Documents (as defined in
 the Subordination Agreement).
               6.   The effective date of this Agreement shall be as of the MOU Implementation Date.
           7. All of the terms and provisions of this Agreement will apply to, be binding in all
 respects upon and inure to the benefit of the parties hereto and their respective successors and
 assigns. None of the provisions of this Agreement shall be varied or terminated except by written
 agreement of the parties hereto. If any provisions of this Agreement shall be held invalid or
 unenforceable by any court of competent jurisdiction, the remainder of this Agreement shall not
 be affected thereby and each other term, covenant, condition, and provision shall be valid and
 enforceable to the fullest extent permitted by law. This Agreement may be signed in any number
 of counterparts, each of which shall be an original, with the same effect as if the signatures were
 upon the same instrument.
           8. There are no third party beneficiaries to this Agreement. This Agreement is for the
 sole benefit of the parties hereto and their successors and assigns, and nothing herein expressed or
 implied shall give or be construed to give to any Person (as defined in the MOU), other than the
 parties hereto and such successors and assigns, any legal or equitable rights, remedy or claim
 hereunder.


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            9. This Agreement and the rights and obligations of the Assignor, Assignee and
 Lender hereunder shall be governed by, and shall be construed and enforced in accordance with,
 the internal laws of the State of Delaware, without regard to conflicts of laws principles.
                                      [signatures follow]




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          IN WITNESS WHEREOF, the parties hereto have caused this Assignment, Assumption
 and Novation Agreement to be executed by their respective duly authorized signatories.


                                               ASSIGNOR:
                                               PHILADELPHIA ACADEMIC
                                               HEALTH HOLDINGS, LLC


                                               By: _____________________________
                                               Name: Joel Freedman
                                               Title: Chief Executive Officer and President
                                               ASSIGNEE:
                                               PHILADELPHIA ACADEMIC
                                               HEALTH SYSTEM, LLC


                                               By: _____________________________
                                               Name:
                                               Title:
                                               LENDER:
                                               HSREP VI HOLDING, LLC


                                               By: _____________________________
                                               Name:
                                               Title:


 ACKNOWLEDGED AND AGREED AS TO SECTION 5:
 CAPITAL ONE, NATIONAL ASSOCIATION


 By: ________________________
 Name:
 Title:




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        MBNF Limited Liability Company Interest Purchase Agreement
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                         LIMITED LIABILITY COMPANY INTEREST
                                PURCHASE AGREEMENT

         THIS LIMITED LIABILITY COMPANY INTEREST PURCHASE AGREEMENT
 (this “Agreement”), dated as of [________], 2022 (the “Execution Date”), is made by and
 between American Academic Health System, LLC, a Delaware limited liability company (the
 “Seller”), on the one hand, and MBNF Equity Buyer LLC, a [____________] (“Buyer”), on the
 other hand (each of the Seller and Buyer, a “Party,” and collectively, the “Parties”).

                                           WITNESSETH

         WHEREAS, the Seller owns one hundred percent (100%) of the issued and outstanding
 limited liability company interests (the “PAHH Interests”) in, and constitutes the sole member
 of, Philadelphia Academic Health Holdings, LLC, a Delaware limited liability company
 (“PAHH”);

         WHEREAS, the Seller and Buyer are parties to that certain Memorandum of
  Understanding Re Global Settlement by and among PAHH, the debtors in the jointly
  administered and procedurally consolidated chapter 11 cases pending in the United States
  Bankruptcy Court for the District of Delaware entitled In re: City Center Healthcare, LLC d/b/a
  Hahnemann University Hospital, et. al., and other parties party thereto (the “Global Settlement
  Agreement”); and

          WHEREAS, the Seller desires to sell, assign, transfer, convey and deliver the PAHH
  Interests, together with all of the Seller’s rights, title and interest in, to and under the PAHH
  Interests, to Buyer, and Buyer desires to purchase, acquire and accept from the Seller, all of the
  Seller’s rights, title and interest in, to and under the PAHH Interests, on the terms and conditions
  set forth herein.

         NOW, THEREFORE, in consideration of the foregoing premises and the mutual
  covenants set forth herein and other good and valuable consideration the receipt and sufficiency
  of which are hereby acknowledged, the Parties hereby agree as follows:

          1.      Transfer of the PAHH Interests. On the terms and conditions set forth in this
 Agreement, the Seller hereby sells, assigns, transfers, conveys and delivers (the “Transfer”) to
 Buyer and Buyer hereby purchases, acquires and accepts from the Seller, all of the Seller’s right,
 title and interest in, to and under the PAHH Interests, free and clear of all Liens. For purposes of
 this Agreement, “Lien” means any lien (statutory or otherwise), pledge, hypothecation, security
 interest, encumbrance, claim or charge of any kind whatsoever.

        2.      Consideration. In consideration for the Transfer of the PAHH Interests, Buyer will
 pay Seller one dollar ($1.00).

          3.     Transfer Taxes. Buyer shall be responsible for, and shall pay, any and all transfer
  taxes (including interest and penalties, if applicable) imposed by and payable to any applicable
  governmental authority arising directly from the Transfer of the PAHH Interests as contemplated
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  herein (collectively, “Transfer Taxes”). Each Party shall prepare and timely file all tax returns
  and statements required to be filed and delivered with and to all applicable governmental
  authorities in respect of Transfer of the PAHH Interests as contemplated herein, including with
  respect to any and all Transfer Taxes.

             4.   Representations and Warranties.
               (a)       The Seller hereby represents and warrants to Buyer, as of the Execution
Date, as follows:
                           (i)     PAHH is a limited liability company duly organized, validly
                   existing and in good standing under the laws of the State of Delaware;

                          (ii)   the Seller has good title to the PAHH Interests and will transfer the
                   same to Buyer free and clear of all Liens;

                          (iii)     the PAHH Interests are not certificated; and

                           (iv)   the PAHH Interests have been duly authorized, validly issued, and
                   are fully-paid and non-assessable and are held beneficially and of record by the
                   Seller, free and clear of any Liens, were offered, issued, sold and delivered in
                   compliance with all applicable laws governing the issuance of securities and were
                   not issued in violation of (or subject to), and are not currently subject to, any
                   preemptive rights, rights of first refusal or offer or other similar rights.

              (b)     Each Party hereby represents and warrants to the other Party, as of the
Execution Date, as follows:

                          (i)     it has the power to execute, deliver and perform its obligations
                   under this Agreement and all necessary action has been taken to authorize the
                   execution, delivery and performance of the same;

                          (ii)   this Agreement has been duly and validly executed and delivered
                   by such Party and, assuming due and valid execution by the other Party, this
                   Agreement constitutes a valid and binding obligation of such Party enforceable in
                   accordance with its terms subject to applicable bankruptcy, reorganization,
                   insolvency, moratorium and other laws affecting creditors' rights generally; and

                           (iii)  the execution, delivery and performance of this Agreement will not
                   contravene any existing applicable law or regulation or authorization to which it is
                   subject, any of its constitutive documents or any contract or agreement to which it
                   is party.

         Except for the representations and warranties expressly set forth herein, each Party
 disclaims all other representations or warranties, including any implied or statutory
 representations and warranties, such as merchantability or fitness for a given purpose.

             5.    Effectiveness.    This Agreement shall become effective on the business day
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 immediately preceding the effective date of IRS Form 8832 filed by PAHH and signed by Buyer
 and MBNF Investments, LLC, attached hereto as Exhibit A, pursuant to which PAHH will elect
 to be classified as an association taxable as a corporation for U.S. federal income tax purposes, as
 described in the Global Settlement Agreement.

             6.   Tax Matters.
              (a)      Seller shall provide Buyer with a duly executed IRS Form W-9 on or prior to
the Execution Date.
                (b)    For U.S. federal and other applicable income tax purposes, (i) the Parties
intend that the Transfer pursuant to this Agreement will be disregarded, and (ii) no Party shall file
any income tax return or take any position for income tax purposes inconsistent with such
treatment, unless otherwise required by a “determination” within the meaning of Section 1313(a) of
the Internal Revenue Code of 1986, as amended (or an analogous provision of other applicable
income tax law).
               (c)      The Parties shall cooperate fully, as and to the extent reasonably requested by
the other Party, in connection with the filing of tax returns and any audit or other proceeding with
respect to taxes of or in respect of PAHH and its subsidiaries, including by executing or causing to
be executed any IRS Form 2848 (or any analogous or similar form for U.S. federal, state and local
tax purposes) or other documents reasonably requested to enable the requesting Party to take any
action reasonable necessary in connection with the Transfer or the Global Settlement Agreement.

         7.      Successors and Assigns. No Party may assign or delegate this Agreement or its
 rights or obligations hereunder without the prior written consent of the other Party. All of the
 terms and provisions of this Agreement shall inure to the benefit of and be binding upon the
 Parties and their respective successors and permitted assigns.

         8.      Amendments and Waivers; Rights and Remedies. This Agreement may not be
 amended except by an instrument in writing signed by each of the Parties. At any time a Party
 may extend the time for the performance of any of the obligations or other acts of the other Party
 or waive compliance with any of the agreements or conditions contained herein. Any such
 extension or waiver shall be valid only if set forth in an instrument in writing signed by the Party
 to be bound thereby. The failure of any Party to assert any of its rights under this Agreement or
 otherwise shall not constitute a waiver of such rights. No failure or delay by any Party in
 exercising any right, power or privilege hereunder shall operate as a waiver thereof nor shall any
 single or partial exercise thereof preclude any other or further exercise thereof or the exercise of
 any other right, power or privilege. The rights and remedies herein provided shall be cumulative
 and not exclusive of any rights or remedies provided by applicable law.

         9.     Miscellaneous. All costs and expenses incurred in connection with this
 Agreement shall be paid by the Party incurring such cost or expense. This Agreement is the
 result of arms-length negotiations between the Parties and has been prepared jointly by the
 Parties. In applying and interpreting the provisions of this Agreement, there shall be no
 presumption that this Agreement was prepared by any one Party or that this Agreement shall be
 construed in favor of or against any one Party. The section headings herein are included for
 convenience of reference only and shall be ignored in the construction or interpretation hereof.
 This Agreement may be signed in any number of counterparts, each of which shall be an
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 original, with the same effect as if the signatures thereto and hereto were upon the same
 instrument. Furthermore, this Agreement may be executed by transfer of an originally signed
 document by facsimile, email in PDF format or other electronic copy signature, each of which
 will be as fully binding as an original document. This Agreement constitutes the entire
 agreement between the Parties with respect to the subject matter of this Agreement and
 supersedes all prior agreements and understandings between the Parties with respect to the
 subject matter of this Agreement; provided that nothing in this Agreement, in Section 1 or
 otherwise, is to be construed as affecting the rights or obligations of any of the parties to the
 Global Settlement Agreement (except for Buyer and Seller and only to the extent expressly
 provided for in this Agreement), it being acknowledged that this Agreement is in furtherance of
 the purposes of the Global Settlement Agreement.

         10.      Severability. If any term or other provision of this Agreement is invalid, illegal or
 incapable of being enforced by any rule of law or public policy, all other terms, conditions and
 provisions of this Agreement shall nevertheless remain in full force and effect so long as the
 economic or legal substance of the transactions contemplated hereby is not affected in a manner
 materially adverse to any Party. Upon such determination that any term or other provision is
 invalid, illegal or incapable of being enforced, the Parties shall negotiate in good faith to modify
 this Agreement so as to effect the original intent of the Parties as closely as possible in an
 acceptable manner to the end that the transactions contemplated hereby are fulfilled to the fullest
 extent possible.

         11.     Governing Law. This Agreement shall be governed by, and construed in
 accordance with, the laws of the State of Delaware, without giving effect to any choice of law or
 conflicts of law provision that would cause the application of the laws of any jurisdiction other
 than the State of Delaware.

                                      [Signature Page Follows.]




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         IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed
 by their duly authorized representatives as of the Execution Date.


                                         AMERICAN ACADEMIC HEALTH SYSTEM, LLC


                                         By:______________________________
                                         Name:
                                         Title:


                                         MBNF EQUITY BUYER LLC


                                         By:______________________________
                                         Name:
                                         Title:




             [Signature Page to Limited Liability Company Interest Purchase Agreement]
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                                           EXHIBIT A

                                     PAHH’s IRS Form 8832

                                           [see attached]




             [Exhibit A to Limited Liability Company Interest Purchase Agreement]
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The form you are looking for begins on the next page of this file. Before viewing it, please see
the important update information below.

                                     New Mailing Addresses
Addresses for mailing certain forms have changed since the forms were last published. The new mailing
addresses are shown below.
Mailing address for Forms 706͈A, 706͈GS(D), 706͈GS(T), 706͈NA, 706͈QDT, 8612, 8725, 8831, 8842, 8892,
8924, 8928:

Department of the Treasury
Internal Revenue Service Center
Kansas City, MO 64999

Mailing address for Forms 2678, 8716, 8822-B, 8832, 8855:

Taxpayers in the States Below                             Mail the Form to This Address
Connecticut, Delaware, District of Columbia, Georgia,
Illinois, Indiana,Kentucky, Maine, Maryland,              Department of the Treasury
Massachusetts, Michigan, New Hampshire, New Jersey, Internal Revenue Service Center
New York, North Carolina, Ohio, Pennsylvania, Rhode       Kansas City, MO 64999
Island, South Carolina, Vermont, Virginia, West Virginia,
Wisconsin
Alabama, Alaska, Arizona, Arkansas, California,
Colorado, Florida, Hawaii, Idaho, Iowa, Kansas,           Department of the Treasury
Louisiana, Minnesota, Mississippi, Missouri, Montana,     Internal Revenue Service Center
Nebraska, Nevada, New Mexico, North Dakota,               Ogden, UT 84201
Oklahoma, Oregon, South Dakota, Tennessee, Texas,
Utah, Washington, Wyoming


This update supplements these forms’ instructions. Filers should rely on this update for the changes described,
which will be incorporated into the next revision of the forms’ instructions.
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 PHILADELPHIA ACADEMIC HEALTH HOLDINGS, LLC

 EIN

 ATTACHMENT TO FORM 8832



 Philadelphia Academic Health System, LLC, EIN                  (“PAHS”), and Philadelphia Academic Health
 Holdings, LLC, EIN                (“PAHH”), are filing Forms 8832 both having an effective date of
 ____________, with each entity electing to be classified as an association taxable as a corporation.
 Pursuant to Treasury Regulation section 301.7701-3(g)(3)(iii), PAHS and PAHH wish to specify that the
 elections shall be effective in the following order:

 1. First, PAHH shall change its classification to be treated as an association taxable as a corporation.

 2. Second, PAHS shall change its classification to be treated as an association taxable as a corporation.



 Immediately prior to these entity classification elections, both PAHH and PAHS were disregarded as
 separate from MBNF Equity Buyer LLC, EIN ______.




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                         LIMITED LIABILITY COMPANY INTEREST
                                PURCHASE AGREEMENT

         THIS LIMITED LIABILITY COMPANY INTEREST PURCHASE AGREEMENT
 (this “Agreement”), dated as of [________], 2022 (the “Execution Date”), is made by and
 between Philadelphia Academic Health Holdings, LLC, a Delaware limited liability company
 (the “Seller”), on the one hand, and PAHS Equity Buyer, Inc. a Delaware corporation (“Buyer”),
 on the other hand (each of the Seller and Buyer, a “Party,” and collectively, the “Parties”).

                                           WITNESSETH

        WHEREAS, the Seller owns one hundred percent (100%) of the issued and outstanding
 limited liability company interests (the “PAHS Interests”) in, and constitutes the sole member
 of, Philadelphia Academic Health System, LLC, a Delaware limited liability company
 (“PAHS”);

          WHEREAS, the Seller and Buyer are parties to that certain Memorandum Of
  Understanding Re Global Settlement Among, Inter Alia, Debtors, Debtors’ Subsidiaries,
  Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and CONA Parties (each such term,
  as therein defined) in the jointly administered and procedurally consolidated chapter 11 cases
  pending in the United States Bankruptcy Court for the District of Delaware entitled In re: City
  Center Healthcare, LLC d/b/a Hahnemann University Hospital, et. al., Seller, and other parties
  party thereto (the “Global Settlement Agreement”); and

          WHEREAS, the Seller desires to sell, assign, transfer, convey and deliver the PAHS
  Interests, together with all of the Seller’s rights, title and interest in, to and under the PAHS
  Interests, to Buyer, and Buyer desires to purchase, acquire and accept from the Seller, all of the
  Seller’s rights, title and interest in, to and under the PAHS Interests, on the terms and conditions
  set forth herein.

         NOW, THEREFORE, in consideration of the foregoing premises and the mutual
  covenants set forth herein and other good and valuable consideration the receipt and sufficiency
  of which are hereby acknowledged, the Parties hereby agree as follows:

          1.      Transfer of the PAHS Interests. On the terms and conditions set forth in this
 Agreement, the Seller hereby sells, assigns, transfers, conveys and delivers (the “Transfer”) to
 Buyer and Buyer hereby purchases, acquires and accepts from the Seller, all of the Seller’s right,
 title and interest in, to and under the PAHS Interests, free and clear of all Liens. For purposes of
 this Agreement, “Lien” means any lien (statutory or otherwise), pledge, hypothecation, security
 interest, encumbrance, claim or charge of any kind whatsoever.

        2.      Consideration. In consideration for the Transfer of the PAHS Interests, Buyer will
 pay Seller one dollar ($1.00).

          3.     Transfer Taxes. Buyer shall be responsible for, and shall pay, any and all transfer
  taxes (including interest and penalties, if applicable) imposed by and payable to any applicable
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  governmental authority arising directly from the Transfer of the PAHS Interests as contemplated
  herein (collectively, “Transfer Taxes”). Each Party shall prepare and timely file all tax returns
  and statements required to be filed and delivered with and to all applicable governmental
  authorities in respect of Transfer of the PAHS Interests as contemplated herein, including with
  respect to any and all Transfer Taxes.

              4.   Representations and Warranties.
               (a)        The Seller hereby represents and warrants to Buyer, as of the Execution
Date, as follows:
                            (i)     PAHS is a limited liability company duly organized, validly
                    existing and in good standing under the laws of the State of Delaware;

                           (ii)   the Seller has good title to the PAHS Interests and will transfer the
                    same to Buyer free and clear of all Liens;

                           (iii)   the PAHS Interests are not certificated; and

                            (iv)   the PAHS Interests have been duly authorized, validly issued, and
                    are fully-paid and non-assessable and are held beneficially and of record by the
                    Seller, free and clear of any Liens, were offered, issued, sold and delivered in
                    compliance with all applicable laws governing the issuance of securities and were
                    not issued in violation of (or subject to), and are not currently subject to, any
                    preemptive rights, rights of first refusal or offer or other similar rights.

              (b)     Each Party hereby represents and warrants to the other Party, as of the
Execution Date, as follows:

                           (i)     it has the power to execute, deliver and perform its obligations
                    under this Agreement and all necessary action has been taken to authorize the
                    execution, delivery and performance of the same;

                           (ii)   this Agreement has been duly and validly executed and delivered
                    by such Party and, assuming due and valid execution by the other Party, this
                    Agreement constitutes a valid and binding obligation of such Party enforceable in
                    accordance with its terms subject to applicable bankruptcy, reorganization,
                    insolvency, moratorium and other laws affecting creditors' rights generally; and

                            (iii)  the execution, delivery and performance of this Agreement will not
                    contravene any existing applicable law or regulation or authorization to which it is
                    subject, any of its constitutive documents or any contract or agreement to which it
                    is party.

         Except for the representations and warranties expressly set forth herein, each Party
 disclaims all other representations or warranties, including any implied or statutory
 representations and warranties, such as merchantability or fitness for a given purpose.


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          5.    Effectiveness. This Agreement shall be deemed to become effective upon the later
  of (1) the opening of business on the effective date of IRS Form 8832 filed by PAHS and signed
  by an authorized officer of PAHS, attached hereto as Exhibit A, electing to be classified as an
  association taxable as a corporation for U.S. federal income tax purposes, as described in the
  Global Settlement Agreement (the “Entity Classification Election”) and (2) the close of
  business on the date on which the Entity Classification Election is filed and proof of such filing
  is delivered to Buyer (provided, for the avoidance of doubt, that in the case of this clause (2), the
  Entity Classification Election shall be executed as required pursuant to Treasury Regulations
  Section 301.7701-3(c)(2)).

         6.    Tax Matters.
              (a)      Seller shall provide Buyer with a duly executed IRS Form W-9 on or prior to
the Execution Date.
               (b)     For U.S. federal and other applicable income tax purposes, (i) the Parties
intend that the Entity Classification Election, followed by the Transfer pursuant to this Agreement
will be treated as a taxable sale of the assets of PAHS and its subsidiaries (including assets
substantively consolidated with them pursuant to the Approval Order, as described in the Global
Settlement Agreement) to a newly formed corporation in exchange for assumption of the liabilities
of PAHS and its subsidiaries (including liabilities substantively consolidated with them pursuant to
the Approval Order, as described in the Global Settlement Agreement) by such newly formed
corporation, followed by a transfer of shares in that corporation, and (ii) no Party shall file any
income tax return or take any position for income tax purposes inconsistent with such treatment,
unless otherwise required by a “determination” within the meaning of Section 1313(a) of the
Internal Revenue Code of 1986, as amended (or an analogous provision of other applicable income
tax law).

          7.    Successors and Assigns. No Party may assign or delegate this Agreement or its
  rights or obligations hereunder without the prior written consent of the other Party. All of the
  terms and provisions of this Agreement shall inure to the benefit of and be binding upon the
  Parties and their respective successors and permitted assigns.

          8.    Amendments and Waivers; Rights and Remedies. This Agreement may not be
  amended except by an instrument in writing signed by each of the Parties. At any time a Party
  may extend the time for the performance of any of the obligations or other acts of the other Party
  or waive compliance with any of the agreements or conditions contained herein. Any such
  extension or waiver shall be valid only if set forth in an instrument in writing signed by the Party
  to be bound thereby. The failure of any Party to assert any of its rights under this Agreement or
  otherwise shall not constitute a waiver of such rights. No failure or delay by any Party in
  exercising any right, power or privilege hereunder shall operate as a waiver thereof nor shall any
  single or partial exercise thereof preclude any other or further exercise thereof or the exercise of
  any other right, power or privilege. The rights and remedies herein provided shall be cumulative
  and not exclusive of any rights or remedies provided by applicable law.

            9.  Miscellaneous. All costs and expenses incurred in connection with this Agreement
  shall be paid by the Party incurring such cost or expense. This Agreement is the result of arms-
  length negotiations between the Parties and has been prepared jointly by the Parties. In applying
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  and interpreting the provisions of this Agreement, there shall be no presumption that this
  Agreement was prepared by any one Party or that this Agreement shall be construed in favor of
  or against any one Party. The section headings herein are included for convenience of reference
  only and shall be ignored in the construction or interpretation hereof. This Agreement may be
  signed in any number of counterparts, each of which shall be an original, with the same effect as
  if the signatures thereto and hereto were upon the same instrument. Furthermore, this Agreement
  may be executed by transfer of an originally signed document by facsimile, email in PDF format
  or other electronic copy signature, each of which will be as fully binding as an original
  document. This Agreement constitutes the entire agreement between the Parties with respect to
  the subject matter of this Agreement and supersedes all prior agreements and understandings
  between the Parties with respect to the subject matter of this Agreement; provided that nothing in
  this Agreement, in Section 1 or otherwise, is to be construed as affecting the rights or obligations
  of any of the parties to the Global Settlement Agreement (except for Buyer and Seller and only
  to the extent expressly provided for in this Agreement), it being acknowledged that this
  Agreement is in furtherance of the purposes of the Global Settlement Agreement.

          10. Severability. If any term or other provision of this Agreement is invalid, illegal or
  incapable of being enforced by any rule of law or public policy, all other terms, conditions and
  provisions of this Agreement shall nevertheless remain in full force and effect so long as the
  economic or legal substance of the transactions contemplated hereby is not affected in a manner
  materially adverse to any Party. Upon such determination that any term or other provision is
  invalid, illegal or incapable of being enforced, the Parties shall negotiate in good faith to modify
  this Agreement so as to effect the original intent of the Parties as closely as possible in an
  acceptable manner to the end that the transactions contemplated hereby are fulfilled to the fullest
  extent possible.

          11. Governing Law. This Agreement shall be governed by, and construed in
  accordance with, the laws of the State of Delaware, without giving effect to any choice of law or
  conflicts of law provision that would cause the application of the laws of any jurisdiction other
  than the State of Delaware.

                                      [Signature Page Follows.]




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         IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed
 by their duly authorized representatives as of the Execution Date.


                                          PHILADELPHIA ACADEMIC HEALTH
                                          HOLDINGS, LLC


                                          By:______________________________
                                          Name:
                                          Title:


                                          PAHS EQUITY BUYER, INC.


                                          By:______________________________
                                          Name:
                                          Title:




              [Signature Page to Limited Liability Company Interest Purchase Agreement]
40019231.10
Case 1:21-cv-01779-RGA
         Case 19-11466-MFW
                        Document
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                                                                                 Exhibit 3(a)(xvii)

                                            EXHIBIT A

                                      PAHS’s IRS Form 8832

                                            [see attached]




              [Exhibit A to Limited Liability Company Interest Purchase Agreement]
40019231.10
     Case 1:21-cv-01779-RGA
              Case 19-11466-MFW
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The form you are looking for begins on the next page of this file. Before viewing it, please see
the important update information below.

                                     New Mailing Addresses
Addresses for mailing certain forms have changed since the forms were last published. The new mailing
addresses are shown below.
Mailing address for Forms 706͈A, 706͈GS(D), 706͈GS(T), 706͈NA, 706͈QDT, 8612, 8725, 8831, 8842, 8892,
8924, 8928:

Department of the Treasury
Internal Revenue Service Center
Kansas City, MO 64999

Mailing address for Forms 2678, 8716, 8822-B, 8832, 8855:

Taxpayers in the States Below                             Mail the Form to This Address
Connecticut, Delaware, District of Columbia, Georgia,
Illinois, Indiana,Kentucky, Maine, Maryland,              Department of the Treasury
Massachusetts, Michigan, New Hampshire, New Jersey, Internal Revenue Service Center
New York, North Carolina, Ohio, Pennsylvania, Rhode       Kansas City, MO 64999
Island, South Carolina, Vermont, Virginia, West Virginia,
Wisconsin
Alabama, Alaska, Arizona, Arkansas, California,
Colorado, Florida, Hawaii, Idaho, Iowa, Kansas,           Department of the Treasury
Louisiana, Minnesota, Mississippi, Missouri, Montana,     Internal Revenue Service Center
Nebraska, Nevada, New Mexico, North Dakota,               Ogden, UT 84201
Oklahoma, Oregon, South Dakota, Tennessee, Texas,
Utah, Washington, Wyoming


This update supplements these forms’ instructions. Filers should rely on this update for the changes described,
which will be incorporated into the next revision of the forms’ instructions.
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                                  Exhibit 5
                             Debtors’ Resignations
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                                                                                                Exhibit 5


                                     LETTER OF RESIGNATION

                                             [________], 2022


 Dear Manager of each entity listed below:

            I hereby resign, effective as of the occurrence of the MOU Implementation Date (as such
 term is defined in Memorandum of Understanding Re Global Settlement Among, Inter Alia, Debtors,
 Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and CONA Parties),
 as a Manager and President of Philadelphia Academic Health System, LLC and as President of:

              St. Christopher's Healthcare, LLC
              Center City Healthcare, LLC
              Philadelphia Academic Medical Associates, LLC
              Physicians Clinical Network, LLC
              HPS of PA, L.L.C.
              SCHC Pediatric Associates, L.L.C.
              SCHC Pediatric Anesthesia Associates, L.L.C.
              StChris Care at Northeast Pediatrics, L.L.C.
              TPS of PA, L.L.C.
              St. Christopher's Pediatric Urgent Care Center, L.L.C.
              TPS II of PA, L.L.C.
              TPS III of PA, L.L.C.
              TPS IV of PA, L.L.C. and
              TPS V of PA, L.L.C.

            In addition, I hereby resign, effective as of the occurrence of the MOU Implementation Date,
 from any and all positions that I may hold (i) as a director, officer, employee, or agent (or equivalent
 positions) of any such entity; (ii) on any committees of the board of directors, board of managers, or
 equivalent governing body of any such entity; and (iii) to the extent I have not already done so, as a
 fiduciary or trustee of any benefit plan sponsored by any such entity.


                                                                       Sincerely,


                                                                       Joel Freedman




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                                                                                                Exhibit 5


                                    LETTER OF RESIGNATION

                                           [________], 2022

  Physicians Clinical Network, LLC,
  in its capacity as Sole Member of
  Physicians Performance Network of Philadelphia, L.L.C. (“Company”)

 Dear Sole Member:

         I hereby resign, effective as of the occurrence of the MOU Implementation Date (as such term
 is defined in Memorandum of Understanding Re Global Settlement Among, Inter Alia, Debtors,
 Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and CONA Parties),
 as President of Company.
          In addition, I hereby resign, effective as of the occurrence of the MOU Implementation Date,
 from any and all positions that I may hold (i) as a director, officer, employee, or agent (or equivalent
 positions) of Company; (ii) on any committees of the board of directors, board of managers, or
 equivalent governing body of Company; and (iii) to the extent I have not already done so, as a fiduciary
 or trustee of any benefit plan sponsored by Company.




                                                                    Sincerely,


                                                                    Joel Freedman




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                                  Exhibit 9
                     Escrowed Funds Release Authorization
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                                                                                           Exhibit 9




 [LETTERHEAD]




 [__], 2022

 VIA FEDEX & FAX (215) 568-8219

 Land Services USA, Inc.
 1835 Market Street
 Suite 420
 Philadelphia, PA 19103

 Re:      Escrow Agreement Dated January 11, 2018 between Land Services USA, Inc., HSRE-
          PAHH I, LLC and Philadelphia Academic Health Holdings, LLC (the “Escrow
          Agreement”)

 Ladies & Gentlemen:

 HSRE-PAHH I, LLC (“HSRE”) and Philadelphia Academic Health Holdings, LLC (“PAHH”)
 write in connection with the Escrow Agreement, a copy of which is attached hereto for your
 reference. All capitalized terms used in this letter and not otherwise defined have the meanings
 set forth in the Escrow Agreement.

 By this letter, we jointly waive the conditions of Exhibit A to the Escrow Agreement and authorize
 and direct you to release the Fund and all accrued interest thereon (collectively, the “Earnout”) to
 Capital One, National Association, as administrative agent (“CONA”), which is the collateral
 assignee and a third party beneficiary of the Escrow Agreement. [Within [X] days of receipt of
 this letter,] please deliver the Earnout to CONA by electronic wire transfer in accordance with the
 following wiring instructions:

                                [CONA WIRING INSTRUCTIONS]




                    [The remainder of this page has been intentionally left blank;
                            signatures appear on the following page.]




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                                                                                         Exhibit 9



 Please confirm your agreement with the foregoing instructions by executing this letter as indicated
 below and returning it to us in .pdf format via email to ________________. We thank you for your
 cooperation.

                                                             Sincerely,

                                                             HSRE-PAHH I, LLC

                                                             By:
                                                             Name: _______________________
                                                             Title: ________________________


                                                             PHILADELPHIA ACADEMIC
                                                             HEALTH HOLDINGS, LLC

                                                             By:
                                                             Name: _______________________
                                                             Title: ________________________


 ACKNOWLEDGED AND AGREED BY:

 CAPITAL ONE, N.A.


 By: ______________________________
 Name: ___________________________
 Title: ____________________________

 ACCEPTED AND AGREED TO:

 LAND SERVICES USA, INC.


 By: ______________________________
 Name: ___________________________
 Title: ____________________________


 Cc: Michael Gardullo (via email)
     Capital One, National Association
     michael.gardullo@capitalone.com

        Louis A. Curcio (via email)
        Reed Smith LLP
        lcurcio@reedsmith.com
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                                                                        Exhibit 9


        Jesse Criz (via email)
        DLA Piper LLP (US)
        jesse.criz@dlapiper.com




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                                 Exhibit 12
                         ASIC Bond Joint Authorization
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                                                                                           Exhibit 12

                 [NTD: to be sent after the Pension Fund’s return of the cancelled bond]



 [________ __], 2022

 Seth D. Rosmarin, Esq.
 Westermann Sheehy Keenan Samaan & Aydelott, LLP
 90 Merrick Avenue, Suite 802
 East Meadow, New York 11554

 VIA EMAIL SethRosmarin@westerlaw.com

 Re:      General Indemnity Agreement dated January 9, 2018 (the “Indemnity Agreement”)
          executed by Philadelphia Academic Health System, LLC (“PAHS”), St. Christopher’s
          Healthcare, LLC (“STC”), Center City Healthcare, LLC (“CCH”), Philadelphia
          Academic Medical Associates, LLC (“PAMA” and together with PAHS, STC, and
          CCH, the “Debtors” and each, a “Debtor”), and Philadelphia Academic Health
          Holdings, LLC (“PAHH”), in respect of Bond Number 800014386 in the face amount
          of $5,000,000 (the “Bond”) issued by Atlantic Specialty Insurance Company (“ASIC”)

 Dear Mr. Rosmarin:

 In furtherance of the letter from the Pension Fund for Hospital and Health Care Employees of
 Philadelphia and Vicinity (the “Fund”) dated [insert the Fund’s letter date] informing you of the
 Fund’s release of all claims against ASIC, which is attached hereto as Exhibit A, and the return by
 the Fund to ASIC of the Bond that has been marked as “cancelled” with such letter, we write on
 behalf of PAHH and the Debtors to request that ASIC return the $1,000,000 cash collateral posted
 pursuant to the Indemnity Agreement, as reduced by ASIC’s costs and expenses reflected in
 ASIC’s Breakdown attached hereto as Exhibit B (or $72,299.34), or the net amount of $927,700.66
 as follows:

          (i)      30% of such net amount (or $278,310.20) to PAHH to the wire instructions below:

                   [insert PAHH’s wire instructions]

          (ii)     70% of such net amount (or $649,390.46) to PAHS to the wire instructions below:

                   [insert PAHS’s wire instructions]

 We ask that the cash collateral be returned in accordance with the instructions above not later than
 three business days after your receipt of this letter.

 Furthermore, due to the cancellation of the Bond, the prorated premium paid on or about January
 11, 2022 should be returned by ASIC at the same time as the cash collateral described above as
 follows: 50% of such prorated premium to PAHH, and the other 50% to PAHS, in each case, to
 their respective wire instructions above.


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                                                                                    Exhibit 12

 Please don’t hesitate to reach out to PAHH’s counsel Suzzanne Uhland, Esq. of Latham & Watkins
 LLP at (212) 906-1308 / Suzzanne.Uhland@lw.com or Debtors’ counsel Jeffrey Hampton, Esq.
 of Saul Ewing Arnstein & Lehr LLP at (215) 972-7118 / Jeffrey.Hampton@saul.com if you have
 any questions.

                   [The remainder of this page has been intentionally left blank;
                           signatures appear on the following page.]




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                                                                                        Exhibit 12

 Please confirm your agreement with the foregoing instructions by executing this letter as indicated
 below and returning it to us in .pdf format via email to Suzzanne.Uhland@lw.com and
 Jeffrey.Hampton@saul.com. We thank you for your cooperation.

 Sincerely,

 Philadelphia Academic Health System, LLC           Philadelphia Academic Medical Associates, LLC


 By: _______________________________                By: ________________________________
 Name:                                              Name:
 Title:                                             Title:

 St. Christopher’s Healthcare, LLC                  Philadelphia Academic Health Holdings, LLC


 By: _______________________________                By: ________________________________
 Name:                                              Name:
 Title:                                             Title:

 Center City Healthcare, LLC


 By: _______________________________
 Name:
 Title:

 ACCEPTED AND AGREED TO:

 Atlantic Specialty Insurance Company


 By: ______________________________
 Name:
 Title:

  Cc: Suzzanne Uhland, Esq. (via email)
      Latham & Watkins LLP
      Suzzanne.Uhland@lw.com

        Jeffrey Hampton, Esq. (via email)
        Saul Ewing Arnstein & Lehr LLP
        Jeffrey.Hampton@saul.com

 Attachments:           Exhibit A – Fund’s Letter
                        Exhibit B – ASIC’s Cost Breakdown



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                                Exhibit 14(o)(i)
                 Form of Notice to Insurance Carriers [MBNF]
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                                                                                                          EXHIBIT 14(o)(i)


                                                     EXHIBIT 14(o)(i)

                                        Form of Notice to Insurance Carriers 1



              [Insert the Date Notice is Being Given that is after the filing of the MOU Release Notice]

 [Insert Carrier’s Name and Address]

 Attention: [Insert Adjuster’s Name, if known]

                     Policy Number: [insert]
                     Policy Period: [insert]
                     Claim/Reference Number: [if applicable, insert]

 We write on behalf of [choose one] [MBNF Investments, LLC][Paladin Healthcare Capital, LLC] (the
 “Insured”) to inform you that the Insured and certain of its affiliates (collectively, “MBNF Parties”) have
 reached a global settlement agreement with:

          (i) Center City Healthcare, LLC, Philadelphia Academic Health System, LLC, St. Christopher’s
          Healthcare, LLC, Philadelphia Academic Medical Associates, LLC, HPS of PA, L.L.C., SCHC Pediatric
          Associates, L.L.C., St. Christopher’s Pediatric Urgent Care Center, L.L.C., SCHC Pediatric
          Anesthesia Associates, L.L.C., StChris Care at Northeast Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II
          of PA, L.L.C., TPS III of PA, L.L.C., TPS IV of PA, L.L.C., and TPS V of PA, L.L.C. and each of their
          estates (collectively, the “Debtors”),

          (ii) Physicians Clinical Network, LLC, and Physician Performance Network of Philadelphia, L.L.C.
          (collectively, the “Debtors’ Subsidiaries”),

          (iii) the Official Committee of Unsecured Creditors appointed by the Bankruptcy Court in the
          Chapter 11 Cases (the “Committee”),

          (iv) Tenet Healthcare Corporation, Tenet Business Services Corporation, Tenet Healthsystem
          Hahnemann, L.L.C., and Tenet Healthsystem St. Christopher’s Hospital For Children, L.L.C.
          (collectively, “Tenet”),

          (v) Conifer Health Solutions LLC and Conifer Revenue Cycle Solutions, LLC (collectively,
          “Conifer”),

          (vi) Harrison Street Real Estate, LLC, HSREP VI Holding, LLC, HSRE-PAHH I, LLC and HSRE-PAHH IA,
          LLC and their respective affiliates, including, without limitation, PAHH New College MOB, LLC,
          PAHH Bellet MOB, LLC, PAHH Broad Street MOB, LLC, PAHH Feinstein MOB, LLC, PAHH Wood
          Street Garage, LLC, and PAHH Erie Street Garage, LLC (collectively, “HSRE Entities”), and




 1
   For the sake of clarify, notices substantially in the form of this Exhibit shall be provided to all carriers set forth in
 items 1 through 7 on Schedule 14(o).


 39986467.6
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                                                                                           EXHIBIT 14(o)(i)


          (vii) Capital One, N.A., Cadence Bank, Column Financial Inc., and Sector Financial Inc.
          (collectively, “CONA” and collectively with the MBNF Parties, Debtors, Debtors’ Subsidiaries,
          Committee, Tenet, Conifer and HSRE Entities, the “Parties”).

 Pursuant to such global settlement agreement, each of the Parties has agreed to a full release of claims
 against each of the other Parties, including all claims against any of the Debtors and the MBNF Parties
 and their representatives that have been noticed to you previously by any MBNF Parties or Debtors, or
 their agents or representatives (collectively, the “Noticed Claims”) [insert for Starr excess/AIG
 excess/Argo notices only: except with respect to the following Noticed Claims none of which have been
 released by the global settlement agreement][insert for Starr 1st excess notice only: your claim system
 nos TBD reported on January 10, 2021 (Employees and Individual Third Party Claimants), FLSIL0519903
 (Patel, Jeeni), FLSIL0519243 (Combs, Candese), FLSIL0519242 (Bell, Scherise), FLSIL0519455 (Saechow,
 Pamela), FLSIL0519375 (Thomas, Elizabeth), FLSIL0519888 (Beckal, Michelle), FLSIL0519504 (Broomer,
 Crystal), and FLSIL0497538 (Richards, Suzanne)] [insert for AIG 2nd excess notice only: your claim system
 nos 5546587067US (Employees and Individual Third Party Claimants), 1996067456US (Patel, Jeeni),
 6258482355US (Combs, Candese), 9683912770US (Bell, Scherise), 1456445502US (Saechow, Pamela),
 0567071883US (Thomas, Elizabeth), 7652582441US (Beckal, Michelle), 8284442355US (Broomer,
 Crystal), and 2624280228US (Richards, Suzanne)] [insert for Argo notice only: your claim system no
 280551 (Richards, Suzanne)].

 Each of the Parties has also agreed that it will not commence any suit, action, or proceeding on any of
 the released claims, including the Noticed Claims, and that all of the pending suits, contested matters,
 actions or proceedings listed in Exhibit A to this letter shall be dismissed with prejudice or otherwise
 forever discontinued. The release language from the global settlement agreement is reproduced in
 Exhibit A to this letter along with all relevant definitions.

 If you have any questions about this letter or would like to discuss, please reach out to me.

 Sincerely,

 [choose one] MBNF Investments, LLC/Paladin Healthcare Capital, LLC



 By: _______________________
 Name:
 Title:

 Acknowledged and agreed:

 Center City Healthcare, LLC, on behalf of itself and of each other Debtor (as defined above)



 By: _______________________
 Name:
 Title:




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                                                                    EXHIBIT 14(o)(i)


 Committee:



 By: _______________________
 Name:
 Title:




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                                                                                                      EXHIBIT 14(o)(i)


                                                          EXHIBIT A

                             Release and Other Excerpts From Global Settlement Agreement

     A. Releases
        [copy and paste Section 14 and all pertinent definitions once finalized]

     B. Pending suits, actions or proceedings to be dismissed with prejudice or otherwise forever discontinued

              Appellant(s)                 Appellee(s)                     Court                      Case No.

  MBNF Parties                   Debtors                       United States District Court Civil Action No. 1:21-cv-
                                                               for the District of Delaware 01779
                                 Committee

                                 Tenet

                                 Conifer

                                 HSRE Entities



              Plaintiff(s)                 Defendant(s)                    Court                      Case No.

  Debtors                        MBNF Parties                  Bankruptcy Court             Adv. No. 21-50991-MFW

  Debtors                        HSRE Entities/CONA            Bankruptcy Court             Adv. No. 21-50993-MFW

  HSRE-PAHH I, LLC,              PAHH and Paladin              Court of Common Pleas,       Case ID 200300202
  et al.                                                       Philadelphia County –
                                                               Commerce Program

  PAHH
                                 HSRE-PAHH IA, LLC

  PAHH Broad Street MOB,         PAHH and Paladin              Court of Common Pleas,       Case ID 190804677
  LLC, et al.                                                  Philadelphia County –
                                                               Commerce Program




  Tenet and Conifer              Front Street Healthcare       Superior Court of the State C.A. No. N19C-09-116- SKR
                                 Properties, LLC, et al.       of Delaware

  PAHH et al.                    Tenet                         Superior Court of the State C.A. No. N19C-04-
                                                               of Delaware                 035EMDCCLD

  PAHH                           Tenet                         Court of Chancery of the     2018-0684-KSJM
                                                               State of Delaware




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                                                                                         EXHIBIT 14(o)(i)


              Movant(s)            Name of Pleading                 Court            Docket No.

  MBNF Parties              The MBNF Non-Debtor           Bankruptcy Court   D.I. 2543
                            Entities’ Motion to Appoint a
                            Chapter 11 Trustee

  Broad Street Healthcare   Notice of Appeal            Bankruptcy Court     D.I. 3338
  Properties, LLC, et al.

  Tenet                     Motion of Tenet Business      Bankruptcy Court   D.I. 2162
                            Services Corporation for an
                            Order (i) Confirming that the
                            Automatic Stay Does Not
                            Apply, or (ii) in the
                            Alternative, Granting Relief
                            from the Automatic

                            Stay

  HSRE Entities             Application of Master       Bankruptcy Court     D.I. 1578
                            Landlords for Entry of an
                            Order Allowing and Directing
                            Payment of Administrative
                            Expense

                            Claim




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                                Exhibit 14(o)(ii)
                 Form of Notice to Insurance Carriers [Debtors]
Case 1:21-cv-01779-RGA
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                        Document
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                                                                                                          EXHIBIT 14(o)(ii)


                                                     EXHIBIT 14(o)(ii)

                                        Form of Notice to Insurance Carriers 2



              [Insert the Date Notice is Being Given that is after the filing of the MOU Release Notice]

 [Insert Carrier’s Name and Address]

 Attention: [Insert Adjuster’s Name, if known]

                     Policy Number: [insert]
                     Policy Period: [insert]
                     Claim/Reference Number: [if applicable, insert]

 We write on behalf of Philadelphia Academic Health System, LLC (the “Insured”) to inform you that the
 Insured and all of its wholly owned subsidiaries (collectively, “Debtors”) have reached a global
 settlement agreement with:

          (i) MBNF Investments, LLC, American Academic Health System, LLC, Philadelphia Academic
          Health Holdings, LLC, Front Street Healthcare Properties, LLC, Front Street Healthcare Properties
          II, LLC, Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties II, LLC, Broad
          Street Healthcare Properties III, LLC, Philadelphia Academic Risk Retention Group, LLC, Paladin
          Healthcare Capital, LLC, Paladin Healthcare Management, LLC, and Globe Health Foundation,
          Inc., Joel Freedman, Stella Freedman, Svetlana Attestatova, and Kyle Schmidt (collectively, the
          “MBNF Parties”),

          (ii) the Official Committee of Unsecured Creditors appointed by the Bankruptcy Court in the
          Chapter 11 Cases (the “Committee”),

          (iii) Tenet Healthcare Corporation, Tenet Business Services Corporation, Tenet Healthsystem
          Hahnemann, L.L.C., and Tenet Healthsystem St. Christopher’s Hospital For Children, L.L.C.
          (collectively, “Tenet”),

          (iv) Conifer Health Solutions LLC and Conifer Revenue Cycle Solutions, LLC (collectively,
          “Conifer”),

          (v) Harrison Street Real Estate, LLC, HSREP VI Holding, LLC, HSRE-PAHH I, LLC and HSRE-PAHH IA,
          LLC and their respective affiliates, including, without limitation, PAHH New College MOB, LLC,
          PAHH Bellet MOB, LLC, PAHH Broad Street MOB, LLC, PAHH Feinstein MOB, LLC, PAHH Wood
          Street Garage, LLC, and PAHH Erie Street Garage, LLC (collectively, “HSRE Entities”), and

          (vi) Capital One, N.A., Cadence Bank, Column Financial Inc., and Sector Financial Inc.
          (collectively, “CONA” and collectively with the MBNF Parties, Debtors, Committee, Tenet,
          Conifer and HSRE Entities, the “Parties”).



 2
   For the sake of clarify, notices substantially in the form of this Exhibit shall be provided to all carriers set forth in
 items 8 through 10 on Schedule 14(o).


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                                                                                           EXHIBIT 14(o)(ii)


 Pursuant to such global settlement agreement, each of the Parties has agreed to a full release of claims
 against each of the other Parties, including all claims against any of the Debtors and the MBNF Parties
 and their representatives that have been noticed to you previously by any MBNF Parties or Debtors, or
 their agents or representatives (collectively, the “Noticed Claims”).

 Each of the Parties has also agreed that it will not commence any suit, action, or proceeding on any of
 the released claims, including the Noticed Claims, and that all of the pending suits, contested matters,
 actions or proceedings listed in Exhibit A to this letter shall be dismissed with prejudice or otherwise
 forever discontinued. The release language from the global settlement agreement is reproduced in
 Exhibit A to this letter along with all relevant definitions.

 If you have any questions about this letter or would like to discuss, please reach out to me.

 Sincerely,

 Philadelphia Academic Health System, LLC, on behalf of itself and of each other Debtor (as defined
 above)



 By: _______________________
 Name:
 Title:

 Acknowledged and agreed:

 MBNF Investments, LLC, on behalf of itself and of each other MBNF Party (as defined above)



 By: _______________________
 Name:
 Title:




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                                                          EXHIBIT A

                             Release and Other Excerpts From Global Settlement Agreement

     A. Releases
        [copy and paste Section 14 and all pertinent definitions once finalized]

     B. Pending suits, actions or proceedings to be dismissed with prejudice or otherwise forever discontinued

              Appellant(s)                 Appellee(s)                     Court                      Case No.

  MBNF Parties                   Debtors                       United States District Court Civil Action No. 1:21-cv-
                                                               for the District of Delaware 01779
                                 Committee

                                 Tenet

                                 Conifer

                                 HSRE Entities



              Plaintiff(s)                 Defendant(s)                    Court                      Case No.

  Debtors                        MBNF Parties                  Bankruptcy Court             Adv. No. 21-50991-MFW

  Debtors                        HSRE Entities/CONA            Bankruptcy Court             Adv. No. 21-50993-MFW

  HSRE-PAHH I, LLC,              PAHH and Paladin              Court of Common Pleas,       Case ID 200300202
  et al.                                                       Philadelphia County –
                                                               Commerce Program

  PAHH
                                 HSRE-PAHH IA, LLC

  PAHH Broad Street MOB,         PAHH and Paladin              Court of Common Pleas,       Case ID 190804677
  LLC, et al.                                                  Philadelphia County –
                                                               Commerce Program




  Tenet and Conifer              Front Street Healthcare       Superior Court of the State C.A. No. N19C-09-116- SKR
                                 Properties, LLC, et al.       of Delaware

  PAHH et al.                    Tenet                         Superior Court of the State C.A. No. N19C-04-
                                                               of Delaware                 035EMDCCLD

  PAHH                           Tenet                         Court of Chancery of the     2018-0684-KSJM
                                                               State of Delaware




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              Movant(s)            Name of Pleading                 Court            Docket No.

  MBNF Parties              The MBNF Non-Debtor           Bankruptcy Court   D.I. 2543
                            Entities’ Motion to Appoint a
                            Chapter 11 Trustee

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                            Services Corporation for an
                            Order (i) Confirming that the
                            Automatic Stay Does Not
                            Apply, or (ii) in the
                            Alternative, Granting Relief
                            from the Automatic

                            Stay

  HSRE Entities             Application of Master       Bankruptcy Court     D.I. 1578
                            Landlords for Entry of an
                            Order Allowing and Directing
                            Payment of Administrative
                            Expense

                            Claim




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